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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,     :   Master Docket: Misc. No. 21-mc-1230-JFC
BI-LEVEL PAP, AND MECHANICAL      :
VENTILATOR PRODUCTS               :   MDL No. 3014
LITIGATION                        :
                                  :   SECOND AMENDED MASTER LONG
This Document Relates to:         :   FORM COMPLAINT FOR PERSONAL
All Actions                       :   INJURIES AND DAMAGES, AND
                                  :   DEMAND FOR JURY TRIAL
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Ex. 131      Philips Announces 2022 Second-Quarter Results – dated July 25, 2022
Ex. 132      Philips 2021 Fourth-Quarter and Annual Results Presentation – dated Jan.
             24, 2022
Ex. 133      Fair Disclosure Wire – Transcript of Royal Philips’ Annual Shareholders
             Meeting – dated May 10, 2022
Ex. 134      Reuters – FDA Says Faulty Philips Device Reports Accelerating as CEO
             Departs – dated Aug. 17, 2022
Ex. 135      Dutch News – Roy Jakobs to Take Over the Helm at Philips as Frans van
             Houten Steps Down – dated Aug. 16, 2022
Ex. 136      FDA 518(a) Notification Order to Philips Respironics
Ex. 137      Royal Philips Press Release – Philips Realigns the Composition of its
             Reporting Segments – dated Jan. 10, 2019
Ex. 138      Lawler Affidavit – Exhibit B – ECF No. 589-4 – Purchase Order dated
             Mar. 12, 2021 and Supporting Documentation
Ex. 139      Lawler Affidavit – Exhibit D – ECF No. 589-6 – Additional Email
             Communications Between Philips and Suppliers
Ex. 140      Lawler Affidavit – Exhibit G – ECF No. 589-9 – Additional Email
             Communications Between Philips and Suppliers
Ex. 141      Bloomberg – Company Profile for Philips International B.V.
Ex. 142      PHILIPS_RS_MDL-00025466-83
Ex. 143      FDA – Emergency Use Authorization Letter – dated Mar. 24, 2020
Ex. 144      Royal Philips 2018 Form 20-F SEC Filing – With Exhibits
Ex. 145      Method and Apparatus for Providing Positive Airway Pressure to a
             Patient, Patent No. US 6,932,084 B2, Aug. 23, 2005
Ex. 146      Canadian Patent No. 2463488 – Filed by RIC Investments, Inc – owned
             by Philips RS North America LLC
Ex. 147      Canadian Patent No. 2410248 – Filed by Respironics, Inc. – owned by
             Philips RS North America LLC


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Ex. 148      Canadian Patent No. 2497915 – Filed by RIC Investments, Inc. – owned
             by Philips RS North America LLC
Ex. 149      Jaffe et. al., Nasal and Oral Patient Interfaces, Patent No. US 10,105,099
             B2, Oct. 23, 2018
Ex. 150      Ho et.al., Textured/Polished Respiratory Mask Seal and Mask, Patent No.
             US 9,399,107 B2, July 26, 2016.
Ex. 151      Shelly et al., Automatic Pressure Titration, Patent No. US 9,7344,322 B2,
             Aug. 29, 2017
Ex. 152      Matthews et al., Starting Pressure for Respiratory Therapy Devices,
             Patent No. US 10,286,165 B2, May 14, 2019
Ex. 153      LinkedIn Profile – Greg Matthews – Philips Respironics Senior Staff
             Engineer
Ex. 154      LinkedIn Profile – Heather Ressler – Philips Respironics Senior Staff
             Software Engineer
Ex. 155      In the Matter of Certain UMTS and LTE Cellular Communication and
             Products Containing the Same, Complaint, Inv. No. 337-TA-1240
             (USITC Dec. 17, 2020)
Ex. 156      Koninklijke Philips, N.V. v. Thales DIS AIS USA LLC et. al., Complaint,
             No. 1:20-cv-01713-CFC (D. Del. Dec. 17, 2020)
Ex. 157      PHILIPS_RS_MDL-00004334-47
Ex. 158      PHILIPS_RS_MDL-00004315-21
Ex. 159      PHILIPS_RS_MDL-00000931-35
Ex. 160      Royal Philips Press Release – Philips Unveils New Brand Direction
             Centered Around Innovation and People – dated Nov. 13, 2013
Ex. 161      PDF - Philips Egypt’s Website
Ex. 162      PDF – Philips Australia’s Website
Ex. 163      PDF – Philips Chile’s Website
Ex. 164      PDF – Royal Philips’ Global Website – Philips Wordmark
Ex. 165      Excerpts of Mark D’Angelo Deposition Transcript
Ex. 166      Excerpts of Vaishali Hegde Deposition Transcript
Ex. 167      Excerpts of Hisham Elzayat Deposition Transcript (Filed Under Seal)



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Ex. 173      PHILIPS_RS_DFS-00003401




Ex. 190      Printout of FDA Website – Certain Reworked Philips Respironics
             Trilogy 100/200 Ventilators Recalled Due to Potential for Silicone Foam
             Adhesion Failure and Residual PE-PUR Foam Debris: FDA Safety
             Communication




                                     xvi
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       Plaintiffs file this Second Amended Master Long Form Complaint for Personal Injuries

and Damages, and Demand for Jury Trial (“Master Long Form Complaint” or “Complaint”)

against Defendants Koninklijke Philips N.V., Philips North America LLC, Philips Holding USA

Inc., Philips RS North America LLC, and Philips RS North America Holding Corporation, and

Defendants Polymer Technologies, Inc. and Polymer Molded Products LLC, pursuant to the

Court’s Memorandum Opinion and Order (ECF 2471 & 2472) ruling on objections to the Special

Master’s Report and Recommendation on Philips RS North American LLC’s motion to dismiss

the Amended Master Long Form Complaint (ECF 834), 1 as an administrative method to set forth

common facts and potential claims which individual Plaintiffs, on their own behalf, their spouses,

estates, or beneficiaries, may assert against Defendants in this litigation. It is contemplated that

Plaintiffs alleging personal injury and damages arising from the use of Recalled Device(s) will file

a Short Form Complaint, and all allegations pleaded in this Master Long Form Complaint will be

deemed pleaded in any Short Form Complaint either previously filed or to be filed. 2

       The Master Long Form Complaint does not necessarily include all claims or allegations

asserted in all of the actions filed in, or transferred to, this Court. Certain Plaintiffs may also add


1
  Amended allegations and causes of action herein are limited to the issues specified in the Court’s
Memorandum Opinion and Order (ECF 2471 & 2472) and do not include all facts revealed through
jurisdictional or fact discovery, including, e.g., the evidence contained in Plaintiffs’ findings of
facts and conclusions of law with respect to personal jurisdiction over Royal Philips. See ECF
2388 and 2389 (under seal).
2
  Pursuant to Amended Pretrial Order #28(a) (ECF 1594), each Plaintiff asserting claims for
personal injuries related to the use of one more Recalled Devices is required to file a Short Form
Complaint that together with the Master Long Form Complaint is deemed that Plaintiff’s operative
Complaint. The template for an amended Short Form Complaint to accommodate changes
contained in this Master Long Form Complaint is attached hereto as Exhibit “A.” All attached
Exhibits and referenced materials are incorporated as if fully stated herein. This Master Long Form
Complaint maintains the numbering of the “Counts” used previously in the prior Amended Master
Long Form Complaint (ECF 834) even where counts were dismissed, and new causes of action as
permitted in the Court’s Memorandum Opinion and Order (ECF 2471 & 2472) were added at the
end of the list of prior Counts.

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additional Defendant(s) and/or claims, which will be reflected in their respective Short Form

Complaints. Id. The Master Long Form Complaint does not constitute a waiver or dismissal of any

claims that may be asserted in any individual action, nor do any Plaintiffs relinquish the right to

move to amend their respective Short Form Complaint to assert additional claims or allegations as

discovery may require, to cure any deficiencies, or for any other reason that circumstances may

warrant.

         Further, pursuant to Pretrial Order #14 (ECF No. 573), entered on May 19, 2022, which

sets forth an orderly and efficient process for filing consolidated amended class and master

complaints, this is one of three master complaints being filed in this multi-district litigation. The

filing of three master complaints is to streamline the pleadings and issues for the parties’ mutual

convenience only. The three master complaints contemplated in this MDL are divided, for

administrative purposes, into one each for Personal Injury, Medical Monitoring, and Economic

Loss.

         Plaintiffs filing claims for personal injuries using this Master Long Form Complaint and a

Short Form Complaint are also members of the putative class in the Consolidated Third Amended

Class Action Complaint for Economic Losses (ECF No. 785) (the “Economic Loss Complaint”)

and the Consolidated Second Amended Class Action Complaint for Medical Monitoring (ECF No.

810) (the “Medical Monitoring Complaint”). Plaintiffs do not waive any of their rights or claims

as putative class members in those respective complaints by virtue of filing claims for personal

injuries and/or including claims that may be included in either of those two master complaints. 3



3
  A proposed class settlement of the claims in the Economic Loss Complaint was preliminarily
approved by the Court on October 10, 2023 (ECF 2289). A Final Fairness Hearing has been
scheduled for April 11, 2024. Id. Pursuant to the Court’s Memorandum Opinion (ECF 2471),
Plaintiffs may not pursue the economic loss claims alleged in the Economic Loss Complaint


                                                 2
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                              I.      NATURE OF THE ACTION

       1.      Defendant Koninklijke Philips N.V. (“Royal Philips”) is a Dutch multinational

company that is the global head of the “Philips” enterprise, which bills itself as “a diverse team

made up of some 80,000 individuals across over 100 countries, all with different backgrounds,

perspectives and experiences.” 4 Royal Philips controls and oversees all aspects of the Philips

businesses around the world, going to great lengths to ensure there is a unity of purpose and vision,

consistent execution of company procedures, policies, and goals, and, importantly, maintenance

and protection of the valuable “Philips” brand. In addition to Royal Philips, Defendants, Philips

North America LLC (“Philips NA”), Philips Holding USA Inc. (“Philips USA”), Philips RS North

America LLC (“Philips RS”), and Philips RS North America Holding Corporation (“Philips RS

Holding”) are essential parts of the Philips family that, along with other Philips’ entities, engaged

in the wrongful conduct at issue in this litigation. These Defendants are referred to collectively

herein as “Philips” or the “Philips Defendants.” At all relevant times, each Philips Defendant acted

in all aspects as the agent and alter ego of one another, and references to “Philips” refer to each

Philips Defendant individually and collectively.

       2.      Royal Philips boasts on its website, www.philips.com 5: “Over the past decade we

have transformed into a focused leader in health technology…. At Philips, our purpose is to


through the Master PI complaint (ECF 2471 at 17). However, upon final approval of the settlement
of Economic Loss Claims, any class member who exercised a valid and effective request to opt
out of the proposed economic loss class settlement and has filed or files a Short Form Complaint
can assert their claims for economic loss in their personal injury action by checking “Economic
Loss Claim” on the Short Form Complaint attached hereto as Exhibit “A.”
4
 See Royal Philips “About us” webpage, https://www.philips.com/a-w/about.html (last accessed
Oct. 3, 2022) (attached hereto as Exhibit “1”).
5
 The landing (i.e., opening) page for Royal Philips’ website contains a copyright for Royal Philips.
See https://www.philips.com/global (“© Koninklijke Philips N.V., 2004 - 2022. All rights
reserved.”) (last accessed Oct. 3, 2022) (attached hereto as Exhibit “2”). When accessing the Royal


                                                   3
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improve people’s health and well-being through meaningful innovation.” 6 As part of that business,

Philips manufactures and sells certain lines of products that are intended to help people breathe.

These include Continuous Positive Airway Pressure (“CPAP”) and Bilevel Positive Airway

Pressure (“BiPAP”) machines, which are commonly used to treat sleep apnea, and mechanical

ventilators (“ventilators”), which treat respiratory failure. The primary function of these devices is

to blow air into patients’ airways. CPAP and BiPAP machines are intended for use during sleep

while ventilators are used continuously when needed.

         3.     Because these machines are used during sleep, Philips designed them to include

sound-dampening foam intended to reduce noise emitted from the motors in the devices.

Unfortunately, Philips designed its devices to include polyester-based polyurethane (“PE-PUR”)

foam, which Philips knew for many years, among other things, is susceptible to hydrolysis, the

chemical breakdown of a compound due to reaction with water, particularly in medical

applications. This can result in degradation of the foam and off-gassing of volatile organic

compounds (“VOCs”).

         4.     On June 14, 2021, Philips, through multiple of its entities, including Royal Philips

and Philips RS, announced a recall of approximately 11 million of its CPAP and BiPAP machines

and ventilators in the United States that were manufactured with PE-PUR foam from 2008 until

the date of the recall (the “Recall”). All of these recalled products (individually referred to herein

as a “Recalled Device,” or collectively, as the “Recalled Devices”) are defective because they

contain PE-PUR foam.


Philips website from the United States, users are automatically redirected to
https://www.usa.philips.com/ (last accessed Oct. 3, 2022). The redirected page also contains a
copyright for Royal Philips. See https://www.usa.philips.com/ (“© Koninklijke Philips N.V., 2004
- 2022. All rights reserved.”) (last accessed Oct. 3, 2022) (attached hereto as Exhibit “3”).
6
    Royal Philips “About us” webpage (Exhibit “1” hereto).

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       5.      The Recalled Devices are:

                   E30

                   DreamStation ASV

                   DreamStation ST, AVAPS

                   SystemOne ASV4

                   C Series ASV, S/T, AVAPs

                   OmniLab Advanced Plus

                   SystemOne (Q Series)

                   DreamStation CPAP, Auto CPAP, BiPAP

                   DreamStation Go CPAP, APAP

                   Dorma 400, 500 CPAP

                   REMStar SE Auto CPAP

                   Trilogy 100 and 200

                   Garbin Plus, Aeris, LifeVent

                   A-Series BiPAP Hybrid A30

                   A-Series BiPAP V30 Auto

                   A-Series BiPAP A40

                   A-Series BiPAP A30

       6.      The use of PE-PUR foam in the Recalled Devices is a defect because the foam is

susceptible to breaking down into particles which may then be inhaled or ingested by the user, and

may emit VOCs that can also be inhaled, resulting in “serious injury which can be life-threatening,




                                                  5
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cause permanent impairment, and/or require medical intervention to preclude permanent

impairment.” 7

          7.     Philips was aware of problems with the PE-PUR foam in the Recalled Devices

dating as far back as 2008 when it began receiving numerous complaints from customers including

complaints containing the keywords “contaminants, particles, foam, debris, airway, particulate,

airpath, and black.” 8 In addition, beginning as far back as 2015, Philips conducted and received

multiple test reports and additional data confirming that the Recalled Devices pose serious, indeed

life-threatening, health risks to users, but Philips failed to timely disclose that they were defective

when manufactured and sold.

          8.     Instead of instituting a recall immediately, Philips waited until June 2021 to issue

the Recall and notify the public about the dangers of the Recalled Devices, continuing to sell

defective devices and leaving users to breathe in the toxic fumes and risk serious injury. In its

Recall, Philips publicly announced that the PE-PUR foam may break down into particles and be

inhaled or ingested, and may emit VOCs that can be inhaled, resulting in “serious injury which

can be life-threatening, cause permanent impairment, and/or require medical intervention to

preclude permanent impairment” 9 (referred to herein as the “Defect”). Philips stated that the



7
    Philips Recall Notices issued June 14, 2021 (attached hereto as Exhibit “4”).
8
  See FDA 483 Report issued to Philips on November 9, 2021 (hereinafter “483 Report”), redacted
version available at: https://www.fda.gov/media/154244/download (last accessed Oct. 3, 2022)
(attached hereto as Exhibit “5”), at 12. A 483 Report from the Food and Drug Administration
(“FDA”) “is issued to firm management at the conclusion of an inspection when an investigator(s)
has observed any conditions that in their judgment may constitute violations of the Food Drug and
Cosmetic (FD&C) Act and related Acts.” FDA webpage, FDA Form 483 Frequently Asked
Questions,               https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
investigations/inspection-references/fda-form-483-frequently-asked-questions (last accessed Oct.
3, 2022) (attached hereto as Exhibit “6”).
9
    Philips Recall Notices issued June 14, 2021 (Exhibit “4” hereto).

                                                  6
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potential risks of exposure due to such chemicals include “headache/dizziness, irritation (eyes,

nose respiratory tract, skin), hypersensitivity, nausea/vomiting, toxic and carcinogenic effects.” 10

Philips’ announcement to doctors advised that these hazards could result in “serious injury which

can be life-threatening or cause permanent impairment.” 11

            9.       In addition, on July 22, 2021, the U.S. Food and Drug Administration (“FDA”)

confirmed the severity of the issues described in the Recall and classified the Recall as Class I or

“the most serious type of recall,” meaning use of the Recalled Devices “may cause serious injuries

or death.” 12

            10.      As noted above, Philips knew about the serious risks caused by the Recalled

Devices long before the Recall.

            11.      On November 9, 2021, the FDA issued a report detailing the findings of an FDA

investigation, findings that demonstrate Philips knew that the PE-PUR foam degraded into

hazardous substances. 13 The FDA discovered emails, dating back to October 2015, to Philips from

the supplier of the raw foam used to make the PE-PUR foam in the Recalled Devices regarding

PE-PUR foam degradation issues. 14 Additionally, the FDA found that, in November 2015, Philips

engaged in preventative maintenance on certain Recalled Devices in response to PE-PUR foam


10
     Id.
11
  See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical information
for physicians (June 14, 2021), at 2, available at: philips-recall-clinical-information-for-
physicians-and-providers.pdf (last accessed Oct. 3, 2022) (attached hereto as Exhibit “7”).
12
  FDA Notice, “Philips Respironics Recalls Certain Continuous and Non-Continuous Ventilators,
including CPAP and BiPAP, Due to Risk of Exposure to Debris and Chemicals,” available at:
https://www.fda.gov/medical-devices/medical-device-recalls/philips-respironics-recalls-certain-
continuous-and-non-continuous-ventilators-including-cpap-and (last accessed Oct. 3, 2022)
(attached hereto as Exhibit “8”).
13
     See generally, 483 Report (Exhibit “5” hereto).
14
     Id. at 3, 18.

                                                   7
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degradation issues and complaints, yet failed to conduct any “further investigation, health hazard

evaluation, risk analysis, or design review” on any of the Recalled Devices that use the same PE-

PUR foam. 15 To be sure, the FDA found that “there were at least fourteen instances, assessments,

and/or test reports, dated from 04/01/2016 to 01/22/2021, where [Philips] was aware of issues and

concerns related to potential foam degradation and/or Volatile Organic Compound (VOC)

emissions.” 16 This is in addition to the detailed customer complaints that existed as far back as

2008 and the additional data Philips collected in 2015.

           12.   Despite knowing about the degradation and off-gassing problems with the PE-PUR

foam and the associated health risks for users of the affected devices, Philips failed until many

years later to disclose the Defect to consumers, hospitals, institutions, doctors, and suppliers,

continuing to sell the defective products and allowing patients to use the defective products. In

addition, Defendant Polymer Technologies, Inc. (“PolyTech”), a supplier of PE-PUR foam to

Philips, worked with Philips to conceal these key facts from consumers so that both could continue

to profit from the sales of these defective devices.

           13.   It was only after Philips launched its next generation of CPAP/BiPAP machines

(the DreamStation 2 devices), machines that do not contain PE-PUR foam and could serve as a

replacement for Recalled Devices, that Philips finally disclosed that its Recalled Devices were

defective. That is, on April 26, 2021, Philips announced that its previous generation DreamStation

products and other CPAP, BiPAP, and ventilator devices posed serious health risks to users. Philips

then waited an additional seven weeks before initiating the Recall of the dangerously defective




15
     Id. at 2.
16
     Id. at 3.

                                                  8
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machines in the United States. Shortly thereafter, Philips expanded its recall of defective CPAP,

BiPAP, and ventilator devices worldwide. 17

       14.     Because of the increased demand for safe and effective CPAP, BiPAP, and

ventilator devices at the time of the Recall, replacement machines were difficult to find and

expensive, a situation that was exacerbated by a shortage of microchips for these devices. Thus,

many users were forced into a Hobson’s choice – continue using their Recalled Devices and expose

themselves to risks of serious injury or death or stop using their breathing devices and risk health

consequences from their underlying conditions.

       15.     When the Recall was first announced on June 14, 2021, Philips did not offer users

of the Recalled Devices any option for a replacement device.

       16.     On September 1, 2021, Philips received authorization from the FDA to begin a

repair and/or replacement process for affected DreamStation devices in the United States, and

initially, Philips estimated that it would take a year to complete the program. 18

       17.     In announcing the repair/replacement program, Royal Philips CEO Frans van

Houten acknowledged that patients using Recalled Devices needed a solution and that delayed


17
   See, e.g., Philips website, Urgent Product Defect Correction in Australia (Recall for Product
Correction in New Zealand), https://www.philips.com.au/healthcare/e/sleep/communications/src-
update (last accessed Oct. 3, 2022) (attached hereto as Exhibit “9”) (stating that a global recall
notification was issued on June 14, 2021 and that recalls specific to Australia and New Zealand
were issued on July 2, 2021). As discussed, infra, other impacted countries include, but are not
limited to Canada, Israel, and Chile.
18
   See Royal Philips Press Release, Philips starts repair and/or replacement program of first-
generation DreamStation devices in the US and other markets (Sept. 1, 2021),
https://www.philips.com/a-w/about/news/archive/standard/news/press/2021/20210901-philips-
starts-repair-and-replacement-program-of-first-generation-dreamstation-devices-in-the-us-in-
relation-to-earlier-announced-recall-notification.html (last accessed Oct. 3, 2022) (attached hereto
as Exhibit “10”); see also Philips “Ventilation News and Updates” webpage, Trilogy Remediation
Update for Business Customers (June 1, 2022), https://www.usa.philips.com/healthcare/resource-
catalog/landing/experience-catalog/sleep/communications/src-update/news/ventilation-news-
and-updates (last accessed Oct. 7, 2022) (attached hereto as Exhibit “11”).

                                                  9
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relief for them presented a problem: “We fully recognize that the timeframe for remediation of the

affected devices places patients in a difficult situation.” 19

            18.   Unfortunately for users of the recalled DreamStation devices, the repair and

replacement program was negligently implemented and ineffective. DreamStation customers were

not given any specifics as to how the replacement program would work nor were they told when

they might receive a replacement device (a significant factor for users who relied on the machines

for medical conditions). Nor did Philips provide meaningful guidance to DreamStation customers’

treating physicians. In addition, the repair and/or replacement program was limited in that it only

impacted DreamStation Recalled Devices and not any other Recalled Device.

            19.   As noted, the Recalled Devices were intended to be used to help users breathe. But,

the degradation and off-gassing of the PE-PUR foam rendered the Recalled Devices defective and

unsafe, and not fit for their intended purpose. Each of the Plaintiffs used the Recalled Devices and

would not have done so had they known that the PE-PUR foam in the Recalled Devices could

expose them to life-threatening injuries or cause serious health problems, but instead would have

sought alternative means to treat their conditions.

            20.   Plaintiffs, who were injured by Defendants’ misconduct, seek to recover damages

resulting from Defendants wrongful conduct, including: (a) designing a defective product that

caused serious injuries to users, (b) failing to warn about serious, and reasonably foreseeable health

risks caused by the Recalled Devices, (c) engaging in the deliberate concealment,

misrepresentation and obstruction of public and regulatory awareness of serious health risks to

users of the Recalled Devices, and (d) failing to utilize reasonable care in, among other things,




19
     Id.

                                                   10
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designing, manufacturing, marketing, selling, distributing, and recalling (or failing to timely recall)

the Recalled Devices. 20

                                      II.     THE PARTIES

        A.     PLAINTIFFS

        21.    Plaintiffs are individuals who used the Recalled Devices and have suffered injuries

from the use of the Recalled Devices.

        22.    As a result of using the Recalled Devices, Plaintiffs have been diagnosed with

cancer, COPD, kidney injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation,

respiratory issues, asthma, adverse effects to organs; toxic and carcinogenic effects, and other

injuries.

        23.    In addition, in some cases the spouses or minor children of patients are parties with

consortium claims, and the estates and survivors of deceased patients are parties with claims

arising from the wrongful death of patients who have died due to the use of Recalled Devices.

        24.    As a proximate result of Philips’ wrongful conduct, Plaintiffs have been severely

harmed; and have endured pain, suffering, disability, impairment, disfigurement, cancer diagnoses

and/or an increased risk of developing cancer and/or other serious illnesses, loss of enjoyment of

life, aggravation or activation of preexisting conditions, scarring, and/or inconvenience; and

incurred costs for a defective device, medical care and treatment, loss of wages and wage-earning

capacity, death for certain patients, and other economic and non-economic damages. The losses

are permanent and continuing in nature.




20
  Plaintiffs reserve the right to amend this Complaint to reflect additional information uncovered
through discovery and developed via expert testimony.

                                                  11
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       B.      DEFENDANTS

       25.     Defendant Royal Philips is a Dutch multinational publicly traded company having

its principal executive offices at Philips Center, Amstelplein 2, 1096 BC Amsterdam, The

Netherlands. Royal Philips is the ultimate parent company of the Philips Group of healthcare

technology businesses including Connected Care businesses focusing on Sleep & Respiratory

Care. 21 “The Company, which started as a limited partnership with the name Philips & Co in

Eindhoven, the Netherlands, in 1891, was converted into the company with limited liability N.V.

Philips’ Gloeilampenfabrieken on September 11, 1912. The Company’s name was changed to

Philips Electronics N.V. on May 6, 1994, and then to Koninklijke Philips Electronics N.V. on

April 1, 1998, and [finally] to Koninklijke Philips N.V. on May 15, 2013.” 22 Royal Philips’ shares

have been listed on the Amsterdam stock exchange since 1912, have been traded in the United

States since 1962, and have been listed on the New York Stock exchange since 1987. 23 Royal

Philips holds directly or indirectly 100% of its subsidiaries, Philips NA, Philips USA, Philips RS

Holding, and Philips RS. 24 As such, Royal Philips controls Philips NA and Philips RS with respect


21
   Royal Philips Press Release, Philips realigns the composition of its reporting segments (Jan. 10,
2019), https://www.philips.com/a-w/about/news/archive/standard/news/press/2019/20190110-
philips-realigns-the-composition-of-its-reporting-segments.html (last accessed Oct. 8, 2022)
(attached hereto as Exhibit “137”).
22
  Royal Philips 2017 Annual Report (attached hereto as Exhibit “12”), at 84. Note all quarterly
and annual reports and SEC 20-F filings from 2009 to the present can be found at this link, under
the “All Results” tab: https://www.results.philips.com/publications/ar21 (last accessed Oct. 3,
2022).
23
    Id.; see also Royal Philips 2021 Annual Report, available for download at
https://www.results.philips.com/publications/ar21 (last accessed Oct. 3, 2022) (attached hereto as
Exhibit “13”), at 117.
24
   Royal Philips 2021 SEC Form 20-F filing, Exhibit 8, List of Subsidiaries, available at:
https://www.sec.gov/Archives/edgar/data/313216/000031321622000008/phg-exhibit8.htm (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “14”). In its 2019 SEC Form 20-F filing, Exhibit
8, Royal Philips also lists Respironics, Inc. as a wholly-owned subsidiary (attached hereto as


                                                12
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to the manufacturing, selling, distributing, and supplying of the Recalled Devices. 25

          26.    Defendant Philips NA is a Delaware company that was incorporated on August 6,

1987, 26 having its principal place of business at 222 Jacobs Street, Floor 3, Cambridge,

Massachusetts 02141. Philips NA was “formerly known as Philips Electronics North America

Corporation.” 27 Philips NA is a wholly-owned subsidiary of Royal Philips, managed by Philips

USA. 28

          27.    Defendant Philips USA is a Delaware corporation that was incorporated on July 18,

1995, 29 having its principal place of business at 222 Jacobs Street, Floor 3, Cambridge,

Massachusetts 02141. Philips USA is a holding company that is 100% owned, directly or

indirectly, by Royal Philips. Philips USA manages the operations of Royal Philips’ various lines




Exhibit “15”). However, Respironics, Inc. is no longer listed as a subsidiary on Royal Philips 2020
SEC           Form       20-F         filing,        Exhibit          8,        available        at:
https://www.sec.gov/ix?doc=/Archives/edgar/data/0000313216/000031321621000008/phg-
20201231.htm (last accessed Oct. 3, 2022) (attached hereto as Exhibit “16”); rather, Royal Philips
lists Philips RS North America LLC as a subsidiary. Id.
25
     See Royal Philips 2020 SEC Form 20-F filing, Exhibit 8 (Exhibit “16” hereto).
26
 State of Delaware, Dept. of State, Div. of Corporations, Entity Details of Philips North America
LLC (attached hereto as Exhibit “17”).
27
   See Complaint for Patent Infringement in Koninklijke Philips N.V., et al. v. Meditek, Inc., et al.,
No. 1:20-cv-01246-UNA, ECF No. 1, (D. Del. Sept. 17, 2020) (attached hereto as Exhibit “18”).
“Philips Electronics North America Corporation” is listed as a subsidiary of Royal Philips as of its
2016 Annual Report, Exhibit 8, List of Subsidiaries (attached hereto as Exhibit “19”). “Philips
North America LLC” is not listed therein. Id. However, “Philips North America LLC” is listed as
a subsidiary of Royal Philips on the 2017 SEC 20-F filing, Exhibit 8, List of Subsidiaries, available
at: https://www.sec.gov/Archives/edgar/data/313216/000119312517050359/d330553d20f.htm
(last accessed Oct. 4, 2022) (attached hereto as Exhibit “20”).
28
  Corporate Disclosure Statement in Newsome, Jr., et al. v. Philips North America LLC,
Koninklijke Philips N.V., Philips RS North America LLC, Respironics, Inc., et al., 4:22-cv-04101-
HSG (N.D. Cal. July 13, 2022), ECF No. 2 (“Newsome Corp. Discl. Stmt.”) (attached hereto as
Exhibit “21”).
29
  State of Delaware, Dept. of State, Div. of Corporations, Entity Details of Philips Holding USA
Inc. (attached hereto as Exhibit “22”).

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of business including Philips RS Holding and through it, Philips RS. 30 Philips USA is also the

member/manager of Philips NA. 31

            28.   Defendant Philips RS is a Delaware company that was incorporated on February

22, 1984, 32 having its principal place of business at 6501 Living Place, Pittsburgh, Pennsylvania

15206. Philips RS is 100% owned by Philips RS Holding, which in turn, is 100% owned by Philips

USA. 33 Philips RS formerly operated under the business name Respironics, Inc. (“Respironics”).

Royal Philips acquired Respironics in 2008, 34 creating “Philips Respironics.” 35 However, “Philips

Respironics is a fictitious name that is 100% owned by Philips RS [N]orth America LLC.” 36 In


30
     Newsome Corp. Discl. Stmt. (Exhibit “21” hereto).
31
     Id.
32
 State of Delaware, Dept. of State, Div. of Corporations, Entity Details of Philips RS North
America LLC (attached hereto as Exhibit “23”).
33
   See Newsome Corp. Discl. Stmt. (Exhibit “21” hereto); see also, e.g., State of Mississippi,
Secretary of State, certificate for Philips RS North America LLC (Respironics, Inc.), which lists
that it is a “Member” of Philips RS North America Holding Corporation. This certificate also states
an “intent to dissolve” with an effective date of “04/05/2017” (attached hereto as Exhibit “24”).
34
  Philips announces completion of tender offer to acquire Respironics, WebWire (Mar. 14, 2008),
https://www.webwire.com/ViewPressRel.asp?aId=61199 (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “25”).
35
   See History of BiPAP – Respironics and Philips Respironics, cpap.com, last updated (Dec. 9,
2021), https://www.cpap.com/blog/history-bipap-respironics-philips/ (last accessed Oct. 3, 2022)
(attached hereto as Exhibit “26”); see also Philips in $5 billion Respironics deal, Reuters (Dec. 21,
2007),             https://www.reuters.com/article/us-philips/philips-in-5-billion-respironics-deal-
idUSL2131786820071221 (last accessed Oct. 3, 2022) (attached hereto as Exhibit “27”); see also
Philips makes $5.1B public offer to acquire Respironics, ReliablePlant (undated),
https://www.reliableplant.com/Read/9713/philips-makes-$51b-public-offer-to-acquire-
respironics (last accessed Oct. 3, 2022) (attached hereto as Exhibit “28”).
36
   Newsome Corp. Discl. Stmt. (Exhibit “21” hereto). Yet, Philips Respironics has a dedicated
webpage which states, “About Philips Respironics – As a global leader in the sleep and respiratory
markets, we’re passionate about providing solutions that lead to healthier patients, practices, and
businesses.” See http://www.respironics.com/Philips (last accessed Oct. 3, 2022) (attached hereto
as Exhibit “29”). Royal Philips holds the copyright on this webpage as of “2004 – 2022” with
“[a]ll rights reserved.” Id. The webpage has a link to a “Privacy policy” that is titled “Philips
Privacy Notice” that states “the controller of your personal data (as well as the controller’s


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October 2020, shortly before the Recall, Respironics, Inc. was newly registered under the name

Philips RS North America, LLC. 37

          29.    Defendant Philips RS Holding is a Delaware corporation that was incorporated on

October 31, 2020, 38 having its principal place of business at 222 Jacobs Street, Cambridge,

Massachusetts 02141, and is wholly owned by Philips USA. Accordingly, Philips RS Holding is

a citizen of Massachusetts and Delaware.

          30.    At all relevant times, each Philips Defendant acted in all aspects as the agent and

alter ego of one another, and reference to “Philips” refers to each Philips Defendant individually

and collectively.

          31.    Defendant PolyTech is a Delaware corporation with its principal place of business

at 420 Corporate Boulevard, Newark, Delaware 19702. PolyTech directly or through another

intermediary provided Philips with the PE-PUR foam that was used in the Recalled Devices.

          32.    Defendant Polymer Molded Products LLC (“PMP”) is a Delaware corporation with

its principal place of business at 10 Easy Street, Bound Brook, NJ 08805. PMP is a molded

polyurethane foam manufacturer. PMP directly or through another intermediary provided Philips

with the PE-PUR foam that was used in the Recalled Devices.




representative in the European Union) is Philips International B.V. Id. Philips International B.V.
was founded in 1994. See Bloomberg profile for Philips International B.V.,
https://www.bloomberg.com/profile/company/1071145D:NA (last accessed Oct. 5. 2022)
(attached hereto as Exhibit “141”). Philips International B.V. is a wholly-owned subsidiary of
Royal Philips. Royal Philips 2021 SEC Form 20-F filing, Exhibit 8, List of Subsidiaries (Exhibit
“14” hereto).
37
     State of Delaware Certificate of Conversion (Nov. 9, 2020) (attached hereto as Exhibit “30”).
38
 State of Delaware, Dept. of State, Div. of Corporations, Entity Details of Philips RS North
America Holding Corporation (attached hereto as Exhibit “31”).

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            33.   At all relevant times, Defendants PolyTech and PMP acted in all respects as the

agent and alter ego of one another, and reference hereinafter to “PolyTech” or the “PolyTech

Defendants” refers to Defendants PolyTech and PMP individually and collectively.

            C.    THE GLOBAL PHILIPS ENTERPRISE, INCLUDING ALL PHILIPS
                  ENTITIES NAMED AS DEFENDANTS, OPERATES AS A UNIFIED
                  ENTITY KNOWN SIMPLY AS “PHILIPS.”

            34.   Royal Philips controls and oversees all aspects of the Philips businesses around the

world, going to great lengths to ensure there is a unity of purpose and vision, consistent execution

of company procedures, policies, and goals, and, importantly, maintenance and protection of the

valuable “Philips” brand. 39

            35.   On its website and in promotional materials, the Philips conglomerate holds itself

out to the world as a unified global company that identifies itself simply as “Philips,” without

distinguishing between or among the various Philips entities. 40 Indeed, Philips proudly proclaims:

“We are a diverse team made up of some 80,000 individuals across over 100 countries, all with

different backgrounds, perspectives and experiences.” 41

            36.   Royal Philips’ effort to unite its various business segments and subsidiaries under

one brand and to construct a single Royal Philips image in the public eye is evident in its use of

the iconic blue Philips shield:


39
   For example, in 2019, Royal Philips, Philips NA, and four other Philips entities, filed suit against
a company alleging copyright infringement. In their complaint, the Philips entities held themselves
out collectively as “Philips” contending that “[t]he six named plaintiffs … are collectively in the
business, inter alia, of developing, manufacturing, selling, supporting, maintaining, and servicing
Philips’ medical imaging systems, including the proprietary hardware and software and related
trade secrets that are necessary – and/or may be used – to operate, service, and repair such
systems.” Complaint in Philips v. 626 Holdings, Inc., 9:19-cv-81263-RS (S.D. Fla. 2019), ECF
No. 1 (attached hereto as Exhibit “32”), at 5, ¶ 18.
40
     See generally, Royal Philips “About us” webpage (Exhibit “1” hereto).
41
     Id.

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       37.      The Philips shield in its present form was debuted in November 2013, as a result of

Royal Philips’ rebranding campaign and appears on the facade of the company’s headquarters in

Amsterdam. 42

       38.      That very same Royal Philips shield appears at the bottom of every Philips entity’s

website, including the Respironics site and the Philips websites that are intended for access by

foreign consumers in other countries around the world. 43 It also appears on the user manuals and

marketing materials of the Recalled Devices. 44

       39.      Royal Philips similarly uses its Philips “wordmark” to hold out a public image that

is seamless among the various Philips entities.




42
  See Royal Philips Press Release, Philips unveils new brand direction centered around innovation
and         people         (Nov.         13,         2013),         https://www.philips.com.qa/a-
w/about/news/archive/standard/news/2013/20131113-Philips-unveils-new-brand-direction-
centered-around-innovation-and-people.html (last accessed Oct. 8, 2022) (attached hereto as
Exhibit “160”).
43
   See, e.g., Philips Respironics website – About Philips Respironics (Exhibit “101” hereto);
Philips Egypt website, https://www.philips.com.eg/ (last accessed Oct. 7, 2022) (attached hereto
as Exhibit “161”); Philips Australia website, https://www.philips.com.au/?locale_code=en_au
(last accessed Oct. 7, 2022) (attached hereto as Exhibit “162”); Philips Chile website,
https://www.philips.cl/?locale_code=es_cl (last accessed Oct. 7, 2022) (attached hereto as Exhibit
“163”).
44
  See, e.g., DreamStation User Manual (Exhibit “47” hereto), at 33; REMstar SE User Manual
(Exhibit “48” hereto), at 25; Trilogy 100 User Manual (Exhibit “49” hereto), at 2; Philips
Respironics DreamStation Brochure (Exhibit “44” hereto), at 4; Philips Respironics DreamStation
Family Brochure (Exhibit “77” hereto), at 1.

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            40.   Royal Philips has stated that “[t]he Philips wordmark is our primary and most

recognized logo,” and commercial use of the wordmark is managed by the Royal Philips Brand

Team. 45 That same Philips wordmark is featured prominently at the top of the websites of various

Philips entities around the world. 46

            41.   In order to achieve consistency and a unified global presence, Royal Philips utilizes

“a worldwide communication and training program” that includes “mandatory sign-off on the

[company’s] General Business Principles.” 47 Royal Philips established these “General Business

Principles” in order to “set the standard for acting with integrity at Philips.” 48 According to the

company: these fundamentals “govern all our decisions and actions throughout the world and apply

equally to our group actions and to our conduct as individuals.” 49

            42.   Additionally, Royal Philips touts “a single standard operating model that defines

how we work together effectively to achieve our company objectives – the Philips Business

System (PBS)…. Having a single business system increases speed and agility, and enhances

standardization, quality and productivity, while driving a better, more consistent experience for

our customers.” 50 PBS is “an interdependent, collaborative operating model that covers all aspects




45
   See Royal Philips website, Philips Wordmark, https://www.philips.com/a-w/about/news/media-
library/20170101-Philips-Wordmark.html (last accessed Oct. 7, 2022) (attached hereto as Exhibit
“164”).
46
  See, e.g., Philips Egypt website (Exhibit “161” hereto); Philips Australia website (Exhibit “162”
hereto); Philips Chile website (Exhibit “163” hereto).
47
    See Royal Philips website, General Business Principles, https://www.philips.com/a-
w/about/investor-relations/governance/business-principles (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “33”).
48
     Id.
49
     Id.
50
     Royal Philips 2021 Annual Report (Exhibit “13” hereto), at 12.

                                                   18
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of how we operate,” 51 thereby signaling that Royal Philips intends all of its subsidiaries to depend

on each other and function as one.

          43.      The PBS “is leveraged to drive operational excellence and removes irregularity

caused by various operating models of recently acquired businesses.” 52 PBS includes

“Governance” as a key aspect: “[c]lear governance, roles and responsibilities empower people to

collaborate and act fast.” 53

          44.      When Royal Philips first announced the Recall on June 14, 2021, the company

stated on its website: “To date, Philips has produced millions of Bi-Level PAP, CPAP and

mechanical ventilator devices using the PE-PUR sound abatement foam.” 54

          45.      Shortly after the Recall, Royal Philips’ Chief Executive Officer (“CEO”) Frans van

Houten announced that: “In connection with the voluntary recall notification in June of this year,

the FDA has recently conducted an inspection of a Philips Respironics manufacturing facility in

the US.” 55 Mr. van Houten assured Philips’ shareholders and the public that: “We will work closely

with the FDA to clarify and follow up on the inspectional findings and its recent requests related


51
     Id. at 117.
52
     Id. at 233.
53
     Id. at 12.
54
   Royal Philips Press Release, Philips issues recall notification* to mitigate potential health risks
related to the sound abatement foam component in certain sleep and respiratory care devices (June
14,                                2021),                               https://www.philips.com/a-
w/about/news/archive/standard/news/press/2021/20210614-philips-issues-recall-notification-to-
mitigate-potential-health-risks-related-to-the-sound-abatement-foam-component-in-certain-
sleep-and-respiratory-care-devices.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit
“34”).
55
  Royal Philips Press Release, Philips provides update on earlier announced voluntary CPAP,
BiPAP and Mechanical Ventilator recall notification* (Nov. 14, 2021), https://www.philips.com/a-
w/about/news/archive/standard/news/articles/2021/20211113-philips-provides-update-on-earlier-
announced-voluntary-cpap-bipap-and-mechanical-ventilator-recall-notification.html (last accessed
Oct. 3, 2022) (attached hereto as Exhibit “35”).

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to comprehensive testing. Until we have concluded these discussions, we are not able to publicly

provide further details on these responses. We remain fully committed to supporting the

community of patients who rely on the affected devices, and the physicians and customers who

are dedicated to meeting patient needs.” 56

            46.   A year later, as part of its response to the Recall, Royal Philips’ CEO van Houten

announced that the Philips company is “focused on further unifying and centralizing our business

processes and systems to ensure that we are driving a patient centric and quality culture mindset

throughout the company at all times.” 57

            47.   The “Philips” brand is important to the company: “For some 130 years, our

meaningful innovations have improved the quality of life for millions of people around the world,

creating a strong and trusted Philips brand.” 58 In fact, Philips advertises that “[w]ith a 2021

brand value in excess of USD 12 billion, as defined by branding agency Interbrand, Philips is one

of the world’s strongest brands.” 59




56
     Id.
57
   See Philips video titled “Philips CEO Frans van Houten and Chief Business Leader Connected
Care Roy Jakobs talk about the various aspects of the field safety notice*,” available at:
https://www.philips.com/a-w/about/investor-relations/recall-sleep-and-respiratory/testing.html
(last accessed Oct. 3, 2022).
58
     See Royal Philips “About us” webpage (Exhibit “1” hereto).
59
  See Royal Philips website, https://www.philips.com/a-w/about/our-brand (emphasis added) (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “36”). Philips is ranked 57 in the Best Global
Brands by Interbrand, see https://interbrand.com/best-global-brands/philips/ (see the video on this
page titled “Global Panel: Business Transformation,” where Royal Philips’ Lorraine Barber-
Miller, EVP and Chief Marketing & E-Commerce Officer, discusses Philips’ global branding). In
her role, Ms. Barber-Miller “[l]ead[s] 3000+ practitioners globally with an annual budget of $1.3
billion across all…lines of business, and market segments” to “[d]riv[e] enterprise-wide
marketing.” See LinkedIn Profile for Lorraine Barber-Miller, Experience section,
https://www.linkedin.com/in/lorrainebarbermiller/ (last accessed Oct. 3, 2022) (attached as
Exhibit “37” hereto).

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            48.   In support of its contention that the company is a single, global enterprise, Philips

boasts: “Over the past decade we have transformed into a focused leader in health technology.”60

“At Philips, our purpose is to improve people’s health and well-being through meaningful

innovation. We aim to improve 2.5 billion lives per year by 2030, including 400 million in

underserved communities.” 61

            49.   Royal Philips employs a Chief Medical Officer to achieve those goals. The Chief

Medical Officer performs the following functions:

                  “Overall functional leadership for clinical innovation, clinical strategy, medical

                  affairs and health economics activities of the company”;

                  “work[ing] closely and collaboratively with business and functional leaders across

                  the organization”;

                  “driv[ing] the development and implementation of Philips’ medical strategies

                  across the Health Continuum, from the perspective of consumers, patients, and

                  providers”;

                  “development of strategic relations with highly respected academic institutions and

                  other strategic partners”;

                  “clinical trial programs in support of existing and next generation products”;

                  “provid[ing] clinical guidance for the development and market introduction of all

                  new products, solutions and services”; and




60
     See Royal Philips “About us” webpage (Exhibit “1” hereto).
61
     Id.

                                                   21
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                  “advis[ing] Philips’ board and management in making decisions on market

                  participation, product development, clinical development programs, business

                  development and product launches.” 62

            50.   Philips is proud of its place in history: “We have a proud heritage of ground-

breaking innovation that stretches back almost 130 years. Meaningful innovation – focused on our

customers’ needs – remains at the heart of everything we do.” 63 The company points out that

“Products come and go ... Technologies change ... But Philips is still about one thing: Creating

meaningful innovation that improves people’s health and well-being.” 64

            51.   Included as part of its long history of innovation, is Philips’ intellectual property

rights. 65 Philips tightly controls and protects all of its intellectual property, including that of its

CPAP, BiPAP, and ventilator devices, in various ways.

            52.   First, Royal Philips touts its Intellectual Property & Standards (IP&S) segment as

an “Integrated Intellectual Asset Management” in order to “manage all forms of IP for each of

Philips’ business areas.” 66 “Philips’ IP&S proactively pursues the creation of new Intellectual

Property (IP) and the protection of existing IP in close co-operation with Philips’ operating

businesses and Innovation & Strategy.” 67


62
   See LinkedIn Profile for Royal Philips Chief Medical Officer Jan Kimpen, Experience section,
https://www.linkedin.com/in/jankimpen/ (last accessed Oct. 3, 2022) (attached as Exhibit “38”
hereto).
63
     See Royal Philips “About us” webpage (Exhibit “1” hereto).
64
  Id. at 3 (Royal Philips copyrighted webpage representing Royal Philips invested €1.8 billion in
R&D in 2021 and holds 57,000 patent rights for its health technology business under the
“supervision” of Royal Philips’ Executive Committee and Supervisory Board).
65
     Id.
66
      See   Philips   IP&S    corporate video (Sept.    8,   2016),      available    at:
https://www.youtube.com/watch?v=oXGlmpNSCHQ (last accessed Oct. 3, 2022), at 1:25-1:40.
67
     See Philips 2021 Annual Report (Exhibit “13” hereto), at 84.

                                                   22
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          IP&S is a leading industrial IP organization providing world-class IP solutions to
          Philips’ businesses to support their growth, competitiveness and profitability.
          Royal Philips’ IP portfolio currently consists of 57,000 patent rights, 33,000
          trademarks, 114,000 design rights and 2,900 domain names. Philips filed 860 new
          patents in 2021, with a strong focus on the growth areas in health technology
          services and solutions. Philips earns substantial annual income from license fees
          and royalties. 68

          53.     Second, Royal Philips used a company named RIC Investments, LLC (“RIC”) for

its patenting. RIC was, initially, a wholly-owned subsidiary of Respironics, Inc., and an assignee

of various patents. 69 Thereafter, RIC became a wholly-owned subsidiary of Royal Philips

including, for the last time, in a Royal Philips’ 2017 Form 20-F filing. 70 As of 2018, RIC no longer

appears on the Form 20-F, but an entity named Philips IP Ventures B.V. is listed as a Royal Philips’

subsidiary. 71

                  a. Early patents believed to be related to Philips’ CPAP machines were assigned

                     to RIC. 72 Similarly, early Canadian patents involving CPAP and BiPAP devices

                     were filed by Respironics or RIC Investments and then assigned to Philips RS.73




68
     Id. at 22.
69
     Respironics, Inc. v. Invacare Corp., 437 F. App’x 917, 918 (Fed. Cir. 2011).
70
     See Royal Philips 2017 SEC 20-F filing, Exhibit 8, List of subsidiaries (Exhibit “20” hereto).
71
   See Royal Philips 2018 SEC Form 20-F filing, Exhibit 8, List of subsidiaries, available at:
https://www.results.philips.com/publications/ar18 (last accessed Oct. 7, 2022) (attached hereto as
Exhibit “144”).
72
  See, e.g., Estes, et al., Method and Apparatus for Providing Positive Airway Pressure to a
Patient, Patent No. US 6,932,084 B2, Aug. 23, 2005 (attached hereto as Exhibit “145”), at 1.
73
  See, e.g., Canadian patents: CA 2463488 filed by RIC Investments, at 1; CA 2410248 filed by
Respironics, at 1; and CA 2497915 filed by RIC, at 1. Each of these lists Philips RS North America
LLC as owner (attached hereto as Exhibits “146,” “147,” and “148,” respectively).

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                      b. U.S. patents believed to be related to Philips’ CPAP or BiPAP devices that

                         were filed by RIC or by Respironics, Inc. were assigned to Royal Philips. 74

                      c. U.S. patents believed to be related to Philips’ CPAP or BiPAP devices were

                         filed by Royal Philips and assigned to RIC (inverse of above). 75 These patents

                         reveal the comingling of inventors from Pennsylvania and the Netherlands. 76

                      d. U.S. patents filed by and assigned to Royal Philips have inventors listed as

                         employees of Philips RS. 77

          54.         Third, Royal Philips and Philips RS jointly prosecute Philips’ CPAP patent

infringement and unfair competition cases. For example, both Royal Philips and Philips RS were

complainants in two related cases, one filed with the U.S. International Trade Commission

(“USITC”) and another in the District of Delaware, alleging unfair trade practices based upon

infringing certain Philips’ CPAP patents. 78 The same counsel represents both Royal Philips and

Philips RS in these actions. Further, the USITC complaint refers to Royal Philips and Philips RS




74
  See, e.g., Jaffe, et al., Nasal and Oral Patient Interfaces, Patent No. US 10,105,099 B2 (Oct. 23,
2018) (attached hereto as Exhibit “149”), at 1.
75
   See, e.g., Ho, et al., Textured/Polished Respiratory Mask Seal and Mask, Patent No. US
9,399,107 B2 (July 26, 2016) (attached hereto as Exhibit “150”), at 1.
76
     See, e.g., id.
77
   See, e.g., Shelly, et al., Automatic Pressure Titration, Patent No. US 9,7344,322 B2 (Aug. 29,
2017) (attached hereto as Exhibit “151”), at 1 (listing Heather Ressler as an inventor); see also
Matthews, et al., Starting Pressure for Respiratory Therapy Devices, Patent No. US 10,286,165
B2 (May 14, 2019) (attached hereto as Exhibit “152”) (listing Gregory Matthews as an inventor);
LinkedIn profile for Greg Matthews, https://www.linkedin.com/in/greg-matthews-96a0491/
(attached hereto as Exhibit “153”); LinkedIn profile for Heather Ressler,
https://www.linkedin.com/in/heather-ressler-5298716/ (attached hereto as Exhibit “154”).
78
  See In the Matter of Certain UMTS and LTE Cellular Communication and Products Containing
the Same, Inv. No. 337-TA-1240 (USITC Dec. 17, 2020) (“USITC case”) (attached hereto as
Exhibit “155”) and Koninklijke Philips, N.V. v. Thales DIS AIS USA LLC et. al., No. 1:20-cv-
01713-CFC (D. Del. Dec. 17, 2020) (attached hereto as Exhibit “156”).

                                                       24
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collectively as “Philips” and reflects that Royal Philips and Philips RS act as an integrated unit

generally and, specifically, with respect to Philips’ Sleep and Respiratory Care business, averring

as follows:

          9. Since its founding in 1891, Philips has dedicated significant resources to research
          and development for the advancement of technology used around the world through
          its business units including those described below. Philips strives to make the world
          heathier and more sustainable through innovation with the goal of improving the
          lives of billions of people. Philips approaches healthcare as a continuum where its
          technologies can be applied across activities of healthy living, prevention,
          diagnosis, treatment and home care as depicted in this graphic:




                                                    ***

          12. Philips as a company is organized through various subsidiaries into four
          segments. These are: (1) Philips Diagnosis and Treatment; (2) Philips Connected
          Care and Health Informatics; (3) Philips Personal Health; and (4) an “other”
          segment that includes central administration and certain miscellaneous operations.
          See                                                          https://www.philips.com/a-
          w/about/news/archive/standard/news/press/2019/20190110-philips-realigns-the-
          composition-of-its-reporting-segments.html.[79] These four segments are further
          broken down into several separate entrepreneurial business units. The domestic
          business unit that is relevant to this investigation is Philips’ Sleep (“Philips Sleep”),
          which is part of Philips RS North America LLC (f/k/a Respironics, Inc.), a wholly
          owned subsidiary of KPNV. Philips Sleep has made significant domestic
          investments in plant and equipment, and research and development directed to
          products practicing one or more claims of each of the Asserted Patents.

          13. Philips Sleep falls within the Sleep and Respiratory Care business of the Philips
          Connected        Care       Segment.        See      https://www.usa.philips.com/c-

79
     Last accessed Oct. 7, 2022.

                                                     25
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          e/smartsleep.html.[80] Philips Sleep developed the hardware and software
          behind the Continuous Positive Airway Pressure (“CPAP”) Devices described
          herein, including products that have been or are being developed and sold by
          Philips Sleep in the United States supporting United States domestic industry.

          14. Through this Philips Sleep business unit, Philips researches and develops
          sleep therapy devices with monitoring technology, develops and sells products
          that allow individuals to monitor and improve their health, and transfers or
          licenses its technologies and/or the patents that protect its technologies to
          customers who use the technologies in their products. As a result of these
          efforts, Philips has become a world leader in health monitoring technology and
          innovation, including sleep therapy devices such as its CPAP devices, and a
          major contributor to the United States economy and jobs.

          15. For example, Philips Sleep produces products that have been or are being
          developed and sold in the United States, including sleep therapy devices such
          as CPAP devices, which are used by patients with sleep apnea and which
          collect various information that can be transmitted, for example, to clinicians
          and the user’s own devices to monitor the patient’s progress and manage
          patient compliance and therapy. The connected care system utilizing the
          CPAP devices (e.g., DreamStation, DreamStation2, SystemOne, DreamStation
          Go (DsGo), etc.) integrates UMTS and LTE Cellular Communication Modules
          to communicate through the cellular network to clinical products such as Care
          Orchestrator (predecessor EncoreAnywhere) and patient products such as
          DreamMapper.
          https://philipsproductcontent.blob.core.windows.net/assets/20200424/adf8ec9a99
          3041e8a097aba700e2c68e.pdf.[81] Philips enables the care of more than 9.7 million
          people through cloud-based patient monitoring systems.

          16. The Philips Sleep business unit expands Philips’ capabilities in personal health
          management and supports Philips’ longstanding commitment to deliver integrated
          solutions across the health continuum.

          17. A domestic industry exists … relating to Philips Sleep’s DreamStation,
          DreamStation2, SystemOne, DreamStation Go (DsGo) protected by the Asserted
          Patents, including related products, based on Philips Sleep’s large investments
          made in plant and equipment, employment of labor and capital, domestic
          manufacturing, assembly, testing, engineering, and research and
          development, among other activities.

          18. A domestic industry is also in the process of being established … relating to
          Philips Sleep’s DreamStation2 and DreamStation Go products protected by the
          Asserted Patents. Philips Sleep has taken concrete steps in the form of

80
     Last accessed Oct. 7, 2022.
81
     Unable to access link as of Oct. 7, 2022.

                                                  26
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            significant investments in plant and equipment, labor and capital, testing,
            engineering and research and development to establish a domestic industry in
            the DreamStation2 and DreamStation Go products, which are expected to be
            commercially released during 2021, and therefore there is a significant likelihood
            that this industry will be established in the near future. 82

            55.    Again, much of the information regarding the specific activities involving Philips’

intellectual property, including Royal Philips and the individual Philips’ units and their employees,

is shielded from public view. Formal discovery into Philips’ patent research, development, and

rights would shed light on Royal Philips’ control over and ownership of the intellectual property

related to the Recalled Devices. However, from records that are available publicly, Royal Philips

was involved with, controlled, prosecuted, and defended the intellectual property of the Recalled

Devices.

            56.    Philips claims its “management structure combines responsible leadership and

independent supervision.” 83 The company explains that “[t]he Executive Committee operates

under the chairmanship of the Chief Executive Officer and supports the Board of Management in

the deployment of Philips’ strategy and policies, and the achievement of its objectives and

results.” 84

            57.    Royal Philips’ Executive Committee – its managing body – is in charge of

developing the “Risk Appetite” for the whole of the Philips Group. 85 The Executive Committee



82
     See USITC case (emphasis added).
83
     Id.
84
   See Royal Philips website, https://www.philips.com/a-w/about/executive-committee.html (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “39”). “Under the chairmanship of the
President/Chief Executive Officer (CEO), and supported by the other members of the Executive
Committee, the members of the Board of Management drive the company’s management agenda
and share responsibility for the continuity of the Philips group, focusing on long-term value
creation.” Philips 2021 Annual Report (Exhibit “13” hereto), at 117.
85
     See Royal Philips 2021 Annual Report (Exhibit “13” hereto), at 79.

                                                   27
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“identifies and manages the risks Philips face in realizing its objectives,” 86 referring to Royal

Philips and its subsidiaries. In performing its risk management, the Executive Committee considers

information from both internal and external sources, including from its subsidiaries.

            58.   Since at least 2017, each of the named operating segments of the Philips enterprise

has had representation in the form of a “Business Leader” on Royal Philips’ Executive

Committee. 87 For example, Mr. Roy Jakobs, who is in charge of Philips’ Connected Care

businesses that include Philips RS 88 (and who is scheduled to become the CEO for Royal Philips

on October 15, 2022 89), sits on the Executive Committee. 90

            59.   In its 2021 Annual Report, Royal Philips discusses the creation of Innovation Hubs

“[t]o drive innovation, effectiveness and efficiency, and to enable locally relevant solution

creation.” 91 The locations of these hubs are in Eindhoven (Netherlands), Cambridge (USA),

Bangalore (India), and Shanghai (China). 92 Importantly “[t]he four hubs form a global network,




86
     Id.
87
     See Royal Philips 2017 SEC Filing (Exhibit “20” hereto), at 49, 53, 58.
88
    See Royal Philips First-Quarter Results 2022 (Apr. 25, 2022), available at:
https://www.philips.com/a-w/about/news/archive/corpcomms/news/press/2022/philips-first-
quarter-results-2022.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit “40”) (“Philips
has a strong program management in place led by Roy Jakobs, Chief Business Leader of the
Connected Care businesses and member of Philips’ Executive Committee, to ensure the
Respironics field action is executed with speed and accuracy.”).
89
   See Royal Philips Press Release, Philips announces CEO succession (Aug. 16, 2022),
https://www.usa.philips.com/a-w/about/news/archive/standard/news/press/2022/20220816-
philips-announces-ceo-succession.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit
“41”).
90
    See Royal Philips Chief Business Leader of Connected Care, Roy Jakobs, Profile,
https://www.philips.com/a-w/about/executive-committee/roy-jakobs.html (last accessed Oct. 9,
2022) (attached hereto as Exhibit “42”).
91
     Royal Philips 2021 Annual Report (Exhibit “13” hereto), at 21.
92
     Id. at 22.

                                                  28
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together with the other smaller innovation and research sites in their respective regions, to provide

access to each other’s capabilities to serve businesses, markets and customers globally.” 93

            60.   According to Royal Philips, the Eindhoven Hub is “Philips’ largest cross-functional

Innovation Hub, hosting the global headquarters of most of our central innovation organizations.

Many of the company’s core research programs are also run from here, as well as innovation for

solution & services delivery.” 94

            61.   The Cambridge Hub is “located at the heart of medical innovation within the North

America market. It has innovation partnerships with top engineering institutions like MIT, with

top clinical sites, and with government funding agencies like NIH (National Institutes of Health)

and BARDA (Biomedical Advanced Research and Development Authority).” 95

            62.   Philips’ drive for company-wide standardization extends to other aspects of the

Philips enterprise. For example, “Philips runs an Integrated Supply Chain, which encompasses

supplier selection and management through procurement, manufacturing across all the industrial

sites, logistics and warehousing operations, as well as demand/supply orchestration.” 96

            63.   Further, Philips invests in “embedding quality in our organizational culture as well

as consolidating and standardizing our Quality Management Systems (QMS). … With consistency

of purpose, top-down accountability, consolidation, standardization and continuous

improvement, we aim to drive the adoption of a quality mindset as well as improved quality and

safety outcomes throughout the enterprise. . .Quality is an integral part of the evaluation of all

levels of management. We perform extensive programs to monitor and evaluate product


93
     Id.
94
     Id.
95
     Id.
96
     Id. at 25.

                                                   29
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performance and correct or remove any product from service that presents harm to patients or

users. In the event of issues we run extensive programs with the goal of recalling, repairing or

replacing affected products and attempting to prevent such issues from reoccurring.” 97

          64.    Despite conducting and presenting itself as a cohesive, unified company, with

uniform business standards and operating procedures designed to maintain and protect the Philips

brand, in dealings with customers, suppliers, patients, doctors, and regulatory bodies, Royal Philips

has created a complex, confusing, and ever-changing labyrinth of interrelated and interconnected

Philips entities and holding companies throughout the world. 98 Much of the information regarding

the specific activities of the individual Philips units and their employees is shielded from public

view. Formal discovery into Philips’ corporate structure would shed light on the level of Royal

Philips’ control over and ownership of the specific entities involved in the allegations related to

the responsibility for the Recalled Devices. However, from records that are available publicly,

Royal Philips was involved with and controlled not only the sales and marketing of the Recalled

Devices, but also the decisions regarding PE-PUR foam, and the recall of the devices containing

PE-PUR foam.

                               III.   JURISDICTION AND VENUE

          65.    This Court has subject matter jurisdiction over each individual action pursuant to

28 U.S.C. § 1332, because the amount in controversy in each action exceeds $75,000.00, exclusive

of interest and costs, and because there is complete diversity of citizenship between each Plaintiff

and each Defendant.




97
     Id. at 85 (emphasis added).
98
     Royal Philips 2020 SEC filing, Exhibit 8, List of Subsidiaries (Exhibit “16” hereto).

                                                  30
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       66.     Each Philips Defendant has significant contacts with the Western District of

Pennsylvania such that they are subject to personal jurisdiction of the Court. Further, when

convenient for Royal Philips, the company concedes it is subject to personal jurisdiction of the

Court. For example, in the SoClean, Inc. v. Koninklijke Philips N.V., et al., 2:22-cv-542 litigation,

transferred to In re SoClean, Inc. Marketing, Sales Practices and Prod. Liab. Litig., MDL No.

3021 (W.D. Pa.), counsel for Royal Philips filed a Declaration stating that “KPNV [Royal Philips]

acknowledged and conceded that it was subject to specific personal jurisdiction in Pennsylvania

on the claims asserted by SoClean in th[at] action.” 99

       67.     This Court has personal jurisdiction over each Philips Defendant for the additional

reason that they have engaged in substantial, systematic and continuous contacts with

Pennsylvania by, inter alia, regularly conducting and soliciting business in Pennsylvania and this

District, deriving substantial revenue from products and/or services provided to persons in

Pennsylvania and this District.

       68.     When this litigation first commenced, the same lawyers represented both Philips

NA and Philips RS. Both entities argued in front of the Judicial Panel on Multidistrict Litigation

for consolidation in Massachusetts, where Philips NA is headquartered. According to their joint

brief, “the District of Massachusetts has the strongest nexus to the litigation.” MDL No. 3014, Dkt.

No. 47 at 13 (J.P.M.L. July 29, 2021). However, they also argued that alternatively, “a clear nexus

to the matter …, the Western District of Pennsylvania is home to the other defendant, Philips RS

North America LLC (with headquarters in Murrysville, PA) and is also well-equipped to handle

the consolidated actions.” Id. at 8.



99
  See Declaration of William B. Monahan in Support of Motion to Dismiss, Case 2:22-mc-0152-
JFC, at ECF No. 126-1 (attached hereto as Exhibit “43”).

                                                 31
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       69.      The PolyTech Defendants manufactured, treated, and processed the PE-PUR foam

by, among other things, applying an adhesive backing and an acoustic lining to the foam, which

was provided to Philips for integration in the Recalled Devices within the Western District of

Pennsylvania.

       70.      Each Defendant has significant contacts in each of the States and Territories of the

United States, such that personal jurisdiction would be proper in any of them in that they

manufactured and supplied materials and Recalled Devices that they knew would be sold to and

used by consumers throughout the country.

       71.      Venue is proper in this District on account of the MDL designation pursuant to 28

U.S.C. § 1407 and under 28 U.S.C. § 1391 because a substantial part of the events or omissions

giving rise to the claims occurred in this District.

                               IV.     FACTUAL ALLEGATIONS

       A.       CPAP AND BIPAP MACHINES AND VENTILATORS ARE PRESCRIBED
                TO TREAT BREATHING DISORDERS.

       72.      Sleep apnea is a sleeping disorder in which breathing is disturbed during sleep.

These disturbances are called “apneas.”

       73.      According to the Mayo Clinic, the main types of sleep apnea are obstructive sleep

apnea, central sleep apnea, and complex sleep apnea syndrome (also known as treatment-emergent

central sleep apnea).

       74.      Obstructive sleep apnea is the most common type of sleep apnea. It occurs when

the muscles in the back of the throat relax during inhalation, which causes the airway to narrow or

close and prevent sufficient air from passing through. This in turn lowers the oxygen level in the

blood, which causes the brain briefly to wake the body from sleep to reopen the airway. This

reawakening may be so brief that the patient does not remember it, and it may be associated with


                                                  32
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snorting, choking, or gasping. It can happen anywhere from a few times per hour to once every

few minutes, and can prevent the patient from reaching the deep, restful phases of sleep.

        75.     Central sleep apnea occurs when the brain fails to transmit signals to the breathing

muscles. As a result, the body stops breathing, which can cause waking with shortness of breath,

difficulty getting to sleep, or difficulty staying asleep.

        76.     Complex sleep apnea syndrome occurs when a patient has both obstructive sleep

apnea and central sleep apnea. An image showing how an airway can be blocked as a result of

sleep apnea appears below:




        77.     CPAP therapy is a common treatment for sleep apnea. In CPAP therapy, a machine

delivers a continuous flow of air through a mask that is placed over the nose or mouth, which

increases air pressure in the throat so that the airway does not collapse during inhalation. CPAP

therapy assists breathing during sleep and can successfully treat sleep apnea. The illustration below

shows a generic CPAP machine being used by a patient while sleeping.




                                                   33
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       78.     Another therapy to treat sleep apnea includes use of BiPAP machines, which use

two different pressures – one for inhaling and one for exhaling.

       79.     Patients customarily place CPAP or BiPAP machines on a nearby nightstand or

shelf. A hose connects the unit to a mask, which is worn over the nose or mouth during sleep.

Below is an image of a Philips DreamStation machine on a nightstand.




       80.     Ventilators are often used to treat respiratory failure. Ventilators push air into and

out of the patient’s lungs like a bellows, typically through a tube that is connected to the machine

on one end and inserted through the patient’s nose or mouth into the trachea on the other end.

Patients are typically sedated while on ventilation because it can otherwise cause intense pain.

Ventilators can also be used in other circumstances, such as during surgery when general




                                                34
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anesthesia may interrupt normal breathing. There are also ventilators for home use. The following

image from the National Institute of Health (“NIH”) shows a typical ventilator and how it works:




       B.     THE EVOLUTION OF CPAP, BIPAP, AND VENTILATOR DEVICES
              CONTAINING PE-PUR FOAM.

       81.    The basic technology used in CPAP and BiPAP devices was developed in 1980 by

an Australian pulmonologist, Dr. Colin Sullivan, who used it to treat dogs with respiratory

problems, before the technology was adapted for humans.

       82.    Respironics commercialized this technology and sold the first publicly available

CPAP device in 1985. ResMed, an industry competitor, followed with the release of its CPAP

device in 1989.

       83.    These first-generation CPAP and BiPAP devices created a new and commercially

viable field of respiratory therapy. The devices, however, were large and noisy, resulting in an

                                               35
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“arms-race” between manufacturers to develop devices that were smaller, more responsive to

patient breathing patterns, and quieter.

          84.         The noise level of CPAP and BiPAP devices became a driver of adult consumer

preference because loud devices interrupted the peaceful sleep of both the patient and their partner.

          85.         In an attempt to develop quieter devices, some device manufacturers, including

Philips, filled the CPAP, BiPAP, and ventilator devices with sound abating foam to reduce the

volume of noise emitted from the devices.

          86.         In fact, the alleged relative quiet nature of the DreamStation products with PE-PUR

foam factored prominently into Philips’ marketing. 100 Philips represents that it extensively studied

and measured the amount of sound produced by DreamStation products. Philips even included an

infographic indicating DreamStation products are barely louder than a whisper: 101




100
         See     Philips      Respironics      DreamStation     Brochure, available  at:
https://www.documents.philips.com/assets/20170523/62e4f43a1349489ba3cca77c0169c6ef.pdf
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “44”).
101
      See id. at 3.

                                                      36
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          87.    Other manufacturers did not utilize foam for sound abatement, instead they utilized

silencing technology to abate the sound from the devices.

          88.    Philips manufactures and sells CPAP and BiPAP machines and ventilators, among

other products. According to Royal Philips’ 2020 Annual Report, 102 Sleep & Respiratory Care

(“SRC”) constituted 49% of its total sales in its Connected Care line of business, 103 which, in turn,

accounted for 28% of Royal Philips’ overall sales of about €19.5 billion. Philips has sold millions

of CPAP, BiPAP, and ventilator devices in the United States and elsewhere throughout the globe.

In 2021, there was “a 23% decline in [Royal Philips’] Connected Care businesses. This was largely

due to the Respironics recall…” 104

          89.    Philips provides a User Manual with its CPAP, BiPAP, and ventilator devices.

Royal Philips owns the copyright to all, or most, of those User Manuals. 105

          90.    Philips made the decision to use PE-PUR foam for sound abatement purposes in its

CPAP, BiPAP, and ventilator devices. That decision was made for products distributed by Philips’

entities throughout the globe including, but not limited to the United States, Australia, Canada,

Israel, and Chile. 106




102
         See     Royal        Philips     2020       Annual       Report,        available     at:
https://www.results.philips.com/publications/ar20 (last accessed Oct. 7, 2022) (attached hereto as
Exhibit “45”).
103
   Id. at 18. Prior to 2019, SRC was part of Philips’ Personal Health businesses. See Royal Philips
2018 Annual Report, available at: https://www.philips.com/c-dam/corporate/about-
philips/sustainability/downloads/other/philips-full-annual-report-2018.pdf (last accessed Oct 4,
2022) (attached hereto as Exhibit “46”), at 5.
104
      Royal Philips 2021 Annual Report (Exhibit “13” hereto), at 28.
105
  See, e.g., DreamStation User Manual (attached hereto as Exhibit “47”), at 2; REMstar SE User
Manual (attached hereto as Exhibit “48”), at 2.
106
   See Royal Philips Q2 2022 Results, available for download at Philips Q2 2022 Quarterly
Results | Philips Results (last accessed Oct. 3, 2022) (attached hereto as Exhibit “50”), at 33.

                                                 37
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             91.   Polyurethane is an organic polymer in which urethane groups connect the molecular

units.

             92.   The two main types of polyurethane are polyester and polyether. Polyester

polyurethane has better shock absorption and vibration dampening properties and is commonly

used for soundproofing or sound dampening.

             93.   It has been known for decades that polyester polyurethane is susceptible to

hydrolysis, the chemical breakdown of a compound due to reaction with water, particularly in

medical applications. For example, a chapter of a scientific encyclopedia published in 2013 states:

“Poly(ester urethanes) were the first generation of PURs used in medical devices but were found

unsuitable for long-term implants because of rapid hydrolysis of the polyester soft segment.” 107

             94.   Polyether polyurethane, on the other hand, is less prone to hydrolysis. The same

scientific encyclopedia chapter notes that polyether polyurethanes “with excellent hydrolytic

stability replaced poly(ester urethanes) and have been used in medical devices for the past two

decades.” 108

             95.   There were readily available alternative designs available to Philips, other than to

use PE-PUR foam in CPAP, BiPAP, and ventilator devices for sound abatement. These include,

for example, other types of sound abating foam and silencing technologies that do not use foam.




107
    Pal Singh Chauhan, N., and Kumari Jangid, N., “Polyurethanes and Silicone Polyurethane
Copolymers,” Chapter in Encyclopedia of Biomedical Polymers and Polymeric Biomaterials,
January                        2013,                     available                      at:
https://www.researchgate.net/publication/236144965_POLYURETHANES_AND_SILICONE_
POLYURETHANE_COPOLYMERS (last accessed Oct. 3, 2022).
108
      Id.

                                                    38
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       96.     For example, Philips’ principal competitor, ResMed, uses polyether polyurethane

foam or silicone-based foam, not PE-PUR foam, for sound dampening. 109

       C.      PHILIPS DESIGNED,    MANUFACTURED,    AND    MARKETED
               ADULTERATED CPAP, BIPAP, AND VENTILATOR DEVICES.

               1.     Royal Philips Was Directly Involved With Launching And Marketing
                      The Recalled Devices.

       97.     Philips designed and manufactured CPAP and BiPAP devices and ventilators,

including the Recalled Devices.

       98.     From as early as 2009, Royal Philips took a lead role in launching and marketing

several of the Recalled Devices. It did so by “back[ing] … launches with the requisite support in

advertising and promotion” 110; issuing press releases that promoted the devices; participating in

medical device conferences that took place in the United States and elsewhere; and maintaining a

sleepapnea.com website that educated consumers and providers on Philips devices. Royal Philips’

public statements are replete with examples of this conduct.

       99.     On June 2, 2009, Philips Respironics issued a press release stating, “Royal Philips

Electronics (NYSE:PHG, AEX: PHI) today introduced the Trilogy100 portable at-home life-

support ventilator.” 111 The Trilogy 100 is one of the Recalled Devices. That same June 2, 2009



109
  See ResMed website – An update from ResMed’s CEO, https://www.resmed.com/en-us/other-
manufacturer-recall-2021/ (last accessed Oct. 3, 2022) (attached hereto as Exhibit “51”).
110
   Thomson Reuters StreetEvents, Edited Transcript, PHIA.AS – Q1 2017 Koninklike Philips NV
Earnings                   Call                (Apr.                 24,                   2017),
https://www.results.philips.com/publications/q117/downloads/files/en/philips-first-quarter-
results-2017-transcript.pdf?v=20170723194740 (last accessed Oct. 3, 2022) (attached hereto as
Exhibit “52”), at 5.
111
    See Philips Respironics Press Release, Philips Respironics, Philips Expands Home Healthcare
Commitment with Portable Life-Support Ventilator; Offers Ease of Use, Portability and Versatility
for                   Patient                   (June                   2,               2009),
https://web.archive.org/web/20090827084718/http://www.prnewswire.com/mnr/respironics/3862
6/ (last accessed Oct. 3, 2022) (attached hereto as Exhibit “53”).

                                               39
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press release directed media inquiries to Steve Kelly, 112 who at the time, was serving as the

Director of Global Public Relations and Corporate Communications of Philips Healthcare. 113

While in this position, he “[m]anaged all public relations and corporate communications initiatives

on behalf of the largest sector of Philips Electronics while coordinating activities with the HQ team

in Amsterdam.” 114

             100.   On October 13, 2009, Philips Respironics issued a press release stating, “Royal

Philips Electronics (NYSE: PHG, AEX: PHI) today introduced the next generation Philips

Respironics Sleep Therapy System at Medtrade 2009, the leading conference and expo for the

home medical equipment industry.” 115 The Sleep Therapy System referred to in press release was

the System One 60, 116 one of the Recalled Devices.

             101.   On August 29, 2016, Royal Philips issued a press release that, among other things,

stated that Royal Philips “will showcase its latest COPD and respiratory solutions at the upcoming

European Respiratory Society International Congress (ERS) in London, from September 3-7.” 117



112
      Id.
113
   See LinkedIn Profile for Steve Kelly (Sept. 22, 2022), https://www.linkedin.com/in/stvkly (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “54”).
114
      Id.
115
    Philips Respironics Press Release, Philips Unveils Intelligent Sleep Apnea Therapy System To
Home Healthcare Industry (Oct. 13, 2009), http://multivu.prnewswire.com/mnr/brunner/40190/
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “55”).
116
   See id. (offering media images of the System One 60 device and referring to the “breakthrough
System One Humidity Control” and “comfort enhance[ing] System One Resistance Control”
features).
117
   See Royal Philips Press Release, Philips Raises Awareness for Chronic Obstructive Pulmonary
Disease (COPD) with Platinum Sponsorship of Leonard Nimoy Tribute Documentary (Aug. 29,
2016),                                                           https://www.usa.philips.com/a-
w/about/news/archive/standard/news/press/2016/20160829-COPD-awareness-with-platinum-
sponsorship-Leonard-Nimoy-tribute-documentary.html (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “56”).

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             102.   On September 1, 2016, Royal Philips issued a press release regarding its promotion

of the DreamStation CPAP, one of the Recalled Devices, at an international trade show:

             At this year’s Internationale Funkausstellung (IFA) in Berlin, Germany, Royal
             Philips (NYSE: PHG, AEX: PHIA) today announced a range of new products . . .
             Key product innovations being showcased at IFA 2016 that support Philips’
             commitment to helping consumers stay healthy, live well and enjoy life include: . .
             . The Dream Family, comprised of the DreamWear mask, DreamStation CPAP
             (Continuous Positive Airway Pressure) device, and DreamMapper patient
             engagement app. . . . 118

The September 1, 2016 press release directed media and others interested in obtaining further

information to Netherlands-based Elena Calamo Specchia, 119 who at the time, was working in

Royal Philips’ Amsterdam office as the Royal Philips Spokesperson and Director of the Royal

Philips Group Press Office. 120

             103.   Also on September 1, 2016, Royal Philips held a press conference at the IFA trade

show, 121 during which Netherlands-based Pieter Nota (who at the time was Royal Philips’ CEO of

Personal Health Businesses, Chief Marketing Officer, and Member of the Executive Committee

and Board of Management) 122 made a presentation promoting the DreamStation as well as other




118
   See Royal Philips Press Release, Philips Introduces a Wide Range of Connected Personal
Health Innovations at IFA 2016 (Sept. 1, 2016), https://www.philips.com/a-
w/about/news/archive/standard/news/press/2016/20160901-philips-introduces-a-wide-range-of-
connected-personal-health-innovations-at-ifa-2016.html (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “57”).
119
      Id.
120
       See LinkedIn Profile for Elena Calamo Specchia (Sept. 29, 2022),
https://nl.linkedin.com/in/elena-calamo-specchia-b3a17418 (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “58”).
121
   Royal Philips Press Release, Philips Introduces a Wide Range of Connected Personal Health
Innovations at IFA 2016 (Sept. 1, 2016) (Exhibit “57” hereto).
122
   See LinkedIn Profile for Pieter Nota, https://de.linkedin.com/in/pieter-nota-5526a235 (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “59”).

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Philips products that were being showcased at IFA. 123 The press conference was live-streamed on

Royal Philips’ website, www.ifa.philips.com. 124

             104.   On January 5, 2017, Royal Philips issued a press release announcing that “Royal

Philips” was showcasing its products, including the DreamStation Go, at the International

Consumer Electronics Show (CES) in Las Vegas. 125 The press release quoted Pieter Nota as

stating, “In areas such as oral health, mother and child care, sleep and respiratory care, heart health,

and home monitoring, Philips is showcasing its ecosystem of connected products and services at

CES, once again demonstrating its leadership in the world of digital health.” 126 As with the

September 1, 2016 press release, Royal Philips’ Elena Calamo Specchia was again listed as the

media contact. 127

             105.   On January 24, 2017 in a Royal Philips investor call, CEO Frans van Houten

remarked on the “success” of Philips’ Dream Family of products and was enthusiastic about

introduction of the DreamStation Go, one of the Devices at issue here:

             Building on the success of the Philips’ integrated Dream Family solution in the
             United States, Europe and Japan, we recently introduced a Philips DreamStation




123
   See TechEvents YouTube video, Philips Press Conference Full at IFA 2016 (Sept. 1, 2016),
available at: https://www.youtube.com/watch?v=ZU5PFn91_oU (last accessed Oct. 3, 2022), at
8:28-10:00.
124
   Royal Philips Press Release, Philips Introduces a Wide Range of Connected Personal Health
Innovations at IFA 2016 (Exhibit “57” hereto).
125
    Royal Philips Press Release, Philips Highlights Cloud-Based Innovations at the Forefront of
Digital    Health      During      CES       (Jan.   5,     2017),   https://www.philips.com/a-
w/about/news/archive/standard/news/press/2017/20170105-philips-highlights-cloud-based-
innovations-at-the-forefront-of-digital-health-during-ces.html (last accessed Oct. 3, 2022)
(attached hereto as Exhibit “60”).
126
      Id.
127
      Id.

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             Go portable CPAP solution. DreamStation Go is a compact and lightweight device
             designed to provide sleep therapy for travelers with obstructive sleep apnea. 128

             106.   On March 7, 2017, Royal Philips issued a press release in which “Royal Philips . .

. announced the expansion of its Dream Family of products with the new DreamStation Advanced

Therapies” products, which consisted of “the DreamStation Advanced Therapies BiPAP autoSV

andAVAPS devices,” 129 both of which are Recalled Devices at issue in this litigation.

             107.   On April 11, 2017, Royal Philips issued a press release in which “Royal Philips . .

. announced the launch of DreamStation Go.” 130 Royal Philips’ Elena Calamo Specchia was again

listed as one of the media contacts on the press release. 131

             108.   On April 24, 2017, in a Royal Philips investor call, Royal Philips CFO, EVP and

Member of the Board of Management Abhijit Bhattacharya 132 informed investors that Royal

Philips would launch the DreamStation Go and provide financial support for the advertising and

promotion of the device:


128
   Thomson Reuters StreetEvents, Edited Transcript, PHIA.AS – Q4 2016 Koninklike Philips NV
Earnings Call (Jan. 24, 2017), available at: http://www.philips.com/static/qr/2016/q4/philips-
fourth-quarter-results-2016-transcript.pdf (last accessed Oct. 3, 2022) (attached hereto as Exhibit
“61”), at 5.
129
    See Royal Philips Press Release, Philips expands its award-winning DreamStation platform to
treat patients with most complex sleep and breathing needs (Mar. 7, 2017),
https://www.prnewswire.com/news-releases/philips-expands-its-award-winning-dreamstation-
platform-to-treat-patients-with-most-complex-sleep-and-breathing-needs-300418735.html (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “62”).
130
   See Royal Philips Press Release, Philips Simplifies Travel for Sleep Apnea Patients with New
Compact and Connected DreamStation Go Sleep Therapy Device (Apr. 11, 2017),
https://www.philips.com/a-w/about/news/archive/standard/news/press/2017/20170411-philips-
simplifies-travel-for-sleep-apnea-patients-with-new-compact-and-connected-dreamstation-go-
sleep-therapy-device.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit “63”).
131
      Id.
132
     See Royal Philips webpage for Abhijit Bhattacharya, https://www.philips.com/a-
w/about/executive-committee/abhijit-bhattacharya.html (last accessed Oct. 10, 2022) (attached
hereto as Exhibit “64”). Mr. Bhattacharya is based in Eindhoven, the Netherlands. Id.

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       As Frans [van Houten] mentioned, in Health & Wellness, we have a solid pipeline
       of new product introductions . . . We will also launch the Philips DreamStation Go
       portable CPAP solutions. We will back these launches with the requisite support in
       advertising and promotion, which will have a dampening effect on the results of
       Personal Health in the second quarter. However, I hasten to add that we do expect
       to have continued improvements in operating results for Personal Health. 133

       109.   On September 8, 2017, Royal Philips issued a press release announcing that, “At

the European Respiratory Society (ERS) International Congress 2017 in Milan, Italy (September

9-13), Royal Philips (NYSE: PHG, AEX: PHIA), a global leader in health technology, will

showcase and announce the global expansion of its suite of cutting-edge connected respiratory and

sleep solutions,” which included “the brand-new DreamStation Go,” and the “DreamStation

BiPAP AutoSV and AVAPS solutions.”134

       110.   On November 13, 2017, Royal Philips issued a press release announcing that

“Royal Philips” would be showcasing several new medical products, including the DreamStation

Go, at the 2017 MEDICA World Forum for Medicine in Düsseldorf, Germany. 135 The press release

quoted Frans van Houten as stating that “[t]he intelligent sleep therapy, respiratory care and

ultrasound solutions we are showcasing at this year’s MEDICA bridge important transitions from

healthy living to diagnosis, and clinical treatment to home care and chronic disease management,



133
   Thomson Reuters StreetEvents, Edited Transcript, PHIA.AS – Q1 2017 Koninklike Philips NV
Earnings Call (Apr. 24, 2017) (Exhibit “52” hereto), at 5.
134
   See Royal Philips Press Release, Philips showcases expanding connected respiratory and sleep
solutions     at     ERS      2017       (Sept.    8,    2017),       https://www.philips.com/a-
w/about/news/archive/standard/news/press/2017/20170908-philips-showcases-expanding-
connected-respiratory-and-sleep-solutions-at-ers-2017.html (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “65”).
135
     See Royal Philips Press Release, Philips innovations at MEDICA 2017 connect
people,technology and data across the health continuum (Nov. 13, 2017),
https://www.philips.com/a-w/about/news/archive/standard/news/press/2017/20171113-philips-
innovations-at-medica-2017-connect-people-technology-and-data-across-the-health-
continuum.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit “66”).

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allowing patients to return home and enjoy the most out of life as quickly as possible.” 136 As with

other similar press releases, Royal Philips’ Elena Calamo Specchia was listed as the media

contact. 137

             111.   On November 14, 2017, Royal Philips issued a press release promoting its

involvement in World COPD Day. 138 The press release also promoted the DreamStation Advanced

Therapies products and the Trilogy hospital-to-home ventilators. 139 Royal Philips’ Elena Calamo

Specchia is again listed as the media contact. 140

             112.   On January 29, 2018, Royal Philips issued a press release announcing that “Royal

Philips” was participating in the 2018 Arab Health Exhibition and Congress on January 29, 2018

through February 1, 2018, and was showcasing several Philips products, including the

DreamStation Go. 141 The press release directed media inquiries to Netherlands-based Joost

Maltha, 142 as Royal Philips’ Senior Global Press Officer, Director of Communications. 143




136
      Id.
137
      Id.
138
   See Royal Philips Press Release, Philips launches global education and empowerment effort for
World       COPD         Day        (Nov.       14,      2017),        https://www.philips.com/a-
w/about/news/archive/standard/news/press/2017/20171114-philips-launches-global-education-
and-empowerment-effort-for-world-copd-day.html (last accessed Oct. 3, 2022) (attached hereto as
Exhibit “67”).
139
      Id.
140
      Id.
141
   See Royal Philips Press Release, Philips Breaks Health Technology Boundaries at Arab Health
2018             (Jan.            29,              2018),              https://www.philips.com/a-
w/about/news/archive/standard/news/press/2018/20180129-philips-breaks-health-technology-
boundaries-at-arab-health-2018.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit “68”).
142
      Id.
143
    See LinkedIn Profile for Joost Maltha (Sept. 29, 2022), https://nl.linkedin.com/in/joostmaltha
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “69”).

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             113.   On April 16, 2019, Royal Philips issued a press release announcing that Philips

would be promoting “its latest offerings” at the Medtrade show in Las Vegas, Nevada in the Spring

of 2019. 144 Philips featured its “new, patient-focused DreamStation Go Heated Humidifier and

DreamWisp” “designed to further enhance effective and efficient care for patients with chronic

respiratory and sleep conditions.” 145

             114.   In addition, from as early as September 2014 until the present, Royal Philips has

maintained the website SleepApnea.com, which educates consumers and providers on sleep apnea

and the various treatment devices offered by Philips. 146

                    2.     Philips Obtained Clearances For the Recalled Devices.

             115.   Philips made 510(k) submissions and/or submitted “letters to file” to obtain

clearance from the Food and Drug Administration (“FDA”) for various CPAP, BIPAP and

ventilator devices.

             116.   510(k) clearance generally only requires the manufacturer to notify the FDA under

section 510(k) of the Medical Device Amendments of 1976 to the Food Device Cosmetic Act

(MDA) of its intent to market a device at least 90 days prior to the device’s introduction on the

market, and to explain the device’s substantial equivalence to a pre-MDA predicate device. The

FDA may then “clear” the new device for sale in the United States.


144
    See Royal Philips Press Release, Philips showcases new opportunities for Home Medical
Equipment providers at Medtrade Spring (Apr. 16, 2019), https://www.usa.philips.com/a-
w/about/news/archive/standard/news/press/2019/20190416-philips-showcases-new-
opportunities-for-home-medical-equipment-providers-at-medtrade-spring.html (last accessed Oct.
9, 2022) (attached hereto as Exhibit “70”).
145
      Id.
146
       See sleepapnea.com landing page, archived on Sept. 28, 2014 at
https://web.archive.org/web/20140928073021/http://www.sleepapnea.com/ (last accessed Oct. 3,
2022) (attached hereto as Exhibit “71”). The landing page of the website contains a copyright for
Royal Philips: “© Koninklijke Philips N.V., 2004 - 2014. All rights reserved.).”

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             117.   In lieu of submitting a 510(k) for a device, a device manufacturer can submit a letter

to file for a medical device that is undergoing “a minor design change.”

             118.   Philips utilized 510(k) submissions to receive clearances for its Recalled Devices

and/or submitted letters to file for other of its Recalled Devices, except the E30 ventilator which

was marketed under an Emergency Use Authorization (EUA).

             119.   With respect to the EUA for the E30 ventilator, on March 24, 2020, in response to

“concerns relating to insufficient supply and availability of FDA-cleared ventilators for use in

healthcare settings to treat patients during the Coronavirus Disease 2019 (COVID-19)

pandemic,” 147 the FDA issued an umbrella EUA of ventilators and related equipment. On April 8,

2020, this EUA was extended to the E30 ventilator. 148 A device may be authorized under this

umbrella EUA if it “may be effective” in diagnosing, treating, or preventing COVID-19 149; and

according to the FDA, “[t]he ‘may be effective’ standard for EUAs provides for a lower level of

evidence than the ‘effectiveness’ standard that FDA uses for product approvals.”

             120.   With respect to the 510(k) process for some of the Recalled Devices, Philips

included data, testing, and biocompatibility results along with its applications to claim substantial

equivalence to a predicate device. Philips did not submit data, testing, and biocompatibility results

for the Recalled Devices for which it submitted letters to file.




147
   See Food and Drug Administration, Ventilators and Ventilator Accessories EUAs,
https://www.fda.gov/medical-devices/coronavirus-disease-2019-covid-19-emergency-use-
authorizations-medical-devices/ventilators-and-ventilator-accessories-euas (last accessed Oct. 3,
2022).
148
      Id.
149
   See Food and Drug Administration, Emergency Use Authorization Letter (Mar. 24, 2020),
available at: https://www.fda.gov/media/136423/download (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “143”).

                                                     47
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       121.    Upon reviewing the 510(k) submissions for some of the Recalled Devices, the FDA

determined Philips’ devices were substantially equivalent to a predicate device.

       122.    After the devices were sold, Philips had a duty to find, investigate, and report

adverse events to the FDA. For example, 21 C.F.R. part 803 requires Philips to conduct a thorough

investigation of each event. This duty is triggered when Philips becomes aware of information

from any source that reasonably suggests that its device (1) may have caused or contributed to a

death or serious injury, or (2) has malfunctioned, and, this device or a similar device it markets, is

likely to cause or contribute to a death or serious injury, if the malfunction were to recur. 21 C.F.R.

§ 803.50.

       123.    Additionally, as a manufacturer, Philips has unique knowledge concerning the

frequency, severity and predictability of the complications and risks associated with its devices.

Accordingly, Philips has post-market responsibility under the FDA Regulations related to

complaint handling, investigation and reporting to the FDA, including but not limited to:

               a. 21 C.F.R. § 803.10 (for example, § 803.10(c) requires adverse events to
                  be reported by a manufacturer in set time frames from 5 to 30 days when
                  the event becomes known);

               b. 21 C.F.R. § 803.17 (“Medical device manufacturers must develop and
                  implement standardized medical device reporting procedures so that
                  timely evaluation of events and communication of findings can occur.”);

               c. 21 C.F.R. § 803.18 (§ 803.18(d)(1) requires a device distributor to
                  maintain complaint files and records, including any written, electronic
                  or oral communication, either received or generated by the distributor,
                  that alleges deficiencies related to the identity (e.g., labeling), quality,
                  durability, reliability, safety, effectiveness, or performance of a
                  device.);

               d. 21 C.F.R. § 803.20 (“Manufacturers must timely communicate a
                  reportable event. Any information, including professional, scientific, or
                  medical facts, observations, or opinions, may reasonably suggest that a
                  device has caused or may have caused or contributed to an MDR
                  reportable event. An MDR reportable event is a death, a serious injury,

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         or, if you are a manufacturer or importer, a malfunction that would be
         likely to cause or contribute to a death or serious injury if the
         malfunction were to recur.”);

      e. 21 C.F.R. § 803.3 (“If you are a manufacturer, you are considered to
         have become aware of an event when any of your employees becomes
         aware of a reportable event that is required to be reported within 30
         calendar days or that is required to be reported within 5 work days
         because we had requested reports in accordance with 803.53(b). You
         are also considered to have become aware of an event when any of your
         employees with management or supervisory responsibilities over
         persons with regulatory, scientific, or technical responsibilities, or
         whose duties relate to the collection and reporting of adverse events,
         becomes aware, from any information, including any trend analysis, that
         a reportable MDR event or events necessitates remedial action to
         prevent an unreasonable risk of substantial harm to the public health.”);

      f. 21 C.F.R. § 803.50 ((a) “If you are a manufacturer, you must report to
         the FDA information required by 803.52 in accordance with the
         requirements of 803.12(a), no later than 30 calendar days after the day
         that you receive or otherwise become aware of information, from any
         source, that reasonably suggests that a device that you market: (1) May
         have caused or contributed to a death or serious injury or (2) Has
         malfunctioned and this device or a similar device that you market would
         be likely to cause or contribute to a death or serious injury, if the
         malfunction were to recur.” Subsection (b) defines information
         reasonably known to a manufacturer to include: “[a]ny information that
         you can obtain by contacting a user facility, importer, or other initial
         reporter; . . . [a]ny information in your possession; or . . . [a]ny
         information that you can obtain by analysis, testing, or other evaluation
         of the device.” Section 803.50 continues: “(2) You are responsible for
         obtaining and submitting to us information that is incomplete or missing
         from reports submitted by user facilities, importers, and other initial
         reporters. (3) You are also responsible for conducting an investigation
         of each event and evaluating the cause of the event. If you cannot submit
         complete information on a report, you must provide a statement
         explaining why this information was incomplete and the steps you took
         to obtain the information. If you later obtain any required information
         that was not available at the time you filed your initial report, you must
         submit this information in a supplemental report under 803.56 in
         accordance with the requirements of 803.12(a).”);

      g. 21 C.F.R. § 803.52 (detailed individual and device information must be
         submitted for each adverse event);




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               h. 21 C.F.R. § 803.53 (information regarding detailed individual and
                  device information must be submitted in a timely manner when remedial
                  action may be required);

               i. 21 C.F.R. § 803.56 (supplemental reporting must be done if additional
                  information is learned that became known after the initial report was
                  submitted); and

               j. 21 C.F.R. § 820.198 (“Any complaint that represents an event which
                  must be reported to FDA under part 803 of this chapter shall be promptly
                  reviewed, evaluated, and investigated by a designated individual(s) and
                  shall be maintained in a separate portion of the complaint files or
                  otherwise clearly identified. In addition to the information required by
                  820.198(e), records of investigation under this paragraph shall include
                  a determination of: (1) Whether the device failed to meet specifications;
                  (2) Whether the device was being used for treatment or diagnosis; and
                  (3) The relationship, if any, of the device to the reported incident or
                  adverse event”).

       124.    In addition, there are state law duties to monitor, investigate, evaluate and timely

report injuries and other important safety information regarding a medical device, which Philips

violated when it failed to: monitor, investigate and report PE-PUR foam degradation risk and

incidents; take the necessary steps to continually evaluate the safety, effectiveness and reliability

of its Recalled Devices; and take necessary steps to warn, strengthen its warnings, and take other

measures to assure compliance with its obligations.

               3.      The Recalled Devices Are “Adulterated” According To The FDA’s
                       Findings And, Therefore, They Are Worthless.

       125.    The FDA determined that the Recalled Devices failed to comply with “current good

manufacturing practice” requirements (“GMPs”) codified in FDA regulations. 150 Devices that are

not manufactured in compliance with FDA’s GMPs “shall be deemed adulterated.” 21 U.S.C. §



150
    See Food and Drug Administration 518(b) Notice Letter to Philips Respironics, May 2, 2022
(hereinafter      “518(b)       Notice”),       available        for       download         at
https://www.fda.gov/media/158129/download (attached hereto as Exhibit “72”), at 6 (citing 21
CFR § 820.100).

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351(h); see id. § 360j(f)(1) (authorizing FDA to issue regulations prescribing GMP requirements).

Title 21 of the U.S. Code prohibits the sale, receipt, or delivery of “adulterated” devices. See 21

U.S.C. § 331(a) & (c). Accordingly, the Recalled Devices were adulterated and prohibited for sale,

receipt, or delivery.

          126.        Specifically, the FDA determined that Philips’ manufacture of the Recalled

Devices failed to comply with the GMPs imposed by FDA’s “Quality System Regulation”

(“QSR”) “since at least November 2015.” 151 The QSR required Philips to “establish and maintain

procedures for implementing corrective and preventative action” for the Recalled Devices that

satisfy seven criteria. 21 C.F.R. § 820.100(a)(1)-(7).

          127.        In addition to the FDA’s determination that the Recalled Devices violated the QSR

requirements codified at 21 C.F.R. § 820.100, the Recalled Devices were “adulterated,” and their

sale prohibited, under 21 U.S.C. § 351(c), which bans a device as adulterated if its “purity or

quality falls below[] that which it purports or is represented to possess.” 21 U.S.C. § 351(c).

          128.        There is no dispute that the Recalled Devices “fall[] below” their represented

quality. See 21 U.S.C. § 351(c). Philips sold the Recalled Devices as, inter alia, “clinically proven”

treatments for sleep disorders. 152 But in its Recall and elsewhere, Philips admits that their use may

cause “serious injury which can be life-threatening, cause permanent impairment, and/or require



151
      Id. at 6, 10.
152
    See, e.g., Philips US Product page, DreamStation BiPAP autoSV (“DreamStation BiPAP
autoSV[’s] . . . clinically proven algorithm provides support when needed.”),
https://www.usa.philips.com/healthcare/product/HCAHX900T15/dreamstation-bipap-autosv-
servo-ventilation-system (last accessed Oct. 4, 2022) (attached hereto as Exhibit “73”); Philips US
DreamStation Go - Features (“DreamStation Go includes the same clinically-proven Flex pressure-
relief technologies, therapy algorithms and event detection found in our DreamStation and System
One                          PAP                         therapy                         devices.”),
https://www.usa.philips.com/healthcare/product/HCEUG502S15/dreamstation-go-portable-pap-
therapy-system#features (last accessed Oct. 5, 2022) (attached hereto as Exhibit “74”).

                                                     51
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medical intervention to preclude permanent impairment.” 153 As such, the Recalled Devices were

undisputedly adulterated and unsalable pursuant to 21 U.S.C. § 351(c).

          129.   Further, the FDA’s investigation revealed that Philips’ incorporation of PE-PUR

foam in the Recalled Devices at all times violated other subdivisions of the QSR, minimally

including:

                 a. 21 C.F.R. § 820.70(h) (requiring manufacturers to “establish and
                    maintain procedures for the use and removal of” manufacturing
                    materials that “could reasonably be expected to have an adverse effect
                    on product quality”);

                 b. 21 C.F.R. § 820.30(c) (requiring manufacturers to “establish and
                    maintain procedures to ensure that the design requirements relating to a
                    device are appropriate and address the intended use of the device”); and

                 c. 21 C.F.R. § 820.30(g) (requiring manufacturers to “establish and
                    maintain procedures for validating the device design,” including “that
                    devices conform to defined user needs and intended uses”).

          130.   Philips’ failure to comply with the FDA’s QSR (and, concomitantly the FDA’s

GMPs) establishes that the Recalled Devices were “adulterated” and should not have been sold in

the first instance. Each violation of the QSR furnishes an independent basis to find the Recalled

Devices were “adulterated” within the meaning of Title 21. See 21 U.S.C. §§ 351(h) & 360j(f)(1).

          131.   Adulterated devices that put users at risk of life-threatening injuries, like the

Recalled Devices here, are worthless because they can neither be demanded nor supplied: they

cannot be legally sold, received, or delivered in interstate commerce. 21 U.S.C. § 331(a) & (c).

          D.     PE-PUR FOAM POSES SERIOUS HEALTH RISKS TO USERS OF
                 PHILIPS DEVICES.

          132.   Philips has belatedly revealed that the PE-PUR foam in the Recalled Devices

degrades and exposes patients to toxic particles and gases. Such exposure has harmed hundreds of


153
      Philips Recall Notices issued June 14, 2021 (Exhibit “4” hereto).

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thousands of patients across the United States who used the Recalled Devices.

           133.   Patients who used Recalled Devices, including all of the individual Plaintiffs, are

now at risk of developing cancer and other serious health conditions in the future.

           134.   On the same day as the Recall – June 14, 2021 – Philips released an announcement

entitled “Clinical information for physicians.” In this announcement, Philips disclosed that it “has

received several complaints regarding the presence of black debris/particles within the airpath

circuit (extending from the device outlet, humidifier, tubing, and mask).” 154 The PE-PUR foam is

black, and when it breaks down, it can release black particles. 155 The announcement stated that the

foam breakdown “may lead to patient harm and impact clinical care,” 156 explaining:

           While there have been limited reports of headache, upper airway irritation, cough,
           chest pressure and sinus infection that may have been associated with the foam,
           based on lab testing and evaluations, it may be possible that these potential health
           risks could result in a wide range of potential patient impact, from transient
           potential injuries, symptoms and complications, as well as possibly serious injury
           which can be life-threatening or cause permanent impairment, or require
           medical intervention to preclude permanent impairment. 157

           135.   The announcement mentioned two types of hazards from the foam in the devices:

dangers from foam degradation and dangers from release of VOCs.

           136.   First, the announcement described dangers arising from foam degradation

exposure:

           Potential Hazard: Philips has determined from user reports and lab testing that
           under certain circumstances the foam may degrade into particles which may enter
           the device’s air pathway and be ingested or inhaled by the user of its Continuous
           Positive Airway Pressure (CPAP), BiLevel Positive Airway Pressure (BiLevel
           PAP) and Mechanical Ventilator devices. The foam degradation may be

154
   See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical Information
for physicians (June 14, 2021) (Exhibit “7” hereto), at 4.
155
      Id. at 3.
156
      Id. at 1.
157
      Id. at 2 (emphasis added).

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          exacerbated by environmental conditions of higher temperatures and humidity in
          certain regions. Unauthorized cleaning methods such as ozone may accelerate
          potential degradation.

          The absence of visible particles does not mean that foam breakdown has not already
          begun. Lab analysis of the degraded foam reveals the presence of potentially
          harmful chemicals including:

          - Toluene Diamine

          - Toluene Diisocyanate

          - Diethylene glycol. 158

          137.      The inhalation of extremely fine particulates, even non-toxic particulates, can lead

to adverse health outcomes. The Environmental Protection Agency (“EPA”) notes that exposure

to particles less than 10 micrometers can be linked to a variety of health problems including:

aggravated asthma, decreased lung function, increased respiratory symptoms, and cardiac related

diseases.” 159

          138.      On July 8, 2021, Philips released an update to a global supplemental clinical

information document that contained results based on its own testing of the affected devices,

stating that: “According to analysis performed by Philips, the majority of particulates are of a size

                                     ates (<1-

deposit into the alveoli. During testing performed by an outside laboratory on lab degraded foam,
                                                           160
the smallest particulate size identified was

          139.      The purity of the air coming from a breathing device to a patient is highly important



158
      Id. at 3-4.
159
    See Health and Environmental Effects of Particulate Matter (PM) | US EPA (last accessed Oct.
3, 2022) (attached hereto as Exhibit “75”).
160
   See Royal Philips Informational PDF, Sleep and Respiratory Care update, Clinical Information
(July 8, 2021), available at: philips-global-supplemental-clinical-information-document.pdf (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “76”), at 2.

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and material. Indeed, Philips advertises the filtration systems in its devices, for example, noting

them on a diagram in its DreamStation Family Brochure. 161 Philips’ filtration system, however,

does not filter out the particles described above.

          140.    In addition to the hazards created by the inhalation of extremely fine particulates,

Philips has admitted that the particulates created via PE-PUR foam degradation contain toxic

compounds such as toluene diamine, toluene diisocyanate, and diethylene glycol. 162 As discussed

in more detail below, these compounds are toxic and/or carcinogenic when inhaled or ingested.

          141.    Philips concluded in its Health Hazard Evaluations (“HHEs”) regarding the PE-

PUR foam degradation risk that “[b]ased on the cytotoxicity and genotoxicity results and

toxicological risk assessment, combined with [the] conclusion that particles are likely to reach the

upper airway and potentially the lower respiratory track [sic], a reasonable worst-case estimate for

the general and higher risk (e.g., patient populations with preexisting conditions or comorbidities)

patient populations is a severity level 3 (Crucial) for both short/intermediate and long term

exposure.” 163

          142.    [Employees from Philips RS and Philips NA are listed as contributors to the Health

Hazard Evaluation Form ER 2241622 – Foam Degradation in DreamStation devices, System One,




161
       See    Philips    Respironics     DreamStation      Family Brochure, available at:
https://www.documents.philips.com/assets/20180205/15ef65ad106d4ddc88fca87e0134dc60.pdf
(last accessed Oct. 9, 2022) (attached hereto as Exhibit “77”).
162
   See Royal Philips Informational PDF, Sleep and Respiratory Care update, Clinical Information
(July 8, 2021) (Exhibit “76” hereto), at 1.
163
      518 (b) Notice (Exhibit “72” hereto), at 3-4.

                                                      55
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BiPAP and CPAP devices, and the Health Hazard Evaluation Form ER 2241623 – Foam

Degradation in Trilogy devices, both opened in November 2020. 164]

          143.    Further, [Philips NA employees Tom Reimann and Francis Kim are among the

recipients (including Philips RS employees) of the “Feedback for Philip[s] Rework Strategy”

emails from the FDA regarding the Form 483 report dating back to July/August 2021. 165]

          144.    Philips’ HHEs note that the harm due to foam degradation “‘may not be

immediately recognizable and may not be something that the customer would/could report,’ adding

that certain harms ‘may not be easily linked to the hazardous situation or device use in general’—

and that in the case of genetic mutations in particular, ‘a presumed lag time from exposure to harm

development may make it difficult for patients to attribute their individual harm to the device

usage.’” 166

          145.    The second hazard is the release of VOCs, that is, toxic and carcinogenic chemical

emissions from the PE-PUR foam. Philips explained:

          Potential Hazard: Lab testing performed for and by Philips has also identified the
          presence of VOCs which may be emitted from the sound abatement foam
          component of affected device(s). VOCs are emitted as gases from the foam
          included in the CPAP, BiLevel PAP and MV devices and may have short- and long-
          term adverse health effects.

          Standard testing identified two compounds of concern (COC) may be emitted from
          the foam that are outside of safety thresholds. The compounds identified are the
          following:

          - Dimethyl Diazine



164
   PHILIPS_RS_MDL-00000665-91 (attached hereto as Exhibit “78”), at 26-28 (listing Gary Lotz
of Philips NA and Rodney Mell of Philips RS); PHILIPS_RS_MDL-00025466-83 (attached hereto
as Exhibit “142”), at PHILIPS_RS_MDL-00025482-83 (same).
165
   PHILIPS_RS_MDL-00000010-12 (attached hereto as Exhibit “79”), at PHILIPS_RS_MDL-
00000010; PHILIPS_RS_MDL-00000013-21 (attached hereto as Exhibit “80”).
166
      518 (b) Notice (Exhibit “72” hereto), Id. at 5.

                                                   56
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           - Phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl). 167

           146.      In addition to these two compounds, Philips has also found high levels of

formaldehyde, a known carcinogen, in analyses of the Recalled Devices. Collectively, these

compounds released by PE-PUR foam—formaldehyde, toluene diamine, toluene diisocyanate,

diethylene glycol, dimethyl diazine, and phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl)—

are referred to herein as the “Foam Toxins.”

           147.      Philips admitted that the risks of these VOCs include: “irritation and airway

inflammation, and this may be particularly important for patients with underlying lung diseases or

reduced cardiopulmonary reserve” and may lead to the following symptoms: “headache/dizziness,

irritation (eyes, nose, respiratory tract, skin), hypersensitivity, nausea/vomiting, toxic and

carcinogenic effects,” as well as “adverse effects to other organs” such as kidney and liver. 168

           148.      It is beyond reasonable dispute that patients using the Recalled Devices were

exposed to harmful particulates and the toxic Foam Toxins. As detailed below, each of the Foam

Toxins poses a serious health hazard to users of the Recalled Devices.

                     1.     Formaldehyde Is A Known Carcinogen.

           149.      Although Philips has not publicly acknowledged that formaldehyde is used in the

manufacturing process for PE-PUR foam or is a byproduct of PE-PUR foam degradation, Philips’

internal testing (dated May 22, 2019) reported the presence of formaldehyde in analyses of its

DreamStation 1 devices, finding “tolerable limits of the Formaldehyde compound were exceeded

during initial operation, as well as at the [redacted].” 169



167
   See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical Information
for physicians (June 14, 2021) (Exhibit “7” hereto), at 4-5.
168
      Id. at 4, 5.
169
      See 483 Report (Exhibit “5” hereto), at 6.

                                                    57
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       150.    Formaldehyde has been classified as carcinogenic to humans (Group 1) 170 by the

International Agency for Research on Cancer (“IARC”) since 2006. 171 Governmental authorities

in the United States have reached similar conclusions: the National Toxicology Program in the

United State Department of Health and Human Services (“NTP”) has classified formaldehyde as

a known human carcinogen since 2011 172; and the EPA has considered formaldehyde to be a

probable human carcinogen (Group B1) since 1989. 173

       151.    There is extensive research, including dozens of human epidemiological studies,

showing an association between formaldehyde exposure and numerous forms of cancer, including:

nasopharyngeal cancer; sinonasal cancer; leukemia; lung cancer; lymphohematopoietic cancers

(other than leukemia); nasal, oral, and throat cancers (other than nasopharyngeal and sinonasal

cancers); brain cancer; hepatic cancer; esophageal cancer; thyroid cancer; and pancreatic cancer. 174



170
    The IARC, an agency of the World Health Organization, groups carcinogenic and potentially
carcinogenic substances into five categories: Group 1, carcinogenic to humans; Group 2A,
probably carcinogenic to humans; Group 2B, possibly carcinogenic to humans; Group 3, not
classifiable as to its carcinogeneity to humans; and Group 4, probably not carcinogenic to humans.
International Agency for Research on Cancer, Agents Classified by the IARC Monographs,
Volumes       1–129,        IARC     (last   updated     July     1,    2022),     available   at:
http://monographs.iarc.fr/ENG/Classification/index.php (last accessed Oct. 3, 2022). The EPA
uses an equivalent grouping system of five categories (Groups A-E). See Risk Assessment for
Carcinogenic Effects, EPA.com, available at: https://www.epa.gov/fera/risk-assessment-
carcinogenic-effects (last accessed Oct. 3, 2022).
171
        Formaldehyde,     IARC      Monograph       –    100F,   IARC,     available   at:
https://monographs.iarc.who.int/wp-content/uploads/2018/06/mono100F-29.pdf (last accessed
Oct. 3, 2022).
172
         Formaldehyde,         Report      on       Carcinogens,      NTP,       available      at:
https://ntp.niehs.nih.gov/ntp/roc/content/profiles/formaldehyde.pdf (last accessed Oct. 3, 2022).
173
                         See                     https://www.cancer.gov/about-cancer/causes-
prevention/risk/substances/formaldehyde/formaldehyde-fact-sheet#r1 (last accessed Oct. 3,
2022).
174
       See, e.g., Formaldehyde, Report on Carcinogens, NTP, available at:
https://ntp.niehs.nih.gov/ntp/roc/content/profiles/formaldehyde.pdf; 1910.1048 App C - Medical


                                                 58
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Additionally, exposure to formaldehyde appears to have a strong causal relationship to asthma.175

               2.      Toluene Diisocyanate Is A Likely Carcinogen.

       152.    Toluene diisocyanates (“TDIs”) are used primarily to manufacture flexible

polyurethane foams such as PE-PUR foam. Philips has recognized that PE-PUR foam releases

TDIs as it degrades. 176

       153.    TDI is classified as possibly carcinogenic to humans (Group 2B) by IARC. 177 The

United States Center for Disease Control (“CDC”), Occupational Safety and Health

Administration (“OSHA”), and National Institute for Occupational Safety and Health (“NIOSH”)

also regard TDI as a potential human carcinogen based on tumorigenic responses in TDI treated

rats and mice. 178 The EPA has taken action under the Toxic Substances Control Act to allow

oversight of the use of TDI in consumer products. 179 NTP classifies TDI as “reasonably anticipated




surveillance – Formaldehyde, OSHA.com, available at: https://www.osha.gov/laws-
regs/regulations/standardnumber/1910/1910.1048AppC (last accessed Oct. 3, 2022).
175
   See, e.g., 1910.1048 App C - Medical surveillance – Formaldehyde, OSHA.com, available at:
https://www.osha.gov/laws-regs/regulations/standardnumber/1910/1910.1048AppC           (last
accessed Oct. 3, 2022).
176
    See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical information
for physicians (June 14, 2021) (Exhibit “7” hereto), at 4; Royal Philips Informational PDF, Sleep
and Respiratory Care update: Clinical Information (July 8, 2021) (Exhibit “76” hereto), at 1
(“[T]he degradative by-products of a PE-PUR foam after a humid ageing experiment were found
to include … toluene diisocyanate isomers (TDI)”).
177
    Toluene diisocyanates, IARC Monographs Vol. 71, IARC, available for download at
https://publications.iarc.fr/_publications/media/download/2317/fb198ec8e8f32d0a60294331930c
5a04f82cac60.pdf (last accessed Oct. 3, 2022).
178
     See, e.g., Toluene diisocyanates, Report on Carcinogens, NTP, available at:
https://ntp.niehs.nih.gov/ntp/roc/content/profiles/toluenediisocyanates.pdf (last accessed Oct. 3,
2022); Current Intelligence Bulletin 53, Toluene Diisocyanate (TDI) and Toluenediamine (TDA):
Evidence of Carcinogenicity, NIOSH Pub. No. 90-101 (Dec. 1989), available at:
https://www.cdc.gov/niosh/docs/90-101/default.html (last accessed Oct. 3, 2022).
179
     See https://www.epa.gov/assessing-and-managing-chemicals-under-tsca/fact-sheet-toluene-
diisocyanate-tdi-and-related#action (last accessed Oct. 3, 2022).

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to be a human carcinogen” based on sufficient evidence of carcinogenicity from studies in

experimental animals. 180 The European Union warns that TDI “is fatal if inhaled.” 181

       154.    Administration of TDI by stomach tube caused liver tumors (hepatocellular

adenoma) in female rats and mice, benign tumors of the mammary gland (fibroadenoma) and

pancreas (islet-cell adenoma) in female rats, and benign tumors of the pancreas (acinar-cell

adenoma) in male rats. It also increased the combined incidences of benign and malignant tumors

of subcutaneous tissue (fibroma and fibrosarcoma) in rats of both sexes and of the blood vessels

(hemangioma and hemangiosarcoma) in female mice. 182 Exposure to TDI also has been

documented to cause respiratory irritation, asthma, and lung damage. 183

               3.     Toluene Diamine Is A Likely Carcinogen.

       155.    Philips has recognized that PE-PUR foam releases toluene diamine (“TDA”) as it

degrades. 184 Additionally, TDA is a hydrolysis product of TDI.

       156.    IARC has classified TDA as possibly carcinogenic to humans (Group 2B), 185 and




180
   See https://ntp.niehs.nih.gov/ntp/roc/content/profiles/toluenediisocyanates.pdf (last accessed
Oct. 3, 2022).
181
    https://echa.europa.eu/substance-information/-/substanceinfo/100.043.369 (last accessed Oct.
3, 2022).
182
   See https://ntp.niehs.nih.gov/ntp/roc/content/profiles/toluenediisocyanates.pdf. (last accessed
Oct. 3, 2022).
183
   See, e.g., Toluene diisocyanates, IARC Monographs Vol. 71, IARC, available for download at
https://publications.iarc.fr/_publications/media/download/2317/fb198ec8e8f32d0a60294331930c
5a04f82cac60.pdf (last accessed Oct. 3, 2022).
184
   See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical Information
(July 8, 2021) (Exhibit “76” hereto), at 1 (“[T]he degradative by-products of a PE-PUR foam after
a humid ageing experiment were found to include … toluene diamine isomers (TDA)”).
185
    See Toluene diisocyanates, IARC Monographs Vol. 71, IARC, available for download at
https://publications.iarc.fr/_publications/media/download/2317/fb198ec8e8f32d0a60294331930c
5a04f82cac60.pdf (last accessed Oct. 3, 2022).

                                                60
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the EPA classifies it as a probable human carcinogen. 186 The European Union has concluded that

TDA “cannot be considered safe for use” even as a hair dye, let alone breathed into the lungs for

many hours each night. 187 The NTP classifies TDA as reasonably anticipated to be a human

carcinogen based on animal studies. 188

             157.   Available data on TDA primarily comes from animal studies. These studies

strongly support an association between TDA and hepatic cancer. 189 There is evidence of a link

between TDA exposure and pulmonary fibrosis based on in vitro studies in which human lung

fibroblasts were exposed to TDI and TDA. 190 The EPA has determined that acute exposure to TDA

can produce severe skin and eye irritation, sometimes leading to permanent blindness, respiratory

problems (e.g., asthma), rise in blood pressure, dizziness, convulsions, fainting, and coma. 191

Exposure to TDA can also cause irritation of the skin, nose, and throat, damage to reproductive

and neurological systems, eye irritation, dermatitis, ataxia, tachycardia, respiratory depression,

stomach gas, hypertension, nausea, vomiting, methemoglobinemia, cyanosis, headache, weakness,


186
        See     Toluene     2,4      diamine,     EPA     (Jan.     2000),    available         at:
https://www.epa.gov/sites/default/files/2016-09/documents/toluene-2-4-diamine.pdf             (last
accessed Oct. 3, 2022).
187
   https://ec.europa.eu/health/scientific_committees/consumer_safety/docs/sccs_o_093.pdf (last
accessed Oct. 3, 2022), at 5.
188
                             ,    Report      on      Carcinogens,      NTP,      available     at:
https://ntp.niehs.nih.gov/ntp/roc/content/profiles/diaminotoluene.pdf (last accessed Oct. 3, 2022).
189
      Id.
190
   It is well established that TDI is converted to TDA through hydrolysis (a reaction caused by
exposure to water). See Current Intelligence Bulletin 53, Toluene Diisocyanate (TDI) and
Toluenediamine (TDA): Evidence of Carcinogenicity, NIOSH Pub. No. 90-101 (Dec. 1989),
available at: https://www.cdc.gov/niosh/docs/90-101/default.html (last accessed Oct. 3, 2022).
Thus, ingested TDI may react with saliva and/or gastrointestinal fluids and convert to TDA.
Additionally, there is evidence that inhaled TDI is converted into TDA by reaction with a substance
(gluthathione) present in the lungs. As a result, observed effects ascribed to TDI may be due to
unmeasured conversion to TDA after exposure.
191
      Id.

                                                61
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exhaustion, dizziness, convulsions, fainting, and coma. 192

                    4.     Diethylene Glycol Is Toxic To Humans.

             158.   Diethylene glycol (“DEG”) is a widely used solvent. It is a colorless and odorless

liquid with a sweetish taste and has often been a contaminant in consumer products, resulting in

numerous epidemics of poisoning. DEG is used in the production of polyester polyurethane foam,

and Philips has admitted that DEG is a byproduct of PE-PUR foam degradation. 193

             159.   DEG has a historical involvement in mass poisonings around the world. Famously,

DEG caused the death of 100 people across 15 states in the 1937 Elixir Sulfanilamide Incident,

which served as a catalyst for the enactment of the Federal Food, Drug, and Cosmetic Act

(“FDCA”) in 1938. 194

             160.   DEG is a toxic substance with a mean fatal dose of 1 mL/kg of pure DEG. 195

Ingesting only a small amount may result in gastrointestinal distress and stupor. 196 Exposure may

cause irritation of the eyes, skin, and mucous membranes. 197 DEG has also been shown to have

damaging toxic, irritating, and inflammatory properties when inhaled. 198


192
        See     Toluene     2,4      diamine,     EPA     (Jan.     2000),    available             at:
https://www.epa.gov/sites/default/files/2016-09/documents/toluene-2-4-diamine.pdf                 (last
accessed Oct. 3, 2022).
193
   See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical Information
(July 8, 2021) (Exhibit “76” hereto), at 1 (“[T]he degradative by-products of a PE-PUR foam after
a humid ageing experiment were found to include diethylene glycol (DEG) ….”).
194
      https://www.fda.gov/files/about%20fda/published/The-Sulfanilamide-Disaster.pdf              (last
accessed Oct. 3, 2022).
195
      L.J. Schep, et al., Diethylene glycol poisoning, Clin. Toxicol. 47(6):525-35 (July 2009).
196
        See    Ethylene     Glycol:    Systemic    Agent,    NIOSH,        available    at:
https://www.cdc.gov/niosh/ershdb/emergencyresponsecard_29750031.html (last accessed Oct. 9,
2022).
197
      Id.
198
    See, e.g., C.J. Hardy, et al., Twenty-eight-day repeated-dose inhalation exposure of rats to
diethylene glycol monoethyl ether, Fundam. Appl. Toxicol. 38(2):143-7 (Aug. 1997).

                                                    62
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                    5.     Dimethyl Diazine Is A Precursor To A Known Carcinogen.

             161.   Dimethyl diazene (“DD”), also known as azomethane, is “associated with the

production process of the [PE-PUR] foam.” 199 Philips has admitted that DD is emitted from PE-

PUR foam under normal conditions and possibly also as the result of degradation. 200

             162.   IARC has not yet evaluated the potential carcinogenicity of DD to humans, as there

is scant data concerning the effects of DD on humans and animals. However, DD is a member of

a family of carcinogenic substances: 1,2-dimethylhydrazine (a Group 2A probable human

carcinogen that exhibits hepatotoxic effects along with injuries to other organs in animal

experiments 201) dehydrogenates into DD, which then oxidizes into azoxymethane (a known

carcinogen that has not yet been classified by the EPA or IARC). Azoxymethane further oxidizes

into        methylazoxymethanol,      a   Group     2B    possible   human     carcinogen. 202   Both

methylazoxymethanol and 1,2-dimethylhydrazine have been found to metabolize into




199
   See Royal Philips Informational PDF, Sleep and Respiratory Care update: Clinical Information
(July 8, 2021) (Exhibit “76” hereto), at 3 (finding that during “testing which ran a device at 35°C
± 2°C for 168 hours, two compounds of concern were emitted from the device: dimethyl diazene
and phenol 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl)”).
200
      Id.
201
   G. Choudary, Toxicological Profile for Hydrazines, Agency for Toxic Substances and Disease
Registry (1997); R.B. Wilson, Species variation in response to dimethylhydrazine, Toxicology and
Applied Pharmacology, 38:3 (1976); M.A. Bedell, et al., Cell Specificity in Hepatocarcinogenesis:
Preferential Accumulation of O6 Methylguanine in Target Cell DNA during Continuous Exposure
of Rats to 1,2-Dimethylhydrazine, Cancer Res 42:3079-3083 (1982); W.J. Visek, et al., Dietary
                                                                    , Journal of Toxicology and
Environmental Health, 32:4, 383-413 (1991).
202
   E. Fiala, Investigations into the metabolism and mode of action of the colon carcinogen 1, 2-
dimethylhydrazine, Cancer, 36:2407-12 (Dec. 1975); S. Wolter, N. Frank, Metabolism of 1,2-
dimethylhydrazine in isolated perfused rat liver, Chemico-Biological Interactions, 42:3, 335-344
(1982); IARC Monograph – 71-42, IARC (1987); IARC Monograph Supplement 7, IARC (1987);
H. Druckrey, Production of colonic carcinomas by 1,2-dialkylhydrazines and azoxyalkanes,
Carcinoma of the Colon and Antecedent Epithelium 267-279 (1970).

                                                    63
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formaldehyde, a Group 1 known carcinogen. 203 Thus, an individual regularly exposed to DD may

also have been exposed to 1,2-dimethylhydrazine, azoxymethane, methylazoxymethanol, and/or

formaldehyde—each of which is recognized as a known or probable carcinogen—as these

compounds are oxidized and metabolized.

       163.     DD is clearly linked to colorectal cancer in mice. Azoxymethane, the product of

oxidized DD, is used to induce colorectal cancer in animals and has been shown to cause hepatic

lesions,   intestinal   tumors,   and   renal   tumors. 204   Oxidized   azoxymethane   produces

methylazoxymethanol, which is known to cause DNA damage and has been associated with

amyotropic lateral sclerosis, parkinsonism, dementia, colon cancer, liver cancer, and prostate

cancer. 205 Exposure to DD—as the precursor to these carcinogenic compounds—means exposure

to these other compounds and the health risks they pose.




203
    P. Harbach, et al., Effects of selenium on 1,2-dimethylshydrazine metabolism and DNA
alkylation (1981); S.N. Newaz, et al., Metabolism of the Carcinogen 1,2Dimethylhydrazine by
Isolated Human Colon Microsomes and Human Colon Tumor Cells in Culture (1983); J. Erikson,
et al., Oxidative Metabolism of Some Hydrazine Derivatives by Rat Liver and Lung Tissue
Fractions (1986).
204
  M. Kobaek-Larsen, et al., Secondary effects induced by the colon carcinogen azoxymethane in
BDIX rats, APMIS 112(6):319-29 (2004 June).
205
   P. Spencer, et al., Unraveling 50-Year-Old Clues Linking Neurodegeneration and Cancer to
Cycad Toxins: Are microRNAs Common Mediators?, Frontiers in Genetics 3 (2012).

                                                 64
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                    6.     Phenol, 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl) Is A Toxic
                           Compound.

             164.   Phenol, 2,6-bis(1,1-dimethylethyl)-4-(1-methylpropyl) (“DTBSBP”) is “associated

with the production process of the foam.” 206 According to Philips, DTBSBP is emitted from PE-

PUR foam under normal conditions and possibly also as the result of degradation. 207

             165.   In 2010, the Canadian government determined that DTBSBP was a Schedule 1

toxic substance under the Canadian Environmental Protection Act “based on available information

regarding possible persistence, accumulation in organisms and potential to cause harm to

organisms.” 208 These findings prompted Canadian regulators to propose “virtual elimination” of

DTBSBP. 209

             E.     PHILIPS KNEW OF THE DANGERS OF PE-PUR FOAM FOR MANY
                    YEARS PRIOR TO THE RECALL.

             166.   At the time it installed PE-PUR foam into the Recalled Devices, Philips was

required to test the devices to ensure they were safe for users through the lifecycle of the product,

including in accordance with various international standards, for example ISO 18562-2:2017, ISO

18562-3:2017, ISO 10993-13, and ISO 10993-9.

             167.   At that time, Philips should have known the PE-PUR foam posed a safety risk to

users.



206
   See Royal Philips Informational PDF, Sleep and Respiratory Care Update: Clinical Information
(July 8, 2021) (Exhibit “76” hereto), at 3 (finding that during “testing which ran a device at 35°C
± 2°C for 168 hours, two compounds of concern were emitted from the device: dimethyl diazene
and phenol 2,6-bis (1,1-dimethylethyl)-4-(1-methylpropyl)”).
207
      Id.
208
   Phenol, 2,6-bis(1,1-dimethylethyl)-4-(1-methylpropyl)- (DTBSBP), Government of Canada,
Canada.ca,      available    at:    https://www.canada.ca/en/health-canada/services/chemical-
substances/challenge/batch-8/1-methylpropyl.html. (last accessed Oct. 3, 2022).
209
      Id.

                                                   65
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             168.     The FDA concluded after an investigation of Philips’ Recalled Devices that

beginning in at least 2008, and over time, Philips received hundreds of thousands of customer

complaints regarding foam degradation in the Recalled Devices and, years later, received data

from a variety of sources confirming foam degradation.

             169.     The FDA’s findings were based, in part, on twenty-one (21) site inspections of

Philips’ Murrysville, Pennsylvania facility between August 26, 2021 and November 9, 2021. The

lead FDA investigator, Katelyn A. Staub-Zamperini, memorialized the agency’s findings in a 29-

page FDA 483 Report issued on November 9, 2021. 210 The FDA delivered the 483 Report to

Rodney Mell, Head of Quality at Philips Respironics, on or around November 9, 2021. 211

             170.     A 483 Report “is issued to firm management at the conclusion of an inspection

when an investigator(s) has observed any conditions that in their judgment may constitute

violations of the Food Drug and Cosmetic (FD&C) Act and related Acts.” 212 These observations

are made in a 483 Report “when in the investigator’s judgment, conditions or practices observed

would indicate that any food, drug, device or cosmetic has been . . . or is being prepared, packed,

or held under conditions whereby it may become adulterated or rendered injurious to health.” 213

             171.     In connection with the FDA’s investigation for its 483 Report, the FDA learned that

Philips received hundreds of thousands of complaints from customers about degradation of the

foam in its Recalled Devices beginning at least as early as 2008:

             [A] query of your firm’s consumer complaints from 01/01/2008 to current, for the
             keywords contaminants, particles, foam, debris, airway, particulate, airpath, and
             black, resulted in over 222,000 complaints, and over 20,000 of which occurred
             between 2008 to 2017 and involved Trilogy devices. Additionally, your firm

210
      See generally, 483 Report (Exhibit “5” hereto).
211
      Id. at 1, 29.
212
      See FDA Form 483 Frequently Asked Questions (Exhibit “6” hereto).
213
      Id.

                                                      66
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          performed a foam related complaint data analysis in April 2021 on complaints
          confirmed to be related to or involve foam degradation issues. The raw complaint
          data documents that 30 Trilogy related complaints were received from 2014 to
          2017, and 1,254 related complaints were received across all products
          containing the affected foam, from 2014 to 2021. 214

          172.     Yet, “[n]o formal investigation, risk analysis, or CAPA were initiated, performed,

or documented [by or on behalf of Philips], in response to the at least 222,000 complaints that

could potentially be related to foam degradation and received from 2008 to 2017 . . . .” 215

          173.     A Corrective and Preventative Action (“CAPA”) refers to procedures that medical

device manufactures must follow to identify and attempt to correct a quality problem after one is

detected. See 21 C.F.R. § 820.100. A CAPA is designed “to collect information, analyze

information, identify and investigate product and quality problems, and take appropriate and

effective corrective and/or preventive action to prevent their recurrence.” 216

          174.     The FDA also found that Philips “was made aware of polyester polyurethane [PE-

PUR] foam degradation issues in/around October 2015 . . . .” 217 [Indeed, in October 2015, Philips

RS Senior Staff Mechanical Engineer Richard Alfieri communicated about the issue with its

intermediary Brandon Associates and foam supplier Polymer, saying that “bits of foam have

broken away and are pulled into the device.” 218]




214
      483 Report (Exhibit “5” hereto), at 12 (emphasis added).
215
      Id. at 16.
216
     See Food and Drug Administration, Corrective and Preventative Actions (CAPA),
https://www.fda.gov/corrective-and-preventive-actions-capahttps://www.fda.gov/corrective-and-
preventive-actions-capa (last accessed Oct. 3, 2022).
217
      483 Report (Exhibit “5” hereto), at 18.
218
     See PHILIPS_RS_MDL-00026002-06 (attached hereto as Exhibit “81”), at
PHILIPS_RS_MDL-00026003; PHILIPS_RS_MDL-00026007-10 (attached hereto as Exhibit
“82”); PHILIPS_RS_MDL-00026013-16 (attached hereto as Exhibit “83”).

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             175.   In fact, an adverse event report from the FDA Manufacturer and User Facility

Device Experience (“MAUDE”) database shows that, as early as 2011, Philips knew that a patient

discovered “black dust” on her nose when she awoke after using a Philips RemStar CPAP device

and subsequently underwent treatment for “intoxication” and “chest tightness.” 219

             176.   Philips investigated this report and confirmed that the device contained “evidence

of an unk[nown] black substance in the air path and on internal components . . . present throughout

both the intake and exhaust portions of the air path . . . .” 220

             177.   The FDA found that Philips’ analysis of consumer complaints was itself defective

in that it “was not adequately performed to identify or detect quality problems.” 221 The FDA

concluded that “potential foam degradation in Trilogy ventilator devices is not an isolated incident,

and you [Philips] also have not documented a detailed rationale for why harm is not likely to occur

again, as required by your Health Hazard Evaluation’s instructions.” 222 In light of this, the FDA

concluded that Philips’ “risk analysis is inadequate or was not performed when appropriate or

within an appropriate time frame of your firm becoming aware” of these issues. 223

             178.   Company documents show that [Royal Philips authored the Complaint Handling

Policy, 8.4-836, utilized by Philips RS in processing complaints related to the Recalled Devices. 224

The Royal Philips Complaint Handling Policy’s stated purpose is “to provide a systematic process



219
   MAUDE Adverse Event Report: RESPIRONICS, INC. REMSTAR PRO INTERNATIONAL,
http://www.fdable.com/advanced_maude_query/324fd08a137ce36c2d5faf453ee26f2f (last
accessed Oct. 3, 2022).
220
      Id.
221
      483 Report (Exhibit “5” hereto), at 16.
222
      Id. at 13.
223
      Id. at 3.
224
      PHILIPS_RS_MDL-00004334-47 (attached hereto as Exhibit “157”).

                                                    68
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for the evaluation of customer complaints that have been identified as potentially reportable, and

to ensure reporting occurs within statutory and regulatory timeframes to the applicable

authorities.” 225 As per Royal Philips Complaint Handling Policy, complaints about the Recalled

Devices came in globally, were routed to Philips RS for processing, and if a “reportable event”

occurred “reports will be filed in other countries in accordance with applicable regulations.” 226]

          179.        [Royal Philips Complaint Handling Policy references other Royal Philips policies

and documents, including a Royal Philips “Complaint Evaluation, Investigation & Closure”

Policy, 8.4-838. 227 The stated purpose of this Royal Philips policy is “to control the evaluation of

complaint data (records, service coding, trending, etc.), determine the need for formal

investigation, document the results of any executed investigation, and close quality

complaints.” 228]

          180.        Indeed, [Royal Philips retained ultimate responsibility for the complaint handling

process related to the Recalled Devices even after the Recall. When Philips RS undertook a manual

review of the complaints identified in response to the FDA’s inquiries related to the PE-PUR foam

degradation, the review was detailed in a document entitled, “Review of SRC Foam Degradation

Complaints,” which is on “Respironics” letterhead, but Royal Philips maintains the copyright to

that letterhead. 229]

          181.        The FDA has concluded that:




225
      Id. at ¶ 1.1.
226
      Id. at ¶ 3.17.2.
227
      PHILIPS_RS_MDL-00004315-21 (attached hereto as Exhibit “158”).
228
      Id. at ¶ 1.1.
229
   PHILIPS_RS_MDL-00000931-35 (attached hereto as Exhibit “159”), at PHILIPS_RS_MDL-
00000931.

                                                      69
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             Beginning in 2015, Philips received data from a variety of sources regarding
             degradation of the PE-PUR foam contained within the recalled devices, including
             complaints, test reports, information from suppliers, and information from another
             entity owned by Philips’ parent company. Philips failed to adequately evaluate this
             data and incorporate it into its CAPA [Corrective and Preventive Actions] system
             for further investigation and potential mitigation, as required by current good
             manufacturing practice requirements codified in 21 C.F.R. § 820.100. 230

             182.   The FDA 483 Report notes that “an incorrect and non-specified polyester

polyurethane, raw foam product, sourced from your [Philips’] raw foam supplier resulted in

[redacted] non-conforming Trilogy Evo ventilatory finished devices being approved, released, and

distributed, which further resulted in the ongoing correction and removal.” 231 The correction and

removal “were established as part of [Philips’] response to failed VOC and ISO 18562 testing of

related Trilogy EVO ventilatory medical devices … which resulted from the presence of the non-

specified polyester polyurethane foam component, incorrectly supplied by [Philips’] raw foam

supplier.” 232

             183.   Company documents show that from at least as early as 2016, Royal Philips has

demonstrated a systematic level of involvement in and control over testing the PE-PUR foam in

the Recalled Devices and investigating the problems with that foam.

             184.   For example, there is evidence that [in December 2014, Royal Philips was aware

of complaints of “Black Particles From Airpath Foam” in the Trilogy ventilators originating in

Japan, dating back to 2010 device build dates. 233 Similarly, “Foam Separating” complaints in




230
      518(b) Notice (Exhibit “72” hereto), at 6.
231
      483 Report (Exhibit “5” hereto), at 25.
232
      Id.
233
      PHILIPS_RS_MDL-00003974 (attached hereto as Exhibit “84”).

                                                     70
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Trilogy ventilators originating in Australia were documented in March 2018, dating back to 2009

build dates. 234]

             185.




             186.   Philips explains that “Innovation & Strategy advances innovation together with

Philips’ businesses, markets and partners. This entails cooperation between research, design,


234
      Id.
235



236

237
    See LinkedIn Profile for Sepas Setayesh, https://www.linkedin.com/in/sepas-setayesh-
8b2ab19/?originalSubdomain=nl (last accessed Oct. 3, 2022) (attached hereto as Exhibit “86”).
238
   See LinkedIn Profile for Dirk Kroes, https://www.linkedin.com/in/dkroes/ (last accessed Oct.
3, 2022) (attached hereto as Exhibit “87”); see also Royal Philips 2020 SEC Form 20-F filing,
Exhibit 8 (Exhibit “16” hereto). Philips Consumer Lifestyle is a wholly-owned subsidiary of Royal
Philips.
239
      See PHILIPS_RS_MDL-00035073 (attached hereto as Exhibit “88”), at 1, 71.

                                                  71
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medical affairs, professional services, marketing, strategy and businesses in a multi-disciplinary

fashion, from early exploration to first-of-a-kind offerings.” 240 The I&S Hub is also responsible

for providing engineering solutions to all of Philips businesses, which is “accountable for bringing

engineering capabilities in Philips to world-class level to realize innovations that deliver on our

customers’ needs. . .Taking a customer-first approach, Engineering Solutions turns ideas into

working innovations by providing deep engineering expertise, cross-business product platforms,

and innovation processes and tools. Engineering Solutions also works for selected external

companies in the healthcare, high-tech and semiconductor industries.” 241

             187.   Additionally, “The role of Innovation & Strategy is to listen to the voice of the

customer and, in collaboration with the operating businesses and the markets, direct the company

strategy and innovation roadmap to achieve our growth and profitability ambitions. The various

components of Innovation & Strategy include: the Chief Technology Office (CTO), Research,

HealthSuite Platform, the Chief Medical Office, Engineering Solutions, Experience Design,

Healthcare Transformation Services, Strategy, and Partnerships. Our four largest Innovation Hubs

are in Eindhoven (Netherlands), Cambridge (USA), Bangalore (India) and Shanghai (China).”242

While the Hub appears to be centered in Eindhoven, Philips also has employees [in the I&S Hub

based in Drachten (Netherlands). 243]

             188.   Later in 2016,




240
      See Royal Philips 2021 Annual Report (Exhibit “13” hereto), at 21.
241
      Id.
242
      Id.
243
      See PHILIPS_RS_MDL-00034920 (Exhibit “88” hereto).

                                                   72
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       189.   In December 2018,




244



245
  See LinkedIn Profile for Arjan Leussink, https://www.linkedin.com/in/aleussink/ (last accessed
Oct. 3, 2022) (attached hereto as Exhibit “90”).
246

247



248

249

250
   See Linkedin Profile for Kayoko Chatani, https://www.linkedin.com/in/kayoko-chatani-
23592469/?originalSubdomain=nl (last accessed Oct. 4, 2022) (attached hereto as Exhibit “92”).

                                              73
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          190.   In May 2020,




          191.   On May 2, 2022, the FDA issued a formal notice to Philips pursuant to Section

518(b) of the FDCA, 21 U.S.C. § 360h(b) (the “518(b) Notice”). 256 The 518(b) Notice stated that



251

252



253

254
      See PHILIPS_RS_MDL-00034958 (Exhibit “88” hereto).
255



256
      518(b) Notice (Exhibit “72” hereto).

                                               74
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the FDA’s “Center for Devices and Radiological Health (CDRH) is proposing that an order should

be issued pursuant to section 518(b)” of the FDCA “to require Philips to submit a plan for the

repair, replacement, and/or refund of the purchase price of devices subject to the recall that were

manufactured after November 2015, sufficient to assure that the unreasonable risk of substantial

harm to the public health presented by those devices will be eliminated.” 257 This notice was

directed to Thomas J. Fallon, Head of Quality, Sleep and Respiratory Care, for Philips Respironics,

Inc.

             192.   The 518(b) Notice stated that “there is sufficient evidence for FDA to determine

that the devices subject to the recall present an unreasonable risk of substantial harm to the public

health” and “that there are reasonable grounds to believe that the recalled devices that Philips

manufactured after November 2015 were not properly manufactured with reference to the state of

the art as it existed at the time of the devices’ manufacture.” 258

             193.   The FDA concluded that “patients and providers cannot readily mitigate the

unreasonable risk associated with the recalled devices.” 259

             194.   The FDA also concluded that “[t]his risk is not the unavoidable byproduct of

current ventilator, CPAP machine, and BiPAP machine technologies. Indeed, Philips and its

competitors market ventilators, CPAP machines, and BiPAP machines that do not use PE-PUR

foam.” 260




257
      Id. at 1.
258
      Id. at 2.
259
      Id.
260
      Id. at 6.

                                                   75
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                    1.     In 2015, Philips Communicated With Its Foam Suppliers About The
                           Problem Of PE-PUR Foam Degradation.

             195.   The PE-PUR foam that Philips used in its Recalled Devices was manufactured by

William T. Burnett & Co. (“Burnett”), a bulk foam manufacturer. Burnett produces foam in sheets

that are between approximately four feet to more than six feet wide and may be as long as one

hundred or two hundred feet.

             196.   Burnett sells its bulk foam to intermediaries, including PolyTech and The

SoundCoat Company (“SoundCoat”). PolyTech and SoundCoat then sell the foam to Philips,

either directly or through another intermediary, such as Paramount Die Corporation, which may

modify the foam.

             197.   According to the FDA, “email correspondence between [Philips] and its raw foam

supplier [PolyTech] beginning 10/30/2015 and forward, document that [Philips] was made aware

of polyester polyurethane [PE-PUR] foam degradation issues in/around October 2015, which was

later confirmed by [Philips’] foam supplier on 08/05/2016, via email.” 261

             198.   On August 5, 2016, Bob Marsh, a PolyTech employee, wrote to Lee Lawler, 262 an

employee of Burnett, referencing a concern expressed by one of its customers, Philips, in the Fall

of 2015 regarding foam degradation in its medical devices. 263 Mr. Marsh stated: “They [Philips]

are asking again, and wondered if we could give them any estimate on lifespan of the foam when

exposed to 40 C and high humidity.” 264 Mr. Lawler responded that, under those conditions, he


261
      483 Report (Exhibit “5” hereto), at 18.
262
   The Affidavit of Lee Lawler, Technical and R&D Manager at Burnett (“Lawler Aff.”), is filed
in MDL No. 3014, Case 2:21-mc-01230-JFC, at ECF No. 589-7, and attached hereto, without
exhibits, as Exhibit “94.”
263
  See Email exchange between Bob Marsh at PolyTech and Lee Lawler at Burnett (Lawler Aff.
Exh. E) (attached hereto as Exhibit “95”), at WTB 000056.
264
      Id.

                                                  76
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“would not be surprised if ester foam . . . would exhibit signs of hydrolysis in as short a time as a

year.” 265 He added: “that is not a good environment for polyester foam. Polyether foam could last

years in that environment.” 266 Presumably referring to Philips, Mr. Marsh responded that he would

“let them know they’d be better off with the ether.” 267 [It was recommended that PMF (melamine

foam) or PAF (polyurethane foam) would be better suited “for high temperature and chemical

exposure acoustical absorption.” 268]

             199.   Indeed, [Philips RS’s Senior Staff Mechanical Engineer Richard Alfieri

communicated about this issue with Philips’ sales engineer at Brandon Associates and with foam

supplier Polytech, saying that “bits of foam have broken away and are pulled into the device.” 269]

             200.   Knowing about these issues with the PE-PUR foam, Philips tested the foam

material used in its Recalled Devices. According to the FDA, “this testing spoke only to the limited

finding that in the case of the [redacted] foam samples ‘returned from service in a Pacific rim

location,’ spectroscopy results were ‘consistent with an environmental/chemical exposure causing

base polymer cleavage and embrittlement of the material.’” 270 Nonetheless, based on the results

of this limited testing, Philips concluded that no escalation to a CAPA process was required. 271




265
      Id.
266
      Id.
267
      Id.
268
        PHILIPS_RS_MDL-00026002-06          (Exhibit “81”   hereto ,    at
PHILIPS_RS_MDL-00026002; PHILIPS_RS_MDL-00026007-10 (Exhibit “82” hereto);
PHILIPS_RS_MDL-00026013-16 (Exhibit “83” hereto).
269
      Id.
270
      518(b) Notice (Exhibit “72” hereto), at 7.
271
      Id.

                                                   77
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           201.     According to the FDA, “no further investigation, health hazard evaluation, risk

analysis, or design review was performed or documented by Philips at that time . . . and no

preventative maintenance procedures were implemented,” other than a limited “preventative

maintenance procedure” instituted by a Philips “entity owned by the parent company of Philips

Respironics … to replace the air intake assembly of Trilogy ventilator products, due to complaints

that had been received regarding degradation of the PE-PUR foam contained in the products.”272

And even then, “Philips did not verify the effectiveness of this measure.” 273

           202.     As Philips continued to ask its supplier about the properties of the PE-PUR foam

and encountered more warning signs, it continued to put that foam in medical devices that millions

of its customers were breathing through daily.

           203.     Testing conducted for Philips in 2016 confirmed that Mr. Lawler from Burnett was

correct. According to the FDA, this testing “determined that the PE-PUR foam was susceptible to

degradation, resulting in the conclusion at that time that ‘polyester urethanes show bad resistance

against high humidity in combination with high temperature.’” 274 Additional testing “determined

that, compared to PE-PUR foam, another type of foam, polyether urethane, ‘show[s] a far better

resistance against high humidity at high temperature.’” 275

           204.     The 483 Report identified “at least fourteen instances, assessments, and/or test

reports, dated from 04/01/2016 to 01/22/2021, where [Philips] was aware of issues and concerns

related to potential foam degradation and/or Volatile Organic Compound (VOC) emissions, with




272
      Id. at 6-7.
273
      Id. at 8.
274
      Id. at 7-8.
275
      Id. at 8.

                                                   78
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various Sleep and Respiratory care devices.” 276 It listed the specific analyses and tests, including

one which concluded that “contrary to polyester urethane foams, [redacted] foams shows a far

better resistance against high humidity at high temperature.” 277

             205.   Philips received at least 110 complaints confirmed to be related to foam degradation

between 2014 and 2017. 278 Approximately 80 of these complaints concerned CPAP and BiPAP

devices. 279

             206.   Nonetheless, Philips continued manufacturing and selling the now Recalled

Devices containing PE-PUR foam and failed to warn prescribing physicians, durable medical

equipment companies (“DMEs”) and the patient consumers of this problem.

                    2.     Philips Opened An Internal Investigation Into Foam Degradation In
                           Mid-2018 That Confirmed PE-PUR Foam Is Prone To Degradation.

             207.   In April 2018, Philips opened a precursor to a formal CAPA, referred to by Philips

as a CAPA INV 0988, “to investigate complaints related to potential foam degradation for the

Trilogy devices in Australia and to determine what actions should be taken.” 280 Philips reported

that “[u]nits were returned from the field where the Trilogy Removable Air Path Foam [redacted]




276
      483 Report (Exhibit “5” hereto), at 3.
277
      Id. at 4.
278
      518(b) Notice (Exhibit “72” hereto), at 7.
279
      Id. at 8.
280
      Id.




                                                     79
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and the foam in the Inlet Air Path Assembly [redacted] was degrading, and getting into the

motor/air path, causing at least 1 Trilogy unit to fail.” 281

             208.   On April 20, 2018, Vincent Testa, a Project Mechanical Engineer at Philips RS,

emailed Bonnie Peterson, a Project Manager at PolyTech. Mr. Testa stated, “We use the PAFS

foam in the air path of our Trilogy family of ventilators as a means for noise reduction . . . .”282

PAFS foam is PolyTech’s open cell, flexible acoustical grade PE-PUR foam. 283 Mr. Testa at

Philips continued: “Recently weve [sic] received a few complaints from our customers that the

foam is disintegrating . . . . The material sheds and is pulled into the ventilator air path. As you can

imagine, this is not a good situation for our users.” 284 Mr. Testa asked, “what could cause this

material to break down.” 285

             209.   On April 23, 2018, Mr. Marsh from PolyTech forwarded Philips’ April 20, 2018

email to Mr. Lawler from Burnett, reporting that “[t]he customer [Philips] is finding degradation

of the ester foam and the urethane film in their device, such that particles are breaking off and

flowing in the airstream.” 286

             210.   On May 2, 2018, Mr. Marsh added in an email to Mr. Lawler that “Philips gave us

another bit of information. They tested ether vs ester in high heat and humidity and found ether to



281
      483 Report (Exhibit “5” hereto), at 14.
282
    See Email from Vincent Testa at Philips to Bonnie Peterson at PolyTech (Lawler Aff. Exh. H)
(attached hereto as Exhibit “98”), at WTB 000070.
283
        See     PolyTech       website,      https://www.polytechinc.com/products/acoustic-
foamhttps://www.polytechinc.com/products/acoustic-foam (last accessed Oct. 3, 2022).
284
   See Email from Vincent Testa at Philips to Bonnie Peterson at PolyTech (Lawler Aff. Exh. H)
(Exhibit “98” hereto), at WTB 000070.
285
      Id.
286
   See Email from Bob Marsh to Lee Lawler dated 4/23/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000069-70.

                                                   80
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be the better performer. It validated what we (you) had conveyed.” 287 Mr. Marsh asked whether

exposure to oxygen, higher temperature, and higher humidity could accelerate deterioration of PE-

PUR foam. 288

             211.    Mr. Lawler responded that he did “not believe that exposure to oxygen will cause

any significant damage to polyurethane foam unless elevated temperature and/or humidity is also

present.” 289

             212.    On May 3, 2018, Mr. Testa from Philips admitted in a follow-up email to Mr. Marsh

from PolyTech, that:

             We [Philips] are evaluating our options regarding the foam. We could switch to the
             PAF [ether-based foam], or we could indicate a preventative maintenance cycle in
             which they would replace the PAFS [ester-based] foam pieces. . . . The
             environmental conditions for our device are a maximum of 40C and 95% R.H. Note
             the difference in temperature. 290

             213.    Mr. Testa at Philips asked Mr. Marsh from PolyTech the following:

             1. Please ask your foam supplier to calculate the service life based on this higher
             temperature (40C vs. 27C).

                     a. It would also be useful if they could provide a graph depicting failure
                     over time. For example, if tensile strength reduced over time, they would
                     plot strength vs. time.

             2. At the end of the service life, what is the failure mode of this material? 291




287
   See Email from Bob Marsh to Lee Lawler dated 5/2/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000069.
288
      Id.
289
   See Email from Lee Lawler to Bob Marsh dated 5/2/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000069.
290
   See Email from Vincent Testa to Bob Marsh dated 5/3/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000068-69).
291
      Id.

                                                       81
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         214.   Mr. Marsh again forwarded these questions to Mr. Lawler at Burnett, who

responded:

         I am unable to answer Question Number 1. We would not recommend using
         polyester foam in such an environment and have no direct data to use to calculate
         the rate of hydrolysis. Polyether foam lifetime would not be expected to reduce
         significantly at the stated conditions. Use with pure oxygen could shorten the
         lifetime some by promoting more rapid oxidation. I do not know the extent of the
         reduction, but do not expect it to be overly significant.

         Polyester foam will lose tensile strength and overall integrity as it hydrolyzes. It
         will eventually decompose to a sticky powder. That will happen very rapidly at
         40C, 95% R.H. 292

         215.   Mr. Lawler from Burnett added: “Is it one of our data sheets that states foam

lifetime being 10 years at 95% R.H? I do not think I have seen a sheet with that statement.” 293 Mr.

Marsh at PolyTech responded that he would pass along the information to Philips and that “[w]e

have no idea where that statement came from. It has been on our data sheets for probably 20 years.

We are removing it.” 294

         216.   On May 23, 2018, Mr. Marsh from PolyTech forwarded to Mr. Lawler from Burnett

another question from Mr. Testa at Philips, about the degradation of the foam it was using in its

Recalled Devices. 295 Mr. Testa explained that Philips had “sent samples to a local lab for




292
   See Email from Lee Lawler to Bob Marsh dated 5/4/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000067-68 (emphasis in original).
293
      Id. at WTB 000068.
294
   See Email from Bob Marsh at PolyTech to Lee Lawler at Burnett dated 5/4/2018 (Lawler Aff.
Exh. H) (Exhibit “98” hereto), at WTB 000067. Notably, PolyTech still advertises on its website
that PE-PUR foam is resistant to heat and humidity. See PolyTech “Acoustic Foam for Sound
Adsorption” webpage, https://www.polytechinc.com/products/polymer-acoustic-foam (last
accessed Oct. 7, 2022) (“Ester foams have superior physical properties and offer excellent
resistance to heat, moisture, and chemicals.”) (attached hereto as Exhibit “99”).
295
   See Email from Bob Marsh to Lee Lawler dated 5/23/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000066-67.

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analysis.” 296 The local lab concluded that the degradation was a result of cleavage of the bonds in

the base polymer, and Mr. Testa stated that “[f]urther investigation concluded that prolonged

exposure to high humidity causes the foam to degrade.” 297 Mr. Testa noted that “[a]s the foam

degrades it breaks down into small particulate” and asked whether the foam “maintain[s] its UL

94 Flame Resistance rating if it is broken down into particulate?” 298

            217.   Mr. Lawler replied: “I am sure the degraded foam will not perform well in UL94

testing, though I cannot imagine how one would actually perform the test on such degraded

material.” 299

            218.   On June 7, 2018, Mr. Testa at Philips again emailed Mr. Marsh at PolyTech:

            As we continue our investigation of the deterioration of the PAFS foam, a few
            questions has [sic] been posed regarding the material. Can you please reach out to
            your foam supplier regarding the following.

            1. What is the actual composition of the polyurethane-ester foam PAFS-038? (CAS
               #s/percentages/weight percent/reactive groups etc. any chemistry is very
               appreciated)

            2. What kind of diisocynate is used in the polyurethane foam synthesis process and
               how much?

            3. Is diethylene glycol or another polyol utilized in the foam synthesis process?

            4. Have you tested to see if all diisocyanate groups are reacted in your foam or are
               there unreacted groups even after manufacturing? 300




296
      Id. at WTB 000066.
297
      Id. at WTB 000067.
298
      Id.
299
   See Email from Lee Lawler to Bob Marsh dated 5/23/2018 (Lawler Aff. Exh. H) (Exhibit “98”
hereto), at WTB 000066.
300
   See Email from Vincent Testa to Bob Marsh dated 6/7/2018 (Lawler Aff. Exh. I) (attached
hereto as Exhibit “100”), at WTB 000076-77.

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            219.   Mr. Marsh (PolyTech) forwarded the questions to Mr. Lawler (Burnett), who asked

why Mr. Testa (Philips) needed this information. Mr. Marsh did not provide a definitive answer

but said, “What Vince [Testa] told us is that they are investigating alternatives to polyurethane

foam (ester and ether).” 301 Mr. Lawler ultimately did not answer Mr. Testa’s questions because

they touched on Burnett’s confidential, proprietary information.

            220.   On June 20, 2018, Philips closed CAPA INV 0988. 302 According to the FDA,

Philips implemented “a preventative maintenance procedure for Trilogy devices, but Philips did

not verify the effectiveness of this measure.” 303 Yet, “after CAPA INV 0988, Philips modified its

CAPA procedures to include ‘requirements to help ensure that CAPAs are fully complete [and]

appropriately scoped,’ and that ‘processing the issue [that was the subject of CAPA INV 0988]

through the current CAPA program would have result[ed] in an appropriate horizontal

assessment.’” 304

            221.   The FDA pointed out that Philips’ informal CAPA INV 305 related to these Trilogy

devices did “not include, investigate, or examine all of [Philips’] CPAP and BiPAP medical

devices, which also include similar air path assemblies and/or the affected polyester polyurethane

[PE-PUR] foam, which is susceptible to degradation.” 306 But Philips had acknowledged to the




301
   See Email from Bob Marsh to Lee Lawler dated 6/14/2018 (Lawler Aff. Exh. I) (Exhibit “100”
hereto), at WTB 000075.
302
      483 Report (Exhibit “5” hereto), at 15.
303
      518(b) Notice (Exhibit “72” hereto), at 8.
304
      Id.
305
   The 483 Report explained that Philips’ practice at the time was to first open CAPA requests—
called “CAPA INVs”—as a precursor to a formal CAPA, but this could only occur if approved by
a “CAPA Review Board” or delegate. See 483 Report (Exhibit “5” hereto), at 14-15.
306
      Id. at 15.

                                                   84
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FDA that it had “received approximately eighty complaints related to foam degradation, on non-

Trilogy ventilator devices, from 2014 to 2017.” 307

          222.     The FDA concluded that Philips had not “adequately established” a process for

initiating CAPA procedures. 308 Specifically, the FDA faulted Philips for not initiating a “formal”

CAPA after receiving “various complaints alleging foam degradation in Trilogy ventilator

devices” and then closing its informal investigation just two months later without “verify[ing] the

effectiveness” of the limited “preventative maintenance procedure for Trilogy devices.” 309

          223.     Philips continued to receive more information suggesting that the PE-PUR foam

was prone to degradation. According to the FDA, “[a] follow-up email amongst [Philips’]

personnel, dated 08/24/2018, states that testing confirmed that the affected foam breaks down in

high heat and high humidity environments, which concurred with Trilogy ventilator related

complaints . . . .” 310

          224.     Further, “[o]n December 12, 2018, several months after CAPA INV 0988 was

closed, a report from additional testing conducted for Philips found that ‘[p]olyester polyurethane

foam showed clear disintegration after 2 weeks.” 311

          225.     Nonetheless, Philips continued manufacturing and selling the Recalled Devices

containing PE-PUR foam.

          226.     Philips failed to apprise the FDA of the facts and problems it learned from its foam

suppliers about premature foam degradation risks.


307
      Id. at 16 (emphasis added).
308
      Id. at 14.
309
      518(b) Notice (Exhibit “72” hereto), at 8.
310
      483 Report (Exhibit “5” hereto), at 18.
311
      518(b) Notice (Exhibit “72” hereto), at 8.

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            227.    Philips failed to apprise the FDA of consumer, medical provider and DME reports

of the presence of foam particles and other device failures.

                    3.     Philips Finally Opened A Formal CAPA In 2019 – But Did Not
                           Initiate A Recall For Two More Years.

            228.    In April 2019, Philips received two complaints that “sound abatement foam ‘is

degrading and entering the air path.’” 312

            229.    In response, in June 2019, Philips finally initiated a formal CAPA, numbered

CAPA 7211, related to the issues associated with the PE-PUR foam. But as the FDA explains:

            Even then, that CAPA failed to evaluate all relevant data. Philips’ search of FDA’s
            Manufacturer and User Facility Device Experience (MAUDE) database in
            connection with CAPA 7211 identified only three medical device reports (MDRs)
            associated with potential foam degradation involving Trilogy ventilators between
            January 2011 and January 2021. Yet an MDR analysis conducted by Philips in 2018
            had already identified 17 documented complaints related to foam degradation in
            Trilogy ventilators, and at least 14 of those 17 complaints had related MDRs.
            Similarly, Philips’ analysis of foam degradation-related complaints conducted in
            connection with CAPA 7211 identified 1,254 complaints confirmed to be related
            to foam degradation between 2014 and April 2021 across all affected products, yet
            this analysis failed to include several complaints confirmed to be related to foam
            degradation in Trilogy ventilators that were documented in 2018 in connection with
            CAPA INV 0988. 313

            230.    Philips continued to test the PE-PUR foam while the CAPA was underway. A

Biological Risk Assessment dated July 2, 2020, found that “the biological and toxicological risks

from exposure to degraded PE-PUR foam are of concern….” 314

            231.    Another internal “Biological Risk Assessment” dated December 10, 2020 – and

“conducted as a result of field reports/complaints regarding degraded sound abatement foam in



312
      Id.
313
      Id. at 8-9.
314
   483 Report (Exhibit “5” hereto), at 7 (“Philips Respironics Inc. (PRI) was made aware in May
2019 that four CPAP units were returned to a service center with degraded sound abatement
foam.”) (quoting July 2, 2020 Biological Risk Assessment).

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various CPAP and ventilator products” 315 – described the risks that degraded polyurethane foam

posed to humans in no uncertain terms:

           The cytotoxicity and positive genotoxicity results observed from degraded PE-PUR
           foam samples indicate a potential patient risk. Potential cytotoxicity and
           genotoxicity leading to carcinogenicity are possible outcomes from degraded
           PE-PUR foam exposure. Overall, based on an understanding of the toxicological
           significance of the foam degradants and the results of the ISO 10993 testing to
           include mutagenic responses in both a bacterial and mammalian system, the
           degraded PE-PUR foam is not considered biocompatible and presents a
           significant biological risk to those patient populations who are exposed to
           degraded PE-PUR foam. 316

           232.     An additional Philips’ Biocompatibility Risk Assessment dated January 11, 2021,

concurred that degraded PE-PUR foam “presents a significant biological risk to patients,” and

admitted that “[p]otential cytotoxicity and genotoxicity leading to carcinogenicity are possible

outcomes from degraded PE-PUR foam exposure.” 317

           233.     Ultimately, in CAPA 7211, Philips concluded that “the cause of the foam

degradation condition is long-term exposure to environmental conditions of high temperature

combined with high humidity” and reiterated that “the cause of degradation was due to chemical

breakdown of the foam due to exposure to water caused by long-term exposure to environmental

conditions.” 318

           234.     Based on its investigation, the FDA concluded that Philips’ upper management was

aware of the foam degradation issues, discussed it at numerous management review meetings, and

yet delayed doing anything to rectify or mitigate the hazards:

           [F]irm management, including management with executive responsibility, were
           aware of potential foam degradation issues concerning CPAPs, BiPAPs, and

315
      Id. at 8-9.
316
      Id. at 7-8 (emphasis added).
317
      Id. at 8.
318
      518(b) Notice (Exhibit “72” hereto), at 10.

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            Trilogy ventilators since at least 01/31/2020, or earlier, and implemented no further
            corrective actions until April 2021.

            Polyester polyurethane foam degradation issues concerning CPAPs, BiPAPs, and
            Trilogy Ventilators were discussed at all [redacted] management review meetings,
            since the 2019 [redacted], dated 01/31/2020 . . . . Additionally, your firm [Philips]
            became aware of this issue and related field complaints in at least 2015 or earlier. 319

            F.     PHILIPS CONSISTENTLY MARKETED ITS BREATHING MACHINES
                   AS SAFE AND EFFECTIVE EVEN WHEN IT KNEW OF THE PROBLEMS
                   WITH PE-PUR FOAM DEGRADATION AND ASSOCIATED HEALTH
                   RISKS.

                   1.      Philips Never Hinted at the Dangerous Condition of the Recalled
                           Devices.

            235.   At no point prior to April 2021, when Philips first disclosed foam issues to its

shareholders, did Philips even hint that there was a dangerous condition in its recalled CPAP,

BiPAP, and ventilator devices. Instead, Philips held itself out as a trusted brand and “global leader

in the sleep and respiratory markets.” 320 Its branding promises consumers that they will “[b]reath

easier, sleep more naturally.” 321 Philips further assures consumers that its “sleep therapy systems

are designed with the needs of care practitioners and patients in mind,” and that its “quality systems

reflect [Philips’] commitment to providing enhanced patient comfort,” among other things. 322 And

it has long advertised its CPAP and BiPAP Machines as “clinically proven” treatment for sleep

disorders. 323




319
      483 Report (Exhibit “5” hereto), at 24.
320
        See    Philips      Respironics     website     –  About     Philips     Respironics,
http://www.respironics.com/product_libraryhttp://www.respironics.com/product_library    (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “101”).
321
      Id.
322
  See https://www.usa.philips.com/healthcare/solutions/sleep/sleep-therapy (last accessed Oct. 3,
2022) (Exhibit “102” hereto).
323
      Id.

                                                      88
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            236.   Philips boasts that it has the “most prescribed CPAP systems by U.S. sleep

physicians.” 324 The CPAP and BiPAP machines routinely cost from seven or eight hundred dollars

to thousands of dollars per machine, and the ventilators cost more than several thousands of dollars

per machine.

                   2.     Philips Knew Some of its Customers Were Using the SoClean Ozone
                          Cleaning Technology with its Devices and Assented to Such Use.

            237.   Philips was fully cognizant that many users were utilizing the So-Clean Ozone

product in conjunction with its device.

            238.   For example, on March 6, 2020, in a letter responding to a customer’s request for

written guidance, Philips Respironics said using SoClean on its DreamStation will not

automatically void the warranty, but the company “reserves the right to void a warranty if it is

determined that the use of SoClean caused a defect for which a device otherwise under warranty

was returned.” 325 The company said in a statement to HME News that it “does not formally

validate the use of SoClean with the DreamStation, but as of Jan. 6, Philips has not denied a

warranty claim associated with the use of SoClean with a DreamStation.” 326 Philips told HME

News it wrote the letter “to limit confusion and misinformation.” 327 The article in HME News

further quoted Philips stating that “Philips is in communication with SoClean to further analyze




324
      Id.
325
     Business News For Home Medical Equipment Providers (March 6, 2020), at
https://www.hmenews.com/article/cpap-manufacturers-address-certain-cleaning-devices (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “103”).
326
      Id.
327
      Id.

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the potential compatibility of the SoClean with DreamStation therapy devices, and will provide

further information as it becomes available,” the company told HME News. 328

            239.   By virtue of that communication to a trade journal, Philips not only acknowledged

its awareness of the use of the product, but also acknowledged it received warranty complaints

amongst users of the DreamStation who also used SoClean, and honored the warranties and

communicated with SoClean.

            240.   Additional evidence that Philips was aware that SoClean was selling a product

specifically designed to be used in conjunction with the DreamStation is the website of

CPAPDIRECT.COM, a major internet provider of CPAP machines and related paraphernalia

which advertised an express adapter kit for So Clean and Dream Station products. 329 Similarly

numerous other internet and DMEs and retail suppliers of Philips CPAP devices also sold SoClean

to be used in conjunction with the Devices, and Philips expressly and impliedly was aware of this

combined use.

            241.   Given that Philips was on notice since at least 2008 of a foam degradation concern,

and was also aware of the combined use of its Devices with SoClean, to the extent there is any

validity to Philips recent claims attributing foam degradation to SoClean ozone treatment, Philips

should have and could have made the same attributions and affirmatively stepped up to expressly

warn medical providers, DMEs and patients against the combined use of the products in allegedly

contributing to premature foam degradation.




328
      Id.
329
    See CPAP Direct Products Page – SoClean Respironics System One & DreamStation Adapter,
https://www.cpapdirect.com/cleaning/soclean-respironics-system-one-and-dreamstation-adapter
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “104”).

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          242.     Instead, recognizing that SoClean consumers seemingly liked having this additional

cleaning modality, Philips declined to dissuade patients and customers from the combined use due

to a concern that they would lose business to alternative CPAP manufacturers who also tacitly or

expressly condoned such joint use.

                   3.     Philips Sold Its Humidifier Accessory Allowing Warm Storage
                          Conditions and Contributing to Humidity of the Foam.

          243.     Philips sold humidifiers to accompany its CPAP devices, 330 especially the

DreamStation, stating in the humidifier’s User Manual under the heading “Intended Use”: “The

DreamStation Heated Humidifier is an accessory for the Philips Respironics DreamStation therapy

devices to provide moisture to the patient circuit.” 331

          244.     The humidifier manual quoted above had, under the heading “DreamStation Heated

Humidifier Specifications” had environmental specifications that included an “Operating

Temperature: 5° to 35° C (41° to 95° F”)” as well as “Storage Temperature: -20° to 60° C (-4° to

140° F)” and “Relative Humidity (operating & storage): 15 to 95% (non-condensing).” 332

          245.     Philips provided the humidifier option explaining in the DreamStation User Manual

that “[y]ou can use the heated humidifier and the heated tube with your device. They are available

from your home care provider. A humidifier may reduce nasal dryness and irritation by adding

moisture to the airflow.” 333




330
    Philips’ humidifiers are not compatible with CPAP devices manufactured by other companies
like ResMed.
331
               See           DreamStation             Humidifier            User Manual,
https://www.documents.philips.com/doclib/enc/11410694/DreamStation_Humidifier_User_Man
ual.pdf, at 1 (last accessed Oct. 3, 2022) (attached hereto as Exhibit “105”).
332
      Id. at 12.
333
      See, e.g., DreamStation User Manual (Exhibit “47” hereto), at 22.

                                                   91
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       246.   Philips not only knew but recommended the use of the humidifier, and also advised

that the device could be stored in a room as warm as 140° F despite their knowledge that warm,

hot and humid conditions contributed to rapid degradation of its sound insulating foam.

       247.   The vast majority of DreamStation patients use the Philips humidifier with their

devices.

       G.     PHILIPS FINALLY RECALLED ITS DEFECTIVE DEVICES
              CONTAINING HAZARDOUS PE-PUR FOAM, BUT ONLY AFTER
              LAUNCHING ITS NEWEST DEVICE WITHOUT PE-PUR FOAM.

              1.      Prior to the Recall, In April And May 2021, Philips Launched The
                      DreamStation 2 (Which Does Not Contain PE-PUR Foam).

       248.   Two months prior to the Recall, Philips announced on April 13, 2021, that it was

launching the DreamStation 2, a next-generation machine in its DreamStation product family. The

DreamStation 2 does not contain PE-PUR foam.

       249.   Less than two weeks after its launch of the DreamStation 2, on April 26, 2021,

Philips announced that its previous generation of DreamStation products and other Recalled

Devices posed serious health risks to users. In the same release, Philips tried to convince

consumers to purchase and use its new DreamStation 2 device:

       Philips has determined from user reports and testing that there are possible risks to
       users related to the sound abatement foam used in certain of Philips’ sleep and
       respiratory care devices currently in use. The risks include that the foam may
       degrade under certain circumstances, influenced by factors including use of
       unapproved cleaning methods, such as ozone,* and certain environmental
       conditions involving high humidity and temperature. The majority of the affected
       devices are in the first-generation DreamStation product family. Philips’ recently
       launched next-generation CPAP platform, DreamStation 2, is not affected. Philips
       is in the process of engaging with the relevant regulatory agencies regarding this
       matter and initiating appropriate actions to mitigate these possible risks. Given the




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            estimated scope of the intended precautionary actions on the installed base, Philips
            has taken a provision of EUR 250 million. 334

            250.   Even when making this announcement, Royal Philips downplayed the significance

of the problem claiming “the occurrence rate is very, very low.” 335 At the same time, Royal Philips

assured its shareholders that any adverse impact on sales due to the safety risks posed by the

Recalled Devices was minimized by introduction of the DreamStation 2: “The good thing is, is

that we have launched DreamStations 2.” 336

                   2.      Testing Continued To Confirm The Recalled Devices Were Defective
                           and the FDA Received Additional MDRs.

            251.   Even as it launched the DreamStation 2 device and announced publicly that its

previous generation DreamStation products posed serious health risks to users, Philips continued

to conduct tests that confirmed some of its breathing products were defective.

            252.   For example, on May 17, 2021, Ken Cole from RJ Lee, an industrial forensics

analytical laboratory and scientific consulting firm, produced a presentation analyzing the foam in

Philips’ Trilogy EVO devices. The presentation states that the investigation was “prompted by

staff observation of color variance across both current production and previous builds.” 337

            253.   The analysis involved six samples of foam, two from units built in 2018 and four

taken from Philips’ current production stock in May 2021. 338 Some of the samples from 2021



334
     See Royal Philips announces its 2021 First-Quarter Results (Apr. 26, 2021),
https://www.philips.com/a-w/about/news/archive/corpcomms/news/press/2021/philips-first-
quarter-results-2021.html (last accessed Oct. 9, 2022) (attached hereto as Exhibit “106”).
335
   Transcript of Koninklijke Philips NV Earnings Call for First Quarter 2021 Results (April 26,
2021), Fair Disclosure Wire (attached hereto as Exhibit “107”).
336
      Id.
337
    See RJ Lee Analysis Review of Trilogy EVO Foam (Lawler Aff. Exh. A) (WTB000001-14)
(attached as Exhibit “108” hereto), at WTB000003.
338
      Id. at WTB 000006.

                                                    93
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showed “differing cell structure” which is an “[i]ndication of poor process control.” 339 The 2021

foam had “significant contaminants.” 340 The foam was supposed to be ether-based, 341 but testing

revealed indications that some of the foam was actually ester-based. 342

         254.   In addition, MDRs associated with the PE-PUR foam breakdown increased

significantly. 343 From 2011 to April 2021 when Philips first notified the FDA of their intention to

conduct a field action due to concerns pertaining to foam degradation (breakdown) in certain

ventilators, BiPAP machines, and CPAP machines, Philips submitted only 30 MDRs that they

identified as associated with the PE-PUR foam breakdown and there were no reports of patient

injury or death among those 30 MDRs. 344 Eight of those reports were from the United States.

         255.   After Philips notified the FDA of its intention to conduct a field action in April

2021 through July 31, 2022, the amount of MDRs the FDA received increased significantly as did




339
      Id. at WTB 000008.
340
   Id. at WTB 000009; see also WTB 000010 (“Indication of poor process control and/or
contamination.”).
341
      Id. at WTB 000002.
342
      Id. at WTB 000013.
343
   As stated above, manufacturers, such as Philips, are required to submit medical device reports
(MDRs) when information reasonably suggests that their device may have caused or contributed
to a death or serious injury, or has malfunctioned, and that device or a similar device they
manufacture would be likely to cause or contribute to a death or serious injury if the malfunction
were to recur. Health professionals, consumers, and patients may voluntarily submit reports of
device adverse events and malfunctions to the FDA. See, e.g., 21 C.F.R. § 803.20.
344
   The FDA’s latest information about medical device reports (MDRs) associated with the
Recalled Devices on August 16, 2022 is available here: https://www.fda.gov/medical-
devices/safety-communications/update-certain-philips-respironics-ventilators-bipap-machines-
and-cpap-machines-recalled-due?utm_medium=email&utm_source=govdelivery#mdr                (last
accessed Oct. 3, 2022) (“FDA MDR Update”).

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the “reports of death, associated with the PE-PUR foam breakdown or suspected foam

breakdown.” 345 Specifically, the FDA reported:

                        From April 2021 through April 30, 2022, the FDA received more than 21,000
                        MDRs, including 124 reports of death, associated with the PE-PUR foam
                        breakdown or suspected foam breakdown.

                        From May 1, 2022, through July 31, 2022, the FDA received more than 48,000
                        MDRs, including 44 reports of death, associated with the PE-PUR foam
                        breakdown or suspected foam breakdown.

            256.   The FDA continued: “A wide range of injuries have been reported in these MDRs,

including cancer, pneumonia, asthma, other respiratory problems, infection, headache, cough,

dyspnea (difficulty breathing), dizziness, nodules, and chest pain.” 346

                   3.      Finally, In June 2021, Philips Recalled Its Defective Devices.

            257.   Finally, on June 14, 2021, Royal Philips issued a press release announcing a recall

notice directed to its customers in the United States, and a field safety notice for the rest of the

world, stating:

            To date, Philips has produced millions of Bi-Level PAP, CPAP and mechanical
            ventilator devices using the PE-PUR sound abatement foam. Despite a low
            complaint rate (0.03% in 2020), Philips determined based on testing that there are
            possible risks to users related to this type of foam. The risks include that the PE-
            PUR foam may degrade into particles which may enter the device’s air pathway
            and be ingested or inhaled by the user, and the foam may off-gas certain chemicals.
            The foam degradation may be exacerbated by use of unapproved cleaning methods,
            such as ozone, and high heat and high humidity environments may also contribute
            to foam degradation.




345
   Id. (stating “The MDRs received included both mandatory reports from Philips and voluntary
reports from health professionals, consumers, and patients.”).
346
      Id.

                                                    95
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            Therefore, Philips has decided to voluntarily issue a recall notification to inform
            patients and customers of potential impacts on patient health and clinical use related
            to this issue, as well as instructions on actions to be taken. 347

            258.   Philips stated that “[t]he majority of the affected devices within the advised 5-year

service life are in the first-generation DreamStation product family.” 348 Philips elaborated:

            Based on the latest analysis of potential health risks and out of an abundance of
            caution, the recall notification advises patients and customers to take the following
            actions:

                   For patients using affected BiLevel PAP and CPAP devices: Discontinue
                   use of your device and work with your physician or Durable Medical
                   Equipment (DME) provider to determine the most appropriate options for
                   continued treatment. To continue use of your device due to lack of
                   alternatives, consult with your physician to determine if the benefit of
                   continuing therapy with your device outweighs the risks identified in the
                   recall notification.

                   For patients using affected life-sustaining mechanical ventilator devices: Do
                   not stop or alter your prescribed therapy until you have talked to your
                   physician. Philips recognizes that alternate ventilator options for therapy
                   may not exist or may be severely limited for patients who require a
                   ventilator for life-sustaining therapy, or in cases where therapy disruption
                   is unacceptable. In these situations, and at the discretion of the treating
                   clinical team, the benefit of continued usage of these ventilator devices may
                   outweigh the risks identified in the recall notification.

            Possible health risks

            The company continues to monitor reports of potential safety issues as required by
            medical device regulations and laws in the markets in which it operates. To date,
            there have been no reports of death as a result of these issues. Philips has received
            reports of possible patient impact due to foam degradation. The potential risks of
            particulate exposure include headache, irritation, inflammation, respiratory issues,
            and possible toxic and carcinogenic effects. The potential risks of chemical
            exposure due to off-gassing include headache, irritation, hypersensitivity,




347
   Royal Philips Press Release, Philips issues recall notification* to mitigate potential health risks
related to the sound abatement foam component in certain sleep and respiratory care devices (June
14, 2021) (Exhibit “34” hereto) (asterisks and footnotes omitted).
348
      Id.

                                                     96
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          nausea/vomiting, and possible toxic and carcinogenic effects. Philips has received
          no reports regarding patient impact related to chemical emissions. 349

          259.    Corroborating the dangerous nature of the Recalled Devices, on July 22, 2021, the

FDA upgraded Philips’ recall of the Recalled Devices to its most serious classification, Class I,

which according to the FDA means: “A situation in which there is a reasonable probability that

the use of or exposure to a violative product will cause serious adverse health consequences or

death.” 350

          260.    Philips’ Recall announcement instructed users to not use the Recalled Devices

because of the health risks. This confirmed the true nature of the recalled products, which at all

times were adulterated and worthless.

          261.    Philips took similar action with respect to its defective CPAP, BiPAP, and

ventilator devices across the globe.

          262.    Shortly after Philips’ recall announcement, Philips’ main competitor, ResMed,

issued a message regarding the recall, stating that “ResMed devices are not subject to this recall

and are safe for patients to use. ResMed devices use a different material for sound reduction than

the material used by the other manufacturer.” 351




349
      Id. (asterisks and footnotes omitted).
350
    See FDA – Recalls Background and Definitions, https://www.fda.gov/safety/industry-
guidance-recalls/recalls-background-and-definitions (last accessed Oct. 3, 2022) (attached hereto
as Exhibit “109”).
351
    See ResMed webpage, Information regarding a separate manufacturer’s product recall (June
2021),                                        archived                                     at:
https://web.archive.org/web/20210617041516mp_/https://www.resmed.com/en-us/other-
manufacturer-recall-2021/ (last accessed Oct. 7, 2022) (attached hereto as Exhibit “110”).

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       263.    ResMed devices and ventilators use polyether polyurethane or silicone-based foam,

not PE-PUR foam, for sound abatement purposes. 352

       H.      THE MEASURES TAKEN BY PHILIPS, AND BY ROYAL PHILIPS IN
               PARTICULAR, TO RECALL AND REPLACE THE DEFECTIVE
               DEVICES HAVE BEEN INADEQUATE AND INEFFECTIVE.

       264.    From the outset, Royal Philips has directly overseen and managed the Recall

announced on June 14, 2021.

       265.    Royal Philips tasked a member of its Executive Committee, Roy Jakobs, with

leading the company’s repair and remediation program. 353 Mr. Jakobs is in charge of Philips’

Connected Care businesses that include Philips RS. 354 Royal Philips claims that “[s]ince taking on


352
   See ResMed “Other Manufacturer Recall 2021” webpage, An update from ResMed’s CEO
(Dec. 6, 2021), https://www.resmed.com/en-us/other-manufacturer-recall-2021/ (last accessed
Oct. 4, 2022) (Exhibit “51” hereto).
353
   See Royal Philips Press Release, Philips announces CEO succession (Aug. 16, 2022) (Exhibit
“41” hereto); see also video titled “Philips CEO Frans van Houten and Chief Business Leader
Connected Care Roy Jakobs talk about the various aspects of the field safety notice,” available at:
https://www.philips.com/a-w/about/news/archive/standard/news/press/2022/20220628-philips-
provides-update-on-philips-respironics-pe-pur-sound-abatement-foam-test-and-research-
program.html (last accessed Oct. 3, 2022). With respect to the Recall, Mr. Jakobs has said: “I have
a dedicated team of over 1,000 colleagues fully focused on this [the repair and replacement
program], supported by many more across the company.” See also Royal Philips Press Release,
Philips provides update on Philips Respironics’ PE-PUR sound abatement foam test and research
program (June 28, 2022), https://www.usa.philips.com/healthcare/e/sleep/communications/src-
update/news/philips-provides-update-on-philips-respironics-pe-pur-sound-abatement-foam-test-
and-research-program (last accessed Oct. 3, 2022) (attached hereto as Exhibit “111”).
354
     See Royal Philips First-Quarter Results 2022 (Apr. 25, 2022), available at:
https://www.philips.com/a-w/about/news/archive/corpcomms/news/press/2022/philips-first-
quarter-results-2022.html (last accessed Oct. 3, 2022) (Exhibit “40” hereto) (“Philips has a strong
program management in place led by Roy Jakobs, Chief Business Leader of the Connected Care
businesses and member of Philips’ Executive Committee, to ensure the Respironics field action is
executed with speed and accuracy.”); see also Royal Philips Investor Call Transcript regarding
“Test and research program Respironics PE-PUR sound abatement foam” (June 28, 2022),
available                              at:                            https://www.philips.com/c-
dam/corporate/newscenter/global/standard/resources/healthcare/2022/podcast-healthier-
future/Transcript_-_Philips_Test_and_research_program_Respironics_PE-
PUR_sound_abatement_foam.pdf (last accessed Oct. 3, 2022) (attached hereto as Exhibit “112”).

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responsibility for the voluntary recall notification/field safety notice for specific Respironics

devices on behalf of Philips, substantial progress has been made under his [Mr. Jakobs’] leadership

in the execution of the comprehensive program aimed at delivering a resolution to affected patients

as fast as possible in consultation with the relevant competent authorities.” 355

            266.   In addition to Mr. Jakobs, Royal Philips’ Technical Project Manager Jan Bennik

“head[s] up the polyester-polyurethane sound abatement foam test and research program.” 356 He

has spoken publicly on behalf of Philips about the recalled devices.

            267.   Further, the following additional Royal Philips employees are believed to have

knowledge of the Recall of the devices 357: a) Liz Iversen, Former Chief Quality and Regulatory




355
      Id.
356
    Technical Project Manager Jan Bennik speaks about the test and research program, video
available         at:       https://www.philips.com/a-w/about/investor-relations/recall-sleep-and-
respiratory/testing.html (last accessed Oct. 3, 2022).
357
   See Letter dated September 15, 2022, from all Philips Defendants (attached hereto as Exhibit
“113”), at 3-6 (section regarding agreed-upon initial custodians from which to pull responsive
discovery).

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Officer 358; b) Jan Kimpen, Chief Medical Officer (Netherlands-based) 359; and c) Carla Kriwet,

Former Chief Business Leader Connected Care (Netherlands-based). 360

            268.   Upon information and belief, Philips NA has also been involved with the Recalled

Devices and the Recall. 361 For example:

                   a. Tom Reimann, Head of Quality of Connected Care, likely “has
                      knowledge regarding the manufacture, regulatory evaluation, and
                      quality assurance review of certain devices and the recall of the
                      devices.” 362

                   b. Thomas Catalano, Director of Product Marketing, is “Lead global
                      product management team in $1 bill sleep business unit.” 363 His prior
                      role with Philips was as a Global product Manager, involved with
                      “Development product/service pipeline for next generation of CPAP
                      therapy to treat obstructive apnea.” 364



358
    Liz Iversen had “global executive responsibility and accountability” for Royal Philips. On
LinkedIn, she described her role with Royal Philips as follows: “Global executive responsibility
and accountability for Quality, Regulatory, Clinical, Medical and Compliance to ensure delivery
of safe and effective products across the enterprise while executing regulatory and quality
strategies in support of business growth.” LinkedIn Profile for Liz Iversen, Experience section,
https://www.linkedin.com/in/ediversen/ (last accessed Oct. 3, 2022) (attached hereto as Exhibit
“114”).
359
   As Chief Medical Officer Jan Kimpen “worked collaboratively with business and functional
leaders across the organization” including “provid[ing] clinical guidance for the development and
market introduction of all new product...[and] advis[ing] Philips’ board and management in
making decisions on market participation, product development, …and product launches.” See
LinkedIn profile for Jan Kimpen, Experience section (Exhibit “38” hereto).
360
   Ms. Kriwet’s LinkedIn Profile states she was the “CEO, Connected Care, Member of the Royal
Philips Executive Committee” from 2017-2020. See LinkedIn Profile for Carla Kriwet, Experience
section, https://www.linkedin.com/in/dr-carla-kriwet/ (last accessed Oct. 3, 2022) (attached hereto
as Exhibit “115”).
361
   See Letter dated September 15, 2022, from all Philips Defendants (Exhibit “113” hereto), at 3-
6 (section regarding agreed-upon initial custodians from which to pull responsive discovery).
362
  Philips RS North America LLC’s Initial Disclosures, dated May 5, 2022 (attached hereto as
Exhibit “116”).
363
   See LinkedIn Profile for Thomas Catalano, https://www.linkedin.com/in/thomas-catalano-
5a66552/ (last accessed Oct. 4, 2022) (attached hereto as Exhibit “117”).
364
      Id.

                                                  100
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                   c. Francis Kim, EVP Chief Quality & Regulatory Officer 365;

                   d. Erin Levering, Medical Safety Manager, was responsible for working
                      “with the Post-Market Surveillance team to assess individual complaints
                      for safety concerns and regulatory reporting requirements.” 366;

                   e. Vitor Rocha, Chief Market Leader – “CEO North America, EVP at
                      Philips…responsible for driving growth, expanding market share and
                      advancing Philips’ position…” 367;

                   f. Drilon Saliu, former Connected Care Head of Regulatory Affairs,
                      October 2019 – September 3, 2021 368; and

                   g. Jessica Shen, Former Senior Vice President, Global Head of Medical
                      Affairs, Clinical Affairs, HEOR & Regulatory Affairs. April 2015 –
                      August 13, 2021. 369 – “Responsible for pre-market, regulatory approval
                      for commercialization of products and solutions, including the
                      development of key regulatory and clinical strategies to bring new
                      technologies to market with the shortest possible cycle time; and the
                      harmonization of regulatory/clinical processes across all Philips product
                      lines; Work closely with global regulatory officials to further advance
                      Philips’ relationship and reputation among these important groups; and
                      continue to build out our core internal competencies and strengthen our
                      regulatory, Medical & clinical team.” 370

            269.   While the Recall began in the United States, it has been expanded worldwide. 371


365
    See LinkedIn Profile for Francis Kim, https://www.linkedin.com/in/francis-k-2b32a111a (last
accessed Oct. 7, 2022) (attached hereto as Exhibit “118”); see also PHILIPS_RS_MDL-00026625
(attached hereto as Exhibit “119”).
366
    See LinkedIn Profile for Erin Levering, https://www.linkedin.com/in/erin-levering-bs-rn-
certified-nurse-practitioner-034920178/?trk=public_post_comment-text (last accessed Oct. 5,
2022) (attached hereto as Exhibit “120”).
367
   See LinkedIn Profile for Vitor Rocha, https://www.linkedin.com/in/vitor-rocha-98582124/ (last
accessed Oct. 4, 2022) (attached hereto as Exhibit “121”).
368
      PHILIPS_RS_MDL-00026626 (Exhibit “119” hereto).
369
      Id.
370
   See LinkedIn Profile for Jessica Shen, https://www.linkedin.com/in/jessica-shen-md-ms-
b386016/ (last accessed Oct. 4, 2022) (attached hereto as Exhibit “122”).
371
    See Philips website, Urgent Product Defect Correction in Australia (Recall for Product
Correction in New Zealand) (Exhibit “9” hereto) (stating that a global recall notification was issued
on June 14, 2021 and that recalls specific to Australia and New Zealand were issued on July 2,


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        270.    Since June 2021, Royal Philips has issued numerous press releases specifically

providing information about the worldwide recall. 372



2021). Other impacted countries include, but are not limited to, Canada, Israel, and Chile. In
addition to the litigation initiated against Philips in the United States, “Philips or its affiliates are
also defendants in litigation in Australia, Canada, Chile, and Israel, as well as in smaller or
individual actions in other countries.” Royal Philips First Quarter Results 2022 - Presentation at
37 (Apr. 25, 2022), available for download at https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2022/philips-first-quarter-results-2022.html (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “123”). In a video produced by Royal Philips,
Chief Business Leader of the Connected Care businesses Roy Jakobs said: “We have more than
5.5 million patients from over 100 countries who need a replacement.” See Philips video, available
at: https://www.philips.com/a-w/about/investor-relations/recall-sleep-and-respiratory/testing.html
(last accessed Oct. 3, 2022). For example, there are 350,000 affected Philips CPAP devices and
29,500 affected Philips ventilators in France. ANSM (France) – Public Hearing Comité
Scientifique        Temporaire         (June       8,       2022)      video,       available         at:
https://www.youtube.com/watch?v=ctvL0TcmWO8 (last accessed Oct. 3, 2022). In France, the
Agence nationale de sécurité du médicament et des produits de santé (ANSM) had public hearings
regarding the recall on June 8, 2022. Technical Project Manager Jan Bennik of Royal Philips was
among the representatives of Philips who spoke at the hearings. Id. CEO van Houten has said that
Philips is “[i]n close dialogue with regulators across the world.” Philips 2021 Annual Report at 5
(Exhibit “13” hereto). French prosecutors have opened a preliminary investigation into Philips’
recall. A spokesperson for the Paris public prosecutor’s office said the office had “taken up, as of
June 20, 2022, complaints filed on the grounds of aggravated deception, involuntary attacks on
physical integrity, endangerment of life of others and administration of harmful substances.”
Charlotte Van Campenhout, French Prosecutors Probe Philips Respirator Recall, Reuters (Sept. 9,
2022), https://www.reuters.com/business/healthcare-pharmaceuticals/french-prosecutors-probe-
philips-respirator-recall-france-info-reports-2022-09-08/ (last accessed Oct. 3, 2022) (attached
hereto as Exhibit “124”).
372
   See, e.g., Royal Philips Press Release, Philips issues recall notification* to mitigate potential
health risks related to the sound abatement foam component in certain sleep and respiratory care
devices (June 14, 2021) (Exhibit “34” hereto); Philips Press Release, Philips starts repair and
replacement program of first-generation DreamStation devices in the US in relation to earlier
announced recall notification* (Sept. 1, 2021) (Exhibit “10” hereto); Royal Philips Press Release,
Philips provides update on earlier announced voluntary CPAP, BiPAP and Mechanical Ventilator
recall notification* (Nov. 14, 2021) (Exhibit “35” hereto); Royal Philips Press Release, Philips
provides update on the test and research program in connection with the CPAP, BiPAP and
Mechanical Ventilator recall notification* (Dec. 23, 2021), https://www.philips.com/a-
w/about/news/archive/standard/news/press/2021/20211223-philips-provides-update-on-the-test-
and-research-program-in-connection-with-the-cpap-bipap-and-mechanical-ventilator-recall-
notification.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit “125”); Royal Philips
Press Release, Philips Respironics provides update for the US on ongoing CPAP, BiPAP and
Mechanical Ventilator field action (Mar. 10, 2022), https://www.philips.com/a-


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       271.    Royal Philips also discusses the Recall and the alleged Defect in the products in

other communications and press releases such as those about its quarterly results. 373

       272.    For example, when the problems with the Recalled Devices were first announced

to Philips’ shareholders, Royal Philips included in its April 26, 2021 press release regarding First

Quarter 2021 results, the following statement from CEO Frans van Houten: “Regretfully, we have

identified a quality issue in a component that is used in certain sleep and respiratory care products,




w/about/news/archive/standard/news/press/2022/20220311-philips-respironics-provides-update-
for-the-us-on-ongoing-cpap-bipap-and-mechanical-ventilator-field-action.html (last accessed Oct.
3, 2022) (attached hereto as Exhibit “126”); Royal Philips Press Release, Philips Respironics
provides update on filed MDRs in connection with the voluntary recall notification/field safety
notice* for specific CPAP, BiPAP and mechanical ventilator devices (May 24, 2022),
https://www.philips.com/a-w/about/news/archive/standard/news/press/2022/20220524-philips-
respironics-provides-update-on-filed-mdrs-in-connection-with-the-voluntary-recall-notification-
field-safety-notice.html (last accessed Oct. 3, 2022) (attached hereto as Exhibit “127”); Royal
Philips Press Release, Philips provides update on Philips Respironics’ PE-PUR sound abatement
foam test and research program (June 28, 2022) (Exhibit “111” hereto).
373
       Philips announcement of 2021 First-Quarter Results (Apr. 26, 2021),
https://www.philips.com/a-w/about/news/archive/corpcomms/news/press/2021/philips-first-
quarter-results-2021.html (last accessed Oct. 3, 2022) (Exhibit “106” hereto); Philips
announcement of 2021 Second-Quarter Results (July 26, 2021), https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2021/philips-second-quarter-results-2021.html
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “128”); Philips announcement of 2021
Third-Quarter         Results        (Oct.       18,      2021),       https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2021/philips-third-quarter-results-2021.html (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “129”); Philips announcement of Fourth Quarter
and      Annual      Results      2021     (Jan.     24,    2022),     https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2022/philips-fourth-quarter-results-2021.html (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “130”); Philips announcement of First-Quarter
Results          2022          (Apr.         25,         2022),        https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2022/philips-first-quarter-results-2022.html (last
accessed Oct. 3, 2022) (Exhibit “40” hereto); Philips announcement of Second-Quarter Results
2022              (July              25,             2022),            https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2022/philips-second-quarter-results-2022.html
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “131”).

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and are initiating all precautionary actions to address this issue, for which we have taken a EUR

250 million provision.”374

            273.   In the same press release, Royal Philips said: “Philips has determined from user

reports and testing that there are possible risks to users related to the sound abatement foam used

in certain of Philips’ sleep and respiratory care devices currently in use. The risks include that the

foam may degrade under certain circumstances, influenced by factors including use of unapproved

cleaning methods, such as ozone, and certain environmental conditions involving high humidity

and temperature. The majority of the affected devices are in the first-generation DreamStation

product family. Philips’ recently launched next-generation CPAP platform, DreamStation 2, is not

affected. Philips is in the process of engaging with the relevant regulatory agencies regarding this

matter and initiating appropriate actions to mitigate these possible risks.” 375

            274.   In a June 14, 2021 press release, Royal Philips said: “Philips is initiating a voluntary

recall notification to ensure patient safety in consultation with regulatory agencies.” 376 Royal

Philips CEO van Houten said: “In consultation with the relevant regulatory agencies and in close

collaboration with our customers and partners, we are working hard towards a resolution, which

includes the deployment of the updated instructions for use and a comprehensive repair and

replacement program for the affected devices.” 377

            275.   This announcement from Royal Philips further stated that “Philips determined

based on testing that there are possible risks to users related to this type of foam”; “Philips” decided


374
      Philips announces its 2021 First-Quarter Results (Apr. 26, 2021) (Exhibit “106” hereto).
375
      Id. (footnote omitted).
376
   Royal Philips Press Release, Philips issues recall notification* to mitigate potential health risks
related to the sound abatement foam component in certain sleep and respiratory care devices (June
14, 2021) (Exhibit “34” hereto) (asterisk and footnote omitted).
377
      Id.

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to issue the recall notification; “Philips has received reports of possible patient impact due to foam

degradation”; “Philips is providing the relevant regulatory agencies with required information

related to the launch and implementation of the projected correction”; and “Philips’ recently

launched next-generation CPAP platform” is not affected by the foam degradation issues. 378

            276.   Mr. van Houten also stated in the Recall announcement on June 14, 2021: “We

deeply regret any concern and inconvenience that patients using the affected devices will

experience because of the proactive measures we are announcing today to ensure patient safety.”379

            277.   Later in 2021, Royal Philips emphasized its involvement in the Recall program in

various publications. For example, a presentation on Royal Philips’ Fourth Quarter 2021 Results

noted: “Regular review cadence with Respironics field action Program Management and Executive

Committee.” 380 The same presentation said: “Philips’ experts as well as certified labs and qualified

third-party experts are working closely with the Respironics team.” 381 The presentation also

indicated an effort to “step-up company-wide program.” 382

            278.   The 2021 Philips Annual Report shows that in addition to Royal Philips’

Management, Royal Philips’ Supervisory Board and Royal Philips’ Quality and Regulatory

Committee were also involved in the Recall. For example, the Royal Philips Supervisory Board

reported: “In view of the Philips Respironics voluntary recall notification related to the sound




378
      Id.
379
      Id.
380
    Philips Fourth Quarter and Full Year 2021 Results – Presentation at 39 (Jan. 24, 2022), available
for               download                at                            https://www.philips.com/a-
w/about/news/archive/corpcomms/news/press/2022/philips-fourth-quarter-results-2021.html (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “132”).
381
      Id.
382
      Id. at 36.

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abatement foam in certain sleep and respiratory care products (announced on June 14, 2021), the

Supervisory Board regularly discussed this issue and the progress made with respect to the repair

and replacement program with Management.” 383 Further, the Royal Philips Quality and Regulatory

Committee reported that, at its meetings, it discussed “matters associated with [the recall], such as

interactions with regulatory authorities globally, engagement with patients, physicians, customers

and durable medical equipment providers, testing, health hazard evaluations, and the status of the

repair and remediation plan.” 384

            279.   At the May 2022 shareholders meeting for Royal Philips, CEO van Houten said:

“Our team is laser-focused on resolving the sleep recall.” 385 He added, regarding the recall: “We

have established a dedicated team of 1,000 colleagues working under the direct supervision of the

Executive Committee.” 386 He explained: “I can tell you that the Philips Board of Management

became aware of the issue and its potential significance in the first quarter of 2021 and took

adequate and immediate action. This resulted in the issuance of the field safety notice and start of

the remediation actions in the first half of 2021.” 387 Van Houten further stated that

            [Royal Philips] took a lot of actions. We have, for example, onboarded new top
            management in the Sleep & Respiratory Care business. We strengthened quality
            and regulatory affairs leadership for the group for Connected Care, and for the
            Sleep & Respiratory care business. And we’ve also added resources to strengthen
            specific capabilities, all as the consequence of finding out about this issue. 388




383
      Philips 2021 Annual Report (Exhibit “13” hereto), at 95.
384
      Id. at 115-16.
385
   Koninklijke Philips NV Annual Shareholders Meeting Transcript (May 10, 2022), Fair
Disclosure Wire (attached hereto as Exhibit “133”), at 2.
386
      Id.
387
      Id.
388
      Id. at 8.

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          280.   Royal Philips’ CEO van Houten made frequent statements about the Recall. For

example, in the 2021 Royal Philips Annual Report, Mr. van Houten said: “We identified – through

our post-market surveillance processes – that the sound abatement foam used since 2008 in

certain of our sleep and respiratory care products may degrade under certain circumstances.

Subsequently, we issued a voluntary recall notification for affected devices to address potential

health risks.” 389 In July 2021, he said: “We have mobilized the necessary resources across the

company to address the component quality issue in certain of our sleep and respiratory care

products.” 390 In a January 24, 2022 press release, he said, “we remain extremely focused on

repairing and replacing the devices related to the Philips Respironics recall notification.” 391 And

in April 2022, he said, “[w]e have a strong program management in place overseeing every aspect

of the remediation.” 392

          281.   On the same day that the FDA announced that reports of faulty Philips ventilators

and sleep apnea machines had risen, Royal Philips announced that CEO van Houten would be

stepping down. 393 CEO van Houten’s departure announcement followed a May 2022 Royal Philips

shareholders meeting where 80% of shareholders voted against giving Mr. van Houten a bonus.




389
      Philips 2021 Annual Report (Exhibit “13” hereto), at 5 (emphasis added).
390
      Philips Second-Quarter Results 2021 (July 26, 2021) (Exhibit “128” hereto).
391
      Philips Fourth Quarter and Annual Results 2021 (Jan. 24, 2022) (Exhibit “130” hereto).
392
      Philips First Quarter Results 2022 (Apr. 25, 2022) (Exhibit “40” hereto).
393
    Toby Sterling and Bart H. Meijer, FDA says faulty Philips device reports accelerating as CEO
departs,     Reuters,     Aug.     17,     2022,    https://www.reuters.com/business/healthcare-
pharmaceuticals/fda-says-faulty-philips-device-reports-accelerating-ceo-departs-2022-08-17/
(last accessed Oct. 3, 2022) (attached hereto as Exhibit “134”).

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Shareholders were “unhappy about delivery problems and issues with the company’s widely used

sleep apnea machines.” 394

       282.    Royal Philips’ public statements demonstrate that it has been involved with U.S.

regulatory authorities since the announcement of the Recall. In press releases and other statements,

Royal Philips has discussed working with the FDA. For example, in a September 1, 2021 press

release, Royal Philips said: “Philips received authorization from the US Food and Drug

Administration (FDA) for the rework of the affected first-generation DreamStation devices, which

consists of replacement of the PE-PUR sound abatement foam with a new material. Philips

anticipates rework to commence in the course of September 2021. In addition to the rework, the

company has already started replacing certain affected first-generation DreamStation CPAP

devices in the US with DreamStation 2 CPAP devices. Philips remains in dialogue with the FDA

with respect to other aspects of the recall notification and mitigation plan in the US.” 395

       283.    Royal Philips issued the following statement in a November 14, 2021 press release:

“‘In connection with the voluntary recall notification in June of this year, the FDA has recently

conducted an inspection of a Philips Respironics manufacturing facility in the US,’ said Frans van

Houten, CEO of Royal Philips. ‘We will work closely with the FDA to clarify and follow up on

the inspectional findings and its recent requests related to comprehensive testing.’” 396



394
   Roy Jakobs to take over the helm at Philips as Frans van Houten steps down, DutchNews.nl
(Aug. 16, 2022), https://www.dutchnews.nl/news/2022/08/roy-jakobs-to-take-over-the-helm-at-
philips-as-frans-van-houten-steps-down/ (last accessed Oct. 3, 2022) (attached hereto as Exhibit
“135”).
395
   Philips Press Release, Philips starts repair and/or replacement program of first-generation
DreamStation devices in the US and other markets (Sept. 1, 2021) (Exhibit “10” hereto) (footnote
omitted).
396
   Royal Philips Press Release, Philips provides update on earlier announced voluntary CPAP,
BiPAP and Mechanical Ventilator recall notification* (Nov. 14, 2021) (Exhibit “35” hereto).

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            284.   Royal Philips has also stated that it is involved in discussions with the Department

of Justice relating to a Proposed Consent Decree. In its press release on Second Quarter 2022

results, Royal Philips said, “the US Department of Justice, acting on behalf of the FDA, recently

began discussions with Philips regarding the terms of a proposed consent decree to resolve the

identified issues [in inspection of U.S. facilities].” 397

            285.   Unfortunately, Philips’ “recall” was a recall in name only. It did not effectively

provide patients with notice of the risks of the Recalled Devices, nor did it provide them with new

Philips CPAP, BiPAP, or ventilator devices.

                   1.     Many Patients, Providers, And Others Were Not Notified About The
                          Recall.

            286.   On March 10, 2022, the FDA issued a Notification Order under § 518(a) of the

FDCA. 398 The Notification Order stated that the “FDA has received a number of calls from patients

and consumers who contacted FDA to report problems and/or concerns regarding the Recalled

Products, but were unaware of the recall and had not been informed of the health risks presented

by the Recalled Devices.” 399

            287.   The FDA estimated that, after nine months of the Recall, only “approximately 50%

of patients and consumers who have purchased or received the Recalled Products (excluding

ventilators) within the last five years (the service life of the devices) have registered with Philips

to obtain a replacement device.” 400 But it was “unclear whether the remaining patients and




397
      Philips Second-Quarter Results 2022 (July 25, 2022) (Exhibit “131” hereto).
398
   See 518(a) Notification Order, available at: https://www.fda.gov/media/156811/download (last
accessed Oct. 3, 2022) (attached hereto as Exhibit “136”).
399
      Id. at 2.
400
      Id.

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consumers have not registered because they are unaware of the need to register, or because they

do not want or need a replacement device from Philips.” 401

            288.   The FDA surveyed 182 consignees to determine whether they had been notified of

the Recall and found 28 “who had reported to FDA that they were not aware of the recall.” 402 The

FDA reported its results to Philips on September 8, 2021, and October 29, 2021, but Philips did

not promptly respond. Almost a month later, on November 22, 2021, Philips stated that it had

notified 23 of the 28 consignees of the Recall, but Philips did not “indicate whether the consignees

identified by FDA had been sent notification before, or only after, they had been identified by FDA

as being unaware of the recall.” 403 Moreover, Philips’ evidence of notification consisted of

delivery confirmation receipts, reflecting that written correspondence was delivered to the

consignees. As the FDA explained, “[t]ypically, firms demonstrate the effectiveness of its recall

communications through evidence more meaningful than a delivery confirmation receipt, such as

a returned response form or a documented telephone conversation.” 404

            289.   Throughout the Recall, the FDA “on multiple occasions has informed Philips that

FDA was concerned that Philips’ efforts to notify patients and consumers, healthcare providers,

and consignees regarding the recall have been insufficient,” and has expressed concern that “it is

likely that a significant portion of patients and consumers using the Recalled Products are unaware

of the health risks presented by those products.” 405




401
      Id.
402
      Id.
403
      Id.
404
      Id. at 3.
405
      Id.

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           290.   Noting “Philips’ failure to timely provide effective notice to health professionals

who prescribe or use the Recalled Products and other persons (including consignees, distributors,

retailers, and device users) who should be notified, of the recall and the health risks presented by

the Recalled Products,” the FDA issued an order under Section 518(a) of the FDCA ordering

Philips to give adequate notice. 406 Specifically, the FDA ordered Philips to “notify all health

professionals who prescribe or use the Recalled Products, and other persons (including consignees,

distributors, retailers, and device users) who should be notified, of the recall and the health risks

presented by the Recalled Products within the next 45 days.” 407

                  2.      Philips’ Repair and Replacement Program Has Been Extremely Slow,
                          Inadequate, and Ineffective.

           291.   Those patients who registered their Recalled Devices with Philips for the Recall

did not immediately receive replacement devices and were not told when a replacement device

would be provided.

           292.   As Philips’ June 14, 2021 announcement explained:

           Repair and replacement program

           Philips is providing the relevant regulatory agencies with required information
           related to the launch and implementation of the projected correction. The company
           will replace the current sound abatement foam with a new material and has already
           begun the preparations, which include obtaining the relevant regulatory clearances.
           Philips aims to address all affected devices in scope of this correction as
           expeditiously as possible.

           As part of the program, the first-generation DreamStation product families will be
           modified with a different sound abatement foam and shipped upon receipt of the
           required regulatory clearances. Philips’ recently launched next-generation CPAP
           platform, DreamStation 2, is not affected by the issue. To support the program,




406
      Id. at 4.
407
      Id. (emphasis in original).

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       Philips is increasing the production of its DreamStation 2 CPAP devices, that are
       available in the US and selected countries in Europe. 408

       293.    In reality, patients may register their DreamStation Recalled Device with Philips

for the Recall, but Philips has not immediately replaced the defective PE-PUR foam in the

DreamStation Recalled Devices. Rather, patients have had to wait, sometimes for many months or

years, for Philips to repair or replace their devices, and many patients are still waiting for a

replacement device.

       294.    As of the date of this Complaint, nearly three years after the Recall was announced,

the Recall remains ongoing.

       295.    The replacement program for the Trilogy devices has been even slower. Philips

only began the rework of affected Trilogy 100/200 devices in the Fall of 2022 and that process has

been problematic. 409 Thousands of patients are still waiting for a replacement device from Philips.

       296.    There is no repair or replacement program for any of the other Recalled Devices

recalled by Philips.

       297.    Due to the design of the Recalled Devices, it is prohibitively difficult and

potentially dangerous for patients to remove or replace the PE-PUR foam themselves. Also, the

FDA warns:



408
      See Food and Drug Administration, Philips Issues a Recall Notification*,
https://www.fda.gov/safety/recalls-market-withdrawals-safety-alerts/philips-issues-recall-
notification-mitigate-potential-health-risks-related-sound-abatement-foam (last accessed Oct. 3,
2022).
409
   See Philips “Ventilation News and Updates” webpage, Trilogy Remediation Update for
Business Customers (June 1, 2022) (attached hereto as Exhibit “11”); see also Food and Drug
Administration, Certain Reworked Philips Respironics Trilogy 100/200 Ventilators Recalled Due

Communication, https://www.fda.gov/medical-devices/safety-communications/certain-reworked-
philips-respironics-trilogy-100200-ventilators-recalled-due-potential-silicone-foam (Dec. 22,
2022) (attached hereto as Exhibit “190”).

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          Do not try to remove the foam from your device. Trying to or successfully removing the
          foam may damage the device or change how the device works. It may also lead to more
          foam or chemicals entering the air tubing of the device. 410

          298.     As a result, the Recall leaves patients without safe, free options. Instead, patients

may simply be or were forced to buy Philips’ next-generation product or a competitor’s product—

at full price, and indeed, thousands of patients, have already done so.

          299.     Thus, Philips intends to, and is, profiting from its “recall” by selling more of its

next generation product, the DreamStation 2, whose launch appears intentionally timed to coincide

with the “recall.”

          300.     Dating back to May of 2022, the FDA also believed that the Recall was not

proceeding quickly enough stating:

          Based on the status of Philips’ recall as of the date of this letter [May 2, 2022],
          CDRH believes that, if an order were to be issued to Philips under section 518(b),
          the plan submitted by Philips in response to that order should provide for significant
          improvements to Philips’ ongoing repair and replacement activities to speed the
          pace of remediation and address other deficiencies identified by CDRH and
          communicated to Philips, to the extent such improvements are achievable by
          Philips. 411

          301.     Indeed, nearly three years after it was first announced, the Recall continues to be

ineffective. 412

                                                    ***




410
           https://www.fda.gov/medical-devices/safety-communications/faqs-philips-respironics-
ventilator-bipap-machine-and-cpap-machine-recalls (emphasis in original) (last accessed Oct. 3,
2022).
411
      518(b) Notice (Exhibit “72” hereto), at 13.
412
   See Debbie Cenziper & Michael D. Sallah, Amid Recall Crisis, Philips Agrees to Stop Selling
Sleep Apnea Machines in the United States, ProPublica (Jan. 29, 2024),
https://www.propublica.org/article/philips-agrees-to-stop-selling-sleep-apnea-machines-in-us.

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         302.   As stated above, each Philips Defendant acted as part of one joint enterprise in

connection with the design, development, testing, marketing, promotion, and sale of the defective

and unreasonably dangerous Recalled Devices. Each Philips Defendant is also independently,

directly responsible for the design, development, testing, marketing, promotion and sale of the

defective and unreasonably dangerous Recalled Devices.

         303.   Royal Philips has directly been involved with and independently contributed to, for

example, the quality, regulatory, and medical compliance functions for Philips; the Recall both

globally and in the United States (which it effectively controlled, managed and coordinated); a

research program into the hazards posed by the PE-PUR foam; and through its Chief Medical

Officer provides guidance for the development and market introduction of all new product

development and launches. Royal Philips made the decision to purchase Philips RS (then

Respironics) for $5.6 billion, made the decision to pursue expansion of the CPAP, BiPAP, and

ventilator product lines; uses and adheres to a worldwide mandatory training program, General

Business Principles, and the Philips Business System to govern the activities of the other Philips

Defendants; owns the intellectual property rights that cover the Recalled Devices and tightly

controls and protects all of its intellectual property, including that of its CPAP, BiPAP, and

ventilator devices, in its own name and in conjunction with Philips RS; and owns and is listed as

the copyright holder for the User Manuals for the Recalled Devices. Until the Recall was

announced in June 2021, Royal Philips failed to disclose the existence, scope, and material safety

risks of the Defect in the Recalled Devices despite its obligations pursuant to the federal securities

laws. And through Philips USA, Royal Philips has controlled and managed Philips RS and Philips

NA while distributing profits accrued from the Recalled Devices to shareholders of Royal Philips’

stock.



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       304.     Philips NA has also been directly involved with and independently contributed to,

for example, the design, development, and sale of the Recalled Devices through employees with

responsibility for quality and regulatory functions, including pre- and post-market regulatory

compliance, and by participating in multiple HHEs relating to customer complaints of foam

degradation. Philips NA also had a leading role in the marketing and new product development as

it relates to the Recalled Devices. What’s more, [employees of Philips NA were also among the

recipients (including Philips RS employees) of the “Feedback for Philips Rework Strategy” emails

from the FDA regarding the Form 483 report dating back to July/August 2021.] Until the Recall

was announced in June 2021, Philips NA failed to disclose the existence, scope, and material safety

risks of the Defect in the Recalled Devices.

       305.     Philips RS likewise designed, manufactured, promoted, and sold the Recalled

Devices. Philips RS further received and managed complaints relating to the Recalled Devices;

tested and failed to test the biocompatibility of PE-PUR foam as an element of medical devices;

and ultimately implemented the Recall. Philips RS also jointly coordinated with Royal Philips to

protect all of Royal Philips’ intellectual property, including that related to its CPAP, BiPAP, and

ventilator devices. Until the Recall was announced in June 2021, Philips RS failed to disclose the

existence, scope, and material safety risks of the Defect in the Recalled Devices.

           V.       EQUITABLE TOLLING OF STATUTES OF LIMITATIONS

       306.     The running of any statute of limitations has been equitably tolled by Defendants’

fraudulent concealment and/or omissions of critical safety information. Through its affirmative

misrepresentations and omissions, Philips actively concealed from Plaintiffs and physicians the

true risks associated with the Recalled Devices.

       307.     As a result of Defendants’ actions, Plaintiffs were unaware, and could not have


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reasonably known or learned through reasonable diligence, that the Recalled Devices were

defective and exposed users to the risks and harms set forth here and that those risks and harms

were the direct and proximate result of Defendants’ acts and omissions.

        308.    Plaintiffs did not have the technical, scientific or medical knowledge and

information sufficient to ascertain the cause of their injury prior to learning of the recall and the

basis for the recall.

                                  VI.     CAUSES OF ACTION

                                            COUNT I
                                          NEGLIGENCE
                (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                   Mississippi, New Jersey, Ohio, Tennessee, and Washington)

        309.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

        310.    This claim is brought against the Philips Defendants and the PolyTech Defendants.

        311.    Philips and PolyTech owed a duty to Plaintiffs to use and exercise reasonable and

due care in the design, materials procurement, manufacturing, testing, distribution, labeling,

marketing, warnings, instructions for use and storage, disclosures, regulatory compliance, and sale

of the Recalled Devices.

        312.    Philips and PolyTech owed a duty to Plaintiffs to ensure that the Recalled Devices

they sold in the United States were safe, did not expose patients using the devices to toxic

substances, and/or complied with current best manufacturing practices and regulatory

requirements.

        313.    Philips and PolyTech owed a duty of care to Plaintiffs because they were the

foreseeable, reasonable, and probable users of the Recalled Devices. Philips and PolyTech knew,

or should have known, that the Recalled Devices were not safe, exposed their users to toxic and

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carcinogenic compounds, and/or did not comply with best manufacturing practices and regulatory

requirements. Philips and PolyTech were in the best position to uncover and remedy these

shortcomings.

       314.     Philips and PolyTech negligently designed and manufactured the Recalled Devices,

causing patients using the Recalled Devices to be exposed to the Foam Toxins and degraded

particulate matter which are harmful, carcinogenic and/or toxic.

       315.     Philips and PolyTech failed to discharge their duties of reasonable care. Philips and

PolyTech inadequately conducted and/or oversaw the design, materials procurement,

manufacturing, testing, labeling, distribution, marketing, warnings, disclosures, instructions for

use and storage, regulatory compliance and sale of the Recalled Devices. Philips and PolyTech

knew or should have known that the aforesaid wrongdoing would damage Plaintiffs.

       316.     Philips and PolyTech negligently failed to promptly and immediately warn and

disclose to Plaintiffs, and the medical and regulatory communities, of the potential and actual

danger posed by the PE-PUR foam in the Recalled Devices as soon as it was discovered, delaying

notice of this harmful and potentially fatal toxic exposure to carcinogens and thus causing

continued exposure to the carcinogenic and/or hazardous compounds, and delaying cessation of

use, necessary medical testing, examinations, surveillance, and treatment.

       317.     Philips and PolyTech failed to discharge their duties of reasonable care. Philips and

PolyTech failed to warn or instruct that the Recalled Devices should not be stored in warm climates

and conditions; failed to warn that warm temperatures and humidity would hasten the degradation

of the foam and make the Recalled Devices especially dangerous; and further failed to warn or

instruct that the Recalled Devices should not be used in conjunction with the SoClean ozone

cleaning system which Philips now claims can hasten or cause the degradation of the foam and



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make the Recalled Devices especially dangerous.

        318.    Philips’ and PolyTech’s negligent or grossly negligent conduct created and then

exacerbated an unreasonable and dangerous condition for Plaintiffs.

        319.    Philips and PolyTech acted with recklessness and willful and wanton disregard for

the health of Plaintiffs.

        320.    Philips’ and PolyTech’s unreasonable, negligent actions and inactions were taken

or not taken with willful and wanton disregard for the health of Plaintiffs and created a foreseeable

risk of harm to Plaintiffs.

        321.    As a direct and proximate result of Philips’ and PolyTech’s negligence, Plaintiffs

have suffered serious and debilitating injuries.

        322.    In addition, as a direct and proximate cause of Philips’ and PolyTech’s negligence,

Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including various

cancers, in the future as a result of exposure to the Foam Toxins.

        323.    Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                          COUNT II
                         STRICT LIABILITY – DESIGN DEFECT
  (All Jurisdictions except Connecticut, Delaware, Indiana, Kansas, Louisiana, Mississippi,
          North Carolina, New Jersey, Ohio, Tennessee, Virginia, and Washington)

        324.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

        325.    This claim is brought against the Philips Defendants and the PolyTech Defendants.




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       326.    At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, selling and/or distributing the Recalled Devices,

which were defective and unreasonably dangerous.

       327.    Plaintiffs were foreseeable users of the Recalled Devices and Philips and PolyTech

knew that Plaintiffs would use the Recalled Devices.

       328.    The Recalled Devices are defective in design because the PE-PUR foam comprising

part of the devices is subject to degradation and off-gassing and the PE-PUR foam contains toxic

and carcinogenic materials. The Recalled Devices release particles and off-gas chemicals,

including TDA, TDI, DEG. These chemicals and particles are then inhaled and ingested by

Plaintiffs using the Recalled Devices and cause, among other problems, cancer, COPD, kidney

injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation, respiratory issues,

asthma, adverse effects to organs, and toxic and carcinogenic effects.

       329.    Philips and PolyTech knew or should have known that the defective conditions of

the Recalled Devices made the Recalled Devices unreasonably dangerous to Plaintiffs.

       330.    The Recalled Devices were unreasonably dangerous when used by ordinary users,

such as Plaintiffs, who used the Recalled Devices as they were intended to be used.

       331.    The Recalled Devices are dangerous to an extent beyond what would be

contemplated by the ordinary user of the Recalled Devices.

       332.    The defective condition of the subject Recalled Devices rendered them

unreasonably dangerous and/or not reasonably safe, and the devices were in this defective

condition at the time they left the hands of Philips and PolyTech. The Recalled Devices reached

Plaintiffs without substantial change in the condition in which they were designed, manufactured,




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labeled, sold, distributed, marketed, promoted, supplied, and otherwise released into the stream of

commerce.

       333.    Plaintiffs were not able to discover, nor could they have discovered through the

exercise of reasonable diligence, the defective nature of the subject devices. Further, in no way

could Plaintiffs have known that Philips had designed, developed, and manufactured the subject

devices in a way as to make the risk of harm or injury outweigh any benefits.

       334.    Safer alternative machines and designs were available which did not have an

unreasonable risk of harm that the Recalled Devices and their unsafe PE-PUR foam did; for

example, devices that included non-PE-PUR foam and designs that included other types of sound

abatement technologies.

       335.    At the time the Recalled Devices left Philips’ and PolyTech’s possession and

continuing through when they were used by Plaintiffs, the Recalled Devices were in a condition

that made them unreasonably dangerous to Plaintiffs.

       336.    The Recalled Devices used by Plaintiffs were expected to, and did, reach Plaintiffs

without substantial change in the condition in which the Recalled Devices were manufactured,

sold, distributed, and marketed by Philips and PolyTech.

       337.    At all relevant times, Plaintiffs used the Recalled Devices in the manner in which

the devices were intended to be used.

       338.    Philips and PolyTech researched, designed, manufactured, tested, advertised,

promoted, marketed, sold, and distributed the defective Recalled Devices which, when used in

their intended or reasonably foreseeable manner, created an unreasonable risk to the health of

consumers, such as Plaintiffs; and Philips and PolyTech are therefore strictly liable for the injuries

sustained by Plaintiffs.



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       339.    As a direct and proximate cause of Philips’ and PolyTech’s conduct, Plaintiffs have

suffered serious and debilitating injuries.

       340.    In addition, as a direct and proximate cause of Philips’ and PolyTech’s conduct,

Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including various

cancers, in the future as a result of exposure to the Foam Toxins.

       341.    Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such further relief as the Court deems equitable and just.

                                           COUNT III
                                     NEGLIGENT DESIGN
               (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                  Mississippi, New Jersey, Ohio, Tennessee, and Washington)

       342.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       343.    This claim is brought against the Philips Defendants and the PolyTech Defendants.

       344.    At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, selling and/or distributing the Recalled Devices.

       345.    At all times relevant to this action, Philips and PolyTech had a duty to design,

manufacture, formulate, test, package, label, produce, create, make, construct, assemble, market,

advertise, promote, distribute, and sell the Recalled Devices with reasonable and due care for the

safety and well-being of users, including Plaintiffs who used the Recalled Devices.

       346.    Plaintiffs were foreseeable users of the Recalled Devices, and Philips and PolyTech

knew that Plaintiffs would use the Recalled Devices.

       347.    It was foreseeable that the Recalled Devices would be used with the Accessory

Humidifiers contributing to humidity; and that they could be used in many climates, and stored in

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very warm settings, as noted by their own environmental specifications, with said condition

contributing to rapid foam degradation.

        348.    The Recalled Devices are defective in design because the PE-PUR foam comprising

part of the devices is subject to degradation and off-gassing and the PE-PUR foam contains toxic

and carcinogenic materials. The Recalled Devices release chemicals and particles, including but

not limited to TDA, TDI, and DEG. These chemicals and particles are then inhaled and ingested

by Plaintiffs using the Recalled Devices and cause, among other problems, cancer, COPD, kidney

injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation, respiratory issues,

asthma, adverse effects to organs, and toxic and carcinogenic effects.

        349.    The foreseeable risks of using the Recalled Devices, particularly respiratory

illnesses up to and including death, significantly outweigh the benefits conferred upon patients

using the subject devices.

        350.    Philips and PolyTech knew or should have known that the defects of the Recalled

Devices made the Recalled Devices unreasonably dangerous.

        351.    Philips and PolyTech continued to manufacture and distribute the Recalled Devices

after Philips and PolyTech knew or should have known of the Recalled Devices adverse effects or

the availability of safer designs.

        352.    The Recalled Devices were unreasonably dangerous when used by Plaintiffs, who

followed the instructions provided by Philips and used the Recalled Devices with common

knowledge of their characteristics and according to their common usage.

        353.    At the time the Recalled Devices left Philips’ and PolyTech’s possession and

continuing through when they were used by Plaintiffs, the Recalled Devices were in a condition

that made them unreasonably dangerous to Plaintiffs.



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        354.    The Recalled Devices used by Plaintiffs were expected to and did reach Plaintiffs

without substantial change in the condition in which the Recalled Devices were manufactured,

sold, distributed, and marketed by Philips and PolyTech.

        355.    At all relevant times, Plaintiffs used the Recalled Devices in the manner in which

the Recalled Devices were intended to be used.

        356.    Philips and PolyTech had superior knowledge of the Recalled Devices and owed a

duty of care to Plaintiffs.

        357.    Reasonable alternative designs existed for the Recalled Devices which would have

eliminated or reduced the risk of inhalation of carcinogenic materials and VOCs including, but not

limited to the use of non-PE-PUR foam or other sound abatement technologies such as those used

by other manufacturers.

        358.    Philips and PolyTech failed to exercise reasonable and due care under the

circumstances and breached their duty of care.

        359.    As a direct and proximate cause of Philips’ and PolyTech’s negligence, Plaintiffs

have suffered serious and debilitating injuries.

        360.    In addition, as a direct and proximate cause of Philips’ and PolyTech’s negligence,

Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including various

cancers, in the future as a result of exposure to the Foam Toxins.

        361.    Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.




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                                         COUNT IV
                       STRICT LIABILITY – FAILURE TO WARN
  (All Jurisdictions except Connecticut, Delaware, Indiana, Kansas, Louisiana, Mississippi,
          North Carolina, New Jersey, Ohio, Tennessee, Virginia, and Washington)

       362.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       363.    This claim is brought against the Philips Defendants and the PolyTech Defendants.

       364.    At all times mentioned herein, Philips and PolyTech designed, manufactured, and

sold the Recalled Devices.

       365.    Plaintiffs were foreseeable users of the Recalled Devices.

       366.    The Recalled Devices are defective because the PE-PUR foam comprising part of

the devices is subject to degradation and off-gassing and the PE-PUR foam contains toxic and

carcinogenic materials. The Recalled Devices release chemicals and particles, including but not

limited to TDA, TDI, DEG. These chemicals and particles are then inhaled and ingested by

Plaintiffs using the Recalled Devices and cause, among other problems, cancer, COPD, kidney

injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation, respiratory issues,

asthma, adverse effects to organs, and toxic and carcinogenic effects.

       367.    Philips and PolyTech knew that the defective condition of the Recalled Devices

made the devices unreasonably dangerous to users such as Plaintiffs.

       368.    The Recalled Devices were dangerous when used by ordinary users, such as

Plaintiffs, who used the devices as they were intended to be used.

       369.    The Recalled Devices are dangerous to an extent beyond what would be

contemplated by the ordinary user of the device.




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        370.   Philips and PolyTech knew or should have known of the defects in the Recalled

Devices at the time Philips and PolyTech sold or provided the Recalled Devices that were used by

Plaintiffs.

        371.   At the time the Recalled Devices left Philips’ and PolyTech’s possession, the

Recalled Devices were defective and in a condition that made them unreasonably dangerous to

Plaintiffs.

        372.   At the time Plaintiffs used the Recalled Devices, the devices were defective and in

a condition that made them unreasonably dangerous to Plaintiffs.

        373.   The Recalled Devices used by Plaintiffs were expected to, and did, reach Plaintiffs

without substantial change in the condition in which the devices were manufactured, sold,

distributed, and marketed by Philips and PolyTech.

        374.   At all relevant times, Plaintiffs used the Recalled Devices in the manner in which

the devices were intended to be used.

        375.   The Recalled Devices are defective because Philips and PolyTech failed to warn or

instruct that the PE-PUR foam in the Recalled Devices can degrade and off-gas dangerous and

carcinogenic chemicals and particles, posing a serious risk to users.

        376.   Philips and PolyTech further failed to warn or instruct that the Recalled Devices

had been adequately or properly tested.

        377.   The warning and instructions that accompanied the Recalled Devices failed to

provide the level of information that ordinary consumers, including Plaintiffs, would expect when

using the product in a manner reasonably foreseeable to Philips and PolyTech.




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       378.    Philips and PolyTech further failed to warn or instruct that the Recalled Devices,

when used in conjunction with the Accessory Humidifiers, would hasten the degradation of the

foam and make the Recalled Devices especially dangerous.

       379.    Philips and PolyTech further failed to warn or instruct that the Recalled Devices

should not be stored in warm climates and conditions, and that warm temperatures and humidity

would hasten the degradation of the foam, and make the Recalled Devices especially dangerous.

       380.    Philips and PolyTech further failed to warn or instruct that the Recalled Devices

should not be used in conjunction with the SoClean ozone cleaning system which Philips now

claims can hasten or cause the degradation of the foam and make the Recalled Devices especially

dangerous.

       381.    Had Plaintiffs received proper or adequate warnings or instructions as to the risks

of using the Recalled Devices, Plaintiffs would not have used the Recalled Devices.

       382.    Had Plaintiffs received proper or adequate warnings or instructions as to the

storage, climate and cleaning conditions and protocols, they would have heeded such warnings to

mitigate the risk of premature foam degradation.

       383.     Philips and PolyTech researched, designed, manufactured, tested, advertised,

promoted, marketed, sold, and distributed the defective Recalled Devices which, when used in

their intended or reasonably foreseeable manner, created an unreasonable risk to the health of

consumers, such as Plaintiffs, and Philips and PolyTech are therefore strictly liable for the injuries

sustained by Plaintiffs.

       384.    As a direct and proximate cause of Philips’ and PolyTech’'s conduct, Plaintiffs have

suffered serious and debilitating injuries.




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          385.   In addition, as a direct and proximate cause of Philips’ and PolyTech’s conduct,

Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including various

cancers, in the future as a result of exposure to the Foam Toxins.

          386.   Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                             COUNT V
                                NEGLIGENT FAILURE TO WARN
                 (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                    Mississippi, New Jersey, Ohio, Tennessee, and Washington)

          387.   Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

          388.   This claim is brought against the Philips Defendants and the PolyTech Defendants.

          389.   At all times mentioned herein, Philips and PolyTech designed, manufactured, and

sold the Recalled Devices.

          390.   At all times relevant to this action, Philips and PolyTech had a duty to manufacture,

design, formulate, test, package, label, produce, create, make, construct, assemble, market,

advertise, promote, distribute, and sell the Recalled Devices with reasonable and due care for the

safety and well-being of Plaintiffs, who were subject to and used the devices.

          391.   In addition, Philips and PolyTech owed a duty of care to Plaintiffs because, among

other things, they had superior knowledge with respect to the Recalled Devices including, but not

limited to critical safety issues associated with foam degradation, off-gassing, and related health

risks.

          392.   Plaintiffs were foreseeable users of the Recalled Devices.




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       393.    The Recalled Devices are defective because the PE-PUR foam comprising part of

the devices is subject to degradation and off-gassing and the PE-PUR foam contains toxic and

carcinogenic materials. The Recalled Devices release chemicals and particles, including but not

limited to TDA, TDI, DEG. These chemicals and particles are then inhaled and ingested by

Plaintiffs using the Recalled Devices and cause, among other problems, cancer, COPD, kidney

injuries, cardiac injuries, pulmonary injuries, liver damage, inflammation, respiratory issues,

asthma, adverse effects to organs, and toxic and carcinogenic effects.

       394.    The foreseeable risks of using the Recalled Devices significantly outweigh the

benefits conferred upon patients using the Recalled Devices.

       395.    Philips and PolyTech knew that the defective condition of the Recalled Devices

made the devices unreasonably dangerous to users such as Plaintiffs.

       396.    The Recalled Devices were unreasonably dangerous when used by ordinary users,

such as Plaintiffs, who used the devices as they were intended to be used.

       397.    The Recalled Devices are dangerous to an extent beyond what would be

contemplated by the ordinary user of the device.

       398.    Philips and PolyTech knew or should have known of the defects in the Recalled

Devices at the time Philips sold or provided the Recalled Devices that were used by Plaintiffs.

       399.    At the time the Recalled Devices left Philips’ and PolyTech’s possession and

continuing through when they were used by Plaintiffs, the Recalled Devices were defective and in

a condition that made them unreasonably dangerous to Plaintiffs.

       400.    The Recalled Devices used by Plaintiffs were expected to, and did, reach Plaintiffs

without substantial change in the condition in which the devices were manufactured, sold,

distributed, and marketed by Philips and PolyTech.



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       401.    At all relevant times, Plaintiffs used the Recalled Devices in the manner in which

the devices were intended to be used.

       402.    Philips and PolyTech breached their duty to Plaintiffs by failing to warn of the risks

and dangers of using the Recalled Devices as they are intended to be used. The Recalled Devices

did not contain warnings of the risks of the PE-PUR foam and the risks of degradation, off-gassing,

and related health risks.

       403.    Philips and PolyTech further breached their duty to Plaintiffs because they failed

to warn or instruct that the Recalled Devices had not been adequately or properly tested.

       404.    Philips and PolyTech further failed to warn or instruct that the Recalled Devices,

when used in conjunction with the Accessory Humidifiers would hasten the degradation of the

foam and make the Recalled Devices especially dangerous.

       405.    Philips and PolyTech further failed to warn or instruct that the Recalled Devices

should not be stored in warm climates and conditions; and that warm temperatures and humidity

would hasten the degradation of the foam, and make the Recalled Devices especially dangerous.

       406.    Philips and PolyTech further failed to warn or instruct that the Recalled Devices

should not be used in conjunction with the SoClean ozone cleaning system which Philips now

claims can hasten or cause the degradation of the foam and make the Recalled Devices especially

dangerous.

       407.    The warnings and instructions of the Recalled Devices did not provide the amount

of information that ordinary consumers, including Plaintiffs, would expect when using the devices

in a reasonably foreseeable manner.

       408.    Had Plaintiffs received proper or adequate warnings or instructions as to the risks

of using the Recalled Devices, Plaintiffs would not have used the Recalled Devices.



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       409.    Had Plaintiffs received proper or adequate warnings or instructions as to the

storage, climate and cleaning conditions and protocol, they would have heeded such warnings to

mitigate the risk of premature foam degradation.

       410.    As a direct and proximate cause of Philips’ and PolyTech’s conduct, Plaintiffs have

suffered serious and debilitating injuries.

       411.    In addition, as a direct and proximate cause of Philips’ and PolyTech’s conduct,

Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including various

cancers, in the future as a result of exposure to the Foam Toxins.

       412.    Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                       COUNT VI (1)
                           NEGLIGENT FAILURE TO RECALL
   (All Jurisdictions except Alaska, Connecticut, Indiana, Kansas, Louisiana, Mississippi,
  Missouri, Nebraska, New Jersey, Ohio, Pennsylvania, Tennessee, Texas, and Washington)

       413.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       414.    This claim is brought against the Philips Defendants.

       415.    For Plaintiffs who have filed a Short Form Complaint and elected to assert a claim

under “Count VI – Negligent Recall / Negligent Failure to Recall”, those Plaintiffs will be

presumed to be asserting a claim under both Counts VI(1) and VI(2) of this Complaint.

       416.    Despite being aware of the Defect in the Recalled Devices as far back as 2008,

Philips did not initiate a recall of the Recalled Devices until June 14, 2021.

       417.    At all times relevant hereto, Philips manufactured, marketed, distributed, and sold

the Recalled Devices.

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          418.   As set forth in detail above, as far back as 2008 (and in no event later than 2015),

Philips knew or reasonably should have known that the Recalled Devices were defective and

exposed users to Foam Toxins as a result of the degradation and off-gassing of the PE-PUR foam

in the Recalled Devices.

          419.   Despite that knowledge, Philips did not attempt to recall or retrofit the Recalled

Devices prior to June 14, 2021, long after any reasonable manufacturer, distributor, and/or seller

under the same circumstances would have instituted a recall or retrofitted the Recalled Devices.

          420.   Because of the delay in instituting a recall, Plaintiffs continued to use and pay for

the Recalled Devices when, without their knowledge, they were being exposed to substantial health

risks.

          421.   Had Philips instituted a recall when the risks to potential users of using the Recalled

Devices were first made clear, Plaintiffs would have not used or paid for the defective devices and

would have sought alternative methods to treat their breathing-related illnesses.

          422.   Philips was aware that Plaintiffs would make such a choice. That is why Philips

waited until it announced the launch of the DreamStation 2, which does not contain PE-PUR foam,

before it publicly disclosed that its previous generation of DreamStation products and other

Recalled Devices posed serious health risks to users, and before Philips finally instituted a recall.

          423.   As the designer, manufacturer, marketer, and/or seller of the Recalled Devices,

Philips had a duty to recall the devices once it knew of the Defect. By failing to recall the Recalled

Devices prior to June 14, 2021, Philips breached that duty.

          424.   As a result of Philips’ breach of duty, Plaintiffs continued to use the Recalled

Devices. At all relevant times, Plaintiffs used the Recalled Devices in the manner in which the

Devices were intended to be used.



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        425.    As a direct result of Philips’ breach of duty, Plaintiffs have suffered serious and

debilitating injuries.

        426.    In addition, as a direct and proximate cause of Philips’ breach of duty, Plaintiffs

may suffer additional serious and debilitating illnesses or injuries, including various cancers, in

the future as a result of continued exposure to the Foam Toxins.

        427.    Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.

                                         COUNT VI (2)
                                    NEGLIGENT RECALL
               (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                  Mississippi, New Jersey, Ohio, Tennessee, and Washington)

        428.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

        429.    This claim is brought against the Philips Defendants.

        430.    For Plaintiffs who have filed a Short Form Complaint and elected to assert a claim

under Count VI – Negligent Recall / Negligent Failure to Recall, those Plaintiffs will be presumed

to be asserting a claim under both Counts VI(1) and VI(2) of this Complaint.

        431.    Philips announced a recall on June 14, 2021. However, even after Philips finally

announced it was instituting a voluntary recall of the Recalled Devices, it implemented the Recall

negligently.

        432.    Royal Philips took charge of and responsibility for the Recall. Royal Philips has

interfaced with regulatory agencies in the U.S. and worldwide but has not adequately notified users

and their doctors about the Recall or the options for obtaining a replacement device.




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          433.   First, when the Recall was announced on June 14, 2021, Philips did not adequately

provide notice to users or their doctors about the risks of using the Recalled Devices, nor did

Philips offer users of the Recalled Devices any option for a replacement device. In fact, the FDA

issued a Notification Order to Philips under § 518(a) of the FDCA, documenting that the FDA “on

multiple occasions has informed Philips that FDA was concerned that Philips’ efforts to notify

patients and consumers, healthcare providers, and consignees regarding the recall have been

insufficient,” and expressed concern that “it is likely that a significant portion of patients and

consumers using the Recalled Products are unaware of the health risks presented by those

products.” 413

          434.   Then, when Philips received authorization from the FDA to begin a repair and/or

replacement process for affected DreamStation devices in the United States, Philips estimated that

it would take a year to complete the program. Philips was aware that this time frame was untenable

for patients, many of whom relied on the machines to treat medical conditions.

          435.   In addition, DreamStation customers were not given any specifics as to how the

replacement program would work nor were they told when they might receive a replacement

device (a significant factor for users who, again, relied on the machines for medical conditions)

nor were their treating physicians given any meaningful guidance by Philips.

          436.   Still, the repair/replacement program only applied to affected DreamStation devices

and did not impact any of the other Recalled Devices. Later, Philips instituted a repair program for

the Trilogy devices, which has only just recently begun.




413
      518(a) Notification Order (Exhibit “136” hereto), at 6.

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        437.    Despite the estimated one-year timeline originally announced by Philips to replace

recalled DreamStation devices, Philips has not performed the Recall according to its own

projections, and many users are still waiting for repaired or replaced devices.

        438.    In issuing a voluntary recall, Philips assumed duties to exercise reasonable care in

issuing and implementing the Recall. Philips’ conduct constitutes a breach of its duties by failing

to adequately warn and notify users of the risks of using the Recalled Devices and failing to

promptly replace the Recalled Devices.

        439.    As a result of Philips breach of duty, Plaintiffs continued to use Recalled Devices.

At all relevant times, Plaintiffs used the Recalled Devices in the manner in which the devices were

intended to be used.

        440.    As a direct result of Philips’ breach of duty, Plaintiffs have suffered serious and

debilitating injuries.

        441.    In addition, as a direct and proximate cause of Philips’ breach of duty, Plaintiffs

may suffer additional serious and debilitating illnesses or injuries, including various cancers, in

the future as a result of continued exposure to the Foam Toxins.

        442.    Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.

                                          COUNT VII
                                           BATTERY
               (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                  Mississippi, New Jersey, Ohio, Tennessee, and Washington)

        443.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

        444.    This claim is brought against the Philips Defendants.

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        445.   Philips engaged in acts that resulted in harmful and offensive contact with

Plaintiffs.

        446.   Plaintiffs each used a Recalled Device and unknowingly had unwanted and

dangerous particles and gases blown into their bodies, including into their respiratory systems.

        447.   Philips designed, manufactured, marketed, and sold the Recalled Devices with the

defects discussed herein including foam degradation and resulting off-gassing. Thus, Philips did

acts that caused the harmful and offensive touching of Plaintiffs to occur.

        448.   The acts engaged in by Philips that caused the unwanted and dangerous particles

and gases to touch and enter Plaintiffs’ bodies were all done intentionally, and with full knowledge

that they would result in harmful and offensive contact.

        449.   The touching was harmful and offensive to Plaintiffs because they are dangerous

and can cause serious health problems. Any reasonable person in Plaintiffs’ situation would have

been offended by the touching under the circumstances.

        450.   Plaintiffs did not consent to the touching. Any ostensible “consent” provided was

not done knowingly and was otherwise vitiated under the circumstances and not effective.

        451.   Plaintiffs agreed to use the Recalled Devices and have air circulated through their

respiratory systems, but, as alleged herein, they each did so without knowledge of the dangerous

particles and gases caused by the Defect in the Recalled Devices.

        452.   As alleged herein, Philips knew about the Defect and that it was substantially

certain to result in the harmful touching of Plaintiffs. Despite this knowledge, Philips did not

disclose the Defect to Plaintiffs, their doctors, the FDA, or others.

        453.   As alleged herein, while Philips knew of the Defect for many years, Philips failed

to disclose and concealed it from Plaintiffs and the public. Philips thus knew the offensive touching



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would occur and that Plaintiffs were under the mistaken impression that the products were safe

and that no such offensive touching would occur.

       454.    Philips willfully, knowingly and tortiously battered Plaintiffs.

       455.    Plaintiffs were harmed and injured by this harmful and offensive touching.

       456.    As a foreseeable, proximate, and direct result of Philips’ conduct, Plaintiffs each

have suffered a battery and have been damaged, including as otherwise set forth in this Complaint

and the individual Short Form Complaints, and by invasion of their privacy and bodily integrity

without their consent, severe emotional stress and anxiety, and harm to their human dignity and

corresponding damages therefrom.

       457.    Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.

                                           COUNT VIII

                                     [COUNT DISMISSED]

                                            COUNT IX

                                     [COUNT DISMISSED]

                                           COUNT X
                           BREACH OF EXPRESS WARRANTY
                   (All Jurisdictions except Connecticut, Kansas, Louisiana,
                         Mississippi, Ohio, Tennessee, and Washington)

       458.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       459.    This claim is brought against the Philips Defendants.

       460.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

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When it sold the Recalled Devices, Philips knew that they were defective in that they posed serious

health risks to users who would be exposed to Foam Toxins as a result of the degradation and off-

gassing of the PE-PUR foam.

        461.     At the time of sale, Philips provided a User Manual with its CPAP, BiPAP, and

ventilator devices. Royal Philips owns the copyright to all, or most, of those User Manuals.

        462.     Philips’ User Manuals for the Recalled Devices contained an express warranty

providing that the Recalled Devices “shall be free from defects of workmanship and materials and

will perform in accordance with the product specifications for a period of two (2) years from the

date of sale.” 414

        463.     Philips breached this express warranty in connection with the sale and distribution

of Recalled Devices. At the point of sale, the Recalled Devices, while appearing normal, contained

latent defects as set forth in more detail above, rendering them unsuitable and unsafe for personal

use.

        464.     Further, through Philips’ public statements, descriptions, and promises relating to

the Recalled Devices, Philips expressly warranted that the products were safe and effective for

their intended use.

        465.     Had Plaintiffs known the Recalled Devices were unsafe for use, they would not

have used them.

        466.     Plaintiffs reasonably expected that the Recalled Devices were safe for their ordinary

and intended use. Had Plaintiffs known the Recalled Devices were defective, unsafe for use, and

exposed them to the Foam Toxins, they would not have used them.



414
   See, e.g., Warranty Exemplars: DreamStation (Exhibit “47” hereto), at 29; REMstar SE (Exhibit
“48” hereto), at 21; Trilogy 100 (Exhibit “49” hereto), at 163.

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       467.    Philips has breached its warranty and refused to provide appropriate warranty relief

notwithstanding the risks of using the Recalled Devices.

       468.    To the extent privity may be required, Plaintiffs can establish privity with Philips

or alternatively, Plaintiffs can establish that they fall into an exception to a privity requirement.

       469.    Plaintiffs relied on Philips’ warranties and dealt directly with Philips through the

exchange of warranty and recall information.

       470.    Plaintiffs were foreseeable and intended third-party beneficiaries of Philips’ sale of

the Recalled Devices, and/or of contracts between Philips and the distributors or sellers of the

Recalled Devices.

       471.    The Recalled Devices are medical devices that affect human health and life; and

therefore, they implicate the broad public policy of protecting human health and life.

       472.    Enforcement of a privity requirement would unfairly prejudice Plaintiffs, who

relied on Philips’ warranties and dealt directly with Philips through the exchange of warranty and

recall information.

       473.    In addition, any purported durational limit to the warranties would be procedurally

and substantively unconscionable and otherwise unenforceable.

       474.    An attempted durational limit would be procedurally unconscionable because

Philips unilaterally imposed the time limitation on the warranties, without affording Plaintiffs any

bargaining authority. Indeed, the limitation was drafted by Philips unilaterally, and it was

presented to Plaintiffs as a settled term in the User Manual issued for each Recalled Device on a

“take it or leave it” basis. As such, Plaintiffs had no meaningful choice in setting any temporal

limitation on the warranty.




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        475.    Such a limitation would be substantively unconscionable because there was a

substantial disparity in the parties’ relative bargaining power, which Philips used to craft a

warranty that unreasonably favors it over the Plaintiff. As Plaintiffs allege, prior to and at the time

it sold the Recalled Devices to Plaintiffs, Philips was aware of the latent defect regarding PE-PUR

foam degradation in the Recalled Devices. Yet, Philips suppressed information concerning the

latent defect from Plaintiffs. If a durational limit were enforceable, it would mean Philips had

abused its superior knowledge of the Defect to manipulate the temporal limits of the warranties in

such a manner so that it could avoid coverage relating to the latent defect while it continued

manufacturing and selling the Recalled Devices containing PE-PUR foam, including to Plaintiffs.

Plaintiffs had no notice or ability to detect the latent defect.

        476.    Relatedly, due to Philips’ knowing concealment of facts and information

concerning the latent defect in the Recalled Devices, any purported durational limitation on the

warranties would be tolled or waived. Philips’ affirmative acts of concealment were designed to

prevent any inquiry concerning the Recalled Devices and to induce Plaintiffs, who did not have

notice of or the ability to detect the latent defect, to purchase, lease, and/or use the Recalled

Devices that purportedly had the temporal limitation on the warranties.

        477.    In addition, any attempt by Philips to limit the term of the warranties should not be

enforced given that the language purporting to set forth the limitation was not presented to

Plaintiffs in a clear and conspicuous manner.

        478.    Plaintiffs are not required to give pre-suit notice to Philips and to the extent that

any pre-suit notice was purportedly required, Plaintiffs have complied or substantially complied

with all applicable notice requirements or are otherwise excused from compliance for this

proceeding. First, Philips had notice of the type and source of claims in this matter for years. In



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addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ conduct. Philips

has failed to remedy its unlawful misconduct and it is clear that any additional notice would be

futile. In addition, any obligation to provide pre-suit should be excused because Philips does not

maintain a place of business in many of the jurisdictions or does not keep assets within those

jurisdictions.

        479.     Philips has refused to provide appropriate warranty relief notwithstanding the risks

of using the Recalled Devices. Plaintiffs reasonably expected that the Recalled Devices were safe

for their ordinary and intended use.

        480.     As a direct and proximate result of Philips’ breach of its express warranties,

Plaintiffs have suffered serious and debilitating injuries.

        481.     In addition, as a direct and proximate cause of Philips’ breach of its express

warranties, Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including

various cancers, in the future as a result of exposure to the Foam Toxins.

        482.     Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.




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                                         COUNT XI
          BREACH OF THE IMPLIED WARRANTY OF MERCHANTABILITY
     (All Jurisdictions except Connecticut, Florida, Idaho, Kansas, Kentucky, Louisiana,
    Mississippi, New Jersey, Ohio, Pennsylvania, Tennessee, Washington, and Wisconsin)

       483.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       484.    This claim is brought against the Philips Defendants.

       485.    The implied warranty of merchantability, contained in U.C.C. § 2-314, has been

codified in each state. See, e.g., Ala. Code § 7-2-314, et seq.; Alaska Stat. § 45.02.314, et seq.;

Ariz. Rev. Stat. Ann. § 47-2314, et seq.; Ark. Code Ann. § 4-2-314, et seq.; Cal. Com. Code §

2314, et seq.; Colo. Rev. Stat. § 4-2-314, et seq.; Del. Code Ann. tit. 6, § 2-314, et seq.; D.C. Code

Ann. § 28:2-314, et seq.; O.C.G.A. § 11-2-314, et seq.; Haw. Rev. Stat. § 490:2-314, et seq.; Ill.

Comp. Stat. Ann. Ch. 810, 5/2-314, et seq.; Ind. Code Ann. § 26-1-2-314, et seq.; Iowa Code Ann.

§ 554.2314, et seq.; Me. Rev. Stat. Ann. tit. 11, § 2-314, et seq.; Md. Code Ann., Com. Law § 2-

314, et seq.; Mass. Gen. Laws Ann. Ch. 106, § 2-314, et seq.; Mich. Comp. Laws Ann. § 440.2314,

et seq.; Minn. Stat. Ann. § 336.2-314, et seq.; Mo. Rev. Stat. § 400.2-314, et seq.; Mont. Code

Ann. § 30-2-314, et seq.; Neb. Rev. Stat. § 2-314, et seq.; Nev. Rev. Stat. § 104.2314, et seq.; N.H.

Rev. Stat. Ann. § 382-A:2-314, et seq.; N.M. Stat. Ann. § 55-2-314, et seq.; N.Y. U.C.C. Law §

2-314, et seq.; N.C. Gen. Stat. Ann. § 25-2-314, et seq.; N.D. Cent. Code § 41-02-31, et seq.; Okla.

Stat. tit. 12A, § 2-314, et seq.; Or. Rev. Stat. § 72.3140, et seq.; R.I. Gen. Laws § 6A-2-314, et

seq.; S.C. Code Ann. § 36-2-314, et seq.; S.D. Codified Laws § 57A-2-314, et seq.; Tex. Bus. &

Com. Code § 2.314, et seq.; Utah Code Ann. § 70A-2-314, et seq.; Va. Code Ann. § 8.2-314, et

seq.; Vt. Stat. Ann. tit. 9A, § 2-314, et seq.; W. Va. Code § 46-2-314, et seq.; and Wyo. Stat. Ann.

§ 34.1-2-314, et seq.




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       486.    Philips has, at all times, been a merchant with respect to the products which were

sold to Plaintiffs, under U.C.C. §§ 2-104 and 2-314, as codified in each state; and was in the

business of selling such products.

       487.    Pursuant to U.C.C. § 2-314, as codified in each state, each Recalled Device sold by

Philips comes with an implied warranty that it will be merchantable and fit for the ordinary purpose

for which it would be used.

       488.    The ordinary intended purpose of the Recalled Devices—and the purpose for which

they were marketed, promoted, and sold—was to help people breathe. The Recalled Devices were

not fit for that use—or any other use—because using the Recalled Device for breathing assistance

exposed the user to Foam Toxins as a result of the degradation and off-gassing of the PE-PUR

foam. When used as intended, the Recalled Devices were unsuitable and unsafe for personal use.

       489.    Philips breached its implied warranty of merchantability because the Recalled

Devices were not in merchantable condition when sold, were defective when sold, and/or did not

possess even the most basic degree of fitness for ordinary use.

       490.    Plaintiffs were injured as a direct and proximate result of Philips’ breach of its

implied warranty of merchantability because, had they been aware of the unmerchantable

condition of the Recalled Devices, they would not have bought them, leased them, and/or used

them and jeopardized their health.

       491.    To the extent that privity may be required, Plaintiffs can establish privity with

Philips, or, alternatively, can establish that they fall into an exception to a privity requirement.

       492.    Plaintiffs relied on Philips’ warranties and dealt directly with Philips through the

exchange of warranty and recall information.




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        493.     Plaintiffs were foreseeable and intended third-party beneficiaries of Philips’ sale of

the Recalled Devices, and/or of contracts between Philips and the distributors or sellers of the

Recalled Devices.

        494.     The Recalled Devices are products, such as medical devices, that affect human

health and life; and therefore, they implicate the broad public policy of protecting human health

and life.

        495.     Enforcement of a privity requirement would unfairly prejudice Plaintiffs, who

relied on Philips’ warranties and dealt directly with Philips through the exchange of warranty and

recall information.

        496.     In addition, any purported durational limit to the implied warranty of

merchantability would be procedurally and substantively unconscionable and otherwise

unenforceable.

        497.     An attempted durational limit would be procedurally unconscionable because

Philips unilaterally imposed the time limitation on the implied warranty of merchantability,

without affording Plaintiffs any bargaining authority. Indeed, the limitation was drafted by Philips,

without any input or consent from Plaintiffs, and it was presented to Plaintiffs as a settled term in

the User Manual issued for each Recalled Device. As such, Plaintiffs had no meaningful choice in

setting any temporal limitation on the warranty.

        498.     Such a limitation would be substantively unconscionable because there was a

substantial disparity in the parties’ relative bargaining power. As Plaintiffs allege, prior to and at

the time it sold the Recalled Devices to Plaintiffs, Philips was aware of the latent defect regarding

PE-PUR foam degradation in the Recalled Devices. Yet, Philips suppressed information

concerning the latent defect from Plaintiffs. If a durational limit existed, it would mean Philips had



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abused its superior knowledge of the Defect to manipulate the temporal limits of the implied

warranty of merchantability in such a manner so that it could avoid coverage relating to the latent

defect while it continued manufacturing and selling the Recalled Devices containing PE-PUR

foam, including to Plaintiffs. Plaintiffs had no notice or ability to detect the latent defect.

        499.    Relatedly, due to Philips’ knowing concealment of facts and information

concerning the latent defect in the Recalled Devices, any purported durational limitation on the

implied warranty of merchantability would be tolled or waived. Philips’ affirmative acts of

concealment were designed to prevent any inquiry concerning the Recalled Devices and to induce

Plaintiffs, who did not have notice of or the ability to detect the latent defect, to purchase, lease,

and/or use the Recalled Devices that purportedly had the temporal limitation on the implied

warranty of merchantability in place.

        500.    In addition, any attempt by Philips to limit the term of the implied warranty of

merchantability should not be enforced given that the language purporting to set forth the

limitation was not presented to Plaintiffs in a clear and conspicuous manner.

        501.    Plaintiffs are not required to give pre-suit notice to Philips and to the extent that

any pre-suit notice was purportedly required, Plaintiffs have complied or substantially complied

with all applicable notice requirements or are otherwise excused from compliance for this

proceeding. First, Philips had notice of the type and source of claims in this matter for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would



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compensate Plaintiffs for all the losses they have suffered as a result of Philips’ conduct. Philips

has failed to remedy its unlawful misconduct and it is clear that any additional notice would be

futile. In addition, any obligation to provide pre-suit should be excused because Philips does not

maintain a place of business in many of the jurisdictions or does not keep assets within those

jurisdictions.

        502.     Philips has refused to provide appropriate warranty relief notwithstanding the risks

of using the Recalled Devices. Plaintiffs reasonably expected that the Recalled Devices were safe

for their ordinary and intended use.

        503.     As a direct and proximate result of Philips’ breach of its implied warranties,

Plaintiffs have been injured and suffered damages, in that their use of the Recalled Devices

increased their risk of developing cancer, cardiac injuries, respiratory issues, kidney injuries,

adverse effects to other organs, and other illnesses.

        504.     As a direct and proximate cause of Philips’ breach of its implied warranties,

Plaintiffs have suffered serious and debilitating injuries.

        505.     In addition, as a direct and proximate cause of Philips’ conduct, Plaintiffs may

suffer additional serious and debilitating illnesses or injuries, including various cancers, in the

future as a result of exposure to the Foam Toxins.

        506.     Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.




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                                        COUNT XII
               BREACH OF THE IMPLIED WARRANTY OF USABILITY
     (All Jurisdictions except Connecticut, Florida, Idaho, Kansas, Kentucky, Louisiana,
    Mississippi, New Jersey, Ohio, Pennsylvania, Tennessee, Washington, and Wisconsin)

       507.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       508.    This claim is brought against the Philips Defendants.

       509.    The implied warranty of usability arises under U.C.C. § 2-314 which has been

codified in each state. See, e.g., Ala. Code § 7-2-314, et seq.; Alaska Stat. § 45.02.314, et seq.;

Ariz. Rev. Stat. Ann. § 47-2314, et seq.; Ark. Code Ann. § 4-2-314, et seq.; Cal. Com. Code §

2314, et seq.; Colo. Rev. Stat. § 4-2-314, et seq.; Del. Code Ann. tit. 6, § 2-314, et seq.; D.C. Code

Ann. § 28:2-314, et seq.; O.C.G.A. § 11-2-314, et seq.; Haw. Rev. Stat. § 490:2-314, et seq.; Ill.

Comp. Stat. Ann. Ch. 810, 5/2-314, et seq.; Ind. Code Ann. § 26-1-2-314, et seq.; Iowa Code Ann.

§ 554.2314, et seq.; Me. Rev. Stat. Ann. tit. 11, § 2-314, et seq.; Md. Code Ann., Com. Law § 2-

314, et seq.; Mass. Gen. Laws Ann. Ch. 106, § 2-314, et seq.; Mich. Comp. Laws Ann. § 440.2314,

et seq.; Minn. Stat. Ann. § 336.2-314, et seq.; Mo. Rev. Stat. § 400.2-314, et seq.; Mont. Code

Ann. § 30-2-314, et seq.; Neb. Rev. Stat. § 2-314, et seq.; Nev. Rev. Stat. § 104.2314, et seq.; N.H.

Rev. Stat. Ann. § 382-A:2-314, et seq.; N.M. Stat. Ann. § 55-2-314, et seq.; N.Y. U.C.C. Law §

2-314, et seq.; N.C. Gen. Stat. Ann. § 25-2-314, et seq.; N.D. Cent. Code § 41-02-31, et seq.; Okla.

Stat. tit. 12A, § 2-314, et seq.; Or. Rev. Stat. § 72.3140, et seq.; R.I. Gen. Laws § 6A-2-314, et

seq.; S.C. Code Ann. § 36-2-314, et seq.; S.D. Codified Laws § 57A-2-314, et seq.; Tex. Bus. &

Com. Code § 2.314, et seq.; Utah Code Ann. § 70A-2-314, et seq.; Va. Code Ann. § 8.2-314, et

seq.; Vt. Stat. Ann. tit. 9A, § 2-314, et seq.; W. Va. Code § 46-2-314, et seq.; and Wyo. Stat. Ann.

§ 34.1-2-314, et seq.




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       510.    Philips has, at all times, been a merchant with respect to the products which were

sold to Plaintiffs, under U.C.C. §§ 2-104 and 2-314, as codified in each state; and was in the

business of selling such products.

       511.    By operation of law, Philips, as the manufacturer of the Recalled Devices and as

the provider of a limited warranty for the Recalled Devices, impliedly warranted to Plaintiffs that

the Recalled Devices were usable for their ordinary and intended use.

       512.    Such implied warranty arises under U.C.C. § 2-314(3) as adopted in each state.

       513.    Through usage of trade, manufacturers of medical devices, such as the Recalled

Devices, impliedly warrant that their products are usable for the end consumer.

       514.    The ordinary intended use of the Recalled Devices was to help people breathe. The

Recalled Devices were not fit for that use—or any other use—because using the Recalled Device

for breathing assistance exposed the user to Foam Toxins as a result of the degradation and off-

gassing of the PE-PUR foam. When used for their ordinary and intended use, the Recalled Devices

were unsuitable and unsafe, and, thus, adulterated.

       515.    Philips breached its implied warranty of usability because the Recalled Devices

were not usable for their ordinary and intended use and were not usable for the end consumer. At

the point of sale, the Recalled Devices while appearing normal—contained the Defect rendering

them unusable.

       516.    Philips, its agents, and employees knew, or should have known, that the Recalled

Devices suffered from a defect that causes negative health effects and/or places persons at risk for

negative health effects to such an extent that the products are unusable.

       517.    Philips’ Recall announcement instructed Plaintiffs to not use Recalled Devices

because of the health risks illustrating that the Recalled Devices are unusable and worthless.



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        518.   Philips has refused to provide appropriate warranty relief notwithstanding the risks

of using the Recalled Devices. Plaintiffs reasonably expected that the Recalled Devices were

usable for their ordinary and intended use.

        519.   Had Plaintiffs known that Philips had breached the implied warranty of usability

for their Recalled Devices, they would not have used the Recalled Devices nor would they have

purchased or leased the Recalled Devices.

        520.   To the extent privity may be required, Plaintiffs can establish privity with Philips,

or, alternatively, can establish that they fall into an exception to a privity requirement.

        521.   Plaintiffs relied on Philips’ warranties and dealt directly with Philips through the

exchange of warranty and recall information.

        522.   Plaintiffs were foreseeable and intended third-party beneficiaries of Philips’ sale of

the Recalled Devices, and/or of contracts between Philips and the distributors or sellers of the

Recalled Devices.

        523.   The Recalled Devices are products, such as medical devices, that affect human

health and life; and therefore, they implicate the broad public policy of protecting human health

and life.

        524.   Enforcement of a privity requirement would unfairly prejudice Plaintiffs, who

relied on Philips’ warranties and dealt directly with Philips through the exchange of warranty and

recall information.

        525.   In addition, any purported durational limit to the implied warranty of usability

would be procedurally and substantively unconscionable and otherwise unenforceable.

        526.   An attempted durational limit would be procedurally unconscionable because

Philips unilaterally imposed the time limitation on the implied warranty of usability, without



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affording Plaintiffs any bargaining authority. Indeed, the limitation was drafted by Philips, without

any input or consent from Plaintiffs, and it was presented to Plaintiffs as a settled term in the User

Manual issued for each Recalled Device. As such, Plaintiffs had no meaningful choice in setting

any temporal limitation on the warranty.

        527.    Such a limitation would be substantively unconscionable because there was a

substantial disparity in the parties’ relative bargaining power. As Plaintiffs allege, prior to and at

the time it sold the Recalled Devices to Plaintiffs, Philips was aware of the latent defect regarding

PE-PUR foam degradation in the Recalled Devices. Yet, Philips suppressed information

concerning the latent defect from Plaintiffs. If a durational limit existed, it would mean Philips had

abused its superior knowledge of the Defect to manipulate the temporal limits of the implied

warranty of usability in such a manner so that it could avoid coverage relating to the latent defect

while it continued manufacturing and selling the Recalled Devices containing PE-PUR foam,

including to Plaintiff. Plaintiffs had no notice or ability to detect the latent defect.

        528.    Relatedly, due to Philips’ knowing concealment of facts and information

concerning the latent defect in the Recalled Devices, any purported durational limitation on the

implied warranty of usability would be tolled or waived. Philips’ affirmative acts of concealment

were designed to prevent any inquiry concerning the Recalled Devices and to induce Plaintiffs,

who did not have notice of or the ability to detect the latent defect, to purchase and/or use the

Recalled Devices that purportedly had the temporal limitation on the implied warranty of usability

in place.

        529.    In addition, any attempt by Philips to limit the term of the implied warranty of

usability should not be enforced given that the language purporting to set forth the limitation was

not presented to Plaintiffs in a clear and conspicuous manner.



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        530.     Plaintiffs are not required to give pre-suit notice to Philips and to the extent that

any pre-suit notice was purportedly required, Plaintiffs have complied or substantially complied

with all applicable notice requirements or are otherwise excused from compliance for this

proceeding. First, Philips had notice of the type and source of claims in this matter for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ conduct. Philips

has failed to remedy its unlawful misconduct and it is clear that any additional notice would be

futile. In addition, any obligation to provide pre-suit should be excused because Philips does not

maintain a place of business in many of the jurisdictions or does not keep assets within those

jurisdictions.

        531.     As a direct and proximate result of Philips’ breach of its implied warranties,

Plaintiffs have been injured and suffered damages, in that their use of the Recalled Devices

increased their risk of developing cancer, cardiac injuries, respiratory issues, kidney injuries,

adverse effects to other organs, and other illnesses.

        532.     As a direct and proximate cause of Philips’ breach of its implied warranties,

Plaintiffs have suffered serious and debilitating injuries.

        533.     In addition, as a direct and proximate cause of Philips’ conduct, Plaintiffs may

suffer additional serious and debilitating illnesses or injuries, including various cancers, in the

future as a result of exposure to the Foam Toxins.



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          534.      Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.

                                           COUNT XIII
                             COMMON LAW FRAUD BY OMISSION
             (All Jurisdictions except Connecticut, Indiana, Louisiana, and New Jersey)

          535.      Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

          536.      This claim is brought against the Philips Defendants.

          537.      As set forth more fully above, Philips marketed and sold the Recalled Devices as

breathing assistance devices that helped users breathe by, among other things, pumping clean air

into users’ lungs when, in fact, Philips knew that the Recalled Devices were defective in that they

had the potential to pump toxic fumes and foam debris into users’ lungs as a result of the

degradation and off-gassing of the PE-PUR foam.

          538.      In the United States, Philips sold the Recalled Devices through intermediaries,

frequently DMEs. To drive sales and increase profits, Philips



            . 415

          539.      To drive up revenue, Philips promoted awareness of sleep apnea and the Recalled

Devices to end users directly. 416

          540.      Philips knew of the Defect as far back as 2008. Indeed, as alleged above, there were

user complaints dating back to 2008 and Philips tested and studied the Recalled Devices and foam


415
   Transcript of Deposition of Mark D’Angelo (“D’Angelo Tr.”) at 142:17-150:4, 151:6-18,
166:4-12 (select excerpts of the D’Angelo Transcript are attached hereto as Exhibit “165”).
416
      Id. at 151:6-18.

                                                     151
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degradation in the years since – repeatedly stating in internal test reports and communications that

PE-PUR foam degraded when the Recalled Devices were used as intended. See, e.g., ¶¶7, 11, 166,

168, 171-175, 181-186. Deposition testimony from Philips employees taken to-date has confirmed,

among other things, that



                                                                417


       541.    Because of the Defect, the Recalled Devices have the potential to blow numerous

hazardous toxins and foam debris into users’ lungs which can cause serious health conditions and

even death. Indeed, the FDA found that Recalled Devices posed “an unreasonable risk of

substantial harm.” Philips knew that the Recalled Devices posed serious health risks to users.

       542.    The Defect, i.e, that the PE-PUR foam in the Recalled Devices was susceptible to

degradation and off-gassing that resulted in users inhaling toxic fumes and particles was material

to Plaintiffs and all users of Recalled Devices, as well as their physicians.

       543.    Any reasonable person, including Plaintiffs, would find information that impacted

on their health and well-being, such as the serious adverse health risks (including death) associated

with the Defect and the use of the Recalled Devices, to be important when deciding whether to use

those Recalled Devices. This is especially true given the existence of comparable devices on the

market from other manufacturers that did not contain a foam degradation defect that rendered them

unreasonably dangerous. No Plaintiff, user of Recalled Devices, physician, or anyone else would

have considered the Defect to be immaterial.



417
    See Transcript of Deposition of Vaishali Hegde (“Hegde Tr.”) at 149:2-152:20 (select excerpts
of the Hegde Transcript are attached hereto as Exhibit “166”); see also Transcript of Deposition
of Hisham Elzayat (“Elzayat Tr.”) at 140:18-151:4 (select excerpts of the Elzayat Transcript are
attached hereto as Exhibit “167”) (filed under seal).

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          544.       Philips knew that
                                                                                    418


          545.       Despite its knowledge




             . 419

          546.       When asked about events




                          ” 420

In addition, Philips’ documents show that despite knowledge




                                                                                          . 421


418
      D’Angelo Tr. (Exhibit “165”) at 166:4-12.
419
      See Exhibit “106”; D’Angelo Tr. (Exhibit “165”) at 163:17-164:1l, 207:3-16.
420
      D’Angelo Tr. (Exhibit “165”) at 207:3-16.
421
      See Hegde Tr. (Exhibit “166”) at 117:5-25, 119:13-124:11 (




                                                  153
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          547.   Philips also failed to disclose any risks associated with using SoClean or any other

ozone product with any of the Recalled Devices. 422

          548.   Philips not only failed to disclose this material information




                  . 424

          549.   Philips had many opportunities to disclose




                          These opportunities for disclosure include:

                 a. The packaging of each Recalled Device (which would have reached every
                    Plaintiff);

                 b. The label on the bottom of each Recalled Device that contains the model and
                    serial number among other information (which would have reached every
                    Plaintiff);

                 c. In the user manuals and other guides that came with each of the Recalled
                    Devices, these manuals already include information on how to use the



422
      D’Angelo Tr. (Exhibit “165”) at 282:10-283:8.
423
      See

424




                                                 154
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                      machines, how to clean the machines, and other product warnings and safety
                      information which would have made it an easy and natural place to disclose the
                      Defect (it would have reached all Plaintiffs); 425

                   d. In the direct-to-consumer marketing promoting the use of the Recalled Devices;

                   e. Various Philips websites, including Philips’ main website, Respironics’
                      website, and www.sleepapnea.com, a website Philips operates to educate
                      patients about sleep apnea and its CPAP and BiPAP machines; 426

                   f. Any of the numerous press releases and product announcements over many
                      years made by Philips about the Recalled Devices; 427 and

                   g. At any of the tradeshows Philips attended to promote Recalled Devices to
                      healthcare providers (the information would have been disclosed to doctors,
                      hospitals, DMEs and other healthcare industry professionals which eventually
                      would have led to disclosure to users such as Plaintiffs).

           550.    In addition, Philips had other avenues available for disclosure of the Defect:

                   a. Internal Philips emails show
                                                                      428


                   b. Internal Philips Microsoft Teams Chats reveal
                                                                            ; 429 and

425
   See, e.g., Exhibit “47”; Exhibit “48”; Exhibit “49”; see also DreamStation BiPAP autoSV –
Patient Welcome Guide, PHILIPS_RS_DFS-00003401 (attached hereto as Exhibit “173”);




426
     https://web.archive.org/web/20190704143504/https:/www.sleepapnea.com/products/dream-
family/ (last visited Feb. 7, 2024) (“Introducing the Dream Family” of Recalled Devices).
427
    See, e.g., BiPAP System from Respironics Tackles Complicated Breathing Cycles,
https://www.medgadget.com/2010/01/bipap_system_from_respironics_tackles_complicated_bre
athing_cycles.html (Jan. 6, 2010); Philips’ Care Orchestrator to Connect Trilogy Ventilators to
Advance       Care   for    Patients    with    COPD,       Other    Respiratory     Conditions,
https://sleepreviewmag.com/uncategorized/philips-care-orchestrator-connect-trilogy-ventilators-
advance-care-patients-copd-respiratory-conditions/ (July 21, 2016); Philips unveils non-invasive
ventilator for COPD patients, https://www.medicaldevice-network.com/news/philips-ventilator-
copd-patients/ (Nov. 5, 2020).
428
      See, e.g.,
429
      See, e.g.,

                                                   155
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                   c. Emails from Philips’ internal
                                                                                           430


            551.   Notably, Philips could have disclosed the Defect in its marketing:

                   a.




                   b. Philips markets not only to physicians and DMEs but directly to businesses and
                      consumers and users (such as Plaintiffs). The Business Leader for Philips RS’s
                      Obstructive Sleep Apnea Group said


                                                               that Philips did, indeed, “have direct to
                        business marketing,” “had a sales force,” “attended conferences,” and “made
                        publications.” 432 Any one of these avenues would have been places where
                        Philips could have, and should have, disclosed the Defect.

                   c. In addition, as part of Philips’ marketing function with the sleep group, “[t]here
                      was a marketing function that . . . was, like, a master marketing group. They
                      were -- they had centers of excellence. . . It would be like our ad agency or
                      whatever. So they certainly would deliver the message that we wanted or they
                      would help us generate messaging.” 433




430
      See, e.g.,
431
      See




432
      D’Angelo Tr. (Exhibit “165”) at 147:12-17, 148:8-15, 149:4-16, 151:6-18.
433
      Id. at 155:14-156:6 (emphasis added).

                                                    156
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       552.    For example, Philips’ consumer marketing for the DreamStation Go device




        .434

       553.




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       554.    Philips directly targeted




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       555.    Philips knew that failing to disclose the material information (the Defect), omitting

the material information from all of its communication, and active concealment of this material

information was false, deceptive, inadequate, and misleading.

       556.




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437



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                    . 438

          557.    Philips intentionally hid the Defect from the general public, consumers, users

(including Plaintiffs), doctors (including Plaintiffs’ physicians), DMEs, and others because if it

had disclosed that information, Philips would have suffered financially. The most direct and

straightforward financial harm to Philips would have occurred because if Philips had disclosed the

Defect, among other things, consumers (including Plaintiffs) would not have bought the Recalled

Devices, users (including Plaintiffs) would not have used the Recalled Devices, and doctors

(including Plaintiffs’ physicians) would not have prescribed the Recalled Devices.

          558.    In addition,




                                                         440


          559.    Philips made a conscious and intentional choice to not disclose, omit and actively

conceal the Defect from everyone until April of 2021 (and only after Philips announced a market

substitute – a new iteration of the DreamStation that did not contain the hazardous PE-PUR foam).

          560.    By failing to disclose, omitting, and concealing the Defect, Philips intentionally,

knowingly, and recklessly allowed its packaging, labels, advertisements, promotional materials,

websites, and other communications and disclosures to mislead Plaintiffs, and their physicians,



438




439
      D’Angelo Tr. (Exhibit “165”) at 163:17-164:1.
440
      Id. at 166:4-12.

                                                  158
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into justifiably and reasonably believing that the Recalled Devices were safe for use and free from

an unreasonably dangerous Defect.

       561.    Plaintiffs justifiably and reasonably relied on Philips’ failure to disclose and

omissions and used the Recalled Devices. Reasonable consumers and users would have been

expected to rely on these omissions and failure to disclose, in part, because they are omissions that

seriously impact users’ health and well-being.

       562.    Philips had a duty to disclose the material information (the Defect) to, among

others, Plaintiffs and their physicians.

       563.    Philips was under a duty to disclose the serious health risks posed to users of the

Recalled Devices because: (a) Philips had superior knowledge with respect to the Defect and any

related health effects; (b) Philips was in a superior position to know the risks associated with the

use of the Recalled Devices; (c) Philips was in a superior position to determine whether or not to

disclose or conceal information regarding the Recalled Devices in its packaging, labels,

advertising, websites, and other communications and disclosures; (d) Philips had a duty to fully

disclose all facts related to the serious health risks to users posed by the Recalled Devices; (e)

Philips knew that Plaintiffs and their physicians could not reasonably have been expected to learn

or discover the Defect or serious health risks posed by use of the Recalled Devices prior to using,

purchasing, leasing, paying for, recommending, and/or prescribing the Recalled Devices; and (f)

Philips has a duty to disclose information related to the health and safety of its products, including

the Recalled Devices.




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            564.   In addition, Philips held itself out as a trusted brand and “global leader in the sleep

and respiratory markets” 441 promising consumers that they will “[b]reathe easier, sleep more

naturally.” 442 Philips assured consumers that its “sleep therapy systems are designed with the needs

of care practitioners and patients in mind,” and that its “quality systems reflect [Philips’]

commitment to providing enhanced patient comfort,” among other things. 443 And Philips has long

advertised its CPAP and BiPAP Machines as “clinically proven” treatment for sleep disorders. 444

Having made these “partial” statements with respect to the Recalled Devices, Philips had a duty

to disclose other material information, namely information related to the Defect and related health

risks, that rendered the partial statements more accurate.

            565.   Even though Philips had a duty to disclose the Defect, it did not disclose the Defect

until April of 2021.

            566.   Philips’ fraudulent conduct actually and proximately caused harm to Plaintiffs

because absent Philips’ failure to disclose, omissions, and active concealment, Plaintiffs would

have behaved differently and would not have purchased, chosen, or used the Recalled Devices. In

addition, had Philips disclosed the Defect, no doctor would have prescribed the Recalled Devices.

No Plaintiff and no Plaintiff’s physician would have chosen a Recalled Device over a comparable

device from another manufacturer that did not suffer from the Defect.

            567.   As a direct and proximate result of Philips’ fraudulent conduct, Plaintiffs have been




441
        See    Philips    Respironics     website    –     About     Philips     Respironics,
http://www.respironics.com/product_libraryhttp://www.respironics.com/product_library (Exhibit
“101”).
442
      Id.
443
      See https://www.usa.philips.com/healthcare/solutions/sleep/sleep-therapy (Exhibit “102”).
444
      Id.

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injured and suffered damages, in that their use of the Recalled Devices increased their risk of

developing cancer, respiratory disease, cardiovascular disease, and other illnesses.

       568.    As a direct and proximate result of Philips’ fraudulent conduct, Plaintiffs have

suffered serious and debilitating injuries and other economic harm.

       569.    In addition, as a direct and proximate cause of Philips’ fraudulent conduct,

Plaintiffs may suffer additional serious and debilitating illnesses or injuries, including various

cancers, in the future as a result of exposure to the Foam Toxins and particulate matter.

       570.    Therefore, Plaintiffs demand judgment against Philips and request compensatory

damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such

other relief as the Court deems equitable and just.

                                      COUNT XIV
                         NEGLIGENT MISREPRESENTATION
    (All Jurisdictions except Alabama, Arkansas, Connecticut, Idaho, Indiana, Kansas,
  Louisiana, Maine, Mississippi, Minnesota, North Carolina, New Jersey, New York, Ohio,
                    South Dakota, Tennessee, Virginia, and Washington)

       571.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       572.    This claim is brought against the Philips Defendants.

       573.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew, or should have known, that

they were defective in that they posed serious health risks to users who would potentially be

inhaling toxic fumes as they used the machines due to the degradation and off-gassing of the PE-

PUR foam. Philips intentionally concealed this material information from consumers, users,

payors, prescribers, and other healthcare providers, including Plaintiffs and their physicians,



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because to do otherwise would have resulted in users seeking safer alternatives to treat their

breathing issues.

       574.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. These material omissions were misleading and deceptive standing alone and were

particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       575.    Philips had a duty to tell Plaintiffs and the public the truth about the risks and harms

associated with the Recalled Devices.

       576.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       577.    Philips was under a duty to disclose to, among others, Plaintiffs and their

physicians, the serious health risks posed to users of the Recalled Devices because: (a) Philips was

in a superior position to know the risks associated with the use of the Recalled Devices; (b) Philips

was in a superior position to determine whether or not to disclose or conceal information regarding

the Recalled Devices in its packaging, labels, advertising, websites, and other communications and

disclosures; (c) Philips had a duty to fully disclose all facts related to the serious health risks to

users posed by the Recalled Devices; (d) Philips knew that Plaintiffs and their physicians could

not reasonably have been expected to learn or discover the serious health risks posed by use of the


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Recalled Devices prior to using, purchasing, leasing, paying for, and/or recommending the

Recalled Devices in general, and particularly given the representations, concealed material

information, and omissions by Philips in its packaging, labels, advertising, websites, and other

communications and disclosures; and (e) Philips has a duty to disclose information related to the

health and safety of its products, including the Recalled Devices.

        578.   Philips breached its duty by falsely representing to Plaintiffs and the public that the

Recalled Devices were safe for use when Defendants knew or should have known that the Recalled

Devices were defective, and had not been properly or adequately tested.

        579.   Philips failed to exercise ordinary care in the representation of the Recalled Devices

during its manufacturing, sale, testing, quality assurance, quality control, and/or distribution into

interstate commerce, in that Philips negligently misrepresented the safety and efficacy of the

devices.

        580.   As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other economic

harm.

        581.   In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

        582.   Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.



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                                       COUNT XV
                                   NEGLIGENCE PER SE
       (All Jurisdictions except Alabama, Arizona, Arkansas, California, Connecticut,
      Hawaii, Indiana, Kansas, Louisiana, Maine, Massachusetts, Maryland, Michigan,
       Mississippi, Nebraska, New Jersey, New Mexico, Nevada, North Dakota, Ohio,
        Pennsylvania, Tennessee, Texas, Utah, Vermont, Virginia, and Washington)

       583.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       584.    This claim is brought against the Philips Defendants.

       585.    At all times, Philips had an obligation to comply with applicable statutes and

regulations, including relevant and applicable statues and regulations promulgated by the FDA.

       586.    Philips utilized the 510(k) submissions or letters to file to receive clearances for

each of its Recalled Devices except the E30 ventilator which was marketed under an EUA.

       587.    Philips’ actions as described herein violated applicable statutes and regulations

related to, at a minimum, the 510(k) application process, including but not limited to 21 C.F.R. §

807, et seq., and parallel state law requirements.

       588.    Philips’ actions as described herein violated applicable statutes and regulations

related to its duty to monitor, investigate, evaluate, and timely report issues with foam degradation,

including 21 C.F.R. part 803 and 21 C.F.R. § 820.198, and parallel state law requirements.

       589.    Plaintiffs are within the class of persons that these statutes and regulations are

intended to protect.

       590.    Plaintiffs’ injuries and/or symptoms are the type of harm that these statutes and

regulations are intended to prevent.

       591.    Philips’ violations of the foregoing statutes and regulations, among others,

constitute negligence per se.




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       592.    As a direct and proximate result of Philips’ negligence per se, Plaintiffs have

suffered serious and debilitating injuries.

       593.    In addition, as a direct and proximate cause of Philips’ negligence per se, Plaintiffs

may suffer additional serious and debilitating illnesses or injuries, including various cancers, in

the future as a result of exposure to the Foam Toxins.

       594.    Plaintiffs demand judgment against Philips and request compensatory damages,

punitive damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other relief

as the Court deems equitable and just.

                                   COUNT XVI
                       CONSUMER FRAUD AND/OR UNFAIR AND
                      DECEPTIVE PRACTICES UNDER STATE LAW

       595.    For Plaintiffs who have filed a Short Form Complaint and elected “Count XVI –

Consumer Fraud and/or Unfair and Deceptive Practices Under State Law”, the applicable state

statute(s) will be determined at an appropriate time.

                               COUNT XVI (1)
         VIOLATIONS OF ALABAMA DECEPTIVE TRADE PRACTICES ACT
                          Ala. Code § 8-19-1, et seq.

       596.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       597.    This claim is brought against the Philips Defendants.

       598.    Philips is on notice that such claims may be asserted by Plaintiffs.

       599.    The Alabama Deceptive Trade Practices Act was created to protect consumers from

unconscionable, false, misleading, or deceptive acts or practices in the conduct of trade or

commerce. Ala. Code. Ann. § 8-19-5.




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       600.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       601.    Under the Alabama Deceptive Trade Practices Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Alabama. In addition, in Alabama, Philips sold the Recalled Devices, shipped

Recalled Devices, and otherwise engaged in trade or commerce, or conducted business, related to

the Recalled Devices.

       602.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.




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       603.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       604.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       605.    Philips concealed from Plaintiffs and suppressed, omitted, and failed to disclose to

them, material information regarding the serious health risks posed to users of the Recalled



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Devices by, among other things, failing to include material information in its packaging, labels,

advertisements, promotional materials, websites, and other communications and disclosures.

Instead, Philips misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       606.    By concealing, suppressing, omitting, and failing to disclose the Defect, Philips

intentionally, knowingly, and recklessly allowed its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures to mislead Plaintiffs,

and their physicians, into believing that the Recalled Devices were safe for use.

       607.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       608.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       609.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Alabama; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Ala. Code Ann. § 8-19-5, et seq.

       610.    Philips’ conduct constituted, among other things, the following prohibited

fraudulent, unconscionable, false, misleading, or deceptive acts or practices in the conduct of trade

or commerce: (a) knowingly making a false representation as to the Recalled Devices



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characteristics, ingredients, uses, or benefits, which they do not have; (b) misrepresenting that the

Recalled Devices are of a particular standard, quality, grade, or that the goods are of a particular

model when they are not; (c) advertising goods or services with intent not to sell them as

advertised; (d) concealing, suppressing, or omitting material facts concerning goods or services

which was known at the time of an advertisement or sale and intended to induce a customer to

enter into a transaction; and (e) knowingly or recklessly engaging in other unconscionable, false,

misleading, or deceptive acts or practices.

       611.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       612.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       613.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable



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consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       614.    The actions and omissions of Philips are uncured or incurable.

       615.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       616.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       617.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       618.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       619.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       620.    Accordingly, pursuant to Ala. Code Ann. § 8-19-10, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are



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entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

       621.    Philips does not maintain and place of business or keep assets within the state of

Alabama, and for that reason, there is no obligation to provide pre-suit notice under the Alabama

Deceptive Trade Practices Act in this case. Ala. Code Ann. § 8-19-10(e).

       622.    In any event, even if pre-suit notice were required, Plaintiffs have complied or

substantially complied with all applicable notice requirements or are otherwise excused from

compliance for this proceeding. Philips had notice of its violations for years. In addition, at a

minimum, on September 8, 2021, and on May 16, 2022, numerous Plaintiffs involved in this multi-

district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips by Plaintiffs before this

MDL was formed. These letters put Philips on notice of demands of Plaintiffs and Philips’

responses made clear that Philips refused to acknowledge and cure the violations in a manner that

would compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct.

Philips has failed to remedy its unlawful conduct. Notice was provided, and any additional notice

would be futile.

                                     COUNT XVI (2)
                   VIOLATIONS OF ARIZONA CONSUMER FRAUD ACT
                          Ariz. Rev. Stat. Ann. § 44-1521, et seq.

       623.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       624.    This claim is brought against the Philips Defendants.

       625.    Philips is on notice that such claims may be asserted by Plaintiffs.



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       626.    The Arizona Consumer Fraud Act prohibits “the act, use or employment by any

person of any deception, deceptive or unfair act or practice, fraud, false pretense, false promise,

misrepresentation, or concealment, suppression or omission of any material fact with intent that

others rely on such concealment, suppression or omission, in connection with the sale or

advertisement of any merchandise whether or not any person has in fact been misled, deceived or

damaged thereby, is declared to be an unlawful practice.” Ariz. Rev. Stat. § 44-1552.

       627.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       628.    Under the Arizona Consumer Fraud Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Arizona.

In addition, in Arizona, Philips sold the Recalled Devices, shipped Recalled Devices, and

otherwise engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       629.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR faom and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled



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Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       630.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       631.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone



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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       632.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       633.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       634.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       635.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       636.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Arizona; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,



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significantly impacting consumers and making it unlawful under Ariz. Rev. Stat. § 44-1521, et

seq.

        637.   Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

        638.   Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

        639.   As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

        640.   The actions and omissions of Philips are uncured or incurable.

        641.   Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs



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and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       642.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       643.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       644.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       645.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       646.    Accordingly, pursuant to Ariz. Rev. Stat. § 44-1521, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.




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                                COUNT XVI (3)
         VIOLATIONS OF ARKANSAS DECEPTIVE TRADE PRACTICES ACT
                        Ark. Code Ann. § 4-88-101, et seq.

       647.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       648.    This claim is brought against the Philips Defendants.

       649.    Philips is on notice that such claims may be asserted by the Plaintiffs.

       650.    The Arkansas Deceptive Trade Practices Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       651.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       652.    Under the Arkansas Deceptive Trade Practices Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Arkansas. In addition, in Arkansas, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       653.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources



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confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       654.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       655.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their



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Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       656.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       657.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       658.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       659.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.




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        660.   Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Arkansas; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Ark. Code Ann. § 4-88-101, et

seq.

        661.   Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

        662.   Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.



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       663.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       664.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       665.    The actions and omissions of Philips are uncured or incurable.

       666.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       667.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       668.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.



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       669.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       670.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       671.    Accordingly, pursuant to Ark. Code Ann. § 4-88-101, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                               COUNT XVI (4)
        VIOLATIONS OF CALIFORNIA CONSUMER LEGAL REMEDIES ACT
                         Cal. Civ. Code § 1750, et seq.

       672.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       673.    This claim is brought against the Philips Defendants.

       674.    Philips is on notice that such claims may be asserted by Plaintiffs.

       675.    The California Consumers Legal Remedies Act (“CLRA”) protects consumers

from deceptive and unfair trade practices.

       676.    Philips are “persons” under the CLRA.

       677.    Plaintiffs are “consumers” who purchased, leased, and/or used Recalled Devices

for personal and/or household purposes under the CLRA.



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       678.    The Recalled Devices are “goods” under the CLRA.

       679.    Under the CLRA, Philips is the supplier, manufacturer, advertiser, and seller of the

Recalled Devices, subject to liability under such legislation from fraudulent, unfair, deceptive, and

unconscionable consumer sales practices. Philips marketed and advertised the Recalled Devices

to consumers, physicians, and other healthcare entities in California. In addition, in California,

Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or

commerce, or conducted business, related to the Recalled Devices.

       680.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       681.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in



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that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       682.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       683.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.



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       684.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       685.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       686.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       687.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to toxic gas as a result of the degradation and off-gassing of the PE-PUR

foam. This material omission was misleading and deceptive standing alone and was particularly

deceptive in light of the fact that the Recalled Devices were sold as breathing assistance devices.

       688.    Philips’ conduct described herein constitutes the knowing and willful act, use or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in California, and was made by Philips

with knowledge of the serious health risks associated with use of the Recalled Devices and with

the intention that Plaintiffs would rely on such conduct in purchasing the Recalled Devices, making

it unlawful under Cal. Civ. Code § 1750, et seq.



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       689.    Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       690.    Philips’ conduct was fraudulent, deceptive, and unfair because the omissions

created a likelihood of confusion and misunderstanding and had the capacity or tendency to

deceive and, in fact, did deceive, ordinary consumers, including Plaintiffs. Ordinary consumers,

including Plaintiffs, would have found it material to their purchasing, leasing, and use decisions

that the PE-PUR foam in the Recalled Devices posed a risk of degradation and off-gassing that

would subject users to potential serious health consequences. Knowledge of those facts would

have been a substantial factor in Plaintiffs’ decision to purchase, lease, and/or use the Recalled

Devices.

       691.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.



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       692.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       693.    The actions and omissions of Philips are uncured or incurable.

       694.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       695.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       696.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       697.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       698.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects




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to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       699.    Absent Philips’ unfair, deceptive, fraudulent and/or unconscionable conduct,

Plaintiffs would have behaved differently and would not have purchased, leased, and/or used the

Recalled Devices. Philips’ omissions induced Plaintiffs to purchase, lease, and/or use the Recalled

Devices, which they would not otherwise have done. Plaintiffs acted as reasonable consumers

would have acted under the circumstances, and Philips’ unlawful conduct would cause reasonable

persons to purchase, lease, and/or use the Recalled Devices that resulted in the damages.

       700.    Accordingly, pursuant to Cal. Civ. Code § 1750, et seq., Plaintiffs are entitled to

recover their actual damages, which can be calculated with a reasonable degree of certainty using

sufficiently definitive and objective evidence. In addition, given the nature of Philips’ conduct,

Plaintiffs are entitled to recover all available statutory, exemplary, treble, and/or punitive damages,

costs of suit, and attorneys’ fees based on the amount of time reasonable expended and equitable

relief necessary, and all such other relief as the Court deems proper.

       701.    To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct. Philips



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has failed to remedy its unlawful conduct. Finally, notice was provided, and any additional notice

would be futile.

                                    COUNT XVI (5)
              VIOLATIONS OF CALIFORNIA UNFAIR COMPETITION LAW
                         Cal. Bus. & Prof. Code § 17200, et seq.

       702.      Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       703.      This claim is brought against the Philips Defendants.

       704.      Philips is on notice that such claims may be asserted by Plaintiffs.

       705.      The California Unfair Competition Law (“UCL”) prohibits any “unlawful, unfair,

or fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising.” By

engaging in business practices which are also unlawful, Philips have violated the UCL.

       706.      Philips are “persons” under the UCL.

       707.      Plaintiffs are “consumers” who purchased, leased, and/or used Recalled Devices

for personal and/or household purposes under the UCL.

       708.      Under the UCL, Philips is the supplier, manufacturer, advertiser, and seller of the

Recalled Devices, subject to liability under such legislation from fraudulent, unfair, deceptive, and

unconscionable consumer sales practices. Philips marketed and advertised the Recalled Devices

to consumers, physicians, and other healthcare entities in California. In addition, Philips, among

other things, sold the Recalled Devices in California, shipped Recalled Devices to California, and

otherwise engaged in trade or commerce, or conducted business, related to the Recalled Devices

in California.

       709.      At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and



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yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       710.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       711.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-



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PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       712.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       713.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       714.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       715.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to



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their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       716.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to reply on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       717.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       718.    The actions and omissions of Philips are uncured or incurable.

       719.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       720.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       721.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,



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misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

        722.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

        723.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

        724.    As set forth in detail throughout this Complaint, Philips’ conduct constituted

“unlawful” acts and practices which include RICO violations, breach of express warranty, breach

of implied warranties, violations of the Magnuson-Moss Federal Warranty Act, common law

fraud, negligent failure to recall or conducting a negligent recall, and violations of state (including

California’s) consumer protection statutes. In asserting this UCL claim, Plaintiffs incorporate by

reference the allegations for each of these other claims.

        725.    Plaintiffs conferred tangible and material economic benefits upon Philips by

purchasing, leasing, and/or using the Recalled Devices. Plaintiffs would not have purchased,

leased, and/or used the Recalled Devices had they known of the Defect and the associated serious

health risks.

        726.    Philips reaped unjust profits, revenue, and benefits by virtue of their UCL

violations.



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       727.    Accordingly, pursuant to Cal. Bus. & Prof. Code § 17200, et seq., Plaintiffs seek

restitutionary disgorgement of these unjust profits and revenues along with reasonable attorneys’

fees, as well as any other relief the Court may deem just or proper.

                                   COUNT XVI (6)
              VIOLATIONS OF CALIFORNIA FALSE ADVERTISING LAW
                        Cal. Bus. & Prof. Code § 17500, et seq.

       728.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       729.    This claim is brought against the Philips Defendants.

       730.    Philips is on notice that such claims may be asserted by Plaintiffs.

       731.    The California False Advertising Law (“FAL”) was created to protect consumers

from deceptive, misleading, and false advertising practices.

       732.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       733.    Philips marketed and advertised the Recalled Devices to consumers, physicians,

and other healthcare entities in California. In addition, Philips, among other things, sold the

Recalled Devices in California, shipped Recalled Devices to California, and otherwise engaged in

trade or commerce, or conducted business, related to the Recalled Devices in California.

       734.    As set forth more fully above, Philips marketed, advertised, and sold the Recalled

Devices as machines that would help users breathe by, among other things, pumping air into the

users’ lungs. As it was marketing, advertising, selling, and profiting from the Recalled Devices,

Philips knew that the Recalled Devices posed serious health risks to users—the FDA itself

concluded that Philips was aware of foam degradation issues and yet delayed doing anything to

rectify or mitigate the hazards. Indeed, beginning in at least 2008, and over time, Philips received



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hundreds of thousands of customer complaints regarding foam degradation in the Recalled Devices

and, years later, received data from a variety of sources confirming foam degradation. In light of

these customer complaints, Philips contacted its foam supplier in 2015 about the potential for

degradation of PE-PUR foam and in 2016 the supplier confirmed such risks. Philips itself

conducted testing in 2016, which determined that the PE-PUR foam was susceptible to degradation

and off-gassing. Despite its knowledge that the Recalled Devices posed serious health risks to

users, Philips continued manufacturing the Recalled Devices with PE-PUR foam, and at no point

prior to April 2021, when Philips first disclosed foam issues to its shareholders, did Philips even

hint that there was a dangerous condition in its Recalled Devices that could result in serious bodily

injury.

          735.   As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

          736.   Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically



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proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       737.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       738.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       739.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       740.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,




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such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

          741.   Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in California; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Cal. Bus. & Prof. Code § 17500,

et seq.

          742.   Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

          743.   Philips’   conduct   was   fraudulent,   deceptive,    and   unfair   because    the

misrepresentations and omissions created a likelihood of confusion and misunderstanding and had

the capacity or tendency to deceive and, in fact, did deceive reasonable consumers, including

Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to their

purchasing decisions that the PE-PUR foam in the Recalled Devices posed a risk of degradation



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and off-gassing that would subject users to potential serious health consequences. Knowledge of

those facts would have been a substantial factor in Plaintiffs’ decision to purchase, lease, and/or

use the Recalled Devices.

       744.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       745.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       746.    The actions and omissions of Philips are uncured or incurable.

       747.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       748.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       749.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects



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to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       750.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       751.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       752.    Accordingly, pursuant to Cal. Bus. & Prof. Code § 17500, et seq., Plaintiffs are

entitled to recover their actual damages, which can be calculated with a reasonable degree of

certainty using sufficiently definitive and objective evidence. In addition, given the nature of

Philips’ conduct, Plaintiffs are entitled to all available statutory, exemplary, treble, and/or punitive

damages and attorneys’ fees based on the amount of time reasonably expended and equitable relief

necessary or proper to protect them from Philips’ unlawful conduct.

                                COUNT XVI (7)
            VIOLATIONS OF COLORADO CONSUMER PROTECTION ACT
                            Colo. Rev. Stat. § 6-1-101, et seq.

       753.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       754.    This claim is brought against the Philips Defendants.

       755.    Philips is on notice that such claims may be asserted by Plaintiffs.




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       756.    The Colorado Consumer Protection Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       757.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       758.    Under the Colorado Consumer Protection Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in

Colorado. In addition, in Colorado, Philips sold the Recalled Devices, shipped Recalled Devices,

and otherwise engaged in trade or commerce, or conducted business, related to the Recalled

Devices.

       759.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues



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to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       760.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       761.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.



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        762.   Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

        763.   By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

        764.   Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        765.   The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        766.   Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Colorado; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Colo. Rev. Stat. § 6-1-101, et

seq.



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       767.    Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly or

recklessly misrepresenting that the Recalled Devices have characteristics, ingredients, uses, or

benefits, which they do not have; (b) misrepresenting that the Recalled Devices are of a particular

standard, quality, or grade, or that the goods are of a particular style or model when they are not;

(c) advertising goods or services with intent not to sell them as advertised; (d) failing to disclose

material information concerning goods or services which was known at the time of an

advertisement or sale and intended to induce a customer to enter into a transaction; and (e)

knowingly or recklessly engaging in other unfair, unconscionable, deceptive, deliberately

misleading, false, or fraudulent acts or practices.

       768.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       769.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.



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       770.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       771.    The actions and omissions of Philips are uncured or incurable.

       772.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       773.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       774.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       775.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       776.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects




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to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       777.    Accordingly, pursuant to Colo. Rev. Stat. § 6-1-101, et seq., Plaintiffs are entitled

to recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                 COUNT XVI (8)
                VIOLATIONS OF DELAWARE CONSUMER FRAUD ACT
                         Del. Code Ann. tit. 6, § 2511, et seq.

       778.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       779.    This claim is brought against the Philips Defendants.

       780.    Philips is on notice that such claims may be asserted by Plaintiffs.

       781.    The Delaware Consumer Fraud Act prohibits “[t]he act, use, or employment by any

person of any deception, fraud, false pretense, false promise, misrepresentation, unfair practice, or

the concealment, suppression, or omission of any material fact with intent that others rely upon

such concealment, suppression, or omission, in connection with the sale, lease, receipt, or

advertisement of any merchandise, whether or not any person has in fact been misled, deceived,

or damaged thereby, is an unlawful practice.” Del. Code Ann. tit. 6, § 2513(a).

       782.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       783.    Under the Delaware Consumer Fraud Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from



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fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in

Delaware. In addition, in Delaware, Philips sold the Recalled Devices, shipped Recalled Devices,

and otherwise engaged in trade or commerce, or conducted business, related to the Recalled

Devices.

       784.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       785.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips



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intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       786.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       787.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       788.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and



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other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

        789.   Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        790.   The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        791.   Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Delaware; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Del. Code Ann. tit. 6, § 2511, et

seq.

        792.   Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.



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       793.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       794.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       795.    The actions and omissions of Philips are uncured or incurable.

       796.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       797.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       798.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.



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       799.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       800.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       801.    Accordingly, pursuant to Del. Code Ann. tit. 6, § 2511, et seq., Plaintiffs are entitled

to recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                   COUNT XVI (9)
                       VIOLATIONS OF DISTRICT OF COLUMBIA
                      CONSUMER PROTECTION PROCEDURES ACT
                            D.C. Code Ann. § 28-3901, et seq.

       802.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       803.    This claim is brought against the Philips Defendants.

       804.    Philips is on notice that such claims may be asserted by Plaintiffs.

       805.    The District of Columbia Consumer Protection Procedures Act was created to

protect consumers from deceptive, unconscionable, deliberately misleading, false, fraudulent,

and/or unfair business practices.

       806.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

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       807.    Under the District of Columbia Consumer Protection Procedures Act, Philips is the

supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under

such legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in the District of Columbia. In addition, in the District of Columbia, Philips sold

the Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or

conducted business, related to the Recalled Devices.

       808.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       809.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in



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that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       810.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       811.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.



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       812.     By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       813.     Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       814.     The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       815.     Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in the District of Columbia; and was

made with the intention that Plaintiffs would rely upon such conduct in purchasing the Recalled

Devices, significantly impacting consumers and making it unlawful under D.C. Code Ann. § 28-

3901, et seq.

       816.     Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or



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services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       817.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       818.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       819.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       820.    The actions and omissions of Philips are uncured or incurable.



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       821.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       822.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       823.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       824.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       825.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       826.    Accordingly, pursuant to D.C. Code Ann. § 28-3901, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.



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                                   COUNT XVI (10)
              VIOLATIONS OF FLORIDA FALSE ADVERTISING STATUTE
                        Fla. Stat. Ann. § 817.06, 817.41, et seq.

       827.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       828.    This claim is brought against the Philips Defendants.

       829.    Philips is on notice that such claims may be asserted by Plaintiffs.

       830.    The Florida False Advertising statute was created to protect consumers from

deceptive and unfair advertising practices.

       831.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       832.    Under the Florida False Advertising Statute, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

deceptive and unfair advertising practices. Philips marketed and advertised the Recalled Devices

to consumers, physicians, and other healthcare entities in Florida. In addition, in Florida, Philips

sold the Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or

commerce, or conducted business, related to the Recalled Devices.

       833.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier



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confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       834.    As set forth more fully above, Philips marketed, advertised, and sold the Recalled

Devices as machines that would help users breathe by, among other things, pumping air into users’

lungs. While selling and profiting from the Recalled Devices, Philips knew that they were

defective in that they posed serious health risks to users who would potentially be inhaling toxic

fumes as they used the machines due to the degradation and off-gassing of the PE-PUR foam.

Philips intentionally concealed this material information from consumers, users, prescribers, and

other healthcare providers, including Plaintiffs and their physicians, because to do otherwise would

have resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       835.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint



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that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       836.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       837.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       838.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       839.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       840.    Philips’ conduct described herein constitutes use or employment of deception, false

promise, misrepresentation, unfair practices, and the concealment, suppression, and omission of

material facts in connection with the advertisement of merchandise, the Recalled Devices, in trade



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or commerce in Florida and was made with the intention that Plaintiffs rely on such advertisements

in purchasing the Recalled Devices, making it unlawful under Fla. Stat. Ann. § 817.06 and §

817.41, et seq.

       841.       Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       842.       Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       843.       As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       844.       The actions and omissions of Philips are uncured or incurable.

       845.       Philips was put on notice of these issues by the investigation of the FDA, numerous



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complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       846.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       847.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       848.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       849.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       850.    Accordingly, Fla. Stat. Ann. § 817.06 and § 817.41, et seq., Plaintiffs are entitled

to recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.




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                                   COUNT XVI (11)
                VIOLATIONS OF GEORGIA FAIR BUSINESS PRACTICES ACT
                             Ga. Code Ann. § 10-1-390, et seq.

         851.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

         852.    This claim is brought against the Philips Defendants.

         853.    Philips is on notice that such claims may be asserted by Plaintiffs.

         854.    The Georgia Fair Business Practices Act (“GFBPA”) was created to protect

consumers from deceptive and unfair business practices in the conduct of any trade or commerce.

         855.    Plaintiffs are consumers within the meaning of the GFBPA who purchased, leased,

or used Recalled Devices for personal and/or household purposes.

         856.    The GFBPA declares unlawful “[u]nfair or deceptive acts or practices in the

conduct of consumer transactions and consumer acts in trade or commerce” including but not

limited to “[r]epresenting that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities that they do not have,” “[r]epresenting that goods or

services are of a particular standard, quality, or grade . . . if they are of another” and “[a]dvertising

goods or services with intent not to sell them as advertised.” Ga. Code Ann. §§ 10-1-393(b)(5), (7)

& (9).

         857.    Under the GFBPA, Philips is the supplier, manufacturer, advertiser, and seller of

the Recalled Devices, subject to liability under such legislation from fraudulent, unfair, deceptive,

and unconscionable consumer sales practices. Philips marketed and advertised the Recalled

Devices to consumers, physicians, and other healthcare entities in Georgia. In addition, in Georgia,

Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or

commerce, or conducted business, related to the Recalled Devices.



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       858.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       859.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.




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       860.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       861.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       862.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.




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       863.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       864.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       865.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Georgia; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful Ga. Code Ann. § 10-1-390, et seq.

       866.    Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.




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       867.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       868.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to reply on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       869.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       870.    The actions and omissions of Philips are uncured or incurable.

       871.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       872.    Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       873.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       874.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       875.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       876.    Accordingly, pursuant Ga. Code. Ann. § 10-1-390, et seq., Plaintiffs are entitled to

recover their actual damages, which can be calculated with a reasonable degree of certainty using

sufficiently definitive and objective evidence. In addition, given the nature of Philips’ conduct,

Plaintiffs are entitled to injunctive relief and all available statutory, exemplary, treble, and/or

punitive damages, costs of suit, and attorneys’ fees based on the amount of time reasonable

expended and equitable relief necessary, and all such other relief as the Court deems proper

       877.    Philips does not maintain and place of business or keep assets within the state of

Georgia, and for that reason, there is no obligation to provide pre-suit notice under the Georgia

Fair Business Practices Act in this case. Ga. Code Ann. § 10-1-399(b).



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       878.    In any event, even if pre-suit notice were required, Plaintiffs have complied or

substantially complied with all applicable notice requirements or are otherwise excused from

compliance for this proceeding. Philips had notice of its violations for years. In addition, at a

minimum, on September 8, 2021, and on May 16, 2022, numerous Plaintiffs involved in this multi-

district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips by Plaintiffs before this

MDL was formed. These letters put Philips on notice of demands of Plaintiffs and Philips’

responses made clear that Philips refused to acknowledge and cure the violations in a manner that

would compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct.

Philips has failed to remedy its unlawful conduct. Notice was provided, and any additional notice

would be futile.

                                 COUNT XVI (12)
               VIOLATIONS OF IDAHO CONSUMER PROTECTION ACT
                          Idaho Code Ann. § 48-601, et seq.

       879.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       880.    This claim is brought against the Philips Defendants.

       881.    Philips is on notice that such claims may be asserted by Plaintiffs.

       882.    The Idaho Consumer Protection Act was created to protect consumers from unfair

methods of competition and unfair and deceptive acts or practices.

       883.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       884.    Under the Idaho Consumer Protection Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from



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fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Idaho.

In addition, in Idaho, Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise

engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       885.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       886.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other



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healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       887.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       888.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       889.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and




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other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

        890.   Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        891.   The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        892.   Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Idaho; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Idaho Code § 48-601, et seq.

        893.   Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, and misleading business practices: (a) misrepresenting that the Recalled

Devices have characteristics, ingredients, uses, or benefits, which they do not have; (b)

misrepresenting that the Recalled Devices are of a particular standard, quality, or grade, or that

goods are of a particular style or model, when they are not; (c) engaging in any act or practice that

is otherwise misleading, false, or deceptive to the consumer; and (d) engaging in any

unconscionable method, act or practice in the conduct of trade or commerce. See Idaho Code § 48-

603.



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       894.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       895.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       896.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       897.    The actions and omissions of Philips are uncured or incurable.

       898.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       899.    Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       900.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       901.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       902.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       903.    Accordingly, pursuant to Idaho Code § 48-601, et seq., Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                    COUNT XVI (13)
                     VIOLATIONS OF ILLINOIS CONSUMER FRAUD
                      AND DECEPTIVE BUSINESS PRACTICES ACT
                            Ill. Comp. Stat. Ann. 505/1, et seq.

       904.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

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       905.    This claim is brought against the Philips Defendants.

       906.    Philips is on notice that such claims may be asserted by Plaintiffs.

       907.    The Illinois Consumer Fraud and Deceptive Business Practices Act was created to

protect consumers from deceptive, unconscionable, deliberately misleading, false, fraudulent,

and/or unfair business practices.

       908.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       909.    Under the Illinois Consumer Fraud and Deceptive Business Practices Act, Philips

is the supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to liability

under such legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales

practices. Philips marketed and advertised the Recalled Devices to consumers, physicians, and

other healthcare entities in Illinois. In addition, in Illinois, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       910.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled



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Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       911.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       912.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone



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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       913.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       914.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       915.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       916.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       917.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Illinois; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,



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significantly impacting consumers and making it unlawful under Ill. Comp. Stat. Ann. 505/1, et

seq.

        918.   Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

        919.   Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

        920.   Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips




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intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       921.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       922.    The actions and omissions of Philips are uncured or incurable.

       923.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       924.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       925.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       926.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.




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       927.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       928.    Accordingly, pursuant to Ill. Comp. Stat. Ann. 505/1, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                COUNT XVI (14)
           VIOLATIONS OF INDIANA DECEPTIVE CONSUMER SALES ACT
                        Ind. Code Ann. § 24-5-0.5-1, et seq.

       929.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       930.    This claim is brought against the Philips Defendants.

       931.    Philips is on notice that such claims may be asserted by Plaintiffs.

       932.    The Indiana Deceptive Consumer Sales Act (“IDCSA”) was created to protect

consumers from deceptive and unfair business practices.

       933.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       934.    Under the IDCSA, Philips is the supplier, manufacturer, advertiser, and seller of

the Recalled Devices, subject to liability under such legislation from fraudulent, unfair, deceptive,

and unconscionable consumer sales practices. Philips marketed and advertised the Recalled

Devices to consumers, physicians, and other healthcare entities in Indiana. In addition, in Indiana,



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Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or

commerce, or conducted business, related to the Recalled Devices.

       935.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       936.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have




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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       937.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       938.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       939.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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       940.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       941.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       942.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Indiana; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Ind. Code § 24-5-0.5-1, et seq.

       943.    Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly

representing that property or services have sponsorship, approval, accessories, characteristics,

ingredients, uses, benefits or quantities that they do not have; (b) knowingly representing that

property or services are of particular standard, quality, grade, style or model, if they of another

which differs materially from the representation; (c) knowingly representing that property or

services has uses, benefits or characteristics unless the supplier relied upon and possesses a

reasonable basis for making such representation; (d) knowingly representing that use, benefit or

characteristic of property or services has been proven or otherwise substantiated unless the supplier

relied upon and possesses the type and amount of proof or substantiation represented to exist; (e)



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the willful use, in any oral or written representation, of exaggeration, falsehood, innuendo or

ambiguity as to a material fact; and (f) the willful failure to state a material fact, or the willful

concealment, suppression, or omission of a material fact. Ind. Code § 24-5-0.5-3.

       944.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       945.    Philips owed Plaintiffs, among others, a duty to disclose these facts because they

were known and/or accessible exclusively to Philips (along with PolyTech and potentially other

parties who are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the

facts would be material to reasonable consumers; because Philips actively concealed them;

because Philips intended for consumers to rely on the omissions in question; and because the

Recalled Devices pose an unreasonable risk of substantial bodily injury.

       946.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       947.    The actions and omissions of Philips are uncured or incurable.

       948.    Philips was put on notice of these issues by the investigation of the FDA, numerous



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complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       949.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       950.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       951.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       952.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       953.    Accordingly, pursuant to Ind. Code § 24-5-0.5-1, et seq., Plaintiffs are entitled to

recover their actual damages, which can be calculated with a reasonable degree of certainty using

sufficiently definitive and objective evidence. In addition, given the nature of Philips’ conduct,

Plaintiffs are entitled to all available statutory, exemplary, treble, and/or punitive damages and

attorneys’ fees based on the amount of time reasonably expended and equitable relief necessary or

proper to protect them from Philips’ unlawful conduct.



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       954.    Philips’ conduct is “incurable” as defined by the IDCSA because it was done as

part of a scheme with the intent to defraud, mislead, and engage in unfair business practices.

       955.    Because Philips’ conduct is “incurable” as defined by the IDCSA, no pre-suit notice

was required. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ conduct. Philips

has failed to remedy its unlawful misconduct. In addition, any obligation to provide pre-suit should

be excused because Philips does not maintain a place of business or does not keep assets within

the state of Indiana. Finally, notice was provided, and any additional notice would have been futile.

                                COUNT XVI (15)
              VIOLATIONS OF KANSAS CONSUMER PROTECTION ACT
                          Kan. Stat. Ann. § 50-623, et seq.

       956.    Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       957.    This claim is brought against the Philips Defendants.

       958.    Philips is on notice that such claims may be asserted by Plaintiffs.

       959.    The Kansas Consumer Protection Act was created to protect consumers from

deceptive and unfair business practices.



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       960.    Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       961.    Under the Kansas Consumer Protection Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Kansas.

In addition, in Kansas, Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise

engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       962.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       963.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.



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While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       964.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       965.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,




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promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       966.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       967.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       968.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       969.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Kansas; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Kan. Stat. § 50-623.

       970.    Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly

representing that property or services have sponsorship, approval, accessories, characteristics,

ingredients, uses, benefits or quantities that they do not have; (b) knowingly representing that



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property or services are of particular standard, quality, grade, style or model, if they of another

which differs materially from the representation; (c) knowingly representing that property or

services has uses, benefits or characteristics unless the supplier relied upon and possesses a

reasonable basis for making such representation; (d) knowingly representing that use, benefit or

characteristic of property or services has been proven or otherwise substantiated unless the supplier

relied upon and possesses the type and amount of proof or substantiation represented to exist; (e)

the willful use, in any oral or written representation, of exaggeration, falsehood, innuendo or

ambiguity as to a material fact; and (f) the willful failure to state a material fact, or the willful

concealment, suppression, or omission of a material fact. Kan. Stat. § 50-626.

       971.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       972.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.




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       973.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       974.    The actions and omissions of Philips are uncured or incurable.

       975.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       976.    Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       977.    Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       978.    As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       979.    In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects




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to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       980.     Accordingly, pursuant to Kan. Stat. § 50-623, Plaintiffs are entitled to recover their

actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are entitled to recover

all available statutory, exemplary, treble, and/or punitive damages, costs of suit, and attorneys’

fees based on the amount of time reasonable expended and equitable relief necessary, and all such

other relief as the Court deems proper.

                                   COUNT XVI (16)
              VIOLATIONS OF KENTUCKY CONSUMER PROTECTION ACT
                          Ky. Rev. Stat. Ann. § 367.110, et seq.

       981.     Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       982.     This claim is brought against the Philips Defendants.

       983.     Philips is on notice that such claims may be asserted by Plaintiffs.

       984.     The Kentucky Consumer Protection Act provides that “[u]nfair, false, misleading,

or deceptive acts or practices in the conduct of any trade or commerce are hereby declared

unlawful.” Ky. Rev. Stat. § 367.170.

       985.     Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       986.     Under the Kentucky Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Kentucky. In addition, in Kentucky, Philips sold the Recalled Devices,



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shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       987.    At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       988.    As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have




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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       989.    Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       990.    Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       991.    By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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       992.    Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       993.    The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       994.    Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Kentucky; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Ky. Rev. Stat. § 367.110, et seq.

       995.    Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       996.    Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would



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be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       997.    As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       998.    The actions and omissions of Philips are uncured or incurable.

       999.    Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1000. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1001. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1002. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.



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       1003. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Kentucky Plaintiffs may suffer additional serious and debilitating

illnesses or injuries, including various cancers, in the future as a result of exposure to the Foam

Toxins.

       1004. Accordingly, pursuant to Ky. Rev. Stat. § 367.110, et seq., Plaintiffs are entitled to

recover their actual damages, which can be calculated with a reasonable degree of certainty using

sufficiently definitive and objective evidence. In addition, given the nature of Philips’ conduct,

Plaintiffs are entitled to recover all available statutory, exemplary, treble, and/or punitive damages,

costs of suit, and attorneys’ fees based on the amount of time reasonable expended and equitable

relief necessary, and all such other relief as the Court deems proper.

                                COUNT XVI (17)
             VIOLATIONS OF MARYLAND CONSUMER PROTECTION ACT
                      Md. Code Ann., Com. Law § 13-101, et seq.

       1005. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1006. This claim is brought against the Philips Defendants.

       1007. Philips is on notice that such claims may be asserted by Plaintiffs.

       1008. The Maryland Consumer Protection Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1009. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.




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       1010. Under the Maryland Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Maryland. In addition, in Maryland, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1011. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1012. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in



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that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1013. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1014. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.



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       1015. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1016. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1017. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1018. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Maryland; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Md. Code Ann., Com. Law § 13-

101, et seq.

       1019. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or



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services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       1020. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1021. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1022. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1023. The actions and omissions of Philips are uncured or incurable.



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       1024. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1025. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1026. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1027. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1028. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1029. Accordingly, pursuant to Md. Code Ann., Com. Law § 13-101, et seq., Plaintiffs

are entitled to recover their actual damages. In addition, given the nature of Philips’ conduct,

Plaintiffs are entitled to recover all available statutory, exemplary, treble, and/or punitive damages,

costs of suit, and attorneys’ fees based on the amount of time reasonable expended and equitable

relief necessary, and all such other relief as the Court deems proper.



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       1030. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed and months before the filing of any Consolidated Class Action Complaint for claims by

plaintiffs whose claims have been consolidated in this MDL. These letters put Philips on notice of

the demands of the Plaintiffs, and Philips’ responses made clear that Philips refused to

acknowledge and cure the violations in a manner that would compensate Plaintiffs for all the losses

they have suffered as a result of Philips’ misconduct. Philips has failed to remedy its unlawful

conduct. In addition, Plaintiffs are not required to provide pre-suit notice because Philips does not

maintain a place of business or does not keep assets within the State of Maryland. Finally, notice

was provided, and any additional notice would be futile.

                                   COUNT XVI (18)
                  VIOLATIONS OF MASSACHUSETTS REGULATIONS
                     OF BUSINESS PRACTICES FOR CONSUMERS
                       Mass. Gen. Laws Ann. Ch. 93A § 1-11, et seq.

       1031. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1032. This claim is brought against the Philips Defendants.

       1033. Philips is on notice that such claims may be asserted by Plaintiffs.

       1034. The Massachusetts Regulation of Business Practices for Consumers Act was

created to protect consumers from unfair and/or deceptive trade practices.




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       1035. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1036. Under the Massachusetts Regulation of Business Practices for Consumers Act,

Philips is the supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to

liability under such legislation from fraudulent, unfair, deceptive, and unconscionable consumer

sales practices. Philips marketed and advertised the Recalled Devices to consumers, physicians,

and other healthcare entities in Massachusetts. In addition, in Massachusetts, Philips sold the

Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or

conducted business, related to the Recalled Devices.

       1037. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.




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       1038. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1039. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1040. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among



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other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

          1041. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

          1042. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

          1043. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

          1044. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Massachusetts; and was made with

the intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Mass. Gen. L. Ch. 93A § 1-11,

et seq.

          1045. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a



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false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       1046. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1047. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Massachusetts Plaintiffs) who had exclusive and superior knowledge of the facts; because

the facts would be material to reasonable consumers; because Philips actively concealed them;

because Philips intended for consumers to reply on the omissions in question; and because the

Recalled Devices pose an unreasonable risk of substantial bodily injury.

       1048. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable



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consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1049. The actions and omissions of Philips are uncured or incurable.

       1050. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1051. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1052. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1053. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1054. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1055. Accordingly, pursuant to Mass. Gen. Laws Ch. 93A § 1-11, et seq., Plaintiffs are

entitled to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs



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are entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of

suit, and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

       1056. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct. Philips

has failed to remedy its unlawful conduct. Finally, notice was provided, and any additional notice

would be futile.

                               COUNT XVI (19)
            VIOLATIONS OF MICHIGAN CONSUMER PROTECTION ACT
                     Mich. Comp. Laws Ann. § 445.901, et seq.

       1057. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1058. This claim is brought against the Philips Defendants.

       1059. Philips is on notice that such claims may be asserted by Plaintiffs.

       1060. The Michigan Consumer Protection Act was created to protect consumers from

unfair, unconscionable, or deceptive methods, acts, or practices in the conduct of trade or

commerce.



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       1061. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1062. Under the Michigan Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Michigan. In addition, in Michigan, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1063. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.




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       1064. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1065. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1066. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among



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other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1067. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1068. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1069. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1070. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Michigan; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Mich. Comp. Law Ann. §

445.901, et seq.

       1071. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) causing a probability



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of confusion or misunderstanding as to the source, sponsorship, approval, or certification of goods

or services; (b) representing that goods or services have sponsorship, approval, characteristics,

ingredients, uses, benefits, or quantities that they do not have or that a person has sponsorship,

approval, status, affiliation, or connection that he or she does not have; (c) representing that goods

or services are of a particular standard, quality, or grade; (d) advertising or representing goods or

services with intent not to dispose of those goods or services as advertised or represented; (e)

failing to reveal a material fact, the omission of which tends to mislead or deceive the consumer,

and which fact could not reasonably be known by the consumer; (f) making a representation of

fact or statement of fact material to the transaction such that a person reasonably believes the

represented or suggested state of affairs to be other than it actually is; and (g) failing to reveal facts

that are material to the transaction in light of representations of fact made in a positive manner.

        1072. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

        1073. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips




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intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1074. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1075. The actions and omissions of Philips are uncured or incurable.

       1076. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1077. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1078. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1079. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.




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       1080. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1081. Accordingly, pursuant to Mich. Comp. Laws Ann. § 445.901, et seq., Plaintiffs are

entitled to recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs

are entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of

suit, and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                 COUNT XVI (20)
                            VIOLATIONS OF MINNESOTA
                     FALSE STATEMENT IN ADVERTISEMENT ACT
                                Minn. Stat. § 325F.67

       1082. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1083. This claim is brought against the Philips Defendants.

       1084. Philips is on notice that such claims may be asserted by Plaintiffs.

       1085. The Minnesota False Statement in Advertisement Act prohibits “advertisement[s]

[that] contain[] any material assertion, representation, or statement of fact which is untrue,

deceptive, or misleading.” Minn. Stat. § 325F.67.

       1086. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1087. Under the Minnesota False Statement in Advertisement Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

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Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Minnesota. In addition, in Minnesota, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1088. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1089. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other



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healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1090. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1091. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1092. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and




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other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1093. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1094. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1095. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Minnesota; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Minn. Stat. § 325F.67, et seq.

       1096. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.




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       1097. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1098. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1099. The actions and omissions of Philips are uncured or incurable.

       1100. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1101. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1102. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.



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       1103. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1104. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1105. Accordingly, pursuant to Minn. Stat. § 8.31 subd. 3a, Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                               COUNT XVI (21)
     VIOLATIONS OF MINNESOTA PREVENTION OF CONSUMER FRAUD ACT
                     Minn. Stat. §§ 325F.68-325F.69, et seq.

       1106. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1107. This claim is brought against the Philips Defendants.

       1108. Philips is on notice that such claims may be asserted by Plaintiffs.

       1109. The Minnesota Prevention of Consumer Fraud Act prohibited (at the time this suit

was brought) “[t]he act, use, or employment by any person of any fraud, false pretense, false

promise, misrepresentation, misleading statement or deceptive practice, with the intent that others

rely thereon in connection with the sale of any merchandise, whether or not any person has in fact

been misled, deceived, or damaged thereby.” Minn. Stat. § 325F.69 subd. 1.



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       1110. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1111. Under the Minnesota Prevention of Consumer Fraud Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Minnesota. In addition, in Minnesota, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1112. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.




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       1113. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1114. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1115. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among



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other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1116. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1117. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1118. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1119. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Minnesota; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Minn. Stat. § 325F.69.

       1120. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to



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their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1121. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1122. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1123. The actions and omissions of Philips are uncured or incurable.

       1124. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1125. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1126. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,



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misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1127. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1128. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1129. Accordingly, pursuant to Minn. Stat. § 8.31 subd. 3A and Minn. Stat. § 325F.70

subd. 3, Plaintiffs are entitled to recover their actual damages, which can be calculated with a

reasonable degree of certainty using sufficiently definitive and objective evidence. In addition,

given the nature of Philips’ conduct, Plaintiffs are entitled to recover all available statutory,

exemplary, treble, and/or punitive damages, costs of suit, and attorneys’ fees based on the amount

of time reasonable expended and equitable relief necessary, and all such other relief as the Court

deems proper.

                                COUNT XVI (22)
            VIOLATIONS OF MISSISSIPPI CONSUMER PROTECTION ACT
                         Miss. Code Ann. § 75-24-1, et seq.

       1130. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1131. This claim is brought against the Philips Defendants.



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       1132. Philips is on notice that such claims may be asserted by Plaintiffs.

       1133. The Mississippi Consumer Protection Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1134. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1135. Under the Mississippi Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Mississippi. In addition, in Mississippi, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1136. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices



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with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1137. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1138. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone




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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1139. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1140. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1141. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1142. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1143. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Mississippi; and was made with the




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intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Miss. Code § 75-24-1, et seq.

       1144. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       1145. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1146. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips




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intended for consumers to reply on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1147. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1148. The actions and omissions of Philips are uncured or incurable.

       1149. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1150. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1151. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1152. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.




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       1153. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1154. Accordingly, pursuant to Miss. Code § 75-24-1, et seq., Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

       1155. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements and invited Philips to engage in the alternative dispute resolution process

with the Mississippi Attorney General. Additional notice letters were served on Philips before this

MDL was formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’

responses made clear that Philips refused to acknowledge and cure the violations in a manner that

would compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct.

Philips has failed to remedy its unlawful conduct. Finally, notice was provided, and any additional

notice would be futile.




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                                 COUNT XVI (23)
             VIOLATIONS OF MISSOURI MERCHANDISING PRACTICES ACT
                            Mo. Rev. Stat. § 407.010, et seq.

       1156. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1157. This claim is brought against the Philips Defendants.

       1158. Philips is on notice that such claims may be asserted by Plaintiffs.

       1159. The Missouri Merchandising Practices Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1160. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1161. Under the Missouri Merchandising Practices Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Missouri. In addition, in Missouri, Philips sold the Recalled Devices, shipped

Recalled Devices, and otherwise engaged in trade or commerce, or conducted business, related to

the Recalled Devices.

       1162. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources



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confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1163. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1164. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their



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Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1165. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1166. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1167. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1168. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.




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       1169. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Missouri; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Mo. Rev. Stat § 407.010, et seq.

       1170. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       1171. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.




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       1172. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1173. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1174. The actions and omissions of Philips are uncured or incurable.

       1175. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1176. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1177. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.



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       1178. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1179. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1180. Accordingly, pursuant to Mo. Rev. Stat. § 407.010, et seq., Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

       1181. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding.

                                 COUNT XVI (24)
                       VIOLATIONS OF MONTANA UNFAIR
               TRADE PRACTICES AND CONSUMER PROTECTION ACT
                         Mont. Code Ann. § 30-14-101, et seq.

       1182. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1183. This claim is brought against the Philips Defendants.

       1184. Philips is on notice that such claims may be asserted by Plaintiffs.

       1185. The Montana Unfair Trade Practices and Consumer Protection Act was created to

protect consumers from deceptive and unfair business practices.

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       1186. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1187. Under the Montana Unfair Trade Practices and Consumer Protection Act, Philips

is the supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to liability

under such legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales

practices. Philips marketed and advertised the Recalled Devices to consumers, physicians, and

other healthcare entities in Montana. In addition, in Montana, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1188. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.




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       1189. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1190. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1191. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among



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other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1192. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1193. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1194. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1195. Philips’ conduct constitutes the act, use or employment of deception, false promise,

misrepresentation, unfair practices, and the concealment, suppression, and omission of material

facts in connection with the advertisement and sale of merchandise, the Recalled Devices, in trade

or commerce in Montana, making it unlawful under Mont. Code § 30-14-101, et seq.

       1196. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, and unfair business practices: (a) misrepresenting that the Recalled Devices

have characteristics, ingredients, uses, or benefits, which they do not have; and (b) misrepresenting

that the Recalled Devices are of a particular standard, quality, or grade, or that goods are of a

particular style or model, when they are not.



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       1197. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1198. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1199. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1200. The actions and omissions of Philips are uncured or incurable.

       1201. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1202. Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       1203. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1204. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1205. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1206. Accordingly, pursuant to Mont. Code § 30-14-101, et seq., Plaintiffs are entitled to

recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are entitled

to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit, and

attorneys’ fees based on the amount of time reasonable expended and equitable relief necessary,

and all such other relief as the Court deems proper.

                               COUNT XVI (25)
          VIOLATIONS OF NEVADA DECEPTIVE TRADE PRACTICES ACT
                        Nev. Rev. Stat. § 598.0915, et seq.

       1207. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:



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       1208. This claim is brought against the Philips Defendants.

       1209. Philips is on notice that such claims may be asserted by Plaintiffs.

       1210. The Nevada Deceptive Trade Practices Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1211. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1212. Under the Nevada Deceptive Trade Practices Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Nevada. In addition, in Nevada, Philips sold the Recalled Devices, shipped

Recalled Devices, and otherwise engaged in trade or commerce, or conducted business, related to

the Recalled Devices.

       1213. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled



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Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1214. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1215. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone



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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1216. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1217. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1218. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1219. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1220. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Nevada; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,



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significantly impacting consumers and making it unlawful under Nev. Rev. Stat. § 598.0915, et

seq.

        1221. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly that the

Recalled Devices have characteristics, ingredients, uses, or benefits, which they do not have; (b)

misrepresenting that the Recalled Devices are of a particular standard, quality, or grade, or that the

goods are of a particular style or model when they are not; (c) advertising goods or services with

intent not to sell them as advertised; (d) knowingly making false representations in a transaction.

        1222. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

        1223. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

        1224. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and



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reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1225. The actions and omissions of Philips are uncured or incurable.

       1226. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1227. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1228. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1229. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1230. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.




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       1231. Accordingly, pursuant to Nev. Rev. Stat. § 598-0901, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                      COUNT XVI (26)
                            VIOLATIONS OF NEW HAMPSHIRE
                              CONSUMER PROTECTION ACT
                             N.H. Rev. Stat. Ann. § 358-A:1, et seq.

       1232. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1233. This claim is brought against the Philips Defendants.

       1234. Philips is on notice that such claims may be asserted by Plaintiffs.

       1235. The New Hampshire Consumer Protection Act was created to protect consumers

from deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1236. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1237. Under the New Hampshire Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in New Hampshire. In addition, in New Hampshire, Philips sold the Recalled

Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

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       1238. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1239. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.




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       1240. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1241. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1242. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.




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          1243. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

          1244. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

          1245. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in New Hampshire; and was made with

the intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under N.H. Rev. Stat. Ann. § 358-A:1,

et seq.

          1246. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.



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       1247. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1248. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1249. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1250. The actions and omissions of Philips are uncured or incurable.

       1251. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1252. Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       1253. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1254. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1255. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1256. Accordingly, pursuant to N.H. Rev. Stat. Ann. § 358-A:1, et seq., Plaintiffs are

entitled to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs

are entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of

suit, and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                 COUNT XVI (27)
               VIOLATIONS OF NEW JERSEY CONSUMER FRAUD ACT
                           N.J. Stat. Ann. § 56:8-1, et seq.

       1257. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:



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       1258. This claim is brought against the Philips Defendants.

       1259. Philips is on notice that such claims may be asserted by Plaintiffs.

       1260. The New Jersey Consumer Fraud Act was created to protect consumers from

deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices. Specifically the statute provides that “[t]he act, use or employment by any person of

any commercial practice that is unconscionable or abusive, deception, fraud, false pretense, false

promise, misrepresentation, or the knowing, concealment, suppression, or omission of any material

fact with intent that others rely upon such concealment, suppression or omission, in connection

with the sale or advertisement of any merchandise or real estate, or with the subsequent

performance of such person as aforesaid, whether or not any person has in fact been misled,

deceived or damaged thereby, is declared to be an unlawful practice . . . .” N.J. Stat. Ann. 56:8-2.

       1261. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1262. Under the New Jersey Consumer Fraud Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in New

Jersey. In addition, in New Jersey, Philips sold the Recalled Devices, shipped Recalled Devices,

and otherwise engaged in trade or commerce, or conducted business, related to the Recalled

Devices.

       1263. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,



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and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1264. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1265. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically



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proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1266. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1267. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1268. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1269. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,




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such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1270. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in New Jersey was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under N.J. Stat. Ann. 56:8-2.

       1271. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1272. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1273. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and



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reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1274. The actions and omissions of Philips are uncured or incurable.

       1275. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1276. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1277. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1278. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1279. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.




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       1280. Accordingly, pursuant to N.J. Stat. Ann. § 56:8-1, et seq., Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                               COUNT XVI (28)
                         VIOLATIONS OF NEW YORK
              CONSUMER LAW FOR DECEPTIVE ACTS AND PRACTICES
                         N.Y. Gen. Bus. Law § 349, et seq.

       1281. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1282. This claim is brought against the Philips Defendants.

       1283. Philips is on notice that such claims may be asserted by Plaintiffs.

       1284. N.Y. Gen. Bus. Law § 349 was created to protect consumers from deceptive,

unconscionable, and/or unfair business practices.

       1285. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1286. Under N.Y. Gen. Bus. Law § 349, Philips is the supplier, manufacturer, advertiser,

and seller of the Recalled Devices, subject to liability under such legislation from fraudulent,

unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and advertised

the Recalled Devices to consumers, physicians, and other healthcare entities in New York. In

addition, in New York, Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise

engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       1287. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

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yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1288. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1289. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-



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PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1290. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1291. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1292. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1293. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,



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such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1294. Philips unfairly engaged in deceptive, unconscionable, unlawful, unfair, false,

fraudulent and misleading commercial practices, including misleading omissions of material fact,

in connection with the marketing, promotion and sale of the Recalled Devices, misrepresenting

their safety and failing to disclose the dangers caused by the PE-PUR foam degradation and off-

gassing, in violation of N.Y. Gen. Bus. Law § 349.

       1295. Philips’ conduct constituted, among other things, the following prohibited

deceptive, misleading, and/or false advertising practices: (a) misrepresenting that the Recalled

Devices have characteristics, ingredients, uses, or benefits, which they do not have; (b)

misrepresenting that the Recalled Devices are of a particular standard, quality, or grade, or that

goods are of a particular style or model, when they are not; and (c) engaging in fraudulent and

deceptive conduct that creates a likelihood of confusion and misunderstanding.

       1296. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1297. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would



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be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1298. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1299. The actions and omissions of Philips are uncured or incurable.

       1300. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1301. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1302. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1303. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.



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       1304. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1305. Accordingly, pursuant to N.Y. Gen. Bus. Law § 349, Plaintiffs are entitled to

recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are entitled

to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit, and

attorneys’ fees based on the amount of time reasonable expended and equitable relief necessary,

and all such other relief as the Court deems proper.

                              COUNT XVI (29)
                 VIOLATIONS OF NEW YORK CONSUMER LAW
          FOR DECEPTIVE ACTS AND PRACTICES (FALSE ADVERTISING)
                        N.Y. Gen. Bus. Law § 350, et seq.

       1306. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1307. This claim is brought against the Philips Defendants.

       1308. Philips is on notice that such claims may be asserted by Plaintiffs.

       1309. N.Y. Gen. Bus. Law § 350 was created to protect consumers from deceptive,

misleading, and false advertising practices and forms.

       1310. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1311. Under the N.Y. Gen. Bus. Law § 350, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Bew

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York. In addition, in New York, Philips sold the Recalled Devices, shipped Recalled Devices, and

otherwise engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       1312. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1313. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have




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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1314. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1315. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1316. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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       1317. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1318. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1319. Philips unfairly engaged in deceptive, unconscionable, unlawful, unfair, false,

fraudulent and misleading commercial practices, including misleading omissions of material fact,

in connection with the marketing, promotion and sale of the Recalled Devices, misrepresenting

their safety and failing to disclose the dangers caused by the PE-PUR foam degradation and off-

gassing, in violation of N.Y. Gen. Bus. Law § 350.

       1320. Philips’ conduct constituted, among other things, the following prohibited

deceptive, misleading, and/or false advertising practices: (a) misrepresenting that the Recalled

Devices have characteristics, ingredients, uses, or benefits, which they do not have; (b)

misrepresenting that the Recalled Devices are of a particular standard, quality, or grade, or that

goods are of a particular style or model, when they are not; and (c) engaging in fraudulent and

deceptive conduct that creates a likelihood of confusion and misunderstanding.

       1321. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health



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consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1322. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1323. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1324. The actions and omissions of Philips are uncured or incurable.

       1325. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain New York

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1326. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1327. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their



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use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1328. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1329. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1330. Accordingly, pursuant to N.Y. Gen. Bus. Law § 350, Plaintiffs are entitled to

recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are entitled

to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit, and

attorneys’ fees based on the amount of time reasonable expended and equitable relief necessary,

and all such other relief as the Court deems proper.

                                  COUNT XVI (30)
                        VIOLATIONS OF NORTH CAROLINA
                   UNFAIR AND DECEPTIVE TRADE PRACTICES ACT
                            N.C. Gen. Stat. § 75-1.1, et seq.

       1331. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1332. This claim is brought against the Philips Defendants.

       1333. Philips is on notice that such claims may be asserted by Plaintiffs.

       1334. The North Carolina Unfair and Deceptive Trade Practices Act declares unlawful

“[u]nfair methods or competition in or affective commerce, and unfair or deceptive acts or

practices in or affecting commerce.” N.C. Gen. Stat. § 75-1.1.

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       1335. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1336. Under the North Carolina Unfair and Deceptive Trade Practices Act, Philips is the

supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under

such legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in North Carolina. In addition, in North Carolina, Philips sold the Recalled

Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

       1337. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.




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       1338. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1339. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1340. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among



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other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1341. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1342. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1343. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1344. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in North Carolina; and was made with

the intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under N.C. Gen. Stat. § 75-1.1, et seq.

       1345. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to



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their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1346. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1347. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1348. The actions and omissions of Philips are uncured or incurable.

       1349. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1350. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1351. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,



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misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1352. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1353. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1354. Accordingly, pursuant to N.C. Gen. Stat. § 75-1.1, et seq., Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.


                                     COUNT XVI (31)
                            VIOLATIONS OF NORTH DAKOTA
                           DECEPTIVE TRADE PRACTICES LAW
                              N.D. Cent. Code § 51-12-01, et seq.

       1355. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1356. This claim is brought against the Philips Defendants.

       1357. Philips is on notice that such claims may be asserted by Plaintiffs.



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       1358. The North Dakota Deceptive Trade Practices Law was created to protect consumers

from deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1359. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1360. Under the North Dakota Deceptive Trade Practices Law, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in North Dakota. In addition, in North Dakota, Philips sold the Recalled

Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

       1361. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues



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to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1362. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1363. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.



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        1364. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

        1365. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

        1366. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        1367. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        1368. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in North Dakota; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under N.D. Cent. Code § 51-12-01, et

seq.



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       1369. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       1370. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1371. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.




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       1372. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1373. The actions and omissions of Philips are uncured or incurable.

       1374. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1375. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1376. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1377. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1378. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects




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to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1379. Accordingly, pursuant to N.D. Cent. Code § 51-12-01, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                COUNT XVI (32)
                       VIOLATIONS OF NORTH DAKOTA
                UNLAWFUL SALES OR ADVERTISING PRACTICES ACT
                         N.D. Cent. Code § 51-15-01, et seq.

       1380. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1381. This claim is brought against the Philips Defendants.

       1382. Philips is on notice that such claims may be asserted by Plaintiffs.

       1383. The North Dakota Unlawful Sales or Advertising Practices Act was created to

protect consumers from deceptive, unconscionable, deliberately misleading, false, fraudulent,

and/or unfair business practices.

       1384. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1385. Under the North Dakota Unlawful Sales or Advertising Practices Act, Philips is the

supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under

such legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in North Dakota. In addition, in North Dakota, Philips sold the Recalled

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Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

       1386. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1387. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have




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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1388. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1389. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1390. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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        1391. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        1392. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        1393. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in North Dakota; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under N.D. Cent. Code § 51-15-01, et

seq.

        1394. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.



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       1395. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1396. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1397. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1398. The actions and omissions of Philips are uncured or incurable.

       1399. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1400. Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       1401. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1402. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1403. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1404. Accordingly, pursuant to N.D. Cent. Code § 51-15-01, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                 COUNT XVI (33)
            VIOLATIONS OF OKLAHOMA CONSUMER PROTECTION ACT
                           Okla. Stat. tit. 15 § 751, et seq.

       1405. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:



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       1406. This claim is brought against the Philips Defendants.

       1407. Philips is on notice that such claims may be asserted by Plaintiffs.

       1408. The Oklahoma Consumer Protection Act was created to protect consumers from

unfair methods of competition and unfair or deceptive business practices.

       1409. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1410. Under the Oklahoma Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Oklahoma. In addition, in Oklahoma, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1411. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices



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with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1412. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1413. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone




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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1414. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1415. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1416. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1417. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1418. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Oklahoma; and was made with the




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intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Okla. Stat. tit. 15 § 751, et seq.

       1419. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, and unfair business practices: (a) misrepresenting that the Recalled Devices

have characteristics, ingredients, uses, or benefits, which they do not have; (b) misrepresenting

that the Recalled Devices are of a particular standard, quality, or grade, or that goods are of a

particular style or model, when they are not; and (c) engaging in fraudulent and deceptive conduct

that creates a likelihood of confusion and misunderstanding.

       1420. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1421. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1422. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and



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reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1423. The actions and omissions of Philips are uncured or incurable.

       1424. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1425. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1426. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1427. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1428. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.




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       1429. Accordingly, pursuant to Okla. Stat. tit. 15 § 751, et seq., Plaintiffs are entitled to

recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are entitled

to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit, and

attorneys’ fees based on the amount of time reasonable expended and equitable relief necessary,

and all such other relief as the Court deems proper.

                                  COUNT XVI (34)
                   VIOLATIONS OF RHODE ISLAND UNFAIR TRADE
                    PRACTICE AND CONSUMER PROTECTION ACT
                           R.I. Gen. Laws § 6-13.1-1, et seq.

       1430. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1431. This claim is brought against the Philips Defendants.

       1432. Philips is on notice that such claims may be asserted by Plaintiffs.

       1433. The Rhode Island Unfair Trade Practice and Consumer Protection Act was created

to protect consumers from deceptive, unconscionable, deliberately misleading, false, fraudulent,

and/or unfair business practices.

       1434. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1435. Under the Rhode Island Unfair Trade Practice and Consumer Protection Act,

Philips is the supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to

liability under such legislation from fraudulent, unfair, deceptive, and unconscionable consumer

sales practices. Philips marketed and advertised the Recalled Devices to consumers, physicians,

and other healthcare entities in Rhode Island. In addition, in Rhode Island, Philips sold the Recalled

Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

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       1436. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1437. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.




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       1438. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1439. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1440. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.




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       1441. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1442. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1443. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Rhode Island ; and was made with

the intention that Rhode Island Plaintiffs would rely upon such conduct in purchasing the Recalled

Devices, significantly impacting consumers and making it unlawful under R.I. Gen. Laws § 6-

13.1-1, et seq.

       1444. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.



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       1445. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1446. Philips owed Rhode Island Plaintiffs a duty to disclose these facts because they

were known and/or accessible exclusively to Philips (along with PolyTech and potentially other

parties who are not Rhode Island Plaintiffs) who had exclusive and superior knowledge of the

facts; because the facts would be material to reasonable consumers; because Philips actively

concealed them; because Philips intended for consumers to rely on the omissions in question; and

because the Recalled Devices pose an unreasonable risk of substantial bodily injury.

       1447. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1448. The actions and omissions of Philips are uncured or incurable.

       1449. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1450. Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       1451. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1452. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1453. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1454. Accordingly, pursuant to R.I. Gen. Laws § 6-13.1-1, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                      COUNT XVI (35)
                            VIOLATIONS OF SOUTH CAROLINA
                             UNFAIR TRADE PRACTICES ACT
                               S.C. Code Ann. § 39-5-10, et seq.

       1455. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

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        1456. This claim is brought against the Philips Defendants.

        1457. Philips is on notice that such claims may be asserted by Plaintiffs.

        1458. The South Carolina Unfair Trade Practices Act was created to protect consumers

from fraudulent or deceptive business practices.

        1459. Plaintiffs and Philips are persons under the South Carolina Unfair Trade Practices

Act.

        1460. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

        1461. Under the South Carolina Unfair Trade Practices Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in South Carolina. In addition, in South Carolina, Philips sold the Recalled

Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

        1462. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR



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foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1463. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1464. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily



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injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1465. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1466. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1467. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1468. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1469. Philips knowingly engaged in unlawful, unfair, deceptive, fraudulent and

misleading commercial practices, including misleading omissions of material fact, in connection

with the marketing, promotion and sale of the Recalled Devices, misrepresenting their safety and




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failing to disclose the dangers caused by the PE-PUR foam degradation, which are unlawful under,

among other things, S.C. Code Ann. § 39-5-20.

       1470. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, and unfair business practices: (a) misrepresenting that the Recalled Devices

have characteristics, ingredients, uses, or benefits, which they do not have; (b) misrepresenting

that the Recalled Devices are of a particular standard, quality, or grade, or that goods are of a

particular style or model, when they are not; and (c) engaging in fraudulent and deceptive conduct

that creates a likelihood of confusion and misunderstanding.

       1471. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1472. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1473. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and



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reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1474. The actions and omissions of Philips are uncured or incurable.

       1475. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1476. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1477. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1478. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1479. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.




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       1480. Accordingly, pursuant to S.C. Code Ann. § 39-5-10, et seq., South Carolina are

entitled to recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs

are entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of

suit, and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                COUNT XVI (36)
                  VIOLATIONS OF SOUTH DAKOTA DECEPTIVE
              TRADE PRACTICES AND CONSUMER PROTECTION LAW
                        S.D. Codified Laws § 37-24-1, et seq.

       1481. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1482. This claim is brought against the Philips Defendants.

       1483. Philips is on notice that such claims may be asserted by Plaintiffs.

       1484. The South Dakota Deceptive Trade Practices Act prohibits any person to knowingly

act, use, or employ any deceptive act or practice fraud, false pretense, false promises, or

misrepresentation or to conceal, suppress, or omit any material fact in connection with the sale or

advertisement of any merchandise, regardless of whether any person has in fact been misled,

deceived, or damaged thereby.” S.D. Codified Laws § 37-24-6(1).

       1485. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1486. Under the South Dakota Deceptive Trade Practices and Consumer Protection Law,

Philips is the supplier, manufacturer, advertiser, and seller of the Recalled Devices, subject to

liability under such legislation from fraudulent, unfair, deceptive, and unconscionable consumer

sales practices. Philips marketed and advertised the Recalled Devices to consumers, physicians,

and other healthcare entities in South Dakota. In addition, in South Dakota, Philips sold the

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Recalled Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or

conducted business, related to the Recalled Devices.

       1487. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1488. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have




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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1489. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1490. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1491. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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          1492. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

          1493. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

          1494. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in South Dakota; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under S.D. Codified Laws § 37-24-1,

et seq.

          1495. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

          1496. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who



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are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1497. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1498. The actions and omissions of Philips are uncured or incurable.

       1499. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1500. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1501. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.




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       1502. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1503. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1504. Accordingly, pursuant to S.D. Codified Laws § 37-24-1, et seq., Plaintiffs are

entitled to recover their actual damages, which can be calculated with a reasonable degree of

certainty using sufficiently definitive and objective evidence. In addition, given the nature of

Philips’ conduct, Plaintiffs are entitled to recover all available statutory, exemplary, treble, and/or

punitive damages, costs of suit, and attorneys’ fees based on the amount of time reasonable

expended and equitable relief necessary, and all such other relief as the Court deems proper.

                               COUNT XVI (37)
             VIOLATIONS OF UTAH CONSUMER SALES PRACTICES ACT
                         Utah Code Ann. § 13-11-1, et seq.

       1505. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1506. This claim is brought against the Philips Defendants.

       1507. Philips is on notice that such claims may be asserted by Plaintiffs.

       1508. The Utah Consumer Sales Practices Act was created to protect consumers from

suppliers who commit deceptive and unconscionable sales practices.

       1509. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.



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       1510. Under the Utah Consumer Sales Practices Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Utah. In

addition, in Utah, Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise

engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       1511. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1512. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they



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used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1513. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1514. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.




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       1515. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1516. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1517. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1518. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Utah; and was made with the intention

that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices, significantly

impacting consumers and making it unlawful under Utah Code Ann. § 13-11-1, et seq.

       1519. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly or

recklessly misrepresenting that the Recalled Devices have performance characteristics, uses, or

benefits, which they do not have; (b) misrepresenting that the Recalled Devices are of a particular

standard, quality, or grade, or that the goods are of a particular style or model when they are not;

(c) committing an unconscionable act or practice.



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       1520. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1521. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1522. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1523. The actions and omissions of Philips are uncured or incurable.

       1524. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1525. Philips had actual knowledge of the defective and dangerous condition of the



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Recalled Devices and failed to take any action to cure those conditions.

       1526. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1527. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1528. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1529. Accordingly, pursuant to Utah Code Ann. § 13-11-1, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                 COUNT XVI (38)
                 VIOLATIONS OF UTAH TRUTH IN ADVERTISING ACT
                          Utah Code Ann. § 13-11a-1, et seq.

       1530. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:



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       1531. This claim is brought against the Philips Defendants.

       1532. Philips is on notice that such claims may be asserted by Plaintiffs.

       1533. The Utah Truth in Advertising Act was created to protect consumers from

deceptive, misleading, and false advertising practices and forms.

       1534. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1535. Under the Utah Truth in Advertising Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Utah. In

addition, in Utah, Philips sold the Recalled Devices, shipped Recalled Devices, and otherwise

engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       1536. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues



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to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

        1537. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

        1538. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.



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        1539. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

        1540. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

        1541. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        1542. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        1543. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Utah; and was made with the intention

that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices, significantly

impacting consumers and making it unlawful under Utah Code Ann. § 13-11a-1, et seq.




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        1544. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) misrepresenting that

the Recalled Devices have characteristics, ingredients, uses, benefits, or qualities which they do

not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality, or

grade, or that the goods are of a particular style or model when they are not; (c) advertising goods

with intent not to sell them as advertised; and (d) engaging in any other conduct which similary

creates a likelihood of confusion or misunderstanding.

        1545. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

        1546. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

        1547. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable



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consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

        1548. The actions and omissions of Philips are uncured or incurable.

        1549. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

        1550. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

        1551. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

        1552. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

        1553. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

        1554. Accordingly, pursuant to Utah Code Ann. § 13-11a-1, et seq., Plaintiffs are entitled

to recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are



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entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

        1555. The Utah Truth in Advertising Act only requires pre-suit notice for actions seeking

injunctive relief, and thus, no notice is required. Nevertheless, Philips received pre-suit notice as

alleged above.

                                  COUNT XVI (39)
                 VIOLATIONS OF VERMONT CONSUMER FRAUD ACT
                          Vt. Stat. Ann. tit. 9, § 2451, et seq.

       1556. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1557. This claim is brought against the Philips Defendants.

       1558. Philips is on notice that such claims may be asserted by Plaintiffs.

       1559. The Vermont Consumer Fraud Act was created to protect consumers from

deceptive and unfair business practices.

       1560. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1561. Under the Vermont Consumer Fraud Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in

Vermont. In addition, in Vermont, Philips sold the Recalled Devices, shipped Recalled Devices,

and otherwise engaged in trade or commerce, or conducted business, related to the Recalled

Devices.



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       1562. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1563. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.




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       1564. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1565. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1566. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.




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        1567. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        1568. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        1569. Philips’ conduct described herein with respect to the Recalled Devices constitutes

unfair, and/or deceptive acts or practices in commerce in Vermont, making it unlawful under Vt.

Stat. Ann. tit. 9, § 2453(a).

        1570. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

        1571. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.



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       1572. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1573. The actions and omissions of Philips are uncured or incurable.

       1574. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1575. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1576. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1577. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1578. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects




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to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1579. Accordingly, pursuant to Vt. Stat. Ann. tit. 9, § 2461(b), Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                COUNT XVI (40)
              VIOLATIONS OF VIRGINA CONSUMER PROTECTION ACT
                          Va. Code Ann. § 59.1-196, et seq.

       1580. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1581. This claim is brought against the Philips Defendants.

       1582. Philips is on notice that such claims may be asserted by Plaintiffs.

       1583. The Virginia Consumer Protection Act was created to protect consumers from

deceptive and unfair business practices.

       1584. Plaintiffs and Philips are persons under the Virginia Consumer Protection Act.

       1585. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes in consumer transactions.

       1586. Under the Virginia Consumer Protection Act, Philips is the supplier, manufacturer,

advertiser, and seller of the Recalled Devices, subject to liability under such legislation from

fraudulent, unfair, deceptive, and unconscionable consumer sales practices. Philips marketed and

advertised the Recalled Devices to consumers, physicians, and other healthcare entities in Virginia.




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In addition, in Virginia, Philips sold the Recalled Devices, shipped Recalled Devices, and

otherwise engaged in trade or commerce, or conducted business, related to the Recalled Devices.

       1587. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1588. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have




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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1589. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1590. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1591. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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        1592. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

        1593. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

        1594. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Virginia; and was made with the

intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under Va. Code Ann. § 59.1-196, et

seq.

        1595. Philips’ conduct described herein constitutes a violation of several of the provisions

enumerated in Va. Code Ann. § 59.1-200(A)(1)-(60) including but not limited to: (a)

misrepresentations as to a product’s characteristics; misrepresentations as to a product’s standard

or style; (b) advertising goods with intent not to sell as advertised; and (c) any other deception,

fraud, false pretense, false promise, or misrepresentation in connection with a consumer

transaction.

        1596. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to



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their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1597. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1598. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1599. The actions and omissions of Philips are uncured or incurable.

       1600. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1601. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1602. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,



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misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

          1603. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

          1604. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

          1605. Accordingly, pursuant to Va. Code § 59.1-204(A), Plaintiffs are entitled to recover

either: (1) their actual damages or (2) $500 each, whichever is greater. In addition, given the nature

of Philips’ conduct, Plaintiffs are entitled to recover treble damages (or $1,000 each, whichever is

greater) for the willful and knowing violation of the Virginia Consumer Protection Act and

attorneys’ fees based on the amount of time reasonably expended and equitable relief necessary or

proper to protect them from Philips’ unlawful conduct, and all such other relief as the Court deems

proper.

                                      COUNT XVI (41)
                             VIOLATIONS OF WEST VIRGINIA
                           CONSUMER CREDIT PROTECTION ACT
                               W. Va. Code § 46A-6-101, et seq.

          1606. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

          1607. This claim is brought against the Philips Defendants.

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       1608. Philips is on notice that such claims may be asserted by Plaintiffs.

       1609. The West Virginia Consumer Credit Protection Act was created to protect

consumers from deceptive and unfair business practices.

       1610. Plaintiffs and Philips are persons under the West Virginia Consumer Credit

Protection Act.

       1611. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes in consumer transactions.

       1612. Under the West Virginia Consumer Credit Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in West Virginia. In addition, in West Virginia, Philips sold the Recalled

Devices, shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted

business, related to the Recalled Devices.

       1613. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled



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Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1614. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1615. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone



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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1616. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1617. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1618. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1619. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1620. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in West Virginia; and was made with




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the intention that Plaintiffs would rely upon such conduct in purchasing the Recalled Devices,

significantly impacting consumers and making it unlawful under W. Va. Code Ann. § 46A-6-104.

       1621. Philips’ conduct described herein constitutes a violation of several of the provisions

enumerated in Va. Code Ann. § 59.1-200(A)(1)-(60) including but not limited to: (a)

misrepresentations as to a product’s characteristics; misrepresentations as to a product’s standard

or style; (b) advertising goods with intent not to sell as advertised; and (c) any other deception,

fraud, false pretense, false promise, or misrepresentation in connection with a consumer

transaction.

       1622. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1623. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to rely on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1624. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and



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reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1625. The actions and omissions of Philips are uncured or incurable.

       1626. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1627. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1628. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1629. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1630. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.




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          1631. Accordingly, pursuant to W. Va. Code § 46A-6-106(a), Plaintiffs are entitled to

recover either: (1) their actual damages or (2) $200 each, whichever is greater. In addition, given

the nature of Philips’ conduct, Plaintiffs are entitled to recover statutory damages of $1,000 per

violation for the knowing and willful violation of the West Virginia Consumer Protection Act and

attorneys’ fees based on the amount of time reasonably expended and equitable relief necessary or

proper to protect them from Philips’ unlawful conduct, and all such other relief as the Court deems

proper.

          1632. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct. Philips

has failed to remedy its unlawful conduct. Finally, notice was provided, and any additional notice

would be futile.

                                COUNT XVI (42)
           VIOLATIONS OF WISCONSIN DECEPTIVE TRADE PRACTICE ACT
                          Wis. Stat. Ann. § 100.18, et seq.

          1633. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

          1634. This claim is brought against the Philips Defendants.



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       1635. Philips is on notice that such claims may be asserted by Plaintiffs.

       1636. The Wisconsin Deceptive Trade Practice Act was created to protect consumers

from deceptive, unconscionable, deliberately misleading, false, fraudulent, and/or unfair business

practices.

       1637. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1638. Under the Wisconsin Deceptive Trade Practice Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other

healthcare entities in Wisconsin. In addition, in Wisconsin, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1639. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices



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with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1640. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have

resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1641. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone




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and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1642. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1643. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.

       1644. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1645. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1646. Philips’ conduct described herein constitutes the knowing and willful act, use, or

employment of deception, false promise, misrepresentation, unfair practices, and the concealment,

suppression, and omission of material facts in connection with the sale and advertisement of

merchandise, the Recalled Devices, in trade or commerce in Wisconsin ; and was made with the

intention that Wisconsin Plaintiffs would rely upon such conduct in purchasing the Recalled



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Devices, significantly impacting consumers and making it unlawful under Wis. Stat. Ann. §

100.18, et seq.

       1647. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, unfair, and/or unconscionable business practices: (a) knowingly making a

false representation as to the Recalled Devices characteristics, ingredients, uses, or benefits, which

they do not have; (b) misrepresenting that the Recalled Devices are of a particular standard, quality,

grade, or that the goods are of a particular model when they are not; (c) advertising goods or

services with intent not to sell them as advertised; (d) concealing, suppressing, or omitting material

facts concerning goods or services which was known at the time of an advertisement or sale and

intended to induce a customer to enter into a transaction; and (e) knowingly or recklessly engaging

in other unconscionable, false, or deceptive acts or practices.

       1648. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.

       1649. Philips owed Wisconsin Plaintiffs a duty to disclose these facts because they were

known and/or accessible exclusively to Philips (along with PolyTech and potentially other parties

who are not Wisconsin Plaintiffs) who had exclusive and superior knowledge of the facts; because

the facts would be material to reasonable consumers; because Philips actively concealed them;




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because Philips intended for consumers to rely on the omissions in question; and because the

Recalled Devices pose an unreasonable risk of substantial bodily injury.

       1650. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1651. The actions and omissions of Philips are uncured or incurable.

       1652. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1653. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1654. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.

       1655. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.




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       1656. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1657. Accordingly, pursuant to Wis. Stat. Ann. § 100.18, et seq., Plaintiffs are entitled to

recover their actual damages. In addition, given the nature of Philips’ conduct, Plaintiffs are

entitled to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit,

and attorneys’ fees based on the amount of time reasonable expended and equitable relief

necessary, and all such other relief as the Court deems proper.

                                 COUNT XVI (43)
             VIOLATIONS OF WYOMING CONSUMER PROTECTION ACT
                         Wyo. Stat. Ann. § 40-12-101, et seq.

       1658. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1659. This claim is brought against the Philips Defendants.

       1660. Philips is on notice that such claims may be asserted by Plaintiffs.

       1661. The Wyoming Consumer Protection Act was created to protect consumers from

deceptive and unfair business practices.

       1662. Plaintiffs are consumers who purchased, leased, or used Recalled Devices for

personal and/or household purposes.

       1663. Under the Wyoming Consumer Protection Act, Philips is the supplier,

manufacturer, advertiser, and seller of the Recalled Devices, subject to liability under such

legislation from fraudulent, unfair, deceptive, and unconscionable consumer sales practices.

Philips marketed and advertised the Recalled Devices to consumers, physicians, and other



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healthcare entities in Wyoming. In addition, in Wyoming, Philips sold the Recalled Devices,

shipped Recalled Devices, and otherwise engaged in trade or commerce, or conducted business,

related to the Recalled Devices.

       1664. At all relevant times, Philips knew that the Recalled Devices posed serious health

risks to users—the FDA itself concluded that Philips was aware of foam degradation issues and

yet delayed doing anything to rectify or mitigate the hazards. Indeed, beginning in at least 2008,

and over time, Philips received hundreds of thousands of customer complaints regarding foam

degradation in the Recalled Devices and, years later, received data from a variety of sources

confirming foam degradation. In light of these customer complaints, Philips contacted its foam

supplier in 2015 about the potential for degradation of PE-PUR foam and in 2016 the supplier

confirmed such risks. Philips itself conducted testing in 2016, which determined that the PE-PUR

foam was susceptible to degradation and off-gassing. Despite its knowledge that the Recalled

Devices posed serious health risks to users, Philips continued manufacturing the Recalled Devices

with PE-PUR foam, and at no point prior to April 2021, when Philips first disclosed foam issues

to its shareholders, did Philips even hint that there was a dangerous condition in its Recalled

Devices that could result in serious bodily injury.

       1665. As set forth more fully above, Philips marketed and sold the Recalled Devices as

machines that would help users breathe by, among other things, pumping air into users’ lungs.

While selling and profiting from the Recalled Devices, Philips knew that they were defective in

that they posed serious health risks to users who would potentially be inhaling toxic fumes as they

used the machines due to the degradation and off-gassing of the PE-PUR foam. Philips

intentionally concealed this material information from consumers, users, prescribers, and other

healthcare providers, including Plaintiffs and their physicians, because to do otherwise would have



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resulted in users seeking safer alternatives to treat their breathing issues. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1666. Philips concealed and failed to disclose in any of its marketing materials,

advertising, packaging, and/or any other communication that the Recalled Devices were defective

and would expose users to Foam Toxins as a result of the degradation and off-gassing of the PE-

PUR foam. For example, Philips has: (a) long advertised that its Recalled Devices were “clinically

proven” treatments for sleep disorders; (b) held itself out as a trusted brand and global leader in

the sleep and respiratory markets; and (c) recommended customers use a humidifier with their

Recalled Devices despite knowing that warm, hot, and humid conditions contributed to rapid

degradation of the PE-PUR foam in its Recalled Devices, all while simultaneously failing to hint

that there was a dangerous condition in its Recalled Devices that posed a risk of serious bodily

injury until April 2021. These material omissions were misleading and deceptive standing alone

and were particularly deceptive in light of the fact that the Recalled Devices were sold as breathing

assistance devices.

       1667. Philips concealed from Plaintiffs and failed to disclose to them, material

information regarding the serious health risks posed to users of the Recalled Devices by, among

other things, failing to include material information in its packaging, labels, advertisements,

promotional materials, websites, and other communications and disclosures. Instead, Philips

misrepresented to Plaintiffs that the Recalled Devices were safe for use.

       1668. By concealing and failing to disclose the Defect, Philips intentionally, knowingly,

and recklessly allowed its packaging, labels, advertisements, promotional materials, websites, and

other communications and disclosures to mislead Plaintiffs, and their physicians, into believing

that the Recalled Devices were safe for use.



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       1669. Philips knew that its concealment and omissions regarding the Defect in its

packaging, labels, advertisements, promotional materials, websites, and other communications and

disclosures were false, deceptive, inadequate, and misleading.

       1670. The information undisclosed and concealed by Philips was material. A reasonable

person, including Plaintiffs, would find information that impacted on users’ health and well-being,

such as the serious adverse health risks associated with the use of the Recalled Devices, to be

important when deciding whether to use the Recalled Devices.

       1671. Philips’ conduct constitutes the act, use or employment of deception, false promise,

misrepresentation, unfair practices, and the concealment, suppression, and omission of material

facts in connection with the advertisement and sale of merchandise, the Recalled Devices, in trade

or commerce in Wyoming, making it unlawful under Wyo. Stat. Ann. § 40-12-105(a).

       1672. Philips’ conduct constituted, among other things, the following prohibited

fraudulent, deceptive, and unfair business practices: (a) misrepresenting that the Recalled Devices

have characteristics, ingredients, uses, or benefits, which they do not have; and (b) misrepresenting

that the Recalled Devices are of a particular standard, quality, or grade, or that goods are of a

particular style or model, when they are not.

       1673. Philips’ conduct was fraudulent and deceptive because the misrepresentations and

omissions had the capacity or tendency to deceive and, in fact, did deceive reasonable consumers,

including Plaintiffs. Reasonable consumers, including Plaintiffs, would have found it material to

their purchasing, leasing, and use decisions that the PE-PUR foam in the Recalled Devices posed

a risk of degradation and off-gassing that would subject users to potential serious health

consequences. Knowledge of those facts would have been a substantial factor in Plaintiffs’

decision to purchase, lease, and/or use the Recalled Devices.



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       1674. Philips owed Plaintiffs a duty to disclose these facts because they were known

and/or accessible exclusively to Philips (along with PolyTech and potentially other parties who

are not Plaintiffs) who had exclusive and superior knowledge of the facts; because the facts would

be material to reasonable consumers; because Philips actively concealed them; because Philips

intended for consumers to reply on the omissions in question; and because the Recalled Devices

pose an unreasonable risk of substantial bodily injury.

       1675. As a result of such deceptive packaging, labels, advertisements, promotional

materials, websites, and other communications and disclosures, Plaintiffs justifiably and

reasonably relied on the omissions by Philips and used the Recalled Devices. Reasonable

consumers would have been expected to rely on these omissions, in part, because they are

omissions that seriously impact users’ health and well-being.

       1676. The actions and omissions of Philips are uncured or incurable.

       1677. Philips was put on notice of these issues by the investigation of the FDA, numerous

complaints filed against Philips, and individual letters and communications from certain Plaintiffs

and others within a reasonable amount of time after Philips’ conduct was publicly disclosed.

       1678. Philips had actual knowledge of the defective and dangerous condition of the

Recalled Devices and failed to take any action to cure those conditions.

       1679. Philips’ conduct actually and proximately caused an ascertainable loss of money or

property to Plaintiffs. As a direct and proximate result of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs have been injured and suffered damages, in that their

use of the Recalled Devices increased their risk of developing cancer, respiratory disease,

cardiovascular disease, and other illnesses.



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       1680. As a direct and proximate result of Philips’ material omissions, misrepresentations,

and concealment of material information regarding the adverse health effects to users of the

Recalled Devices, Plaintiffs have suffered serious and debilitating injuries and other harm.

       1681. In addition, as a direct and proximate cause of Philips’ material omissions,

misrepresentations, and concealment of material information regarding the adverse health effects

to users of the Recalled Devices, Plaintiffs may suffer additional serious and debilitating illnesses

or injuries, including various cancers, in the future as a result of exposure to the Foam Toxins.

       1682. Accordingly, pursuant to Wyo. Stat. Ann. § 40-12-108(a), Plaintiffs are entitled to

recover their actual damage. In addition, given the nature of Philips’ conduct, Plaintiffs are entitled

to recover all available statutory, exemplary, treble, and/or punitive damages, costs of suit, and

attorneys’ fees based on the amount of time reasonable expended and equitable relief necessary,

and all such other relief as the Court deems proper.

       1683. To the extent that any pre-suit notice was purportedly required, Plaintiffs have

complied or substantially complied with all applicable notice requirements or are otherwise

excused from compliance for this proceeding. Philips had notice of its violations for years. In

addition, at a minimum, on September 8, 2021, and on May 16, 2022, Plaintiffs involved in this

multi-district litigation, through counsel, sent Philips a letter complying with any required pre-suit

notification requirements. Additional notice letters were served on Philips before this MDL was

formed. These letters put Philips on notice of the demands of the Plaintiffs, and Philips’ responses

made clear that Philips refused to acknowledge and cure the violations in a manner that would

compensate Plaintiffs for all the losses they have suffered as a result of Philips’ misconduct. Philips

has failed to remedy its unlawful conduct. Finally, notice was provided, and any additional notice

would be futile.



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                                          COUNT XVII

                                     [COUNT DISMISSED]

                                        COUNT XVIII
                                  LOSS OF CONSORTIUM
              (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                 Mississippi, New Jersey, Ohio, Tennessee, and Washington)

       1684. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1685. This claim is brought against the Philips Defendants and the PolyTech Defendants.

       1686. At all relevant times, certain Plaintiffs were married to spouses or had minor

children.

       1687. As a result of the injuries and damages sustained by certain Plaintiffs, their spouses

and minor children have suffered the loss of care, comfort, society, and affection from Plaintiffs.

       1688. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, interest, costs of suit, attorneys’ fees, and such other

relief as the Court deems equitable and just.

                                         COUNT XIX
                       SURVIVORSHIP AND WRONGFUL DEATH
              (All Jurisdictions except Connecticut, Indiana, Kansas, Louisiana,
                 Mississippi, New Jersey, Ohio, Tennessee, and Washington)

       1689. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1690. This claim is brought against the Philips Defendants and the PolyTech Defendants.

       1691. Certain Plaintiffs suffered and incurred a premature and untimely death as a result

of the Recalled Devices.




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       1692. Plaintiff-Decedents would not have used the Recalled Devices but for the wrongful

conduct of Philips and PolyTech. Similarly, as alleged throughout this Master Long Form

Complaint and as incorporated herein, Philips and PolyTech are liable for the Plaintiff-Decedents’

suffering and death, for each Plaintiff-Decedent’s survivors’ damages, for damages sustained by

each Plaintiff-Decedent’s estate, and all other injuries and damages flowing from each Plaintiff-

Decedent’s death.

       1693. Plaintiff-Decedents demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, interest, costs of suit, attorneys’ fees, and such other

relief as the Court deems equitable and just.

                                       COUNT XX
                                MEDICAL MONITORING
          (Asserted as an Independent Cause of Action in the following jurisdictions:
            Colorado, Connecticut, District of Columbia, Florida, Massachusetts,
                       Montana, Pennsylvania, Utah, and West Virginia)

       1694. Plaintiffs re-allege and incorporate by reference the allegations set forth throughout

the Complaint as if set forth herein and further allege as follows:

       1695. This claim is brought against the Philips Defendants and the PolyTech Defendants.

       1696. Plaintiffs bring an independent claim of medical monitoring against Philips and

PolyTech.

       1697. As alleged above, Philips’ and PolyTech’s Recalled Devices contained defective

PE-PUR foam that exposed patients using the devices to the Foam Toxins. The Foam Toxins are

hazardous, life-threatening, toxic substances that are known to cause cancer and other illnesses,

diseases, and disease processes in humans.

       1698. Philips and PolyTech understood, at all relevant times, that a chemical that causes

cancer in animal studies must be presumed to present a risk of cancer to humans, except in



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extraordinarily limited circumstances; specifically, when (1) the precise mechanism of action that

causes tumors is known, and (2) it is also known that the mechanism of action is either not

operative or cannot occur in humans. That extraordinary circumstance does not exist here.

        1699. Studies show that the persistent exposure to the Foam Toxins results in their

presence, accumulation, toxic invasion, and/or persistence in the human bloodstream, including

the bloodstream of Plaintiffs; resulting in injurious, physically harmful, unwanted, unconsented-

to, and deleterious alterations, changes, and/or other presently-existing physical injuries and/or

adverse impacts to the blood and/or bodies of Plaintiffs, including but not limited to subcellular

injuries.

        1700. Moreover, based on available scientific literature, exposure to the Foam Toxins

places Plaintiffs at risk of developing a number of serious illnesses and diseases, including but not

limited to the following: cancer, including cancers as of the head, neck, kidneys, liver, brain,

pancreas, blood-forming tissue, respiratory system, gastrointestinal system, reproductive system,

and lymphatic system; respiratory diseases such as asthma, chronic bronchitis, chronic obstructive

pulmonary disease, constrictive bronchiolitis or obliterative bronchiolitis, emphysema, interstitial

lung disease, pleuritis, pulmonary fibrosis, sarcoidosis; and chronic sinusitis, chronic rhinitis, and

other forms of chronic inflammation. The Foam Toxins are cytotoxic and genotoxic; as such,

exposure causes widespread damage to DNA as well as the reproductive system, neurological

system, and other critical systems.

        1701. Plaintiffs have been significantly exposed to the proven hazardous Foam Toxins

released by PE-PUR foam in the Recalled Devices. Plaintiffs have inhaled and/or ingested these

Foam Toxins through their respiratory tract and gut, where they were absorbed into tissue and into

Plaintiffs’ bloodstream, producing subcellular or other physiological changes in Plaintiffs.



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       1702. Philips and PolyTech did not seek or obtain permission or consent from Plaintiffs

before engaging in such acts and/or omissions that caused, allowed, and/or otherwise resulted in

the contamination of Plaintiffs’ bloodstream and/or bodies with the Foam Toxins.

       1703. As a proximate result of Philips’ and PolyTech’s acts and omissions, Plaintiffs are

at an increased risk of developing cancer and other illnesses, diseases, and disease processes above

the normal base-level risk.

       1704. Plaintiffs are at this increased risk of cancer and other serious health conditions

because they were exposed to, inhaled, consumed, and/or ingested the Foam Toxins in quantities,

and over periods of time, sufficient to establish levels of exposure that are hazardous to health; and

sufficient to cause cancer and other serious ailments; or increase the risk of developing cancer and

other serious ailments.

       1705. Plaintiffs may not develop all, or some, of the forms of cancer or various adverse

health conditions for many years.

       1706. In addition to the injuries they have already suffered, Plaintiffs are reasonably

concerned and fearful of the worsening, or additional, effects from exposure to the Foam Toxins.

This includes the synergistic effects of having multiple toxic and carcinogenic materials in their

blood at the same time; and what such effects will and/or are reasonably likely or probable to do

to them and their children, including the well-founded and reasonable fear of cancer and other

serious diseases that have long latency periods after such exposures.

       1707. The exposure was solely and proximately caused by Philips’ and PolyTech’s acts

and omissions, including: their failure to adequately design and manufacture their Recalled

Devices to satisfy applicable standards imposed by law and regulation; their failure to address

known issues with the PE-PUR foam during quality control testing; their material



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misrepresentations, false statements, and other deceptive practices in continuing to claim that the

Recall Devices were safe for use.

       1708. Philips and PolyTech owed duties to the Plaintiffs: to ensure and warrant that the

Recalled Devices were indeed designed and manufactured to satisfy applicable standards imposed

by law and regulation; to disclose to Plaintiffs any defect or other potential health hazard known

or discoverable by Philips; and to ensure that the Recalled Devices were safe, reliable, and non-

hazardous for human consumption-their intended purpose.

       1709. As alleged in this Complaint, Philips’ and PolyTech’s negligent acts and omissions

resulted in an increased risk for all Plaintiffs of developing cancer or other serious health

conditions. Cancer is a serious disease that causes life-threatening illness and debilitating cellular,

genetic, and physical injury. Technology, analytical tools, test and/or monitoring procedures exist

and are readily available to detect cancer and other deleterious health conditions in patients. These

technologies, analytical tools, tests and/or monitoring procedures are accepted and widely used by

the scientific and medical community. The existing scientific methods include, but are not limited

to: blood and laboratory tests; physical examinations; imaging; colonoscopies, endoscopies, and

other similar methods for examination; biopsies; pathologic, histologic, and oncologic evaluations;

and oncologic, histologic, surgical and other necessary medical consultations.

       1710. Early detection of cancer and other serious health conditions in patients is one of

the best, and sometimes the only, means to treat cancer and other ailments such that they do not

cause lasting, permanent injury, illness, or death.

       1711. Early detection of cancer and other serious health conditions in patients necessarily

allows patients to avail themselves of myriad forms of treatment, each of which is capable to




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altering the course of the illness, such as bringing the cancer into remission, removal of any

malignant tumors, and other treatment to alleviate injury.

       1712. The tests and treatments for the early detection and treatment of cancer and other

serious health conditions must be prescribed by a qualified physician, and are conducted according

to the latest, contemporary, and widely accepted scientific principles. Because screenings for

cancer and other serious health conditions associated with the Foam Toxins may not be conducted

with the frequency necessary to identify those illnesses in the absence of exposure to the Foam

Toxins, the prescribed monitoring regime is different from that normally recommended in the

absence of exposure. Further, Plaintiffs require more frequent screenings not within the purview

of routine medical exams.

       1713. Plaintiffs seek injunctive and monetary relief, including compensatory damages

for, and the creation of a fund to adequately finance the costs of: (1) providing necessary testing,

evaluations, examinations, screenings, and other necessary medical consultations; (2) providing

all necessary medical and surgical procedures including consultation, diagnosis, and treatment;

and (3) providing for all necessary attorneys’ fees, costs, interest, and such further relief as the

Court deems equitable and just.

                                          COUNT XXI

                                     [COUNT DISMISSED]

                                  COUNT XXII
                    INDIVIDUAL PLAINTIFF ADDITIONAL CLAIMS

                             [INTENTIONALLY LEFT BLANK]




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                                 COUNT XXIII
             VIOLATIONS OF CONNECTICUT PRODUCT LIABILITY ACT
                            Conn. Gen. Stat. § 52-572M, et seq.

       1714. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

       1715. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

       1716. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1717. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1718. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(1), VI(2), X, XI, XII, XIII, XV, XVI, XVIII, XIX, XX, supra, allege

a cause of action under the Connecticut Product Liability Act, Conn Gen. Stat. § 52-572m, et seq.

(“CPLA”).

       1719. Under the CPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, negligence per se, loss of consortium, survivorship and wrongful

death, and medical monitoring.

       1720. Under the CPLA, Plaintiffs assert the following theories against only Philips:

negligent failure to recall, negligent recall, breach of express warranty, breach of implied warranty




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of merchantability, breach of the implied warranty of usability, common law fraud by omission,

and consumer protection claims.

          1721. The Recalled Devices were defective and unreasonably dangerous in design

because, at the time of their sale, the likelihood and seriousness of the risk of harm outweighed

their utility such that Plaintiffs would not have used the Recalled Devices if informed of the known

risks.

          1722. The Recalled Devices were defective and unreasonably dangerous in design

because, at the time of their sale, a reasonable alternative design was available that would have

prevented the harm alleged herein.

          1723. The Recalled Devices were defective and unreasonably dangerous because, at the

time of their sale, the likelihood and seriousness of the risk of harm rendered Philips’ and

PolyTech’s warnings or instructions inadequate, and alternative warnings or instructions would

have made the Recalled Devices safer.

          1724. Alternatively, the Recalled Devices were not reasonably safe because adequate

warnings or instructions were not provided after the Recalled Devices were manufactured when

Philips and PolyTech learned or should have learned, as reasonably prudent manufacturers, about

the dangers associated with the Recalled Devices.

          1725. The Recalled Devices were defective and unreasonably dangerous because the

Recalled Devices did not conform to Philips’ express and implied warranties relating to material

facts concerning the Recalled Devices.

          1726. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of the defects in the Recalled Devices.



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       1727. The Recalled Devices were expected to and did, in fact, reach Plaintiffs without

substantial change in condition.

       1728. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                  COUNT XXIV
                 VIOLATIONS OF INDIANA PRODUCT LIABILITY ACT
                               Ind. Code § 34-20-1-1

       1729. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

       1730. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

       1731. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1732. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1733. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(1), VI(2), XIII, XV, XVIII, XIX, and XX, supra, allege a cause

of action under the Indiana Product Liability Act, Ind. Code § 34-20-1-1 (“IPLA”).

       1734. Under the IPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, negligent design, strict liability – design defect, negligent failure to warn,




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strict liability – failure to warn, negligence per se, loss of consortium, survivorship and wrongful

death, and medical monitoring.

          1735. Under the IPLA, Plaintiffs assert the following theories against only Philips:

negligent failure to recall, negligent recall, and common law fraud by omission.

          1736. The Recalled Devices were defective and unreasonably dangerous in design

because, at the time of their sale, the likelihood and seriousness of the risk of harm outweighed

their utility such that Plaintiffs would not have used the Recalled Devices if informed of the known

risks.

          1737. The Recalled Devices were defective and unreasonably dangerous in design

because, at the time of their sale, a reasonable alternative design was available that would have

prevented the harm alleged herein.

          1738. The Recalled Devices were defective and unreasonably dangerous because, at the

time of their sale, the likelihood and seriousness of the risk of harm rendered Philips’ and

PolyTech’s warnings or instructions inadequate, and alternative warnings or instructions would

have made the Recalled Devices safer.

          1739. Alternatively, the Recalled Devices were not reasonably safe because adequate

warnings or instructions were not provided after the Recalled Devices were manufactured when

Philips and PolyTech learned or should have learned, as reasonably prudent manufacturers, about

the dangers associated with the Recalled Devices.

          1740. The Recalled Devices were defective and unreasonably dangerous because the

Recalled Devices did not conform to Philips’ express and implied warranties relating to material

facts concerning the Recalled Devices.




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        1741. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of the defects in Philips’ and PolyTech’s Recalled Devices.

        1742. The Recalled Devices were expected to and did, in fact, reach Plaintiffs without

substantial change in condition.

        1743. The IPLA does not subsume state consumer protection claims or express or implied

warranty claims asserted in this Complaint, and therefore Plaintiffs assert those claims under the

applicable state law or common law causes of action enumerated herein (Count XVI, Count X,

Count XI, and Count XII, respectively). To the extent that the Court finds that state consumer

protection claims, or express or implied warranty claims are subsumed in the IPLA, Plaintiffs

assert those claims here.

        1744. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                    COUNT XXV
                  VIOLATIONS OF KANSAS PRODUCT LIABILITY ACT
                           Kansas Stat. Ann. 60:3301, et seq.

        1745. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

        1746. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.




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       1747. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1748. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1749. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, VI(1), VI(2), X, XI, XII, XIV, XV, XVIII, XIX, and XX, supra, allege a

                                                                                             , et seq.

(“KSPLA”).

       1750. Under the KSPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, negligence per se, negligent misrepresentation, loss of consortium,

survivorship and wrongful death, and medical monitoring.

       1751. Under the KSPLA, Plaintiffs assert the following theories against only Philips:

negligent failure to recall, negligent recall, breach of express warranty, breach of implied warranty

of merchantability, and breach of implied warranty of usability.

       1752. The Recalled Devices were defective and unreasonably dangerous because, at the

time the Recalled Devices left the control of Philips and PolyTech, the likelihood and seriousness

of the risk of harm outweighed the burden on Philips and PolyTech to design a product that would

have prevented harm and any adverse effect that an alternative design that was both practical and

feasible would have on the utility, usefulness, practicality or desirability of the Recalled Devices.

       1753. The Recalled Devices were defective and unreasonably dangerous because, at the

time of manufacture, the likelihood and seriousness of the risk of harm rendered Philips’ and



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PolyTech’s warnings or instructions inadequate and alternative warnings or instructions would

have made the Recalled Devices safer.

        1754. At the time the Recalled Devices left the control of Philips and Polytech, Philips

and PolyTech knew or should have known that the PE-PUR foam in the Recalled Devices can

degrade and off-gas dangerous and carcinogenic chemicals and particles, posing a serious risk to

users, but failed to adequately warn of said risk.

        1755. The Recalled Devices were dangerous to an extent beyond which would be

contemplated by the ordinary user who purchased and/or used the device.

        1756. The Recalled Devices were not reasonably safe because the Recalled Devices did

not conform to Philips’ express and implied warranties relating to material facts concerning the

Recalled Devices.

        1757. The risk of harm would not have been obvious to a consumer.

        1758. These defective conditions rendered the Recalled Devices unreasonably dangerous

to users like Plaintiffs.

        1759. The defective and unreasonably dangerous conditions of the Recalled Devices

proximately caused the damages for which recovery is sought.

        1760. The KSPLA does not subsume fraud or state consumer protection claims asserted

in this Complaint (Count XIII and Count XVI, respectively), and therefore Plaintiffs assert those

claims under the common law and/or applicable state law causes of action enumerated herein. To

the extent that the Court finds that fraud or consumer protection claims are subsumed in the

KSPLA, Plaintiffs assert those claims here.




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       1761. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                    COUNT XXVI
               VIOLATIONS OF LOUISIANA PRODUCT LIABILITY ACT
                          La. Stat. Ann. § 9:2800.51, et seq.

       1762. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

       1763. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

       1764. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1765. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1766. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts II, IV, X, XI, XII, XIII, XVI, XVIII, XIX, and XX, supra, allege a cause of action under

the Louisiana Product Liability Act, La. Stat. Ann. § 9:2800.51, et seq. (“LPLA”).

       1767. Under the LPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: strict liability – design defect, strict liability – failure to warn, loss of consortium,

survivorship and wrongful death, and medical monitoring.

       1768. Under the LPLA, Plaintiffs assert the following theories against only Philips:

common law fraud by omission, breach of express warranty, implied warranty of merchantability,



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implied warranty of usability, and consumer fraud and/or unfair and deceptive practices under state

law.

          1769. The Recalled Devices were defective and unreasonably dangerous in design as

provided in La. Stat. Ann. § 9:2800.56 in that, at the time the Recalled Devices left the control of

Philips and Polytech, the foreseeable risks exceeded the benefits associated with the design of the

Recalled Devices.

          1770. The Recalled Devices were defective and unreasonably dangerous in design as

provided in La. Stat. Ann. § 9:2800.56 in that, at the time the Recalled Devices left the control of

Philips and Polytech, the Recalled Devices were more dangerous than an ordinary user would

expect.

          1771. Safer alternative machines and designs were technologically feasible and available

at the time the Recalled Devices left the control of Philips and PolyTech, which did not have an

unreasonable risk of harm that the Recalled Devices and their unsafe PE-PUR foam did; for

example, devices that included non-PE-PUR foam and designs that included other types of sound

abatement technologies.

          1772. The Recalled Devices were defective and unreasonably dangerous due to

inadequate warnings or instructions as provided in La. Stat. Ann. § 9:2800.57 in that, at the time

the Recalled Devices left the control of Philips and Polytech, Philips and PolyTech knew or should

have known that the PE-PUR foam in the Recalled Devices can degrade and off-gas dangerous

and carcinogenic chemicals and particles, posing a serious risk to users, but failed to adequately

warn of said risk. Philips further failed to warn or instruct that Accessory Humidifiers, warm

temperatures, and humidity would hasten foam degradation and that the Recalled Devices should

not be used in conjunction with the SoClean ozone cleaning system which Philips now claims can



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hasten or cause foam degradation.

        1773. The Recalled Devices were defective due to inadequate post-marketing

surveillance, warnings, and/or instructions because, after Philips knew or should have known of

the risks of severe and permanent health consequences associated with the PE-PUR foam in the

Recalled Devices, Philips failed to provide adequate warnings to users and instead continued to

improperly advertise, market, and promote its products.

        1774. The Recalled Devices were dangerous to an extent beyond which would be

contemplated by the ordinary user who purchased and/or used the device.

        1775. Plaintiffs were not able to discover, nor could they have discovered through the

exercise of reasonable diligence, the defective nature of the subject devices. Further, in no way

could Plaintiffs have known that Philips and PolyTech had designed, developed, and/or

manufactured the subject devices in a way as to make the risk of harm or injury outweigh any

benefits.

        1776. The Recalled Devices were unreasonably dangerous as provided in La. Stat. Ann.

§ 9:2800.58 because the Recalled Devices did not conform to Philips’ express warranties that the

Recalled Devices were safe and effective machines that would help users breathe by, among other

things, pumping air into users’ lungs.

        1777. Philips’ warranties induced users like Plaintiffs herein to use the Recalled Devices,

and Plaintiffs’ damages were proximately caused by that failure to meet the warranties.

        1778. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of Philips’ and PolyTech’s conduct.

        1779. Plaintiffs’ damages arose from a reasonably anticipated use of the Recalled Devices



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by Plaintiffs.

        1780. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other

relief as the Court deems equitable and just.

                                   COUNT XXVII
                 VIOLATIONS OF MISSISSIPPI PRODUCT LIABILITY ACT
                               Miss. Code Ann. § 11-1-63

        1781. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

        1782. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

        1783. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

        1784. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

        1785. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(2), X, XI, XII, XIV, XVIII, XIX, and XX, supra, allege causes of

action under the Mississippi Product Liability Act, Miss. Code Ann. § 11-1-63 (“MPLA”).

        1786. Under the MPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, loss of consortium, survivorship and wrongful death, and medical

monitoring.



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       1787. Under the MPLA, Plaintiffs assert the following theories against only Philips:

negligent recall, breach of express warranty, breach of implied warranty of merchantability, breach

of implied warranty of usability, and negligent misrepresentation.

       1788. The Recalled Devices were defective and unreasonably dangerous because, at the

time the Recalled Devices left the control of Philips and PolyTech, the likelihood and seriousness

of the risk of harm outweighed the burden on Philips and PolyTech to design a product that would

have prevented harm and any adverse effect that an alternative design that was both practical and

feasible would have on the utility, usefulness, practicality, or desirability of the Recalled Devices.

Miss. Code Ann. § 11-1-63(a)(i)(2).

       1789. The Recalled Devices were defective and unreasonably dangerous because, at the

time of manufacture, the likelihood and seriousness of the risk of harm rendered Philips’ and

PolyTech’s warnings or instructions inadequate and alternative warnings or instructions would

have made the Recalled Devices safer. Miss. Code Ann. § 11-1-63(a)(i)(3).

       1790. At the time the Recalled Devices left the control of Philips and PolyTech, Philips

and PolyTech knew or should have known that the PE-PUR foam in the Recalled Devices can

degrade and off-gas dangerous and carcinogenic chemicals and particles, posing a serious risk to

users, but failed to adequately warn of said risk.

       1791. The Recalled Devices were dangerous to an extent beyond which would be

contemplated by the ordinary user who purchased and/or used the device.

       1792. The Recalled Devices were not reasonably safe because the Recalled Devices did

not conform to Philips’ express and implied warranties relating to material facts concerning the

Recalled Devices. Miss Code Ann. § 11-1-63(a)(i)(4).

       1793. These defective conditions rendered the Recalled Devices unreasonably dangerous



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to users like Plaintiffs.

        1794. The defective and unreasonably dangerous conditions of the Recalled Devices

proximately caused the damages for which recovery is sought.

        1795. The MPLA does not subsume the claims alleging fraud and consumer protection

act claims asserted in this Complaint (Count XIII and Count XVI, respectively), and therefore

Plaintiffs assert those claims under the common law and/or applicable state law causes of action

enumerated herein. To the extent that the Court finds that claims alleging fraud or state consumer

protection claims are subsumed in the MPLA, Plaintiffs assert those claims here.

        1796. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                COUNT XXVIII
               VIOLATIONS OF NEW JERSEY PRODUCT LIABILITY ACT
                              N.J. Stat. Ann. 2A:59C

        1797. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

        1798. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

        1799. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

        1800. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.



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       1801. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(1), VI(2), XIII, XIV, XV, XVIII, XIX, and XX, supra, allege a cause

of action under the New Jersey Product Liability Act, N.J. Stat. Ann. 2A:59C-2 (“NJPLA”).

       1802. Under the NJPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, negligence per se, loss of consortium, survivorship and wrongful

death, and medical monitoring.

       1803. Under the NJPLA, Plaintiffs assert the following theories against only Philips:

negligent failure to recall, negligent recall, common law fraud by omission, breach of implied

warranty of merchantability, breach of implied warranty of usability, and negligent

misrepresentation.

       1804. The Recalled Devices were defective and unreasonably dangerous in construction,

composition, or design because, at the time the Recalled Devices left the control of Philips and

PolyTech, the Recalled Devices were more dangerous than an ordinary user would expect.

       1805. The Recalled Devices were defective and unreasonably dangerous in construction,

composition, or design because, at the time the Recalled Devices left the control of Philips and

PolyTech, a prudent manufacturer would not have marketed and sold the Recalled Devices given

the known risks associated with their unsafe PE-PUR foam.

       1806. Safer alternative machines and designs were available and technologically feasible

at the time the Recalled Devices left the control of Philips and PolyTech, which did not have an

unreasonable risk of harm that the Recalled Devices and their unsafe PE-PUR foam did; for

example, devices that included non-PE-PUR foam and designs that included other types of sound

abatement technologies.



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        1807. Alternatively, the Recalled Devices failed to contain adequate warnings or

instructions in that, at the time the Recalled Devices left the control of Philips and PolyTech,

Philips and PolyTech knew or should have known that the PE-PUR foam in the Recalled Devices

can degrade and off-gas dangerous and carcinogenic chemicals and particles, posing a serious risk

to users, but failed to adequately warn of said risk. Philips and Polytech further failed to warn or

instruct that Accessory Humidifiers, warm temperatures, and humidity would hasten foam

degradation and that the Recalled Devices should not be used in conjunction with the SoClean

ozone cleaning system which Philips now claims can hasten or cause foam degradation.

        1808. The Recalled Devices contained inadequate post-marketing surveillance, warnings,

and/or instructions because, after Philips knew or should have known of the risks of severe and

permanent health consequences associated with the PE-PUR foam in the Recalled Devices, it

failed to provide adequate warnings to users and instead continued to improperly advertise, market,

and promote its products.

        1809. The Recalled Devices failed to contain adequate warnings as defined in N.J. Stat.

Ann. 2A:58C-4 as the provided warnings were far deficient compared to what a reasonably prudent

manufacturer would have provided.

        1810. Plaintiffs were not able to discover, nor could they have discovered through the

exercise of reasonable diligence, the defective nature of the subject devices. Further, in no way

could Plaintiffs have known that Philips and PolyTech had designed, developed, and manufactured

the subject devices in a way as to make the risk of harm or injury outweigh any benefits.

        1811. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of the defects in Philips’ and PolyTech’s Recalled Devices.



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       1812. The NJPLA does not subsume consumer protection act claims or breach of express

warranty claims asserted in this Complaint (Count XVI and Count X, respectively), and therefore

Plaintiffs assert those claims under the common law and/or applicable state consumer protection

law enumerated herein. To the extent that the Court finds that consumer protection claims or

breach of express warranty claims are subsumed in the NJPLA, Plaintiffs assert those claims here.

       1813. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.

                                   COUNT XXIX
                   VIOLATIONS OF OHIO PRODUCT LIABILITY ACT
                          Ohio Rev. Code § 2307.72(A) & (B)

       1814. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

       1815. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

       1816. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1817. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1818. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(2), XIV, X, XI, XII, XIV, XV, XVIII, XIX, and XX, supra, allege a




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cause of action under the Ohio Product Liability Act, Ohio Rev. Code § 2307.72(A) & (B)

(“OPLA”).

       1819. Under the OPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, negligence per se, loss of consortium, survivorship and wrongful

death, and medical monitoring.

       1820. Under the OPLA, Plaintiffs assert the following theories against only Philips:

negligent recall, negligent misrepresentation, breach of express warranty, breach of implied

warranty of merchantability, and breach of implied warranty of usability.

       1821. The Recalled Devices were defective and unreasonably dangerous in design

because, at the time they left the control of Philips and PolyTech, the likelihood and seriousness

of the risk of harm outweighed their utility such that Plaintiffs would not have used the Recalled

Devices if informed of the known risks.

       1822. The Recalled Devices were defective and unreasonably dangerous in design

because, at the time they left the control of Philips and PolyTech, a reasonable alternative design

was available that would have prevented the harm alleged herein.

       1823. The Recalled Devices were defective and unreasonably dangerous because, at the

time they left the control of Philips and PolyTech, the likelihood and seriousness of the risk of

harm rendered Philips’ and PolyTech’s warnings or instructions inadequate, and alternative

warnings or instructions would have made the Recalled Devices safer.

       1824. The Recalled Devices were defective and unreasonably dangerous in construction,

composition, or design because, at the time they left the control of Philips and PolyTech, a




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reasonable manufacturer would not have marketed and sold the Recalled Devices given the known

risks associated with their unsafe PE-PUR foam.

       1825. The Recalled Devices were defective due to inadequate post-marketing

surveillance, warnings, and/or instructions because, after Philips knew or should have known of

the risks of severe and permanent health consequences associated with the PE-PUR foam in the

Recalled Devices, it failed to provide adequate warnings to users and instead continued to

improperly advertise, market, and promote its products.

       1826. Safer alternative machines and designs were available and technologically feasible

at the time the Recalled Devices left the control of Philips and PolyTech, which did not have an

unreasonable risk of harm that the Recalled Devices and their unsafe PE-PUR foam did; for

example, devices that included non-PE-PUR foam and designs that included other types of sound

abatement technologies.

       1827. The Recalled Devices were not reasonably safe because the Recalled Devices did

not conform to Philips’ express and implied warranties relating to material facts concerning the

Recalled Devices.

       1828. The Recalled Devices were not reasonably safe because adequate warnings or

instructions were not provided after the Recalled Devices were manufactured when Philips and

PolyTech learned or should have learned, as reasonably prudent manufacturers, about the dangers

associated with the Recalled Devices.

       1829. The risk of harm would not have been obvious to an ordinary user of the Recalled

Devices.




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        1830. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of the defects in Philips’ and PolyTech’s Recalled Devices.

        1831. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of misrepresentations made by Philips’ and PolyTech’s as to the safety of the

Recalled Devices.

        1832. The defects in the Recalled Devices demonstrate a flagrant disregard of the safety

of expected users of the Recalled Devices.

        1833. Plaintiffs’ damages arose from a reasonably anticipated use of the Recalled Devices

by Plaintiffs.

        1834. The OPLA does not subsume claims alleging fraud and therefore Plaintiffs assert

that claim under the common law cause of action enumerated herein (Count XIII). To the extent

that the Court finds that claims alleging fraud are subsumed in the OPLA, Plaintiffs assert a

common law fraud by omission claim here.

        1835. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just.




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                                  COUNT XXX
               VIOLATIONS OF TENNESSEE PRODUCT LIABILITY ACT
                        Tenn. Code Ann. § 29-28-101, et seq.

       1836. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

       1837. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

       1838. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling, and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1839. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1840. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(1), VI(2), X, XI, XII, XIV, XV, XVIII, XIX, and XX, supra, allege

a cause of action under the Tennessee Product Liability Act, Tenn. Code Ann. § 29-28-101, et seq.

(“TPLA”).

       1841. Under the TPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, negligence per se, loss of consortium, survivorship and wrongful

death, and medical monitoring.

       1842. Under the TPLA, Plaintiffs assert the following theories against only Philips:

negligent failure to recall, negligent recall, negligent misrepresentation, breach of express

warranty, breach of implied warranty of merchantability, and breach of the implied warranty of



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usability.

        1843. The Recalled Devices were defective and unreasonably dangerous in construction,

composition, or design because, at the time the Recalled Devices left the control of Philips and

PolyTech, the Recalled Devices were more dangerous than an ordinary user would expect.

        1844. The Recalled Devices were defective and unreasonably dangerous in construction,

composition, or design because, at the time the Recalled Devices left the control of Philips and

PolyTech, a prudent manufacturer would not have marketed and sold the Recalled Devices given

the known risks associated with their unsafe PE-PUR foam.

        1845. Safer alternative machines and designs were available and technologically feasible

at the time the Recalled Devices left the control of Philips and Polytech, which did not have an

unreasonable risk of harm that the Recalled Devices and their unsafe PE-PUR foam did; for

example, devices that included non-PE-PUR foam and designs that included other types of sound

abatement technologies.

        1846. The Recalled Devices were defective and unreasonably dangerous due to

inadequate warnings or instructions in that, at the time the Recalled Devices left the control of

Philips and Polytech, Philips and PolyTech knew or should have known that the PE-PUR foam in

the Recalled Devices can degrade and off-gas dangerous and carcinogenic chemicals and particles,

posing a serious risk to users, but failed to adequately warn of said risk. Philips and Polytech

further failed to warn or instruct that Accessory Humidifiers, warm temperatures, and humidity

would hasten foam degradation and that the Recalled Devices should not be used in conjunction

with the SoClean ozone cleaning system which Philips now claims can hasten or cause foam

degradation.

        1847. The Recalled Devices were defective due to inadequate post-marketing



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surveillance, warnings, and/or instructions because, after Philips knew or should have known of

the risks of severe and permanent health consequences associated with the PE-PUR foam in the

Recalled Devices, it failed to provide adequate warnings to users and instead continued to

improperly advertise, market, and promote its products.

        1848. Plaintiffs were not able to discover, nor could they have discovered through the

exercise of reasonable diligence, the defective nature of the subject devices. Further, in no way

could Plaintiffs have known that Philips and PolyTech had designed, developed, and manufactured

the subject devices in a way as to make the risk of harm or injury outweigh any benefits.

        1849. Plaintiffs have suffered serious and debilitating injuries and may continue to suffer

serious and debilitating illnesses or injuries, including various cancers, in the future as a direct and

proximate result of the defects in Philips’ and PolyTech’s Recalled Devices.

        1850. The TPLA does not subsume claims alleging fraud, and therefore Plaintiffs assert

that claim under the common law cause of action enumerated herein (Count XIII). To the extent

that the Court finds that fraud claims are subsumed in the TPLA, Plaintiffs assert a common law

fraud by omission claim here.

        1851. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, punitive damages, medical monitoring, interest, costs of suit, attorneys’

fees, and such other relief as the Court deems equitable and just. In accordance with Tenn. Code

Ann. § 29-28-107, each individual Plaintiff will identify the amount of damages sought in their

Short Form Complaint.




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                                  COUNT XXXI
              VIOLATIONS OF WASHINGTON PRODUCT LIABILITY ACT
                       Wash. Rev. Code Ann. § 7.72.010, et seq.

       1852. Plaintiffs incorporate by reference all previous and subsequent paragraphs of this

Complaint as though fully set forth herein and further allege as follows:

       1853. As discussed at length herein, the Recalled Devices were defective because they

contained PE-PUR foam that was subject to degradation and off-gassing thereby exposing users,

including Plaintiffs, to the Foam Toxins.

       1854. At all times mentioned herein, Philips and PolyTech were involved in researching,

designing, developing, manufacturing, testing, marketing, selling, and/or distributing the Recalled

Devices, which were defective and unreasonably dangerous.

       1855. Philips’ and PolyTech’s conduct was reckless and performed with wanton and

willful disregard for the health of users, including Plaintiffs.

       1856. Plaintiffs, based upon the facts previously alleged herein, including the facts alleged

in Counts I, II, III, IV, V, VI(1), VI(2), X, XI, XII, XIV, XVIII, XIX, and XX, supra, allege a

cause of action under the Washington Product Liability Act, Wash. Rev. Code Ann. § 7.72.010, et

seq. (“WPLA”).

       1857. Under the WPLA, Plaintiffs assert the following theories against both Philips and

PolyTech: negligence, strict liability – design defect, negligent design, strict liability – failure to

warn, negligent failure to warn, loss of consortium, survivorship and wrongful death, and medical

monitoring.

       1858. Under the WPLA, Plaintiffs assert the following theories against only Philips:

negligent failure to recall, negligent recall, negligent misrepresentation, breach of express

warranty, breach of implied warranty of merchantability, and breach of the implied warranty of



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usability.

        1859. The Recalled Devices were not reasonably safe as designed because, at the time of

manufacture, the likelihood and seriousness of the risk of harm outweighed the burden on Philips

and PolyTech to design a product that would have prevented harm and any adverse effect that an

alternative design that was both practical and feasible would have on the usefulness of the Recalled

Devices. Wash. Rev. Code Ann. § 7.72.030(1)(a).

        1860. The Recalled Devices were not reasonably safe because, at the time of manufacture,

the likelihood and seriousness of the risk of harm rendered Philips’ and PolyTech’s warnings or

instructions inadequate and alternative warnings or instructions would have made the Recalled

Devices safer. Wash. Rev. Code Ann. § 7.72.030(1)(b).

        1861. Alternatively, the Recalled Devices were not reasonably safe because adequate

warnings or instructions were not provided after the Recalled Devices were manufactured when

Philips and PolyTech learned or should have learned, as reasonably prudent manufacturers, about

the dangers associated with the Recalled Devices. Wash. Rev. Code Ann. § 7.72.030(1)(c).

        1862. Although Philips and PolyTech are under a duty to update their warnings or

instructions in the manner that a reasonably prudent manufacturer would act in the same or similar

circumstances, Philips and PolyTech failed to exercise reasonable care to inform, warn, or instruct

users of the Recalled Devices that the PE-PUR foam in the Recalled Devices can degrade and off-

gas dangerous and carcinogenic chemicals and particles, posing a serious risk to users.

        1863. The Recalled Devices were not reasonably safe because the Recalled Devices did

not conform to Philips’ express and implied warranties relating to material facts concerning the

Recalled Devices. Wash. Rev. Code Ann. § 7.72.030(2)(b)-(c).

        1864. Generally, the Recalled Devices were unsafe to an extent beyond what would be



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contemplated by the ordinary user of the Recalled Devices. Wash. Rev. Code Ann. § 7.72.030(3).

       1865. The WPLA does not subsume claims alleging fraud, Wash. Rev. Code Ann §

7.72.010(4), and therefore Plaintiffs assert that claim under the common law cause of action

enumerated herein (Count XIII). To the extent that the Court finds that fraud claims are subsumed

in the WPLA, Plaintiffs assert a common law fraud by omission claim here.

       1866. Plaintiffs demand judgment against Philips and PolyTech and request

compensatory damages, medical monitoring, interest, costs of suit, attorneys’ fees, and such other

relief as the Court deems equitable and just.

                                 VII.    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs request that this Court:

               A.      award all damages to which Plaintiffs are entitled (including, without

limitation, compensatory damages for pain and suffering, emotional distress damages, past and

future medical expenses, past and future loss of wages and wage earning capacity, and other

economic damages; loss of consortium, medical monitoring; statutory damages; punitive,

exemplary and treble damages; and loss of services, support and consortium);

               B.      award pre-judgment and post-judgment interest on such monetary relief;

               C.      award reasonable attorneys’ fees and costs; and

               D.      grant such further and other relief that this Court deems appropriate.

                                     VIII. JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.




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Dated: February 12, 2024                        Respectfully submitted,

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